Case 23-10718-CTG    Doc 250-1   Filed 07/28/23   Page 1 of 174



                         EXHIBIT A

                    Revised Progrexion APA
Case 23-10718-CTG     Doc 250-1       Filed 07/28/23    Page 2 of 174




             ASSET PURCHASE AGREEMENT

                          by and among

              [LENDER ACQUISITIONCO LLC],

                             as Buyer,

               THE SELLERS PARTY HERETO

                                and

          solely for the purposes stated expressly herein,

                 BLUE TORCH FINANCE LLC,

                     as Administrative Agent



                      Dated as of [●], 2023
             Case 23-10718-CTG                      Doc 250-1             Filed 07/28/23              Page 3 of 174




                                                 TABLE OF CONTENTS

                                                          ARTICLE I
                                                         DEFINITIONS

1.1    Defined Terms .....................................................................................................................2
1.2    Index of Defined Terms .....................................................................................................13
1.3    Other Definitional Provisions and Rules of Interpretation. ...............................................15

                                                            ARTICLE II

                                 TRANSFER OF ASSETS AND LIABILITIES

2.1    Purchased Assets................................................................................................................17
2.2    Excluded Assets .................................................................................................................18
2.3    Assumed Liabilities ...........................................................................................................20
2.4    Excluded Liabilities ...........................................................................................................21
2.5    Assumption and Assignment of Assumed Contracts .........................................................22

                                                ARTICLE III
                                        CLOSING AND PURCHASE PRICE

3.1    Closing; Transfer of Possession; Certain Deliveries .........................................................25
3.2    Purchase Price; Related Matters ........................................................................................26
3.3    Allocation of Purchase Price..............................................................................................27
3.4    Withholding .......................................................................................................................27

                                       ARTICLE IV
                       REPRESENTATIONS AND WARRANTIES OF SELLERS

4.1    Organization and Good Standing .......................................................................................27
4.2    Power and Authority ..........................................................................................................27
4.3    Litigation ............................................................................................................................28
4.4    No Contravention ...............................................................................................................28
4.5    Consents and Approvals ....................................................................................................28
4.6    Title to Purchased Assets; Sufficiency ..............................................................................28
4.7    Validity of Available Contracts .........................................................................................29
4.8    Intellectual Property ...........................................................................................................29
4.9    Employee Benefits .............................................................................................................30
4.10   Labor Matters .....................................................................................................................30
4.11   Conduct of Business ..........................................................................................................31
4.12   Compliance with Laws; Permits ........................................................................................31
4.13   Financial Statements ..........................................................................................................32
4.14   Financial Advisors .............................................................................................................32
4.16   Tax Matters ........................................................................................................................32
4.17   Condition and Suitability of Purchased Assets ..................................................................33


                                                                     i
             Case 23-10718-CTG                      Doc 250-1             Filed 07/28/23              Page 4 of 174




4.18   Related Party Transactions ................................................................................................33
4.19   Disclaimer of Other Representations and Warranties ........................................................33

                                       ARTICLE V
                        REPRESENTATIONS AND WARRANTIES OF BUYER

5.1    Organization and Good Standing .......................................................................................34
5.2    Power and Authority ..........................................................................................................34
5.3    No Contravention ...............................................................................................................34
5.4    Consents and Approvals ....................................................................................................34
5.5    Litigation ............................................................................................................................34
5.6    Financial Advisors .............................................................................................................34
5.7    Sufficient Funds; Adequate Assurances ............................................................................34
5.8    Credit Bid ...........................................................................................................................34
5.9    Acknowledgements; “As Is” “Where Is” Transaction .......................................................35

                                                ARTICLE VI
                                          COVENANTS OF THE PARTIES

6.1    Conduct of Business Pending the Closing .........................................................................36
6.2    Negative Covenants ...........................................................................................................37
6.3    Access ................................................................................................................................39
6.4    Confidentiality ...................................................................................................................40
6.5    Public Announcements ......................................................................................................40
6.6    Employment Matters..........................................................................................................40
6.7    Reasonable Efforts; Approvals ..........................................................................................42
6.8    Corporate Name Change ....................................................................................................43
6.9    Assignment of Contracts and Rights..................................................................................43
6.10   Tax Matters ........................................................................................................................44
6.11   Available Contracts List ....................................................................................................45
6.12   HSR Act; Antitrust Laws ...................................................................................................45

                                                  ARTICLE VII
                                             BANKRUPTCY PROVISIONS

7.1    Expense Reimbursement....................................................................................................46
7.2    Bankruptcy Court Orders and Related Matters ..................................................................46
7.3    Bankruptcy Milestones ......................................................................................................48

                                        ARTICLE VIII
                          CONDITIONS TO OBLIGATIONS OF THE PARTIES

8.1    Conditions Precedent to Obligations of Buyer ..................................................................49
8.2    Conditions Precedent to the Obligations of the Sellers .....................................................50
8.3    Conditions Precedent to Obligations of Buyer and the Sellers ..........................................51
8.4    Frustration of Closing Conditions......................................................................................51



                                                                    ii
              Case 23-10718-CTG                      Doc 250-1             Filed 07/28/23              Page 5 of 174




                                                          ARTICLE IX
                                                         TERMINATION

9.1     Termination of Agreement .................................................................................................51
9.2     Consequences of Termination............................................................................................53

                                                         ARTICLE X
                                                      MISCELLANEOUS

10.1    Expenses ............................................................................................................................53
10.2    Assignment ........................................................................................................................53
10.3    Parties in Interest................................................................................................................54
10.4    Matters Related to the Administrative Agent ....................................................................54
10.5    Risk of Loss .......................................................................................................................54
10.6    Notices ...............................................................................................................................55
10.7    Entire Agreement; Amendments and Waivers ..................................................................56
10.8    Counterparts .......................................................................................................................56
10.9    Invalidity ............................................................................................................................56
10.10   Governing Law ..................................................................................................................57
10.11   Dispute Resolution; Consent to Jurisdiction ......................................................................57
10.12   WAIVER OF RIGHT TO TRIAL BY JURY....................................................................57
10.13   Specific Performance .........................................................................................................58
10.14   Third Party Beneficiaries ...................................................................................................58
10.15   Counting.............................................................................................................................58
10.16   Survival ..............................................................................................................................58
10.17   Non-Recourse ....................................................................................................................58
10.18   Preparation of this Agreement ...........................................................................................58
10.19   Schedules ...........................................................................................................................59
10.20   Fiduciary Obligation ..........................................................................................................59
10.21   Sellers’ Representative.......................................................................................................59

Exhibits
Exhibit A          Bidding Procedures
Exhibit B          Bidding Procedures Order
Exhibit C          Form of Bill of Sale, Assignment and Assumption Agreement




                                                                     iii
            Case 23-10718-CTG          Doc 250-1      Filed 07/28/23     Page 6 of 174




                              ASSET PURCHASE AGREEMENT

        This ASSET PURCHASE AGREEMENT (the “Agreement”), dated as of [●], 2023 (the
“Agreement Date”), is made and entered into by and among (i) [Lender AcquisitionCo LLC], a
Delaware limited liability company (together with any assignee(s) or designee(s) pursuant to
Section 10.2, “Buyer”), (ii) PGX Holdings, Inc., a Delaware corporation (the “Parent”), Progrexion
Holdings, Inc., a Delaware corporation (“Progrexion”), Credit.com, Inc., a Delaware corporation
(“Credit.com”), eFolks Holdings, Inc., a Delaware corporation (“eFolks Holdco”),
Creditrepair.com Holdings, Inc., a Delaware corporation (“Creditrepair.com Holdco”), Progrexion
ASG, Inc., a Delaware corporation (“Progrexion ASG”), Progrexion IP, Inc., a Delaware
corporation (“Progrexion IP”), Progrexion Marketing, Inc., a Delaware corporation (“Progrexion
Marketing”), Progrexion Teleservices, Inc., a Delaware corporation (“Progrexion Teleservices”),
eFolks, LLC, a Delaware limited liability company (“eFolks” ), Creditrepair.com, Inc., a Florida
corporation (“Creditrepair.com” ), Credit Repair UK, Inc., a Delaware corporation (“Credit Repair
UK”) (each a “Seller,” and collectively, the “Sellers” ), and (iii) Blue Torch Finance LLC, a
Delaware limited liability company, solely in its capacity as administrative agent for the lenders
under the Prepetition First Lien Financing Agreement (defined below) and signing solely with
respect to Section 3.2, Section 10.4, and Sections 10.7 to 10.21 of this Agreement (the
“Administrative Agent”). The Administrative Agent, Buyer and Sellers collectively are referred to
herein as the “Parties” and each, a “Party.”

                                            RECITALS:

      A.     The Sellers are engaged in the business of providing credit repair services to
consumers (the “Business”).
        B.    Reference is made to that certain First Lien Financing Agreement, dated as of July
21, 2021, by and among the borrowers from time to time party thereto, the guarantors from time
to time party thereto, the lenders from time to time party thereto (the “Prepetition First Lien
Lenders”), and the Administrative Agent (as amended by that certain Amendment No. 1 to First
Lien Financing Agreement, dated as of July 20, 2022, that certain Amendment No. 2 to First Lien
Financing Agreement, dated as of December 28, 2022, that certain Amendment No. 3 to First Lien
Financing Agreement, dated as of March 31, 2023, and as further amended, restated, amended and
restated, supplemented or otherwise modified from time to time, the “Prepetition First Lien
Financing Agreement”). The obligations under the Prepetition First Lien Financing Agreement
and the other Loan Documents (as defined below) are secured by valid and duly perfected liens,
mortgages and other Encumbrances in and upon all property and assets of, among other parties,
the Sellers.
       C.     Buyer is an entity organized for the purpose of effecting the rights and interests of
the Lenders in accordance with the terms and conditions of the Loan Documents and that certain
Credit Bid Direction Letter, dated as of [●], 2023 (the “Credit Bid Letter”), executed by the
Lenders.
        D.     Prior to the execution of this Agreement, each of the Sellers filed voluntary petitions
for relief under chapter 11 of Title 11 of the United States Code, 11 U.S.C. Sections 101 et seq.
            Case 23-10718-CTG          Doc 250-1      Filed 07/28/23     Page 7 of 174




(as amended, the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) (such cases, the “Cases”).
        E.    Upon the terms and subject to the conditions set forth in this Agreement, and as
authorized under sections 105, 363 and 365 of the Bankruptcy Code as relates to the Sellers, the
Sellers propose to sell, transfer and assign to Buyer, and Buyer proposes to purchase, acquire and
assume from the Sellers, respectively, the Purchased Assets and Assumed Liabilities.
        NOW, THEREFORE, in consideration of the mutual representations, warranties,
covenants and agreements contained herein, and upon the terms and subject to the conditions
hereof, the Parties, intending to be legally bound, hereby agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

      1.1      Defined Terms. As used herein, the terms below shall have the following respective
meanings:

        “Acquired Bank Accounts” shall mean any bank accounts of Sellers that Buyer elects to
acquire by written notice to Sellers on or before the date that is ten (10) days prior to Closing;
provided that the Parties shall agree in good faith as to one or more bank accounts that the Debtors
shall retain in connection with the wind down and liquidation of the Debtor entities and businesses
following the Closing.

       “Acquired Intellectual Property” shall mean, collectively, all Owned Intellectual Property
and Licensed Intellectual Property.

       “Administrative Expenses” shall mean, collectively, the administrative expenses incurred
by Sellers in the Cases, including expenses of the kind specified in Sections 105, 326, 328, 330,
331, 365, 503(a), 503(b), 546(c), 546(d), or 726 (to the extent permitted by Law) of the Bankruptcy
Code, and any other provision of the Bankruptcy Code (including, subject to entry of the DIP
Order, Section 506(c) of the Bankruptcy Code).

        “Affiliate” shall mean, with respect to any Person, any other Person that, directly or
indirectly through one or more intermediaries, controls, or is controlled by, or is under common
control with, such Person, and the term “control” (including the terms “controlled by” and “under
common control with”) means the possession, directly or indirectly, of the power to direct or cause
the direction of the management and policies of such Person, whether through ownership of voting
securities, by contract or otherwise.

       “Allocation Schedule” shall mean the schedule allocating the Purchase Price and the
Assumed Liabilities in accordance with Section 1060 of the Code and the Treasury Regulations
thereunder and any corresponding requirements of any state, local, or foreign Tax Laws, as
applicable.

        “Alternate Transaction” shall mean a transaction or transactions pursuant to which any of
the Sellers or any of its Affiliates, in one or a series of transactions, sells, transfers, exchanges,
leases or otherwise disposes of, directly or indirectly, all or any material portion of the Purchased

                                                  2
            Case 23-10718-CTG           Doc 250-1      Filed 07/28/23      Page 8 of 174




Assets, including any transaction effected in connection with the Auction or through any other
asset sale, stock sale, share exchange, debt-for-equity swap, joint venture, credit bid, financing,
merger, amalgamation, business combination, reorganization, restructuring or recapitalization, a
plan of reorganization, a plan of arrangement or any similar transaction, in each case that would
not involve a sale or disposition of all or any material portion of the Purchased Assets or the
Business to Buyer; provided that neither any disposition of Purchased Assets that is expressly
permitted by Section 6.2 of this Agreement, nor the liquidation, dismissal or conversion of the
Cases and the dissolution of the Sellers, shall be deemed an Alternate Transaction.

        “Approved Budget” shall have the meaning ascribed thereto in the DIP Documents.

        “Auction” shall mean the auction for the Purchased Assets to be conducted on the Auction
Date in accordance with the terms and provisions of the Bidding Procedures Order and as defined
in the Bidding Procedures.

        “Auction Date” shall mean the date of the Auction scheduled by the Bankruptcy Court and
set forth in the Bidding Procedures Order or such later date as shall be announced by the Sellers
in accordance with the Bidding Procedures Order.

        “Avoidance Actions” shall mean any and all actual and/or potential claims and causes of
action under chapter 5 of the Bankruptcy Code or state fraudulent conveyance, fraudulent transfer,
or similar Laws, or any other avoidance actions under the Bankruptcy Code.

      “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure originally
promulgated pursuant to 28 U.S.C. § 2075.

         “Benefit Plan” shall mean any “employee benefit plan” (within the meaning of Section
3(3) of ERISA) and all pension, severance, retirement, consulting, compensation, profit sharing,
commission, employment, change in control, retention, fringe benefit, bonus, stock or other equity,
equitybased, option, incentive compensation, restricted stock, stock appreciation right or similar
right, phantom equity, profits interests, deferred compensation, employee loan, vacation, paid time
off, welfare, medical, dental, vision, flexible benefit, cafeteria, dependent care, disability or wage
continuation benefits during periods of absence from work (including short-term disability, long-
term disability and worker’s compensation benefits), supplemental unemployment,
hospitalization, life insurance, death or survivor benefits, employment insurance, and all other
employee benefit plans, programs, policies, practices, agreements and other arrangements, and any
funding vehicle therefor now in effect, in each case, whether or not subject to ERISA, whether
formal or informal, written or oral, insured or self-insured, funded or unfunded, binding or not,
that (i) provides benefits or compensation to, or which has any application to, any present or former
employee, director, independent contractor or other individual service provider of any Seller or
any beneficiary or dependent of such persons, (ii) is adopted, maintained, sponsored, contributed
to, or required to be contributed to by any Seller, or (iii) with respect to which any Seller is a party,
is bound, participates in, or has or could reasonably be expected to have any Liability.

        “Bid” shall have the meaning ascribed to such term in the Bidding Procedures.




                                                   3
           Case 23-10718-CTG          Doc 250-1     Filed 07/28/23     Page 9 of 174




        “Bidding Procedures” shall mean the Bidding Procedures filed with the Bankruptcy Court
in the form attached hereto as Exhibit A or otherwise in form and substance reasonably acceptable
to Buyer.

        “Bidding Procedures Motion” shall mean the motion filed in the Cases, which motion shall
be in form and substance satisfactory to Buyer (together with all exhibits thereto), (i) seeking
approval of (A) this Agreement and the Transactions and (B) the Bidding Procedures and
scheduling certain dates, deadlines and forms of notice in connection therewith, (ii) authorizing
the payment of the Expense Reimbursement to Buyer, and (iii) granting other related relief, in each
case, in form and substance acceptable to Buyer.

        “Bidding Procedures Order” shall mean the order entered by the Bankruptcy Court
approving the Bidding Procedures Motion, the Bidding Procedures and granting the relief
requested therein in the form set forth in Exhibit B and with such modifications or supplements
satisfactory to Buyer.

       “Business Day” shall mean any day other than a Saturday, Sunday or a legal holiday on
which banking institutions in New York City, New York are authorized or obligated by Law or
executive order to close.

       “Business Employee” means each employee of a Seller as of immediately prior to the
Closing.

        “Buyer Group” means Buyer, any Affiliate of Buyer and each of their respective former,
current or future Affiliates, officers, directors, employees, partners, members, managers, agents,
advisors, successors or permitted assigns.

       “Claims” shall have the meaning as defined in the Bankruptcy Code.

       “Closing” shall mean the consummation of the Transactions.

      “Code” shall mean the Internal Revenue Code of 1986, as amended, and the regulations
promulgated thereunder.

        “Confidential Information” shall mean all information in any form or medium that relates
to the Business, the Purchased Assets or the Assumed Liabilities, including financial information,
projections, pricing structures, technical data, Trade Secrets, know-how, ideas, inventions,
designs, research, development plans, identities of, and arrangements with, customers and
suppliers, software and databases, but shall not include any information that (i) at the time of
disclosure thereof is generally available to the public (other than as a result of disclosure in
violation of this Agreement), or (ii) is independently developed by the receiving party following
the Closing Date without reliance on or use of any Confidential Information.

       “Consumer Financial Laws” shall mean the Consumer Financial Protection Act, 12 U.S.C.
§ 5481 et seq., the Telemarketing and Consumer Fraud and Abuse Prevention Act, 15 U.S.C.
§ 6101 et seq., the Telemarketing Sales Rule, 16 C.F.R. § 310.3 et seq., and all other applicable
Laws concerning or relating to consumer financial products or services in any jurisdiction in which
any Seller or any of its Affiliates is located or is doing business.

                                                4
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23     Page 10 of 174




        “Contract” shall mean any lease, sublease, license, sublicense, agreement, contract,
contract right, obligation, trust, purchase order, sale order, instrument and other similar
arrangements, whether or not in written form, that is binding upon a Person or its property
(including any commitment to enter into any of the foregoing).

     “Credit Documents” shall mean, collectively, the Loan Documents and the DIP
Documents.

       “Cure Amounts” shall mean all amounts payable that must be paid or otherwise satisfied
to cure all of the Sellers’ monetary defaults under the Assumed Contracts at the time of the
assumption thereof and assignment to Buyer pursuant to section 365 of the Bankruptcy Code.

       “Dataroom” shall mean that certain datasite administered by Box.

        “Debt” shall mean, without duplication, (i) indebtedness or other obligations for borrowed
money or in respect of loans or advances or issued in substitution for or exchange of indebtedness
for borrowed money or loans or advances, whether short-term or long-term, secured or unsecured,
(ii) any indebtedness or other obligations evidenced by any note, bond, debenture or other debt
security or instrument, (iii) all obligations to pay the deferred purchase price of property or
services, contingent or otherwise (including all “earn-out” obligations), (iv) all obligations under
interest rate and currency hedging agreements, including swap breakage or associated fees, (v) all
obligations arising from bankers’ acceptances, letters of credit (to the extent drawn) and cash/book
overdrafts or similar facilities, (vi) all obligations for the payment of which a Person is responsible
or liable, directly or indirectly, as obligor, guarantor or otherwise, including guarantees of such
obligations, (vii) any obligations under leases that have been or are required to be, in accordance
with GAAP, recorded as capital leases, (viii) any indebtedness or other obligations secured by an
Encumbrance on any Seller’s interest in any assets, and (ix) all accrued interest, premiums,
penalties (including any prepayment penalties or premiums) and other obligations related to any
of the foregoing.

        “Debtors” shall mean the Sellers and their affiliated debtors and debtors in possession that
filed the Cases.

       “DIP Documents” shall mean that certain Superpriority Secured Debtor-in-Possession
Credit Facility by and among the DIP Lenders, the Sellers, and the Administrative Agent, together
with the schedules and exhibits attached thereto and all agreements, documents, orders,
instruments and/or amendments executed, delivered or entered in connection therewith.

      “DIP Facility” shall mean the debtor-in-possession term loan facility pursuant to which the
DIP Lenders agreed to provide up to $19,925,000 million in debtor-in-possession financing
commitments on the terms set forth in the DIP Documents.

       “DIP Lenders” shall mean the lenders providing the DIP Facility.

        “Documents” means all of the Sellers’ written files, documents, instruments, papers, books,
reports, records, tapes, microfilms, photographs, letters, budgets, forecasts, plans, operating
records, safety and environmental reports, data, studies, and documents, Tax Returns, ledgers,
journals, title policies, customer lists, regulatory filings, operating data and plans, research

                                                  5
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 11 of 174




material, technical documentation (design specifications, engineering information, test results,
maintenance schedules, functional requirements, operating instructions, logic manuals, processes,
flow charts, etc.), user documentation (installation guides, user manuals, training materials, release
notes, working papers, etc.), marketing documentation (sales brochures, flyers, pamphlets, web
pages, etc.), and other similar materials, in each case whether or not in electronic form.

        “Encumbrance” means any lien (as defined in section 101(37) of the Bankruptcy Code),
encumbrance, claim (as defined in section 101(5) of the Bankruptcy Code), charge, mortgage, deed
of trust, option, pledge, security interest or similar interests, title defects, hypothecations,
easements, rights of way, encroachments, Orders, conditional sale or other title retention
agreements and other similar impositions, imperfections or defects of title or restrictions on
transfer or use.

        “Equity Interests” of any Person shall mean all (i) shares of capital stock, rights to purchase
shares of capital stock, warrants, options, calls or restricted stock (whether or not currently
exercisable), (ii) equity appreciation, phantom stock, stock plans, profit participation plans, profit
units, profit interests, equity plans or similar rights, (iii) participations or other equivalents of or
interests in (however designated, including units thereof) the equity (including common stock,
preferred stock and limited liability company, partnership and joint venture interests) of such
Person and (iv) securities exchangeable for or convertible or exercisable into any of the foregoing.

       “ERISA” shall mean the Employee Retirement Income Security Act of 1974, as amended,
and the regulations promulgated thereunder.

        “Excluded Cash” shall mean, collectively, all cash on hand and cash drawn under the DIP
Facility to the extent necessary to, subject to the terms of the DIP Orders and Approved Budget
(each as approved by the Bankruptcy Court in connection with the DIP Facility), (a) satisfy the
allowed Professional Fees and Expenses that have accrued, are undisputed and are unpaid as of
the Closing Date, (b) pay all Administrative Expenses of the Sellers that are accrued, unpaid,
allowed and undisputed as of the effective date in the Cases, subject to the DIP Orders and
Approved Budget, (c) fund an orderly liquidation, dismissal or conversion of the Cases and the
dissolution of the Sellers (which amount shall be equal to $2,625,000 (the “Wind Down
Amount”)), to be used in accordance with a budget acceptable to the Debtors and Buyer (the “Wind
Down Budget”) (to be finalized prior to the Sale Hearing and attached as an exhibit to the Sale
Order).

        “Expense Reimbursement” shall mean all reasonable and documented out-of-pocket fees
and expenses, including all professional fees and expenses and travel expenses, incurred by Buyer
or the Administrative Agent in connection with the diligence, negotiation, execution, delivery,
performance and enforcement of this Agreement and the Transactions contemplated hereby, in
each case, without duplication and to the extent not otherwise payable to, and received by, the
Administrative Agent pursuant to the DIP Documents or the Loan Documents, which aggregate
total amount shall not, in any event, exceed $1,000,000.

       “Final DIP Order” shall mean an Order of the Bankruptcy Court acceptable to the
Administrative Agent in its sole discretion, authorizing and approving on a final basis, among
other things, the DIP Documents and the DIP Facility on a final basis (as the same may be

                                                   6
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 12 of 174




amended, supplemented, or modified from time to time after entry thereof with the consent of
Administrative Agent, in its sole discretion) as to which no stay has been entered.

        “Final Order” shall mean an Order of the Bankruptcy Court or other applicable court (a)
that is not the subject of a pending appeal, petition for certiorari, motion for reconsideration or
leave to appeal or other proceeding for review, rehearing or reargument, (b) that has not been
reversed, vacated, modified or amended, is not stayed and remains in full force and effect, and (c)
with respect to which the time to appeal, to petition for certiorari, to move for reconsideration or
to seek review, rehearing or reargument shall have expired, as a result of which such order shall
have become final in accordance with Rule 8002 of the Federal Rules of Bankruptcy Procedure or
other applicable Laws, as applicable.

       “GAAP” shall mean United States generally accepted accounting principles.

        “Governmental Entity” shall mean any (i) federal, state, provincial, local, municipal,
foreign or other government, (ii) governmental or quasi-governmental authority of any nature
(including any governmental agency, branch, department, official, or entity and any court,
arbitrator or other tribunal) or (iii) body exercising, or entitled to exercise, any administrative,
executive, judicial, legislative, police, regulatory, or taxing authority or power of any nature,
including any arbitral tribunal.

      “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
amended.

         “Intellectual Property” shall mean all intellectual property and industrial property, whether
protected, created or arising under the Laws of the United States or any other jurisdiction, including
all: (i) patents and patent applications, all continuations, divisionals, and continuations-in-part of
any of the foregoing, all patents issuing on any of the foregoing, and all reissues, renewals,
substitutions, reexaminations and extensions of any of the foregoing; (ii) trademarks, service
marks, trade names, service names, brand names, trade dress rights, logos, corporate names, trade
styles, logos and other source or business identifiers and general intangibles of a like nature,
together with the goodwill associated with any of the foregoing, and all applications, registrations,
renewals and extensions of any of the foregoing (collectively, “Marks”); (iii) internet domain
names; (iv) copyrights, works of authorship, and all mask work, database and design rights,
whether or not registered or published, all applications, registrations, reversions, extensions and
renewals of any of the foregoing, and all moral rights, however denominated (collectively,
“Copyrights”); (v) trade secrets and other confidential or proprietary information (collectively,
“Trade Secrets”); (vi) rights of publicity, persona rights or other rights to use indicia of any
Person’s personality; and (vii) Technology and other intellectual property or industrial property
rights arising from or relating to any Technology.

        “Interim DIP Order” shall mean an Order of the Bankruptcy Court (as the same may be
amended, supplemented, or modified from time to time after entry thereof in accordance with the
terms thereof), in form and substance acceptable to the Administrative Agent in its sole discretion,
authorizing on an interim basis, among other things, the DIP Documents and the DIP Facility.




                                                  7
           Case 23-10718-CTG          Doc 250-1      Filed 07/28/23     Page 13 of 174




      “Knowledge of the Sellers” shall mean, as to a particular matter, the actual knowledge of
Chad Wallace or Jared Hartley.

        “Law” shall mean any federal, state, provincial, local or foreign statute, law, ordinance,
regulation, rule, code, order, treaty, administrative interpretation, guideline, principle of common
law or equity, judgment enacted, promulgated, issued, enforced or entered by any Governmental
Entity.

        “Leased Real Property” shall mean each parcel of real property leased by a Seller, together
with all rights, title and interest of each such Seller in and to leasehold improvements relating
thereto.

       “Leases” shall mean all leases, subleases, licenses, concessions and other agreements
pursuant to which a Seller holds any Leased Real Property.

       “Lenders” shall mean the Prepetition First Lien Lenders and the DIP Lenders, as appliable.

        “Lexington Law” shall mean John C. Heath, Attorney At Law, Professional Limited
Liability Company, a Utah professional limited liability company.

        “Liabilities” shall mean, as to any Person, all debts, adverse claims, liabilities,
commitments, responsibilities, and obligations of any kind or nature whatsoever, direct, indirect,
asserted or unasserted, absolute or contingent, of such Person, whether accrued, vested or
otherwise, whether known or unknown, and whether or not actually reflected, or required to be
reflected, in such Person’s balance sheets or other books and records, including any liability for
Taxes.

        “Licensed Intellectual Property” shall mean all Intellectual Property (other than Owned
Intellectual Property) used, held for use or practiced in connection with the Business.

        “Loan Documents” shall mean the Prepetition First Lien Financing Agreement, together
with the Loan Documents (as defined therein) related thereto, and all other documents, agreements
and certificates executed or delivered in connection with or contemplated by the Prepetition First
Lien Financing Agreement.

        “Material Adverse Effect” shall mean any matter, event, change, occurrence, circumstance,
development, condition, fact or effect (each an “Effect”), which, when considered either
individually or in the aggregate together with other Effects is or would reasonably be expected to
be materially adverse to the Business, the Purchased Assets and the Assumed Liabilities, taken as
a whole, or any Seller’s ability to consummate the Transactions; provided that none of the
following (or the consequences thereof), either alone or in combination, shall constitute or be taken
into account in determining whether or not there has been, a Material Adverse Effect: (i) any Effect
arising out of, resulting from or attributable to general business or economic conditions affecting
(A) the United States or those countries within which any of the Sellers operate, or (B) the
industries in which any of the Sellers operate, including Effects arising from or relating to
competition or ordinary course matters and other Effects within such industry, new entrants into
such industry, new products from other participants in such industry, changes in product pricing
due to competition, changes in market share or financial results due to such competition, and other

                                                 8
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23     Page 14 of 174




related changes resulting from such competition; (ii) Effects in, arising from, or relating to any
change in GAAP or regulatory accounting principles or interpretations thereof after the date
hereof, or a change in applicable Laws or other binding directives or determinations issued or made
by or agreements with or consents of any Governmental Entity (including, for the avoidance of
doubt, any such items related to Section 6.5) and any increase (or decrease) in the terms or
enforcement of (or negotiations or disputes with respect to) any of the foregoing after the date
hereof; (iii) Effects in, arising from or relating to national or international political or social
conditions, including tariffs, riots, protests, the engagement by the United States or another country
in hostilities or the escalation thereof, whether or not pursuant to the declaration of a national
emergency or war, or the occurrence or the escalation of any military, cyber or terrorist (whether
or not state-sponsored) terrorist act or attack upon the United States or any other country, or any
of its territories, possessions, or diplomatic or consular offices or upon any military installation,
asset, equipment or personnel of the United States or any other country; (iv) Effects in, arising
from or relating to any global or national health concern, pandemic, or epidemic, (whether or not
declared as such by any Governmental Entity), viral outbreak (including “Coronavirus” or
“COVID-19” or the worsening thereof) or any quarantine or trade restrictions related thereto; (v)
Effects in, arising from or relating to any natural disaster, fire, flood, hurricane, earthquake,
tornado, windstorm, other calamity or act of God or any other force majeure; (vi) Effects in, arising
from or relating to the decline or rise in price of any currency or any equipment, machines,
computers, furniture, furnishings, fixtures, supplies, vehicles or other fixed assets necessary to or
used in the provision of services by any Seller or their Affiliates (including any resulting inability
to meet customer demands and any resulting breaches of Contracts); (vii) Effects in, arising from,
or relating to financial, banking, or securities markets (including (A) any disruption of any of the
foregoing markets, (B) any change in currency exchange rates, (C) any decline or rise in the price
of any security, commodity, Contract, or index, and (D) any increased cost, or decreased
availability, of capital or pricing or terms related to any financing for the Transactions), except in
each case covered by clauses (i) through (vii) to the extent such Effect disproportionately and
adversely affects any Seller as compared to other companies in a business similarly situated to that
of the Business; (viii) Effects in, arising from or relating to the negotiation, announcement, or
pendency of this Agreement or the Transactions, the identity, nature, or ownership of Buyer or
Buyer’s plans with respect to the Purchased Assets and Assumed Liabilities, including the impact
thereof on the relationships, contractual or otherwise, of the business of Sellers or their Affiliates
with employees, customers, lessors, suppliers, vendors, or other commercial partners or litigation
arising from or relating to this Agreement or the Transactions; (ix) Effects in, arising from or
relating to any action required to be taken under any existing Contract to which Sellers or their
Affiliates (or any of their assets or properties) is bound; (x) Effects that arise from any seasonal
fluctuations in the Business; (xi) any failure, in and of itself, to achieve any budgets, projections,
forecasts, estimates, plans, predictions, performance metrics or operating statistics or the inputs
into such items (whether or not shared with Buyer or its Affiliates or Representatives) and any
other failure to win or maintain customers or business; (xii) the Effect of any action taken by Buyer
or its Affiliates with respect to the Transactions or the financing thereof or any breach by Buyer
of this Agreement; or (xiii) (A) the commencement or pendency of the Cases; (B) any objections
in the Bankruptcy Court to (1) this Agreement or any of the Transactions, (2) the Sale Order or the
reorganization or liquidation of the Sellers or their Affiliates, or (3) the assumption or rejection of
any Available Contract; or (C) any Order of the Bankruptcy Court or any actions or omissions of
Sellers or their Affiliates in compliance therewith.


                                                  9
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 15 of 174




        “Order” shall mean any judgment, order, injunction, writ, ruling, decree, stipulation, award
or other binding obligation, pronouncement or determination of any Governmental Entity or
arbitration tribunal.

      “Ordinary Course of Business” shall mean the conduct and operation of the Business, taken
as a whole, in the ordinary course, consistent with past practice and taking into account the
commencement and pendency of the Cases.

         “Organizational Documents” shall mean, with respect to any Person (other than a natural
Person), (i) the certificate or articles of incorporation, formation or organization and any limited
liability company, operating or partnership agreement, or similar organizational document adopted
or filed in connection with the creation, formation or organization of such Person and (ii) all
bylaws and equity holders agreements or similar arrangements to which such Person (or holders
of its Equity Interests) is a party relating to the organization or governance of such Person, in each
case, as amended or supplemented.

      “Owned Intellectual Property” shall mean all Intellectual Property owned or purported to
be owned by any Seller.

        “Permits” shall mean all licenses, certificates, consents, permits, registrations, quotas, and
other authorizations of any Governmental Entity relating to the Purchased Assets or used by the
Sellers in connection with the Business, and all pending applications therefor.

        “Permitted Encumbrances” shall mean (i) liens for utilities and Taxes, assessments or other
governmental charges not yet due and payable, the amount or validity of which is being contested
in good faith, or the nonpayment of which is permitted or required by the Bankruptcy Code, (ii)
building codes, zoning Laws, entitlement and other land use restrictions, environmental
regulations and other similar restrictions imposed by Law or by any Governmental Entity having
jurisdiction over any Real Property which are not violated by the current use, occupancy or
operation of any Real Property, (iii) easements, rights of way, restrictive covenants,
encroachments, and similar non-monetary encumbrances or non-monetary impediments against
any of the Purchased Assets which do not, individually or in the aggregate, adversely affect the
operation of the Purchased Assets and, in the case of the Leased Real Property, which do not,
individually or in the aggregate, adversely affect the use or occupancy of such Leased Real
Property as it relates to the operation of the Purchased Assets, (iv) materialmans’, mechanics’,
artisans’, shippers’, warehousemans’ or other similar common law or statutory liens incurred in
the Ordinary Course of Business for amounts not yet due and payable, (v) licenses granted on a
non-exclusive basis, (vi) such other defects, exceptions, restrictions, imperfections in title, charges,
easements, restrictions and encumbrances which do not, individually or in the aggregate,
materially and adversely affect the operation of the Purchased Assets, (vii) title of a lessor under a
capital or operating lease if such lease is an Assumed Contract; and (viii) solely prior to the
Closing, any Encumbrances that will be removed or released by operation of the Sale Order.

        “Person” shall mean an individual, partnership, joint venture, corporation, business trust,
limited liability company, trust, unincorporated organization, association, joint stock company,
estate, Governmental Entity or other entity.

                                                  10
           Case 23-10718-CTG          Doc 250-1        Filed 07/28/23    Page 16 of 174




        “Personal Information” shall mean, in addition to any definition for any similar term (e.g.,
“personal data” or “personally identifiable information” or “PII”) provided by applicable Law or
by the Sellers in any of their privacy policies, notices or contracts, all information that identifies,
could be used to identify or is otherwise associated with an individual person or device, whether
or not such information is associated with an identified individual. Personal Information may relate
to any individual, including a current, prospective, or former customer, end user or employee of
any Person, and includes information in any form or media, whether paper, electronic, or
otherwise.

       “Petition Date” shall mean the date on which the Sellers file voluntary petitions for relief
under chapter 11 of the Bankruptcy Code.

        “Post-Closing Tax Period” shall mean all taxable years or other taxable periods that end
after the Closing Date and, with respect to any taxable year or other taxable period beginning on
or before and ending after the Closing Date, the portion of such taxable year or period beginning
after the Closing Date.

       “Pre-Closing Tax Period” shall mean all taxable years or other taxable periods that end on
or before the Closing Date and, with respect to any taxable year or other taxable period beginning
on or before and ending after the Closing Date, the portion of such taxable year or period ending
on and including the Closing Date.

        “Privacy Laws” shall mean any and all applicable Laws, legal requirements and self-
regulatory guidelines (including of any applicable foreign jurisdiction) relating to the receipt,
collection, compilation, use, storage, processing, sharing, safeguarding, security (technical,
physical or administrative), disposal, destruction, disclosure or transfer (including cross-border)
of any Personal Information, including the Federal Trade Commission Act, Health Insurance
Portability and Accountability Act (HIPAA), California Consumer Privacy Act (CCPA), Payment
Card Industry Data Security Standard (PCI-DSS), and any and all applicable Laws relating to
breach notification or marketing in connection with any Personal Information.

        “Proceeding” shall mean any action, claim, complaint, arbitration, governmental
investigation, prosecution, order, litigation, proceeding, or suit (whether civil, criminal,
administrative, investigative, appellate, or informal) of any kind whatsoever, regardless of the legal
theory under which such Liability or obligation may be sought to be imposed, whether sounding
in Contract or tort, or whether at law or in equity, or otherwise under any legal or equitable theory,
commenced, brought, conducted, or heard by or before, or otherwise involving, any Governmental
Entity or arbitrator.

       “Professional Fees and Expenses” shall mean the reasonable and documented fees and
expenses of professionals of Sellers and any committee appointed in the Cases pursuant to section
1102 of the Bankruptcy Code that are accrued and unpaid as of the Closing Date, whether or not
included in a fee statement or fee application at such time and whether or not allowed by the
Bankruptcy Court at such time.

       “Purchased Assets” shall mean all right, title and interest of each of the Sellers, as of the
Closing, in, to and under all of the assets, properties, interests, rights and claims of the Sellers as


                                                  11
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 17 of 174




of the Closing(whether owned, leased, licensed, used or held for use by the Sellers), wherever
situated and of whatever kind and nature, real or personal, tangible or intangible, and whether or
not reflected on the books and records of the Sellers, including the assets, properties, rights and
claims as of the Closing described in Section 2.1, other than the Excluded Assets.

       “Real Property” shall mean Leased Real Property.

        “Representative” shall mean, with respect to any Person, such Person’s officers, managers,
directors, employees, agents and representatives (including any investment banker, financial
advisor, accountant, legal counsel or expert retained by or acting on behalf of such Person or its
Affiliates).

         “Sale Order” shall mean, collectively, the Order or Orders which shall be in a form and
substance acceptable to Buyer and Sellers in their sole discretion and which shall, among other
things: (i) approve, pursuant to sections 105, 363 and 365 of the Bankruptcy Code (A) the
execution, delivery and performance by the Sellers of this Agreement, including each and every
term and condition hereof, and the other instruments and agreements contemplated hereby, (B) the
sale of the applicable Purchased Assets of the Sellers to Buyer free and clear of all Encumbrances
and Liabilities (other than Permitted Encumbrances), on the terms set forth herein, (C) the
assumption of the Assumed Liabilities of the Sellers by Buyer on the terms set forth herein and
(D) effective as of the Closing, the release of Sellers from amounts due and owing under the Loan
Documents up to an amount equal to the Credit Bid Amount; (ii) authorize the Sellers to assume
and assign to Buyer the Assumed Contracts; (iii) find that Buyer has provided adequate assurance
of future performance with respect to the Assumed Contracts to which any Seller is a party; (iv)
find that Buyer is a “good faith” buyer within the meaning of section 363(m) of the Bankruptcy
Code; (v) provide that neither Buyer nor any of its Affiliates or equityholders will have any
derivative, successor, transferee or vicarious liability of any kind or character, whether fixed or
contingent, for Liabilities of the Sellers (whether under federal or state Law or otherwise),
including on account of any Taxes arising, accruing, or payable under, out of, in connection with,
or in any way relating to the operation of the Business prior to the Closing (except for such Taxes
that constitute Assumed Liabilities); (vi) waive in all necessary jurisdictions, (A) the so-called
“bulk sales,” “bulk transfer” and similar Laws, including those related to Taxes and (B) the
imposition of any Taxes incurred in connection with the Transactions and the Sale Order; (vii)
enjoin all Persons from commencing any proceeding or taking any action against Buyer or any of
its Affiliates to recover any claim that such Person has solely against the Sellers or their Affiliates;
and (viii) provide that the obligations of the Sellers relating to Taxes, whether arising under Law,
by this Agreement (except as specifically set forth in this Agreement), or otherwise, shall be
fulfilled by the Sellers.

       “Sellers’ Disclosure Schedules” shall have the meaning ascribed to such term in the
opening paragraph of Article IV.

        “Software” shall mean, collectively, any and all (i) computer programs, including any and
all software implementations of algorithms, models and methodologies, whether in source code or
object code, (ii) databases and compilations, including any and all data and collections of data,
whether machine readable or otherwise, (iii) descriptions, flow-charts and other work product used
to design, plan, organize and develop any of the foregoing, screens, user interfaces, report formats,

                                                  12
             Case 23-10718-CTG         Doc 250-1       Filed 07/28/23     Page 18 of 174




firmware, development tools, templates, menus, buttons and icons, and (iv) all documentation
including user manuals and other training documentation related to any of the foregoing.

       “Successful Bidder” shall mean the winning bidder at the Auction.

        “Tax” or “Taxes” shall mean (i) all U.S. federal, state, local, foreign and other taxes,
assessments, duties or charges of any kind whatsoever, including, income, profits, gains, net worth,
sales and use, ad valorem, gross receipts, sales, use, business and occupation, license, premium,
minimum, alternative or add-on minimum, environmental, estimated, stamp, customs duties,
occupation, property (real or personal), franchise, capital stock, license, excise, value added,
payroll, employment, social security (or similar), escheat, unclaimed property, unemployment,
transfer, severance, registration, lease, service, recording, documentary, permit or authorization,
intangibles or other tax (whether payable directly or by withholding), together with any penalty,
fine, addition to tax or interest on the foregoing; (ii) any liability in respect of any items described
in clause (i) payable by reason of contract, assumption, transferee or successor liability, operation
of Law, Treasury Regulations Section 1.1502-6(a) or any analogous or similar provision of Law
(or any predecessor or successor thereof) or otherwise; and (iii) any Liability in respect of any
items described in clause (i) as a result of being a “transferee” of the taxpayer or entity or a number
of a related, non-arm’s length, affiliated or combined group.

        “Tax Return” shall mean any return, declaration, report, claim for refund, or information
return or statement (including elections, declarations, disclaimers, notices, disclosures, schedules,
estimates) relating to Taxes, including any schedule or attachment thereto, and including any
amendment or supplement thereof.

        “Technology” shall mean all technology, formulae, algorithms, procedures, processes,
methods, techniques, ideas, know-how, creations, inventions (whether patentable or unpatentable
and whether or not reduced to practice), discoveries, improvements, product, servicing, business,
financial and supplier information and materials, specifications, designs, models, devices,
prototypes, schematics and development tools, Software, websites, recordings, graphs, drawings,
reports, analyses and other writings and other tangible embodiments of any of the foregoing, in
any form or media whether or not specifically listed in this definition.

        “Transactions” shall mean the sale of the Purchased Assets pursuant to this Agreement and
the other transactions contemplated by this Agreement.

        “Transfer Tax” or “Transfer Taxes” shall mean any stamp, sales, use, transfer, conveyance,
recording, registration, filing or other similar non-income Tax, fee, duty or charge imposed upon
the sale, transfer or assignment of property or any interest therein or the recording thereof, and any
penalty, addition to Tax or interest with respect thereto.

        “Treasury Regulations” shall mean the regulations promulgated under the Code, as such
regulations may be amended from time to time.

      “WARN Act” shall mean the Worker Adjustment and Retraining Notification Act of 1988,
as amended.

       1.2      Index of Defined Terms.

                                                  13
                Case 23-10718-CTG                        Doc 250-1             Filed 07/28/23               Page 19 of 174




Administrative Agent ...................................................................................................................... 1
Agreement ....................................................................................................................................... 1
Agreement Date .............................................................................................................................. 1
Antitrust Laws ............................................................................................................................... 46
Assumed Benefit Plans ................................................................................................................. 20
Assumed Contracts ....................................................................................................................... 22
Assumed Cure Amounts ............................................................................................................... 20
Assumed Liabilities ...................................................................................................................... 20
Assumption Notice........................................................................................................................ 24
Audited Financial Statements ....................................................................................................... 32
Available Contracts....................................................................................................................... 22
Balance Sheets .............................................................................................................................. 32
Bankruptcy Code ............................................................................................................................ 2
Bankruptcy Court ............................................................................................................................ 2
Bankruptcy Milestones ................................................................................................................. 48
Bill of Sale and Assignment and Assumption Agreement............................................................ 26
Business .......................................................................................................................................... 1
Buyer ............................................................................................................................................... 1
Cases ............................................................................................................................................... 2
Closing Date.................................................................................................................................. 25
Contracting Parties ........................................................................................................................ 58
Copyrights ....................................................................................................................................... 7
Credit Bid Amount........................................................................................................................ 26
Credit Bid Letter ............................................................................................................................. 1
Credit Repair UK ............................................................................................................................ 1
Credit.com....................................................................................................................................... 1
Creditrepair.com ............................................................................................................................. 1
Creditrepair.com Holdco................................................................................................................. 1
Designation Notice........................................................................................................................ 22
Determination Date ....................................................................................................................... 22
Effect ............................................................................................................................................... 8
eFolks .............................................................................................................................................. 1
eFolks Holdco ................................................................................................................................. 1
Enforceability Exceptions ............................................................................................................. 28
Excluded Assets ............................................................................................................................ 19
Excluded Contracts ....................................................................................................................... 19
Excluded Liabilities ...................................................................................................................... 21
Express Representations ............................................................................................................... 36
Extended Contract Period ............................................................................................................. 23
Financial Statements ..................................................................................................................... 32
Increase ......................................................................................................................................... 23
Interim Financial Statements ........................................................................................................ 32
Key Employee Agreements .......................................................................................................... 20
Marks .............................................................................................................................................. 7
Non-Recourse Persons .................................................................................................................. 58
Notices .......................................................................................................................................... 55
                 Case 23-10718-CTG                       Doc 250-1             Filed 07/28/23               Page 20 of 174




Outside Date.................................................................................................................................. 52
Parent .............................................................................................................................................. 1
Pre-Closing Taxes ......................................................................................................................... 44
Prepetition First Lien Financing Agreement................................................................................... 1
Prepetition First Lien Lenders ........................................................................................................ 1
Previously Omitted Contract......................................................................................................... 24
Previously Omitted Contract Notice ............................................................................................. 25
Progrexion ....................................................................................................................................... 1
Progrexion ASG .............................................................................................................................. 1
Progrexion IP .................................................................................................................................. 1
Progrexion Marketing ..................................................................................................................... 1
Progrexion Teleservices .................................................................................................................. 1
Projections..................................................................................................................................... 35
Purchase Price ............................................................................................................................... 26
Related Party ................................................................................................................................. 33
Related Party Transaction ............................................................................................................. 33
RSA ............................................................................................................................................... 51
Sellers.............................................................................................................................................. 1
Sellers’ Disclosure Schedules ....................................................................................................... 27
Third Party Consents..................................................................................................................... 43
Trade Secrets ................................................................................................................................... 7
Transaction Dispute ...................................................................................................................... 57
Transfer Offer ............................................................................................................................... 40
Transferred Employees ................................................................................................................. 40
Wind Down Amount ....................................................................................................................... 6
Wind Down Budget ........................................................................................................................ 6

           1.3         Other Definitional Provisions and Rules of Interpretation.

               (a)    The words “hereof,” “herein” and “hereunder” and words of similar import
when used in this Agreement shall refer to this Agreement as a whole and not to any particular
provision of this Agreement, and Section, Schedule and Exhibit references are to this Agreement
unless otherwise specified.

                (b)   All Exhibits and Schedules annexed hereto or referred to herein are hereby
incorporated in and made a part of this Agreement as if set forth in full herein. Any capitalized
terms used in any Schedule or Exhibit but not otherwise defined therein shall be defined as set
forth in this Agreement.

               (c)    The meanings given to terms defined herein shall be equally applicable to
both singular and plural forms of such terms.

              (d)      Whenever the words “include,” “includes” or “including” are used in this
Agreement they shall be deemed to be followed by the words “without limitation.” Where the
context permits, the use of the term “or” will be equivalent to the use of the term “and/or.”



                                                                         15
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 21 of 174




               (e)     Words denoting any gender shall include all genders. Where a word or
phrase is defined herein, each of its other grammatical forms shall have a corresponding meaning.

              (f)     A reference to any Party to this Agreement shall include such Party’s
successors and permitted assigns.

                (g)     The word “extent” in the phrase “to the extent” means the degree to which
a subject or other thing extends, and such phrase does not mean simply “if”.

                (h)    References herein to any Law shall be deemed to refer to such Law as
amended, modified, codified, reenacted, replaced, supplemented or superseded in whole or in part
and in effect from time to time, including any successor legislation thereto, and also to all rules
and regulations promulgated thereunder, and references to any section or other provision of a Law
means that section or provision of such Law in effect from time to time and constituting the
substantive amendment, modification, codification, reenactment, replacement or supplement of
such section or other provision; provided that for purposes of any representation or warranty set
forth herein, with respect to any violation of or non-compliance with, or alleged violation of or
non-compliance, with any Law, the reference to such Law means such as in effect at the time of
such violation or non-compliance or alleged violation or non-compliance.

               (i)    All references to “$” and dollars shall be deemed to refer to the currency of
the United States of America.

               (j)     The provision of a table of contents, the division into Articles, Sections and
other subdivisions and the insertion of headings are for convenience of reference only and shall
not affect or be utilized in construing or interpreting this Agreement. References to the terms
“Article,” “Section,” “clause,” “Schedule” and “Exhibit” are references to the Articles, Sections,
clauses, Schedules and Exhibits to this Agreement unless otherwise specified.

                (k)    References to “days” means calendar days unless Business Days are
expressly specified. When calculating the period of time before which, within which or following
which any act is to be done or step taken pursuant to this Agreement, the date that is the reference
date in calculating such period will be excluded. f the last day of such period is a day other than a
Business Day, the period in question will end on the next succeeding Business Day.

               (l)    References to “written” or “in writing” include in electronic form (including
by e-mail transmission or electronic communication by portable document format (.pdf)).

               (m)    The word “will” will be construed to have the same meaning and effect as
the word “shall”. The words “shall,” “will,” or “agree(s)” are mandatory, and “may” is permissive.

               (n)     Any document or item will be deemed “delivered,” “provided” or “made
available” by the Sellers, within the meaning of this Agreement if such document or item (a) is
included in the Dataroom, (b) actually delivered or provided to Buyer or any of Buyer’s
Representatives or (c) made available upon request, including at the Sellers’ or any of their
Subsidiaries’ offices.



                                                 16
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 22 of 174




              (o)    Any reference to any agreement or Contract will be a reference to such
agreement or Contract, as amended, modified, supplemented or waived.

                                    ARTICLE II
                         TRANSFER OF ASSETS AND LIABILITIES

        2.1     Purchased Assets. At the Closing, and upon the terms and subject to the conditions
set forth herein and in the Sale Order and, with respect to the Sellers, subject to the approval of the
Bankruptcy Court pursuant to sections 105, 363 and 365 of the Bankruptcy Code, the Sellers shall
sell, convey, assign, transfer and deliver to Buyer, and Buyer shall purchase, acquire and accept
from the Sellers, all of the right, title and interest of each of the Sellers, free and clear of any
Encumbrances (other than Permitted Encumbrances), in, to and under, all of the Purchased Assets.
The Purchased Assets shall include Sellers’ rights, titles and interests in, to and under each of the
following of the Sellers:

                (a)     other than the Excluded Cash, (i) all cash, money orders, third-party checks,
wire transfers and any other funds of the Sellers, commercial paper, marketable securities, demand
deposits, reserves for Taxes, certificates of deposit and other bank deposits, deposits of any Seller
with any third-party (including any vendor, manufacturer, customer, utility or landlord or other
cash deposits for rent, electricity, telephone or otherwise), treasury bills, and other cash equivalents
and liquid investments (in each case, net of bank overdrafts, issued but uncleared checks, wire
transfers and drafts, and negative cash balances in other accounts), and (ii) the Acquired Bank
Accounts;

               (b)     all deposits, credits, and prepaid charges and expenses from whatever
source paid;

               (c)     all accounts receivable;

                (d)     all Avoidance Actions and all of the rights, claims or causes of action of the
Sellers of any kind, including those available under the Bankruptcy Code, against any officer,
director, employee, manager or Affiliate of, or lender to, any Seller or any of their respective
Affiliates (and the proceeds of any insurance policies related to any such rights, claims or causes
of action) arising at any time prior to the Closing; provided that neither the Buyer nor any Person
claiming by, through or on behalf of the Buyer (including by operation of law, sale, assignment,
conveyance or otherwise) shall pursue, prosecute, litigate, institute or commence any Proceeding
based on, assert, sell, convey, assign or file any Claim that relates to any rights, claims or causes
of action transferred under this Section 2.1(d) against any Seller, or any officer, director, employee,
manager, adviser, or other Representative of any Seller;

                (e)   all Claims that the Sellers may have against any Person (including
Governmental Entities) for refund or credit, rebate, abatement, deposit, prepayment, or other
recovery of any type, together with any refund of interest due thereon or penalty rebate arising
therefrom, in each case solely with respect to Taxes accrued with respect to periods ending on or
prior to the Closing Date;

               (f)     all royalties, advances, prepaid assets, and other current assets;


                                                  17
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 23 of 174




               (g)    all machinery, furniture, fixtures, furnishings, equipment, and other tangible
personal property owned or used or held for use by the Sellers in the conduct of the Business,
including all artwork, desks, chairs, tables, hardware, copiers, telephone lines and numbers,
facsimile machines and other telecommunication equipment, cubicles and miscellaneous office
furnishings and supplies;

                (h)     all rights of any Seller under or pursuant to all warranties, representations
and guarantees, including those made by suppliers, manufacturers and contractors or any other
third party to and for the benefit of any Seller;

               (i)    all current and prior insurance policies, to the extent transferable, and any
proceeds therefrom, other than any directors and officers insurance policies;

                (j)    all Permits, including those listed on Schedule 2.1(j), to the extent
transferable or assignable under Law;

               (k)     all Assumed Contracts;

               (l)     all Documents;

               (m)     all Acquired Intellectual Property and all of Sellers’ rights to institute and
pursue Proceedings against third parties for past, present and future infringement, misappropriation
or dilution of any of the foregoing, or other conflict therewith, and all of the Sellers’ rights to
recover damages or lost profits in connection with any of the foregoing;

                (n)    all rights under non-disclosure or confidentiality, non-compete or non-
solicitation agreements with employees and non-employee agents of any Seller or with third parties
(including any non-disclosure or confidentiality, non-compete, or non-solicitation agreement
entered into in connection with the Auction);

               (o)    any interest in any internet websites, URLs or internet domain names, and
any applications and registrations pertaining thereto;

               (p)      any loans owed to any Seller by any current or former employee, officer or
director of any Seller;

                (q)    the sponsorship of all Assumed Benefit Plans and all right, title and interest
in any assets thereof or relating thereto;

               (r)   all other assets or rights of every kind and description of Sellers related to
the Business, wherever located, whether real, personal or mixed, tangible or intangible; and

               (s)     all goodwill related to the foregoing.

        2.2      Excluded Assets. Notwithstanding anything herein contained to the contrary, from
and after the Closing, each Seller shall retain, and Buyer shall not purchase, such Seller’s right,
title and interest in and to (and the Purchased Assets shall not include any of) the following assets


                                                 18
           Case 23-10718-CTG           Doc 250-1        Filed 07/28/23     Page 24 of 174




and properties of the Sellers (collectively, the “Excluded Assets”), all of which shall remain the
exclusive property of the Sellers:

               (a)    any Contract other than (i) any Assumed Contract, or (ii) any Contract
otherwise included as a Purchased Asset under Section 2.1(h) or Section 2.1(n) (collectively, the
“Excluded Contracts”);

               (b)    any Contract or arrangement (including any loan or similar arrangement)
with or binding upon any of the Sellers and any Related Party;

                (c)     any intercompany accounts receivable owed between or among the Sellers;

                (d)     all Claims which the Sellers may have against any Person (other than
Avoidance Actions or any of the other rights, claims or causes of action described in Section
2.1(d)), including (i) all other rights, claims, causes of action, rights of recovery, rights of set-off,
and rights of recoupment as of the Closing of any Seller, in each case, arising out of or relating to
events occurring on or prior to the Closing Date, and (ii) all claims that any of Sellers may have
against any Person with respect to any other Excluded Assets or any Excluded Liabilities;

               (e)    all rights of the Sellers under this Agreement and the agreements and
instruments delivered to the Sellers by Buyer pursuant to this Agreement;

               (f)      all Documents (i) to the extent they relate to any of the Excluded Assets or
Excluded Liabilities (including information stored on the computer systems, data networks or
servers of any Seller); (ii) that are minute books, organizational documents, stock registers and
such other books and records of any Seller as pertaining to ownership, organization or existence
of such Seller, Tax Returns (and any related work papers), corporate seal, checkbooks, and
canceled checks; (iii) that any Seller is required by Law to retain; or (iv) that are governed under
GDPR or collected from natural persons with addresses in the European Union or European
Economic Area; provided that, to the extent not prohibited by applicable Law, Buyer shall have
the right to make copies of any portions or all of such Documents;

               (g)      the Sellers’ directors and officers liability insurance policies, if any, and all
rights and benefits of any nature of Sellers with respect thereto, including all insurance recoveries
thereunder and rights to assert claims with respect to any such insurance recoveries;

               (h)    all Equity Interests of the Sellers and CreditCo Limited, wholly-owned
subsidiary of Credit Repair UK;

               (i)      all assets owned or used by the Sellers that are specifically identified in
Schedule 2.2(i);

               (j)    every asset of Sellers that would otherwise constitute a Purchased Asset (if
owned immediately prior to the Closing) if conveyed or otherwise disposed of during the period
from the date hereof until the Closing Date (i) at the direction of the Bankruptcy Court or (ii) as
permitted by the terms of the DIP Documents;



                                                   19
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23     Page 25 of 174




               (k)     all deposits, credits, prepaid charges and expenses, and other similar
amounts, to the extent related to any Excluded Liability;

                (l)    all Permits other than those set forth in Section 2.1(j);

                  (m)     the sponsorship of all Benefit Plans that are not Assumed Benefit Plans and
all right, title and interest in any assets thereof or relating thereto; and

                (n)    the Excluded Cash.

        2.3     Assumed Liabilities. Upon the terms and subject to the conditions set forth in this
Agreement and the Sale Order, and subject to the exclusions set forth in Section 2.4 (and in the
event of any conflict between the exclusions set forth in Section 2.4 and the provisions of this
Section 2.3, the exclusions set forth in Section 2.4 shall prevail), as partial consideration for the
Purchased Assets, Buyer shall, on and after the Closing, assume only the following Liabilities of
the Sellers (the “Assumed Liabilities”):

               (a)     all Liabilities under the Assumed Contracts to the extent that any such
Liabilities under such Assumed Contracts: (i) arise out of or relate to events, occurrences, acts or
omissions occurring solely after the Closing Date, (ii) do not arise from a breach, violation or
default of such Assumed Contract by any Seller prior to the Closing; and (iii) are not required to
be performed prior to the Closing;

                (b)    all Liabilities relating to Buyer’s ownership or operation of the Purchased
Assets to the extent arising out of or relating to events, occurrences, acts or omissions occurring
solely after the Closing Date;

                (c)    all Cure Amounts (the “Assumed Cure Amounts”);

               (d)    all accrued and unpaid Administrative Expenses incurred by Sellers prior to
the Closing Date (other than Professional Fees and Expenses) and those listed on Schedule 2.3(d),
not to exceed $9,900,000 in the aggregate;

               (e)     all current Liabilities, including all accounts payable and trade payables
existing on the Closing Date (including, for the avoidance of doubt, (i) invoiced accounts payable
and (ii) accrued but uninvoiced accounts payable) of Sellers;

              (f)    [all Liabilities in respect of wages and other compensation of Business
Employees for periods prior to the Closing Date];

              (g)     all Liabilities of Sellers under the employment agreements set forth on
Schedule 2.3(g) (the “Key Employee Agreements”);

                (h)    all Liabilities relating to Transferred Employees accruing on or after the
Closing Date;

                (i)     all Liabilities relating to Transferred Employees’ vacation and other paid
time off to the extent set forth in Section 6.6(c);

                                                 20
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 26 of 174




             (j)    [all Liabilities with respect to the Benefit Plans listed on Schedule 2.3(j)
(the “Assumed Benefit Plans”)];

               (k)     all Liabilities for Transfer Taxes pursuant to Section 6.10(a); and

               (l)     those Tax Liabilities specifically set forth on Schedule 2.3(l).

        2.4     Excluded Liabilities. Notwithstanding anything to the contrary set forth herein,
Buyer shall not assume, and shall not be deemed to have assumed, and the Sellers shall be solely
and exclusively liable with respect to, all Liabilities of any Seller or any of its Affiliates or any of
their respective predecessors other than the Assumed Liabilities (collectively, the “Excluded
Liabilities”). For the avoidance of doubt, and without limiting the foregoing, Buyer shall not be
obligated to assume, nor assumes, and Buyer hereby disclaims, all of the Excluded Liabilities,
including all of the following Liabilities of any Seller or any of its Affiliates (or any of their
respective predecessors) (each of which shall constitute an Excluded Liability hereunder):

               (a)    any Liability for (i) Taxes of any Seller for any taxable period and (ii) Pre-
Closing Taxes, including, for the avoidance of doubt, any employment Taxes the payment of which
was deferred under the Coronavirus Aid, Relief, and Economic Security (CARES) Act;

               (b)    any Claim in connection with or arising from or relating to any Excluded
Asset, including any Taxes associated therewith;

               (c)     all Cure Amounts other than the Assumed Cure Amounts;

               (d)     any fees, costs and expenses (including legal fees and accounting fees)
incurred by any Seller in connection with the Cases or the Transactions, including all fees, costs
and expenses incurred in connection with or by virtue of (i) the negotiation, preparation and review
of this Agreement and all agreements ancillary or related hereto, (ii) the preparation and
submission of any filing or notice required to be made or given in connection with the Transactions,
and the obtaining of any consent required to be obtained in connection with the Transactions, (iii)
the negotiation, preparing and review of the DIP Documents and (iv) any Alternate Transaction;

               (e)     any Liabilities arising under or pursuant to labor Laws;

                 (f)    any Liabilities relating to the Transferred Employees arising prior to the
Closing Date (other than those expressly set forth in Section 2.3 or Section 6.6(c)), and any
Liabilities relating to all other current or former employees, directors, consultants and other
individual service providers of the Sellers or their Affiliates who are not Transferred Employees
arising at any time, in each case, including any severance, termination or payment in lieu of notice
Liability, and any other Liability arising under or out of any Law or Contract in connection with
such Person’s employment, service or Contract with, or the termination of such Person’s
employment, service or Contract with, any Seller or its Affiliates;

               (g)     any Liabilities of the Sellers and their respective ERISA Affiliates with
respect to any Benefit Plan or other compensation or benefit plan, program, policy, agreement or
arrangement of the Sellers, other than with respect to any Assumed Benefit Plan, including any
health, welfare, retirement, pension or profit sharing Liability, deferred compensation Liability,

                                                  21
             Case 23-10718-CTG        Doc 250-1        Filed 07/28/23    Page 27 of 174




equity or equity-based incentive compensation Liability, any Liability under any employment
agreements or offer letters, or any penalties, fines or other expenses resulting from any compliance
issue with any Benefit Plan or Law, other than those Liabilities expressly assumed pursuant to
Section 2.3(h) and Section 2.3(i) or Section 6.6;

                (h)     any Liability of any Seller arising out of this Agreement or any agreement
ancillary or related hereto;

               (i)    any Liabilities arising out of or relating to the Business, the Purchased
Assets or the ownership, operation or conduct thereof prior to the Closing;

                (j)    any Liabilities for accrued expenses and accounts payable of the Business;

                (k)    any Liabilities arising as a result of any Proceeding, whether initiated prior
to or following the Closing, to the extent related to the Business or the Purchased Assets, including
any actions for breach of contract, violations of or non-compliance with Law (including Consumer
Financial Laws), Product Liability or any tort actions;

               (l)     any Liabilities arising as a result of any Contract or arrangement (including
any loan or similar arrangement) with or binding upon any of the Sellers and any Related Party
(other than those Liabilities expressly assumed pursuant to Section 2.3(a)) and all intercompany
payables owed from one Seller to any other Seller; and

              (m)     any Liabilities (i) existing prior to the filing of the Cases that are subject to
compromise under the Bankruptcy Code or other applicable Law and (ii) to the extent not
otherwise expressly assumed herein, incurred subsequent to the filing of the Cases and prior to the
Closing;

provided that in the event of any conflict between the terms of Section 2.3 and this Section 2.4,
the terms of Section 2.3 will control.

       2.5      Assumption and Assignment of Assumed Contracts.

                  (a)    Schedule 2.5(a) sets forth a list of the executory Contracts to which one or
more Sellers is a party, together with estimated Cure Amounts for each Assumed Contract (the
“Available Contracts”), which Schedule 2.5(a) may be updated from time to time prior to the date
that is fifteen (15) days following the Agreement Date to add any Contracts inadvertently excluded
from such schedule. By the date that is two (2) Business Days prior to the Closing (such date, the
“Determination Date”), Buyer shall designate in writing (each such writing, a “Designation
Notice”) which Available Contracts from Schedule 2.5(a) Buyer wishes for Sellers to assume and
assign to Buyer at the Closing (such Contracts, together with the Key Employee Agreements, the
“Assumed Contracts”). Buyer shall have the right to amend a Designation Notice in any respect at
any time prior to the Determination Date. All Contracts of the Sellers that are listed on Schedule
2.5(a) and which Buyer does not designate in writing pursuant to a Designation Notice for
assumption shall not constitute Assumed Contracts or Purchased Assets and shall automatically be
deemed Excluded Assets; provided, however, that if an Available Contract is subject to a Cure
Amount dispute or other dispute as to the assumption or assignment of such Available Contract
that has not been resolved to the mutual satisfaction of Buyer and the Sellers prior to the

                                                  22
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 28 of 174




Determination Date, then the Determination Date shall be extended (but only with respect to such
Available Contract) to no later than the earlier of (A) the date on which such dispute has been
resolved to the mutual satisfaction of Buyer and the Sellers, (B) the date on which such Available
Contract is deemed rejected by operation of section 365 of the Bankruptcy Code and (C) the date
upon which such dispute is finally determined by the Bankruptcy Court (the “Extended Contract
Period”). If a Designation Notice with respect to such Available Contract is not delivered by Buyer
in writing by the date which is three (3) Business Days following the expiration of such Extended
Contract Period, such Available Contract shall be automatically deemed an Excluded Asset. For
the avoidance of doubt, except as set forth in Section 2.3, Buyer shall not assume or otherwise
have any Liability with respect to any Excluded Asset. At Buyer’s reasonable request, the Sellers
shall make reasonably available to Buyer the appropriate employees of the Sellers necessary to
discuss the outstanding Available Contracts. Notwithstanding the foregoing, for the avoidance of
doubt, the Key Employee Agreements shall, in any event, be Assumed Contracts.

                 (b)     In the event that (i) Buyer’s exercise of its right to designate (or not
designate) an Available Contract as an Assumed Contract pursuant to Section 2.5(a) causes any
Available Contract or other asset to be an Excluded Asset, (ii) any extension of the Determination
Date with respect to any Available Contract occurs as a result of any Cure Amount dispute or other
dispute, (iii) any cost or expense to Sellers arises in connection with a Benefit Plan that is not an
Assumed Benefit Plan, or (iv) Buyer elects to close notwithstanding an unrepaired or unrestored
loss to a Purchased Asset as contemplated in the last sentence of Section 10.5, in each case of
clauses (i) through (iv), there results an increase in the Wind Down Amount, or any increase in an
amount of a category of expenses set forth in the Wind Down Budget (an “Increase”), then the
Wind Down Budget may be increased, in accordance with the terms of the DIP Orders, on a dollar-
for-dollar basis to the extent, as of the Closing Date, the Sellers have capital in excess of the amount
set forth in the then-Approved Budget; provided, however, that in no event shall the Wind Down
Budget exceed $3,000,000. If Buyer in good faith disputes in writing the amount of such estimated
Increase, the Parties will use reasonable efforts to promptly resolve such dispute or, if such dispute
cannot be promptly resolved, then seek resolution from the Bankruptcy Court. Buyer will promptly
fund any undisputed Increase within five (5) Business Days after (y) receipt of a written estimate
of the Increase which includes reasonable detail supporting the proposed Increase or (z) if later,
resolution of such dispute.

                (c)    The Sellers shall use commercially reasonable efforts to take all actions
required by the Bankruptcy Court to obtain an Order (which may be the Sale Order) containing a
finding that the proposed assumption and assignment of the Assumed Contracts to Buyer satisfies
all applicable requirements of section 365 of the Bankruptcy Code.

              (d)    At the Closing, the Sellers shall, pursuant to the Sale Order and the Bill of
Sale and Assignment and Assumption Agreement, assume and assign, or cause to be assigned, to
Buyer, each of the Assumed Contracts that is capable of being assumed and assigned as of such
date.

              (e)     Buyer will cooperate with the Sellers in communicating with third parties
to Available Contracts as may be reasonably necessary to assist the Sellers in establishing that
Buyer has satisfied the requirement of adequate assurance of future performance contained in


                                                  23
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 29 of 174




sections 365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the applicable Available
Contracts.

              (f)     In the event Sellers are unable to assign any such Assumed Contract to
Buyer without the consent of another Person, then the Parties shall use their commercially
reasonable efforts to obtain, and to cooperate in obtaining, all required consents necessary to
assume and assign such Assumed Contracts to Buyer.

               (g)    As soon as practicable after the Agreement Date (and in no event later than
three (3) Business Days after entry of the Bidding Procedures Order), the Sellers shall file a list of
the Available Contracts (the “Assumption Notice”) with the Bankruptcy Court and shall serve such
Assumption Notice via first class mail on each counterparty to an Available Contract listed thereon.
The Assumption Notice shall identify all Available Contracts and set forth a good faith estimate of
the amount of the Cure Amounts applicable to each such Contract.

                 (h)    Not later than one (1) Business Day following the Determination Date,
Sellers shall file with the Bankruptcy Court an amended and restated Assumption Notice, which
notice shall set forth only the Assumed Contracts (and exclude all other Available Contracts).

                (i)    On the Closing Date, with respect to Cure Amounts not disputed as of the
Closing Date, the Sellers shall pay all Cure Amounts (other than the Assumed Cure Amounts,
which shall be paid by Buyer) in accordance with the Approved Budget to the applicable
counterparty and Buyer shall have no Liability therefor. With respect to Cure Amounts that are
disputed as of the Closing Date, the Parties shall cooperate and diligently pursue resolution of such
disputes. Upon the resolution of any disputed Cure Amount following the Closing, the Sellers shall
pay such Cure Amount (other than the Assumed Cure Amounts, which shall be paid by Buyer)
promptly, and in no event later than two (2) Business Days following such resolution.

               (j)      Upon payment by Buyer of the Assumed Cure Amounts and by the Sellers
of all Cure Amounts other than the Assumed Cure Amounts, all defaults under the Assumed
Contracts (monetary or otherwise) and all actual or pecuniary losses that have or may have resulted
from such defaults shall be deemed cured, including any Tax, rental obligation, common area
maintenance, percentage rent, base rent or utility payments, whether or not such obligation became
due, or accrued, after the effective date of the assignment of such Assumed Contracts, as the case
may be.

               (k)    Notwithstanding anything in this Agreement to the contrary, from and after
the date hereof through the Closing, the Sellers will not reject or take any action (or fail to take
any action that would result in rejection by operation of Law) to reject, repudiate or disclaim any
Contract without the prior written consent of Buyer.

               (l)     Previously Omitted Contracts.

               (i)    If prior to or following the date which is thirty (30) days following the
       Agreement Date, it is discovered by any Party that a Contract should have been listed on
       Schedule 2.5(a) but was not listed on Schedule 2.5(a) and has not been rejected by the
       Sellers (any such Contract, a “Previously Omitted Contract”), the discovering Party shall,
       promptly following the discovery thereof (but in no event later than two (2) Business Days

                                                 24
              Case 23-10718-CTG        Doc 250-1        Filed 07/28/23     Page 30 of 174




        following the discovery thereof), notify the other Parties in writing of such Previously
        Omitted Contract and then the Sellers shall, promptly following such notification (but in
        no event later than two (2) Business Days following such notification), notify Buyer of
        Sellers’ good faith estimate of all Cure Amounts (if any) for such Previously Omitted
        Contract. Buyer may thereafter deliver a Designation Notice to Sellers, no later than the
        earlier of (x) the Determination Date or the expiration of the Extended Contract Period, as
        applicable, and (y) five (5) Business Days following notification of such Previously
        Omitted Contract from the Seller with respect to such Previously Omitted Contract and, if
        such Designation notice is so delivered, such contract shall be an Assumed Contract under
        this Agreement. All Previously Omitted Contracts with respect to which Buyer fails to
        timely deliver a Designation Notice, shall be an Excluded Asset.

                (ii)   If Buyer delivers a Designation Notice in accordance with Section 2.5(l)(i),
        the Sellers shall serve a notice (the “Previously Omitted Contract Notice”) on the
        counterparties to such Previously Omitted Contract notifying such counterparties of the
        Cure Amounts with respect to such Previously Omitted Contract and the Sellers’ intention
        to assume and assign such Previously Omitted Contract in accordance with this Section
        2.5. The Previously Omitted Contract Notice shall provide the counterparties to such
        Previously Omitted Contract with fourteen (14) days to object, in writing to the Sellers and
        Buyer, to the Cure Amounts or the assumption of its Contract. If the counterparties, the
        Sellers and Buyer are unable to reach a consensual resolution with respect to the objection,
        the Sellers shall seek an expedited hearing before the Bankruptcy Court to determine the
        Cure Amounts and approve the assumption. If no objection is served on the Sellers and
        Buyer, the Sellers shall obtain an order of the Bankruptcy Court fixing the Cure Amounts
        and approving the assumption of the Previously Omitted Contract. Sellers shall be
        responsible for all Cure Amounts relating to such Previously Omitted Contracts and for
        any obligations or Liabilities relating to such Previously Omitted Contracts arising during
        the Extended Contract Period.

                                      ARTICLE III
                              CLOSING AND PURCHASE PRICE
        3.1      Closing; Transfer of Possession; Certain Deliveries.

                (a)    Unless this Agreement shall have been terminated and the Transactions shall
have been abandoned pursuant to Article IX, the Closing shall take place at 10:00 a.m. (prevailing
Eastern Time) on the date (the “Closing Date”) that is two (2) Business Days after all the conditions
set forth in Article VIII shall have been satisfied or waived (excluding, but subject to the
satisfaction or waiver of, conditions that, by their nature, are to be satisfied at the Closing), or such
other time or date as agreed to in writing by the Parties. The Closing shall take place by telephone
or video conference and electronic exchange of documents, unless otherwise mutually agreed to
by the Parties. The Closing shall be effective as of 12:01 a.m. (prevailing Eastern Time) on the
Closing Date.

               (b)   At the Closing, the Sellers shall deliver, or shall cause to be delivered, to
Buyer the following:


                                                   25
             Case 23-10718-CTG       Doc 250-1       Filed 07/28/23   Page 31 of 174




              (i)      a counterpart to the Bill of Sale and Assignment and Assumption Agreement
       in substantially the form attached hereto as Exhibit C (the “Bill of Sale and Assignment
       and Assumption Agreement”), duly executed by each Seller;

              (ii)   one (1) or more assignments of the Owned Intellectual Property, in a form
       reasonably acceptable to Buyer and the Sellers, duly executed by the applicable Seller(s);

               (iii) a certificate of a duly authorized officer of each Seller dated the Closing
       Date certifying as to the matters set forth in Section 8.1(a), Section 8.1(b) and Section
       8.1(e);

              (iv)   terminations and/or assignments of the Leases, in each case, as reasonably
       requested by Buyer with respect to the Real Property;

              (v)    a certification of non-foreign status from each of the Sellers, duly completed
       and executed in compliance with Treasury Regulation Section 1.1445-2(b); and

                (vi) such other closing instruments and certificates as may be reasonably
       requested by Buyer, in each case in form and substance reasonably acceptable to Buyer and
       Sellers.

                 (c)    At the Closing, Buyer shall deliver, or shall cause to be delivered to the
Sellers, the following:

             (i)    a counterpart to the Bill of Sale and Assignment and Assumption
       Agreement, duly executed by Buyer;

               (ii)    a certificate of a duly authorized officer of Buyer dated the Closing Date,
       certifying as to the matters set forth in Section 8.2(a) and Section 8.2(b); and

               (iii) such other closing instruments and certificates as may be reasonably
       requested by the Sellers, in each case, in form and substance reasonably acceptable to the
       Sellers and Buyer.

       3.2      Purchase Price; Related Matters.

                (a)     Purchase Price. The aggregate consideration for the Purchased Assets shall
be no less than $[257,488,673.27] and shall consist of the following (collectively, the “Purchase
Price”): (i) a credit bid equal to (A) all obligations under the DIP Facility and (B) not less than
$[237,563,673.27] of the obligations under the Prepetition First Lien Financing Agreement (the
“Credit Bid Amount”); plus (ii) the assumption by Buyer of the Assumed Liabilities. The portion
of the Purchase Price payable under clause (i) shall be paid by means of discharging Sellers, and
Sellers shall be deemed to be discharged, from the obligation to repay the total amounts due and
owing under the Credit Documents as of the Closing Date. In no event shall the Credit Bid Amount
be payable by Buyer in cash.

               (b)    Bulk Sales Laws. Buyer acknowledges that Sellers will not comply with the
provisions of any “bulk-transfer” Laws of any jurisdiction in connection with the sale and transfer

                                                26
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 32 of 174




of the Purchased Assets and Buyer hereby waives all Claims related to the non-compliance
therewith. Pursuant to section 363(f) of the Bankruptcy Code, the transfer of the Purchased Assets
of the Sellers shall be free and clear of any Encumbrances, other than Permitted Encumbrances, in
each case pursuant to the Bankruptcy Code, whether arising prior to or subsequent to the Petition
Date, including any Encumbrances or claims arising out of the “bulk-transfer” Laws.

        3.3    Allocation of Purchase Price. Sellers and Buyer agree to allocate the Purchase Price
among the Purchased Assets for all purposes (including tax and financial accounting) in
accordance with the allocation methodology set forth in Schedule 3.3 attached hereto. Within
ninety (90) days following the Closing Date, Buyer will provide to Sellers an Allocation Schedule
prepared in accordance with such allocation methodology. Buyer and Sellers shall file all
applicable Tax Returns (including Form 8594, any amended Tax Returns, and any claims for
refund) consistent with the Allocation Schedule and shall take no position contrary thereto or
inconsistent therewith (including in any audits or examinations by any taxing authority or any
other proceedings) absent a contrary “determination” (within the meaning of Section 1313(a) of
the Code).

       3.4     Withholding. Buyer or any other paying agent (as applicable) shall be entitled to
deduct and withhold from the amounts payable under this Agreement such amounts as may be
required to be deducted and withheld under the Code and any other applicable Tax Laws. Any
such withheld amount shall be treated as though it had been paid to the Person in respect of which
such withholding was required.

                                ARTICLE IV
                 REPRESENTATIONS AND WARRANTIES OF SELLERS
         Except as set forth in the Schedules delivered to Buyer in connection with this Agreement
(the “Sellers’ Disclosure Schedules”) and subject to Section 10.19, each of the Sellers hereby
jointly and severally makes the following representations and warranties to Buyer with respect to
itself and each other Seller as of the Agreement Date:

        4.1     Organization and Good Standing. Each Seller (a) is an entity duly formed, validly
existing and in good standing under the Laws of its jurisdiction of incorporation or formation, and
(b) subject to any limitations that may be imposed on such Seller as a result of filing a petition for
relief under the Bankruptcy Code, has full organizational power and authority to own, lease and
operate its properties, to perform all of its obligations under the Available Contracts, and carry on
the Business as it is now being conducted.

        4.2     Power and Authority. Subject to entry and effectiveness of the Sale Order in respect
of the Sellers, each Seller has the requisite organizational power and authority to enter into this
Agreement and to perform its obligations hereunder, and the execution and delivery of this
Agreement by each Seller and, subject to the approval of this Agreement by the Bankruptcy Court,
the consummation by each Seller of the Transactions and the performance of each Seller’s
obligations hereunder have been duly authorized by all requisite organizational action on the part
of each Seller. This Agreement has been duly executed and delivered by each Seller and (assuming
the due and valid authorization, execution and delivery thereof by Buyer), following the approval
of this Agreement and the Transactions by the Bankruptcy Court pursuant to the Sale Order, will

                                                 27
             Case 23-10718-CTG        Doc 250-1        Filed 07/28/23    Page 33 of 174




constitute the legal, valid and binding obligation of each Seller, enforceable against each Seller in
accordance with its terms, except that such enforceability (a) may be limited by bankruptcy,
insolvency, fraudulent transfer, reorganization, moratorium and other similar Laws of general
application affecting or relating to the enforcement of creditors’ rights generally and (b) is subject
to general principles of equity, whether considered in a proceeding at law or in equity (collectively,
the “Enforceability Exceptions”). Each Seller has the requisite organizational power to operate its
business with respect to the Purchased Assets that it owns as now conducted and is duly qualified
as a foreign entity to do business, and to the extent legally applicable, is in good standing, with
respect to the Business, in each jurisdiction in which the character of its owned, operated or leased
properties or the nature of its activities makes such qualification necessary, except where the
failure to be so qualified or in good standing has not had a Material Adverse Effect.

        4.3    Litigation. Except as set forth on Schedule 4.3, as of the date of this Agreement,
there are no outstanding Orders or Proceedings pending, or, to the Knowledge of the Sellers,
threatened against any Seller relating to the ownership or use of the Purchased Assets or conduct
of the Business by the Sellers or otherwise materially affecting the Purchased Assets or the
Business.

        4.4     No Contravention. Subject to the entry and effectiveness of the Sale Order by the
Bankruptcy Court, and except as set forth on Schedule 4.4, neither the execution and delivery of
this Agreement and compliance by the Sellers with any provisions hereof, nor the consummation
of the Transactions, will (a) violate or conflict with any provision of any Seller’s Organizational
Documents, (b) with or without the giving of notice or the lapse of time or both violate, or result
in a breach of, or constitute a default under, or conflict with, or accelerate the performance required
by, any of the terms of any Available Contract or Lease, (c) violate or conflict with any Order, or
any Law or Permit that is required to be discharged prior to Closing applicable to the Sellers, or
(d) result in the creation of any Encumbrance upon any of the Purchased Assets (other than a
Permitted Encumbrance); except, in the case of above clauses (b), (c), and (d), for compliance with
the applicable requirements of the HSR Act or other Antitrust Laws if required, or as would not,
individually or in the aggregate, reasonably be expected to be material to the Business, taken as a
whole.

        4.5      Consents and Approvals. Except (a) to the extent excused or made unenforceable
as a result of the filing of the Cases, (b) to the extent not required if the Sale Order is entered, or
(c) as set forth on Schedule 4.5, the execution, delivery and performance by each Seller of this
Agreement and the Transactions, and the legality, validity, binding effect or enforceability of this
Agreement and any agreements contemplated hereby, do not require any consents, waivers,
authorizations or approvals of, or filings with, any (i) Governmental Entities or (ii) other third
Persons, except with respect to clause (ii) as would not reasonably be expected to have a Material
Adverse Effect, or, with respect to clause (i), for any filings required to be made under the HSR
Act or any applicable Antitrust Laws, or as would not reasonably be expected to be material to the
Business, taken as a whole.

       4.6      Title to Purchased Assets; Sufficiency.

                (a)    Sellers have, and subject to the entry and effectiveness of the Sale Order in
respect of the Purchased Assets, at the Closing, Buyer will have, good and valid title to each of the

                                                  28
           Case 23-10718-CTG          Doc 250-1        Filed 07/28/23    Page 34 of 174




Purchased Assets (except for those Purchased Assets that are leased or licensed to any Seller, as to
which any Seller has, and at the Closing, Buyer will have, valid licensed or leasehold interests),
free and clear of any Encumbrances, other than (i) Permitted Encumbrances, (ii) liens or other
Encumbrances upon Buyer’s assets, if any, securing any loan made directly to Buyer or expressly
assumed by Buyer as of the Closing Date, (iii) as subject to Section 2.5, or (iv) the Enforceability
Exceptions.

                (b)     Other than the Excluded Assets, the Purchased Assets constitute all of the
assets used in or held for use in the Business by Sellers and are sufficient for Buyer to conduct the
Business from and after the Closing Date without interruption and in the Ordinary Course of
Business as it has been conducted by the Sellers prior to the Closing Date, in each case, except as
would not be material to the Business taken as a whole.

        4.7     Validity of Available Contracts. As of the date of this Agreement, subject to
requisite Bankruptcy Court approvals, and assumption by the applicable Seller of the applicable
Contract in accordance with applicable Law (including satisfaction any applicable Cure Amounts)
and except (i) as a result of the commencement of the Cases, and (ii) with respect to any Contract
that has previously expired in accordance with its terms, been terminated, restated, or replaced: (a)
each Available Contract is a legal, valid and binding obligation of the Seller that is a party thereto,
and is enforceable against such Seller in accordance with its terms and, to the Knowledge of the
Sellers, is a legal, valid and binding obligation of each other party to such Contract and is
enforceable against such other party thereto in accordance with its terms, subject to the
Enforceability Exceptions, (b) no Seller that is a party to any Available Contract, or any other party
to an Available Contract is in default or breach of an Available Contract, (c) to the Knowledge of
the Sellers, during the twelve (12) months preceding the date hereof, no other party to any
Available Contract has materially breached such Contract, (d) to the Knowledge of the Sellers,
there does not exist any event, condition or omission that would constitute a material default or
breach (or event which, with the giving of notice or lapse of time or both would become such a
default or breach) under any Available Contract, (e) to the Knowledge of Sellers, no Seller that is
a party to any Available Contract has received any written notice of termination or cancellation
with respect to any Available Contract, and (f) with respect to the Assumed Contracts, upon entry
of the Sale Order and payment of the Cure Amounts, each Seller will not be in breach or default
of its obligations thereunder, except, in each case, as would not reasonably be expected to be
material to the Sellers or the Business, taken as a whole.

        4.8      Intellectual Property. Schedule 4.8 sets forth a correct and complete list of all
Owned Intellectual Property and Licensed Intellectual Property. Sellers own all right, title and
interest in, or have the right to use, pursuant to a license or otherwise, all Intellectual Property
required to operate the Business as presently conducted, in each case, (i) free and clear of any
Encumbrances except Permitted Encumbrances, and (ii) other than non-exclusive licenses of, or
covenants with respect to, Intellectual Property granted in the Ordinary Course of Business. As of
the date of this Agreement, (i) there are no pending, and Sellers have not received, since December
31, 2021, any written notice of any actual or threatened Proceedings alleging a violation,
misappropriation or infringement of the Intellectual Property of any other Person by Sellers except
for any of the foregoing that have since been resolved, (ii) to the Knowledge of Sellers, the
operation of the Business as currently conducted does not violate, misappropriate or infringe the


                                                  29
              Case 23-10718-CTG        Doc 250-1        Filed 07/28/23     Page 35 of 174




Intellectual Property of any other Person, and (iii) to the Knowledge of Sellers, no other Person
has violated, misappropriated or infringed any Intellectual Property of the Sellers.

        4.9      Employee Benefits.

                 (a)    Schedule 4.9(a) lists all Benefit Plans.

               (b)     True, correct and complete copies of the following documents, with respect
to each of the Benefit Plans, have been made available to Buyer: (i) any plan documents and all
material amendments thereto, (ii) the most recent Form 5500, if applicable, and (iii) the most recent
summary plan descriptions (including letters or other documents updating such descriptions).

              (c)    Each Benefit Plan is in material compliance with all applicable Laws,
including ERISA and the Code.

               (d)    Each Benefit Plan that is intended to be a qualified plan under Section
401(a) of the Code has received a favorable determination or opinion letter to that effect from the
IRS and, to the Knowledge of Sellers, no event has occurred since the date of such determination
or opinion that would reasonably be expected to adversely affect such determination or opinion.

                (e)    To the Knowledge of Sellers, no condition exists that is reasonably likely to
subject Sellers to any direct or indirect liability under Title IV of ERISA.

              (f)    No Proceeding (other than routine claims for benefits in the Ordinary
Course of Business) are pending or, to the Knowledge of Sellers, threatened with respect to any
Benefit Plan.

        4.10     Labor Matters.

                (a)    Schedule 4.10(a) sets forth a complete list of all Business Employees and,
based on the Sellers’ records as of the Agreement Date, correctly reflects, with respect to each
individual, as applicable: (i) date of hire; (ii) job title; (iii) hourly pay rate or annual salary; (iv)
exempt versus non-exempt status (as applicable); (v) accrued paid time off balance; and (vi) to the
extent known, leave of absence status.

                (b)    None of the Sellers is a party to any labor or collective bargaining agreement
and there are no labor or collective bargaining agreements which pertain to any Business
Employees, and no such agreements are being negotiated as of the date of this Agreement. No
Business Employees are represented by a labor or trade union or works council, no labor
organization or group of Business Employees has made a pending demand for recognition, and
there are no representation proceedings or petitions seeking a representation proceeding presently
pending or, to the Knowledge of the Sellers, threatened to be brought or filed, with the U.S.
National Labor Relations Board with respect to the Business. There is no organizing activity
pending or, to the Knowledge of the Sellers, threatened by any labor organization with respect to
the Business Employees.

              (c)     There is (i) no unfair labor practice complaint with respect to the Business
pending against any Seller or, to the Knowledge of the Sellers, threatened against them, before the

                                                   30
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 36 of 174




U.S. National Labor Relations Board, and (ii) no strike, labor dispute, slowdown or stoppage
pending against any Seller or, to the Knowledge of the Sellers, threatened against them.

               (d)    No equal employment opportunity charges or other claims of employment
discrimination are pending or, to the Knowledge of the Sellers, threatened against them. There is
no wage and hour department investigation with respect to any Seller or the Business pending or,
to the Knowledge of Sellers, threatened against them, whether internally or by any Governmental
Entity in connection with the employment, engagement, compensation, or service of any current
or former employee, consultant or contractor.

                (e)    The Sellers have not taken any actions relating to the Business at any single
site of employment in the ninety (90)-day period prior to the Closing Date that would, individually
or in the aggregate, constitute a “mass layoff” or “plant closing” within the meaning of the WARN
Act, or any similar applicable Law.

        4.11 Conduct of Business. Except as set forth on Schedule 4.11, and except for the
Cases, the DIP Documents, all negotiation and preparation therefor, and the negotiation, execution,
delivery and performance of this Agreement, from January 1, 2023 to the Agreement Date, (a) the
Business has been conducted in the Ordinary Course of Business consistent with past practice, (b)
the Sellers have owned and operated the Purchased Assets in the Ordinary Course of Business
consistent with past practice, and (c) there has been no Material Adverse Effect.

       4.12    Compliance with Laws; Permits.

                (a)     Except as disclosed on Schedule 4.12(a), the Sellers are conducting, and to
the Knowledge of Sellers have conducted since January 1, 2023, the Business and Purchased
Assets in compliance, in all material respects, with all applicable Laws, notices, approvals and
Orders. Except as disclosed on Schedule 4.12(a), to the Knowledge of the Sellers, (i) each Seller
is not in material breach of any Law, notice, approval or order applicable to it or the Business, and
(ii) there are no facts or circumstances which could form the basis for any such material breach.
None of the Sellers has received, since January 1, 2023, any written notice or other communication
that alleges that the Business is not in compliance in any material respect with any Law, Order or
Permit applicable to the Business or the Purchased Assets or any written notice or communication
regarding any deficiencies in any material respect in the compliance practices, procedures,
methodologies or methods of the Business or its employees or internal compliance controls,
including any complaint, allegation, assertion or claim that the Business or its employees has
engaged in illegal practices.

               (b)     The Sellers have all material Permits which are required for the lawful
operation of the Business as presently conducted and the ownership and operation of the Purchased
Assets, and each such Permit is valid, binding and in full force and effect, in each case except as
would not reasonably be expected to have a Material Adverse Effect. Except as set forth on
Schedule 4.12(b), to the Knowledge of Sellers, none of the Sellers are or has been in material
default or violation (and no event has occurred which, with notice or the lapse of time or both,
would constitute a default or violation) of any term, condition or provision of any Permit to which
it is a party.



                                                 31
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 37 of 174




        4.13 Financial Statements. The Sellers have delivered to Buyer (a) audited consolidated
balance sheet of the Business dated as of December 31, 2021 and the audited consolidated
statements of operations and income, shareholders’ equity and cash flow of the Business for the
year then ended (the “Audited Financial Statements”), and (b) the unaudited consolidated balance
sheets of the Business dated as of May 31, 2023 (the “Balance Sheets”) and the unaudited
consolidated statements of operations and income, shareholders’ equity and cash flow of the
Business for the year ended December 31, 2022 and the four (4) month period ended April 30,
2023, respectively (the “Interim Financial Statements” and together with the Audited Financial
Statements, the “Financial Statements”). Except as set forth on Schedule 4.13, the Financial
Statements present fairly in all material respects the consolidated financial position, results of
operations and cash flows of each of the Sellers on the basis stated therein as of the dates and for
the applicable periods stated therein, subject, in the case of the Interim Financial Statements, to
normal year-end audit adjustments and the absence of related notes.]

        4.14 Financial Advisors. Except as set forth on Schedule 4.14, no Person has acted,
directly or indirectly, as a broker, finder or financial advisor for any in connection with the
Transactions and no Person is entitled to any fee or commission or like payment in respect thereof.

        4.15 Absence of Undisclosed Liabilities. Except as set forth on Schedule 4.15, there are
no Liabilities of any of the Sellers, or otherwise related to the Business, of any nature, whether
accrued, contingent, absolute, known or otherwise, in each case, required by GAAP to be reflected
or reserved against on a balance sheet of each of the Sellers, or of the Business, prepared in
accordance with GAAP or the notes thereto, other than: (a) Liabilities as and to the extent reflected
or reserved against in the Financial Statements, (b) Liabilities incurred since January 1, 2023 in
the Ordinary Course of Business, or (c) Liabilities that would not reasonably be expected to be
material to the Business taken as a whole.

       4.16    Tax Matters.

               (a)     Except as set forth in Schedule 4.16(a), the Sellers have timely filed (taking
into account any valid extensions of time to file) all income and other material Tax Returns which
are required to be filed by the Sellers, all such Tax Returns are true, correct and complete in all
material respects, and all Taxes due and payable by the Sellers prior to the date hereof have been
timely and fully paid.

              (b)     Except as set forth on Schedule 4.16(b), there are no liens for Taxes upon
the Purchased Assets other than for Permitted Encumbrances.

                (c)   Except as set forth on Schedule 4.16(c), to the Knowledge of Sellers, the
Sellers have complied in all material respects with all applicable Laws relating to the withholding,
collection and payment of Taxes and have duly and timely withheld, collected and paid over to the
appropriate Governmental Entity all amounts required to be so withheld, collected and paid under
all applicable Laws.

               (d)    The Sellers have not received any notice in writing from any taxing
authority or Governmental Entity asserting that any Seller may be subject to Tax in any jurisdiction
in which any Seller does not file Tax Returns.


                                                 32
           Case 23-10718-CTG          Doc 250-1        Filed 07/28/23    Page 38 of 174




               (e)    No action, suit, proceeding or audit is pending against or with respect to the
Sellers regarding Taxes.

               (f)   The Sellers have not waived any statute of limitations in respect of Taxes or
agreed to any extension of time with respect to a Tax assessment or deficiency, other than any
waiver or exclusion which has expired.

               (g)     None of the Purchased Assets is an interest (other than indebtedness within
the meaning of Section 163 of the Code) in an entity taxable as a corporation, partnership, trust or
real estate mortgage investment conduit for U.S. federal income tax purposes.

        4.17 Condition and Suitability of Purchased Assets. There has been no condemnation,
seizure, damage, destruction or other casualty loss (whether or not covered by insurance) affecting
any of the Purchased Assets or the Business in any material respect which has not subsequently
been completely repaired, replaced or restored. There are no pending or, to the Knowledge of
Sellers, threatened or contemplated condemnation proceedings affecting the Business, any of the
Purchased Assets (or any portion thereof), or of any sale or other disposition of the Business or
any of the Purchased Assets (or any portion thereof) in lieu of condemnation except as would not
reasonably be expected to have a Material Adverse Effect.

       4.18    Related Party Transactions.

                 (a)    To the Knowledge of the Sellers, no Seller, executive officer, director,
member, manager, equityholder or Affiliate of a Seller nor any individual who is a lineal
descendant, sibling, parent or spouse of any such Person (each, a “Related Party”) is a party to any
Contract or arrangement (including any loan or similar arrangement) with or binding upon any of
the Sellers or the Purchased Assets or has any interest in any asset (each, a “Related Party
Transaction”) other than as set forth on Schedule 4.18(a). Except as set forth on Schedule 4.18(a),
no Seller has made any payments to or on behalf of any Related Party (including by exercise of
set-off rights, cancellation of intercompany indebtedness, or otherwise).

                (b)     Except as disclosed on Schedule 4.18(b), to the Knowledge of Sellers, no
Related Party will, immediately following the Closing, hold any asset (tangible or intangible),
property, right, claim, cause of action (including any counterclaim) or defense used in or related
to the Business.

        4.19 Disclaimer of Other Representations and Warranties. Except for the representations
and warranties expressly set forth in this Article IV (as modified by the Sellers’ Disclosure
Schedules hereto), no Seller, nor any other Person, makes, and Buyer and the Buyer Group have
not relied, are not relying, and will not rely on, any representation and warranty, express or implied,
in respect of such Seller, the Purchased Assets, the Business or the Assumed Liabilities, and any
such other representations or warranties, express or implied, are hereby expressly disclaimed.

                                  ARTICLE V
                   REPRESENTATIONS AND WARRANTIES OF BUYER
       Buyer hereby represents and warrants to the Sellers as follows:


                                                  33
           Case 23-10718-CTG         Doc 250-1       Filed 07/28/23    Page 39 of 174




         5.1    Organization and Good Standing. Buyer is a limited liability company duly
organized, validly existing and in good standing under the Laws of its jurisdiction of formation,
and has full power and authority to own, lease and operate its properties and carry on its business
as it is now being conducted.

        5.2     Power and Authority. Buyer has the requisite power and authority to enter into this
Agreement and to perform its obligations hereunder, and the execution and delivery of this
Agreement and the consummation of the Transactions and the performance of Buyer’s obligations
hereunder have been duly authorized by all requisite company action on the part of Buyer. This
Agreement has been duly executed and delivered by Buyer and constitutes (assuming the due and
valid authorization, execution and delivery thereof by the other parties thereto and the entry of
approval of this Agreement and the Transactions by the Bankruptcy Court pursuant to the Sale
Order) the legal, valid and binding obligation of Buyer, enforceable against Buyer in accordance
with its terms.

        5.3     No Contravention. Neither the execution and delivery of this Agreement nor the
consummation of the Transactions will (a) violate or conflict with any provision of Buyer’s
Organizational Documents, or (b) violate or conflict with any Order, Governmental Entity or
arbitrator, or any Law applicable to Buyer; other than, in the case of clause (b), compliance with
the applicable requirements of the HSR Act or other Antitrust Laws if required.

       5.4     Consents and Approvals. Except for (a) entry of the Sale Order, and (b) any
consents or approvals as are reflected on Schedule 5.4, the execution, delivery and performance
by Buyer of this Agreement and the Transactions, and the legality, validity, binding effect or
enforceability of this Agreement and any agreements contemplated hereby, do not require any
consents, waivers, authorizations or approvals of, or filings with, any third Persons or
Governmental Entities, other than any filings required to be made under the HSR Act or applicable
Antitrust Laws.

        5.5    Litigation. There are no Proceedings pending or, to the knowledge of Buyer,
threatened, that would reasonably be expected to adversely affect the ability of Buyer to
consummate the Transactions in any material respect.

        5.6     Financial Advisors. No Person has acted, directly or indirectly, as a broker, finder
or financial advisor for Buyer in connection with the Transactions and no Person is entitled to any
fee or commission or like payment in respect thereof.

        5.7     Sufficient Funds; Adequate Assurances. Buyer has or will have as of the Closing,
immediately available funds sufficient for the satisfaction of all of Buyer’s obligations under this
Agreement, including all fees, expenses of, and other amounts required to be paid by, Buyer in
connection with the transactions contemplated hereby. As of the Closing, Buyer shall be capable
of satisfying the conditions contained in sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy
Code with respect to the Assumed Contracts and the related Assumed Liabilities.

       5.8     Credit Bid. The Credit Bid Letter has been duly authorized and executed and
delivered by the Administrative Agent and the Lenders, as holders of outstanding indebtedness
under the Credit Documents, and fully authorizes Buyers to, among other things, enter into and


                                                34
            Case 23-10718-CTG     Doc 250-1      Filed 07/28/23    Page 40 of 174




perform and comply with this Agreement and consummate the transactions contemplated hereby,
including the credit bid contemplated in Section 3.2(a).

      5.9      Acknowledgements; “As Is” “Where Is” Transaction.

            (a)  BUYER, ON ITS OWN BEHALF AND ON BEHALF OF THE BUYER
GROUP, HEREBY ACKNOWLEDGES AND AGREES THAT IT HAS CONDUCTED TO ITS
FULL SATISFACTION AN INDEPENDENT INVESTIGATION AND VERIFICATION OF
THE BUSINESS, INCLUDING ITS FINANCIAL CONDITION, RESULTS OF OPERATIONS,
ASSETS, LIABILITIES, PROPERTIES, CONTRACTS, ENVIRONMENTAL COMPLIANCE,
EMPLOYEE MATTERS, REGULATORY COMPLIANCE, BUSINESS RISKS AND
PROSPECTS OF THE SELLERS, THEIR AFFILIATES, AND THEIR RESPECTIVE
BUSINESSES AND SUBSIDIARIES AND THE PURCHASED ASSETS AND THE ASSUMED
LIABILITIES, AND, IN MAKING ITS DETERMINATION TO PROCEED WITH THE
TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT, BUYER AND THE BUYER
GROUP HAVE RELIED SOLELY ON THE RESULTS OF THEIR OWN INDEPENDENT
INVESTIGATION.

           (b)   BUYER, ON ITS OWN BEHALF AND ON BEHALF OF THE BUYER
GROUP, HEREBY ACKNOWLEDGES AND AGREES THAT BUYER AND THE BUYER
GROUP HAVE RECEIVED FROM SELLERS CERTAIN PROJECTIONS, FORWARD-
LOOKING STATEMENTS AND OTHER FORECASTS, AND PROSPECTIVE FORWARD-
LOOKING STATEMENTS AND OTHER FORECASTS OR THIRD-PARTY INFORMATION
RELATING TO THE SELLERS, THE BUSINESS, THE PURCHASED ASSETS AND THE
ASSUMED LIABILITIES (WHETHER IN WRITTEN, ELECTRONIC, OR ORAL FORM, AND
INCLUDING IN THE DATAROOM, MANAGEMENT MEETINGS, ETC.) (COLLECTIVELY,
“PROJECTIONS”). BUYER, ON BEHALF OF ITSELF AND ON BEHALF OF THE BUYER
GROUP, ACKNOWLEDGES THAT (I) SUCH PROJECTIONS ARE BEING PROVIDED
SOLELY FOR THE CONVENIENCE OF BUYER AND THE BUYER GROUP TO
FACILITATE THEIR OWN INDEPENDENT INVESTIGATION OF THE SELLERS, (II)
THERE ARE UNCERTAINTIES INHERENT IN ATTEMPTING TO MAKE SUCH
PROJECTIONS AND FORECASTS AND IN SUCH INFORMATION; (III) BUYER AND THE
BUYER GROUP ARE FAMILIAR WITH SUCH UNCERTAINTIES, AND (IV) BUYER AND
THE BUYER GROUP ARE TAKING FULL RESPONSIBILITY FOR MAKING THEIR OWN
EVALUATION OF THE ADEQUACY AND ACCURACY OF ALL SUCH PROJECTIONS,
FORECASTS, AND       INFORMATION    SO   FURNISHED    (INCLUDING   THE
REASONABLENESS OF THE ASSUMPTIONS UNDERLYING SUCH PROJECTIONS AND
FORECASTS); AND (V) NONE OF THE SELLERS NOR ANY OTHER PERSON MAKES
ANY REPRESENTATIONS OR WARRANTIES WITH RESPECT TO SUCH PROJECTIONS
AND FORECASTS. BUYER, ON ITS OWN BEHALF AND ON BEHALF OF THE BUYER
GROUP HEREBY DISCLAIMS RELIANCE ON ANY OF SUCH PROJECTIONS OR
FORECASTS.

           (c)   BUYER, ON ITS OWN BEHALF AND ON BEHALF OF THE BUYER
GROUP, FURTHER ACKNOWLEDGES AND AGREES THAT (I) THE REPRESENTATIONS
AND WARRANTIES MADE BY SELLERS TO BUYER IN Article IV (AS QUALIFIED BY
THE SELLERS’ DISCLOSURE SCHEDULES) OR IN THE DOCUMENTS DELIVERED BY

                                            35
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 41 of 174




SELLERS TO BUYER IN ACCORDANCE WITH SECTION 3.1(b) AT THE CLOSING
(COLLECTIVELY, THE “EXPRESS REPRESENTATIONS”) ARE THE SOLE AND
EXCLUSIVE REPRESENTATIONS, WARRANTIES AND STATEMENTS OF ANY KIND
MADE TO BUYER AND ON WHICH BUYER OR THE BUYER GROUP MAY RELY IN
CONNECTION WITH THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT
AND (II) ALL OTHER REPRESENTATIONS, WARRANTIES AND STATEMENTS OF ANY
KIND OR NATURE EXPRESSED OR IMPLIED, WHETHER IN WRITTEN, ELECTRONIC
OR ORAL FORM, INCLUDING (A) THE COMPLETENESS OR ACCURACY OF, OR ANY
OMISSION TO STATE OR TO DISCLOSE, ANY INFORMATION (OTHER THAN SOLELY
TO THE EXTENT OF THE EXPRESS REPRESENTATIONS), INCLUDING IN THE
DATAROOM, PROJECTIONS, MEETINGS, CALLS OR CORRESPONDENCE WITH
MANAGEMENT OF THE SELLERS OR ANY OTHER PERSON ON BEHALF OF THE
SELLERS OR ANY OF THEIR RESPECTIVE AFFILIATES OR REPRESENTATIVES, AND
(B) ANY OTHER STATEMENT RELATING TO THE HISTORICAL, CURRENT OR FUTURE
BUSINESS, FINANCIAL CONDITION, RESULTS OF OPERATIONS, ASSETS,
LIABILITIES, PROPERTIES, CONTRACTS, ENVIRONMENTAL COMPLIANCE,
EMPLOYEE MATTERS, REGULATORY COMPLIANCE, BUSINESS RISKS AND
PROSPECTS OF THE SELLERS OR ANY OF THEIR RESPECTIVE AFFILIATES OR
SUBSIDIARIES, OR THE QUALITY, QUANTITY OR CONDITION OF THE SELLERS’
ASSETS, ARE, IN EACH CASE, EXPRESSLY DISCLAIMED BY EACH OF THE SELLERS,
ON ITS OWN BEHALF AND ON BEHALF OF EACH OF THE OTHER SELLERS,
INCLUDING WITH RESPECT TO (I) ANY WARRANTY, EXPRESS OR IMPLIED, OF
MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE AS TO ANY
PORTION OF THE PURCHASED ASSETS, AND (II) WITH RESPECT TO THE BUSINESS,
FINANCIAL CONDITION, RESULTS OF OPERATIONS, ASSETS, LIABILITIES, AND
PROSPECTS OF SELLERS OR THE BUSINESS OF THE SELLERS, THE
MERCHANTABILITY OR FITNESS OF THE PERSONAL PROPERTY OR ANY OTHER
PORTION OF THE PURCHASED ASSETS FOR ANY PARTICULAR PURPOSE, OR ANY
OTHER MATTER RELATING TO THE PURCHASED ASSETS OR ANY PORTION
THEREOF.

          (d)  UPON THE CLOSING DATE, SUBJECT TO THE EXPRESS
REPRESENTATIONS AND THE PROVISIONS OF SECTION 10.5, BUYER WILL ACCEPT
THE PURCHASED ASSETS AT THE CLOSING “AS IS,” “WHERE IS,” AND “WITH ALL
FAULTS.”

                                     ARTICLE VI
                               COVENANTS OF THE PARTIES
        6.1     Conduct of Business Pending the Closing. Except (a) as required by applicable Law
or by order of the Bankruptcy Court, (b) as otherwise expressly required by this Agreement, (c) as
limited by the terms of the DIP Documents, or (d) with the prior written consent of Buyer (not to
be unreasonably withheld, conditioned, or delayed), during the period from the Agreement Date
and continuing until the earlier of the termination of this Agreement in accordance with its terms
or the Closing, the Sellers shall carry on the Business in the Ordinary Course of Business (subject
to the requirements of the Bankruptcy Code and Bankruptcy Court) and use commercially
reasonable efforts to preserve in all material respects (a) the operations, organization and goodwill

                                                 36
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 42 of 174




of the Business intact (including by maintaining and renewing its Permits) and (b) relationships
with Governmental Entities, customers, suppliers, partners, lessors, licensors, licensees, vendors,
contractors, distributors, agents, officers and employees and others having business dealings with
the Business. The Sellers shall notify Buyer in writing of any event, occurrence, fact, condition or
change in the Business, assets, operations or prospects of the Sellers that results in, or would
reasonably be expected to result in, a Material Adverse Effect, promptly upon the occurrence of
any such event, occurrence, fact, condition or change.

       6.2     Negative Covenants. Except as otherwise expressly provided by this Agreement or
consented to in writing by Buyer (such consent not to be unreasonably withheld, conditioned, or
delayed), or as may be required by order of the Bankruptcy Court or the Credit Documents, or as
may be limited by the terms of the DIP Documents, during the period from the date of this
Agreement until the earlier of the termination of this Agreement in accordance with its terms or
the Closing, the Sellers shall not take any of the following actions:

              (a)    incur or commit to incur any capital expenditures other than as expressly
contemplated under the Approved Budget;

                (b)     acquire or agree to acquire (by merging or consolidating with, or by
purchasing any portion of the stock of, or other ownership interests in, or substantial portion of
assets of, or by any other manner), any business or division or any corporation, partnership,
association, limited liability company or other entity;

               (c)     grant any lien on or otherwise encumber or dispose of (or consent to the
disposition of) any of the Purchased Assets (including any Available Contract), including the
capital stock or equity interests of any of the Sellers, other than a Permitted Encumbrances or
inventory sold in the Ordinary Course of Business;

                (d)    sell, assign, transfer, license, sublicense, covenant not to sue with respect
to, abandon, cancel, terminate, permit to lapse or expire, or otherwise dispose of any Acquired
Intellectual Property;

                (e)     adjust, split, combine, redeem, repurchase or reclassify any capital stock or
equity interests or issue or propose or authorize the issuance of any other securities (including Debt
securities, options, profits interests, warrants or any similar security exercisable for, or convertible
into, such other security);

               (f)     incur or assume any Debt (other than in connection with the DIP
Documents);

              (g)    guarantee any Debt of any Person or enter into any “keep well” or other
agreement to maintain any financial condition of another Person or enter into any arrangement
having the economic effect of any of the foregoing (other than pursuant to the Credit Documents);

              (h)     enter into, amend, restate, supplement, modify, waive or terminate any
Available Contract that would reasonably be expected to be material to the Business, taken as a
whole;


                                                  37
           Case 23-10718-CTG           Doc 250-1        Filed 07/28/23     Page 43 of 174




              (i)   adopt any amendments to the certificate of incorporation, bylaws or other
Organizational Documents of any Seller;

                 (j)     initiate, compromise, settle or agree to settle any Claim, complaint, or
Proceeding, other than compromises or settlements in the Ordinary Course of Business that (i)
involve only the payment of money damages not in excess of $[●] individually or $[●] in the
aggregate, (ii) do not impose ongoing limits on the conduct of the Business, and (iii) result in a
full release of all Sellers with regard to the Claims or complaint giving rise to such Proceeding;

                (k)     make, change or revoke any material Tax election (including entity
classification elections), change any financial or Tax accounting method, except insofar as may
have been required by applicable Law or a change in GAAP, consent to an extension or waiver of
the limitation period applicable to any Tax claim or assessment, or surrender any right to claim a
refund of a material amount of Taxes;

               (l)     except as required by Law, enter into, amend, negotiate or terminate any
collective bargaining agreement or similar agreement with any labor union or labor organization
representing any employees;

                (m)     except as required by Law, by the terms of any Benefit Plan or in the
Ordinary Course of Business, (i) increase the compensation payable to or to become payable to,
or the benefits provided to, pay any bonus to, or grant any equity or equity-based award to, any
current or former employee, director, independent contractor or other individual service provider
of the Sellers; (ii) grant, increase, pay, provide or modify any severance, retention, change in
control or termination payment or benefit to, or loan or advance or accelerate any amount to, any
current or former employee, director, independent contractor or other individual service provider
of the Sellers; (iii) accelerate the vesting or payment, or fund or in any other way secure the
payment, of any compensation or benefit for any current or former employee, director, independent
contractor or other individual service provider of the Sellers; (iv) approve, establish, adopt, enter
into, amend or terminate any Assumed Benefit Plan; or (v) hire or terminate (other than for cause)
any Business Employee, or independent contractor or other individual service provider of the
Business with annual target cash compensation greater than $100,000;

                (n)     implement any employee layoffs that would result in an obligation to give
notice at or before the Closing Date under the WARN Act or other similar law;

                (o)     (i) enter into any Contract or arrangement (including any loan or similar
arrangement) with a Related Party or that would be a Related Party Transaction if it existed on the
Agreement Date or (ii) make payments to or on behalf of any Related Party (including by exercise
of set-off rights or otherwise), other than in accordance with the terms of an existing, disclosed
Related Party Transaction;

                (p)     receive, collect, compile, use, store, process, share, safeguard, secure
(technically, physically and administratively), dispose of, destroy, disclose, or transfer (including
cross-border) Personal Information (or fail to do any of the foregoing, as applicable) in violation
of any (i) applicable Privacy Laws, (ii) privacy policies or notices of the Sellers, or (iii) the Sellers’
contractual obligations with respect to Personal Information; or


                                                   38
             Case 23-10718-CTG        Doc 250-1        Filed 07/28/23    Page 44 of 174




                (q)    commit to take any of the foregoing actions or any other action which would
reasonably be expected to materially delay or impede the satisfaction of any of the conditions set
forth in Article VIII.

       6.3      Access.

                (a)     Subject to applicable Law, until the Closing Date, the Sellers (i) shall give
Buyer and its Representatives reasonable access during normal business hours to the offices,
assets, contracts, properties, officers, employees, accountants, auditors, financial advisors, counsel
(other than counsel to the Sellers in connection with the Cases) and other representatives, books
and records, of the Sellers and their Affiliates, (ii) shall furnish to Buyer and its Representatives
such financial, operating and property related data and other information as such Persons
reasonably request, (iii) shall instruct the employees, accountants, counsel and financial advisors
of the Sellers and their Affiliates to cooperate reasonably with Buyer in its investigation of the
Business; and (iv) shall, upon reasonable request of Buyer, use commercially reasonable efforts to
provide Buyer with access to their customers, suppliers, vendors, distributors, manufacturers and
other Persons with whom the Business has had material dealings; provided, however, that Buyer
will not, and will not permit any of its Representatives to, contact any officer, manager, director,
employee, customer, supplier, lessee, lessor, lender, licensee, licensor, distributor, noteholder or
other material business relation of the Sellers prior to the Closing with respect to the Sellers, their
business or the transactions contemplated by this Agreement without the prior written consent of
the Sellers for each such contact. No investigation by Buyer prior to or after the date of this
Agreement shall diminish or obviate any of the representations, warranties, covenants or
agreements of the Sellers contained in this Agreement. For the avoidance of doubt, nothing in this
Section 6.3(a) shall require Sellers to take any such action if (i) such action may result in a waiver
or breach of any attorney/client privilege or (ii) such action could reasonably be expected to result
in violation of applicable Law or Order.

                (b)     From and after the Closing Date until the conclusion of the Cases and
dissolution of Sellers, Buyer shall give the Sellers and the Sellers’ Representatives reasonable
access during normal business hours to the books and records, including work papers, schedules,
memoranda, Tax Returns, Tax schedules, Tax rulings, and other documents (for the purpose of
examining and copying) relating to the Purchased Assets, the Excluded Assets, the Assumed
Liabilities or the Excluded Liabilities with respect to periods or occurrences prior to the Closing
Date, for the purposes of (i) the preparation or amendment of Tax Returns, (ii) the determination
of any matter relating to the rights or obligations of the Sellers under this Agreement, or (iii) as is
necessary to administer, or satisfy their obligations in connection with, the Cases. Buyer shall, and
shall cause each of its controlled Affiliates to, cooperate with the Sellers as may reasonably be
requested by the Sellers for such purposes. For the avoidance of doubt, nothing in this Section
6.3(b) shall require Buyer to take any such action if (i) such action may result in a waiver or breach
of any attorney/client privilege, (ii) such action could reasonably be expected to result in violation
of applicable Law or Order, or (iii) providing such access or information would be reasonably
expected to be disruptive to its normal business operations. Unless otherwise consented to in
writing by the Sellers, Buyer will not, for a period of three (3) years following the Closing Date,
destroy, alter or otherwise dispose of any of the books and records without first offering to
surrender to the Sellers such books and records or any portion thereof that Buyer may intend to
destroy, alter or dispose of. From and after the Closing, Buyer will, and will cause its employees

                                                  39
             Case 23-10718-CTG        Doc 250-1        Filed 07/28/23    Page 45 of 174




to, provide Sellers with reasonable assistance, support and cooperation with Sellers’ wind-down
and related activities (e.g., helping to locate documents or information related to preparation of
Tax Returns or prosecution or processing of insurance/benefit claims).

               (c)     The information provided pursuant to this Section 6.3 will be used solely
for the purpose of consummating the transactions contemplated hereby, and will be governed by
all the terms and conditions of Section 12.19 of the Prepetition First Lien Financing Agreement.
None of Sellers makes any representation or warranty as to the accuracy of any information, if any,
provided pursuant to this Section 6.3, and Buyer may not rely on the accuracy of any such
information, in each case, other than the Express Representations.

       6.4      Confidentiality. From and after the Closing Date:

               (a)     the Sellers will treat and hold as confidential all of the Confidential
Information, and will not, directly or indirectly, without the prior written consent of Buyer, disclose
or use any Confidential Information. The Sellers’ obligation not to disclose Confidential
Information shall not apply to Confidential Information that it shall be required to disclose by Law;
provided, however, that, prior to making such disclosure, the Sellers shall notify Buyer promptly
to the extent not prohibited by Law so that Buyer may, seek confidential treatment or protection
of such Confidential Information at Buyer’s sole cost and expense.

               (b)    in the event that the Sellers are required in any Proceeding to disclose any
Confidential Information, the Sellers will notify Buyer promptly of the requirement to the extent
not prohibited by Law so that Buyer may seek an appropriate protective order at Buyer’s sole cost
and expense or waive compliance with the provisions of this Section 6.4.

        6.5     Public Announcements. From the Agreement Date, Buyer and the Sellers will
consult with each other before issuing, and provide each other the reasonable opportunity to review
and comment upon, any press release, any court filing or pleading filed with the Bankruptcy Court
relating primarily to this Agreement or the Transactions, or other public statements with respect to
the Transactions, and neither Buyer nor the Sellers shall issue any such press release or make any
such public statement without the prior written approval of the other Party, in each case except as
may be required by Law, or by obligations pursuant to any listing agreement with any national
securities exchange. Sellers shall use their respective commercially reasonable efforts to cause
their respective Affiliates, employees, officers and directors to comply with this Section 6.5.

       6.6      Employment Matters.

               (a)     At least ten (10) days prior to Closing, Buyer shall extend to each Business
Employee a written offer of employment, which shall have been first reviewed by Sellers, and
which Sellers shall have had an opportunity to comment upon, providing for a position that is the
same or no less favorable than such employee’s position immediately prior to the Closing
(including level of responsibility, primary location of employment and authority) on the terms set
forth in this Section 6.6 (“Transfer Offer”) and that, if accepted, shall become effective
immediately after the Closing. Business Employees who accept such Transfer Offers and begin
active employment with Buyer in accordance with this Section 6.6 shall be referred to herein as
“Transferred Employees.” For a period of no less than one (1) year or, if sooner, the Transferred


                                                  40
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 46 of 174




Employee’s termination of employment with Buyer or its Affiliates, Buyer or its affiliates shall
provide each Transferred Employee (i) at least the same base salary or hourly wage rate and target
incentive cash bonus opportunities applicable to such Transferred Employee as of the Closing Date
and (ii) other material employee benefits (but excluding any equity based compensation, defined
benefit plan benefits or long-term deferred compensation) that are comparable in the aggregate to
the benefits such Transferred Employee received under the Benefit Plans as of the Closing Date.
Buyer shall notify Sellers in a reasonable timeframe with respect to whether each such offer has
been accepted or rejected. Nothing herein shall be construed as a representation or guarantee by
any Seller or any of their respective Affiliates that any or all of the employees of Sellers will accept
the Transfer Offer or will continue in employment with Buyer following the Closing for any period
of time. Buyer shall carry out all necessary actions to effect the timely transfer of employment to
it of each such Transferred Employee who has accepted a Transfer Offer. Effective as of the
Closing, each Transferred Employee shall cease to be an employee of each Seller or their respective
Affiliates.

                (b)     Solely to the extent required by applicable Law, Sellers shall pay each
Transferred Employee all accrued but unused vacation or paid time-off for periods prior to the
Closing Date as soon as administratively practicable following the Closing Date or as required by
applicable Law. Buyer shall promptly (and, in any event, within ten (10) Business Days following
the later of the Closing Date and the date of the applicable payment) reimburse Sellers for any
payments made by Sellers to any Transferred Employees in respect of earned but unused vacation,
sick leave and personal time paid to Transferred Employees in accordance with this Section 6.6(b).
To the extent that applicable Law does not require Sellers to pay any accrued but unused vacation,
sick leave and personal time to any Transferred Employee in accordance with this Section 6.6(b),
Buyer shall recognize and assume all Liabilities with respect to such Transferred Employee’s
accrued but unused vacation, sick leave and personal time. In addition, Buyers shall allow
Transferred Employees to take any vacation, sick leave and personal time that was scheduled prior
to the Closing.

                (c)     Following the Closing, Buyer shall give each Transferred Employee full
credit for prior service with the Sellers for purposes of (i) eligibility and vesting under any health
or welfare Benefit Plans of Buyer (for the avoidance of doubt, excluding defined benefit pension
accruals, deferred compensation, or equity or equity-based incentive plans, or any plan under
which such crediting would be prohibited), and (ii) determination of benefit levels under any
employee benefit plans of Buyer relating to paid time off, in each case, for which the Transferred
Employee is otherwise eligible and in which the Transferred Employee is offered participation,
except where such credit would result in a duplication of benefits. Buyer shall use commercially
reasonable efforts to waive, or cause to be waived, any limitations on benefits relating to pre-
existing conditions to the same extent such limitations are waived under any comparable plan of
the Sellers and use commercially reasonable efforts to recognize for purposes of annual deductible
and out-of-pocket limits under its medical and dental plans, deductible and out-of-pocket expenses
paid by Transferred Employees in the calendar year in which the Closing Date occurs.

               (d)     Without limiting the generality of Section 2.4, each Seller shall retain
responsibility for, and satisfy all Liabilities with respect to, all payments and benefits of the
employees (and their spouses, dependents and beneficiaries, and all former employees, agents and
representatives) under Benefit Plans that are not Assumed Benefit Plans accrued up to the Closing

                                                  41
             Case 23-10718-CTG         Doc 250-1       Filed 07/28/23     Page 47 of 174




Date or which relate to events prior to the Closing Date under in accordance with the terms thereof
and applicable Laws. The Seller and Buyer shall work in good faith to transfer sponsorship of any
Assumed Benefit Plan (including any third-party insurance contracts or services agreements
thereto) from Seller to Buyer or its Affiliates.

                (e)      Without limiting the generality of Article II, each Seller shall be responsible
for the following claims or benefit payments of all employees (and their spouses, dependents and
beneficiaries, and all former employees, agents and representatives) accrued up to the Closing Date
or which related to events prior to the Closing Date regardless of whether such claims are filed
before or after the Closing Date under each Benefit Plan that is not an Assumed Benefit Plan:

              (i)     with respect to death or dismemberment claims, those in respect of which
       the event occurred prior to the Closing Date;

              (ii)    with respect to health claims, those in respect of which the services were
       provided or the supplies were purchased prior to the Closing Date; and

               (iii) with respect to short term and/or long term disability claims and workers’
       compensation claims, for those claims resulting from events that occurred prior to the
       Closing Date, including, to the extent covered under the Benefit Plans, for recurring
       illnesses which first originated with events occurring prior to the Closing Date, whether or
       not such claims continue after the Closing Date.

                 (f)    This Section 6.6 shall operate exclusively for the benefit of the Sellers and
Buyer and not for the benefit of any other Person, including any current or former employees of
the Sellers or the Transferred Employees, which Persons shall have no rights to enforce this Section
6.6. Nothing in this Section 6.6 shall: (i) entitle any Transferred Employee to employment with
Buyer; (ii) change such Transferred Employee’s status as an employee-at-will or restrict the ability
of Buyer to terminate the service of any Transferred Employee at any time or for any reason; (iii)
create any third party rights in any current or former service provider of the Sellers (including any
beneficiary or dependent thereof); or (iv) be treated as an amendment of any Benefit Plan or other
employee benefit plan or arrangement or restrict the ability of Buyer, the Sellers or any of their
respective Affiliates to amend, modify, discontinue or terminate any Benefit Plan or other
employee benefit plan or arrangement.

               (g)     Buyer shall be solely responsible for any and all obligations and Liabilities
arising under Section 4980B of the Tax Code with respect to all “M&A qualified beneficiaries” as
defined in 26 C.F.R. § 54.4980B-9.

               (h)    For any Transferred Employees who are principally based outside the
United States, the provisions of this Section 6.6 shall apply to such employees mutatis mutandis
to the maximum extent permitted by applicable Law.

       6.7      Reasonable Efforts; Approvals.

                (a)    Buyer and the Sellers will use reasonable best efforts to take, or cause to be
taken, all actions and use reasonable best efforts to do, or cause to be done, and to assist and
cooperate with the other Parties in doing, all things which are necessary, proper or advisable to

                                                  42
           Case 23-10718-CTG          Doc 250-1        Filed 07/28/23    Page 48 of 174




consummate and make effective the Transactions including: (i) the transfer, modification or
reissuance of all Permits, (ii) the obtaining or taking of all other necessary actions, non-actions or
waivers from Governmental Entities and the making of all other necessary registrations and filings
with Governmental Entities (including any regulatory authorizations), and (iii) the execution and
delivery of any additional certificates, agreements, instruments, reports, schedules, statements,
consents, documents and information necessary to consummate the Transactions. The covenants
in this Section 6.7(a) shall survive the Closing.

                (b)     In furtherance of the foregoing, Buyer and each Seller shall use its
commercially reasonable efforts to obtain any consents and approvals from any third party other
than a Governmental Entity that may be required in connection with the Transactions (the “Third
Party Consents”). Without limiting the generality of the foregoing sentence, the Sellers shall not
be required to compensate any applicable third party, commence or participate in any Proceeding
or offer or grant any accommodation (financial or otherwise, including any accommodation or
arrangement to indemnify, remain primarily, secondarily or contingently liable for any Assumed
Liability) to any applicable third party in connection with the Sellers’ obligations under this Section
6.7(b); provided that the Sellers shall obtain the written consent of Buyer prior to any Seller paying
any such compensation, commencing or participating in any Proceeding, or offering or granting
any such accommodation. The covenants in this Section 6.7(b) shall survive the Closing.

                (c)    The obligations of the Sellers pursuant to this Agreement, including this
Section 6.7, shall be subject to any Orders entered, or approvals or authorizations granted or
required, by or under the Bankruptcy Court or the Bankruptcy Code (including in connection with
the Cases), Sellers’ DIP Facility, and each of Sellers’ obligations as a debtor-in-possession to
comply with any Order of the Bankruptcy Court (including the Bidding Procedures Order and the
Sale Order) and Sellers’ duty to seek and obtain the highest or otherwise best price for the Acquired
Assets as required by the Bankruptcy Code

        6.8     Corporate Name Change. Within 30 days following the Closing, each Seller shall
deliver to Buyer (a) a duly executed and acknowledged certificate of amendment to such Seller’s
certificate of incorporation or other Organizational Document which is required to change such
Seller’s corporate or other entity name to a new name that is, in Buyer’s reasonable judgment,
sufficiently dissimilar to such Seller’s present name and, in all cases, does not include the name
“Progrexion”, “Prime”, “Credit.com”, “Creditrepair.com” and “Credit Repair” so as to avoid
confusion and to make each Seller’s present name available to Buyer, and (b) appropriate
documents, duly executed and acknowledged, which are required to change such Seller’s name to
such new name in any jurisdiction in which such Seller is qualified to do business, in forms
reasonably satisfactory to Buyer. Buyer and any Affiliate of Buyer are hereby authorized (but not
obligated) to file such certificates or other documents (at Buyer’s expense) with the applicable
Governmental Entities in order to effectuate such change of name at or after the Closing as Buyer
may elect.

        6.9     Assignment of Contracts and Rights. To the maximum extent permitted by the
Bankruptcy Code, the Purchased Assets of the Sellers shall be assumed and assigned to Buyer
pursuant to section 365 of the Bankruptcy Code as of the Closing Date or such other date as
specified in the Sale Order or this Agreement, as applicable. Notwithstanding any other provision
of this Agreement to the contrary, this Agreement shall not constitute an agreement to assign any

                                                  43
           Case 23-10718-CTG           Doc 250-1       Filed 07/28/23     Page 49 of 174




asset or any right thereunder if, after giving effect to the Sale Order, an attempted assignment
without the consent of a third party (including any Governmental Entity) would constitute a breach
or in any way adversely affect the rights of Buyer following the Closing. If, as of the Closing Date,
such consent is not obtained or such assignment is not attainable pursuant to sections 105, 363 or
365 of the Bankruptcy Code other than as a result of the failure by the Sellers or Buyer, as
applicable, to pay or otherwise satisfy all Cure Amounts or the Assumed Cure Amounts, then the
Sellers and Buyer will cooperate in a mutually agreeable arrangement, to the extent feasible
(without infringing upon the legal rights of any third party or violating any Law), under which
Buyer would obtain the benefits and assume the obligations (to the extent otherwise constituting
Assumed Liabilities hereunder, as if such asset were transferred to the Buyer at Closing)
thereunder in accordance with this Agreement, including subcontracting, sublicensing or
subleasing to Buyer, or under which the Sellers would enforce for the benefit of, and at the
direction of, Buyer, with Buyer assuming all of the Sellers’ obligations (to the extent constituting
Assumed Liabilities hereunder as if such asset were transferred to the Buyer at Closing), and any
and all rights of the Sellers thereunder.

       6.10    Tax Matters

                (a)     Subject to Section 2.3(k), all Transfer Taxes arising out of the transfer of the
Purchased Assets and any Transfer Taxes required to effect any recording or filing with respect
thereto shall be borne by Buyer. The Transfer Taxes shall be calculated assuming that no exemption
from Transfer Taxes is available, unless otherwise indicated in the Sale Order or, at Closing, the
Sellers or Buyer, as appropriate, provide an appropriate resale exemption certificate or other
evidence acceptable to Buyer or the Sellers, as appropriate, of exemption from such Transfer
Taxes. The Sellers and Buyer shall cooperate to timely prepare and file any Tax Returns relating
to such Transfer Taxes, including any claim for exemption or exclusion from the application or
imposition of any Transfer Taxes. The Sellers shall file all necessary documentation and returns
with respect to such Transfer Taxes when due, and shall promptly, following the filing thereof,
furnish a copy of such return or other filing and a copy of a receipt showing payment of any such
Transfer Tax to Buyer. Each Party shall furnish or cause to be furnished to the other, upon request,
as promptly as practicable, such information and assistance relating to the Purchased Assets and
the Business as is reasonably necessary for filing of all Tax Returns, including any claim for
exemption or exclusion from the application or imposition of any Taxes or making of any election
related to Taxes, the preparation for any audit by any taxing authority and the prosecution or
defense of any claim, suit or proceeding relating to any Tax Return.

                (b)     Other than Transfer Taxes or those Taxes assumed pursuant to Section 2.3,
all Liability for Taxes with respect to the Purchased Assets attributable to the Pre-Closing Tax
Period (the “Pre-Closing Taxes”) shall be borne by the Sellers, and all Liability for Taxes with
respect to the Purchased Assets attributable to the Post-Closing Tax Period shall be borne by Buyer.
For the purposes of this Agreement, with respect to Taxes attributable to any taxable year or other
taxable period beginning on or before and ending after the Closing Date, the portion of any such
Taxes that are treated as Pre-Closing Taxes shall be: (i) in the case of Taxes based upon, or related
to income, receipts, profits, or wages or imposed in connection with the sale, transfer or assignment
of property, or required to be withheld, deemed equal to the amount which would be payable if
such taxable year or other taxable period ended on the Closing Date, and (ii) in the case of other
Taxes deemed to be the amount of such Taxes for the entire period multiplied by a fraction the

                                                  44
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 50 of 174




numerator of which is the number of days in the period ending on the Closing Date and the
denominator of which is the number of days in the entire period.

               (c)      The Parties agree that the transfer of the Purchased Assets to the Buyer is
intended to be treated as a taxable acquisition of assets and the Parties shall prepare and file all
relevant U.S. federal income Tax Returns consistent with such intended treatment and Section 3.3,
respectively, absent a contrary “determination” (within the meaning of Section 1313(a) of the
Code).

                (d)     The obligations set forth in this Section 6.10 with respect to Taxes shall
survive until the date that is thirty (30) days following the expiration of the applicable statute of
limitations.

       6.11 Available Contracts List. Sellers shall use commercially reasonable efforts to
provide Buyer with a true and correct list of all Available Contracts (and copies thereof) promptly
following the date hereof and in no event later thirty (30) days from the Agreement Date.

       6.12    HSR Act; Antitrust Laws.

                (a)     Sellers and Buyer shall, if required in connection with the transactions
contemplated hereby, (i) promptly make the filings required by any Governmental Entity, including
under the HSR Act or any other Antitrust Laws and, in any event, within ten (10) Business Days
after the Agreement Date in the case of all filings required under the HSR Act and all other filings
required by other Antitrust Laws, (ii) comply at the earliest practicable date with any request for
additional information, documents or other materials received from any Governmental Entity,
whether such request is formal or informal, (iii) cooperate with the other Parties in connection with
resolving any investigation or other inquiry concerning the transactions contemplated by this
Agreement commenced by any Governmental Entity, and (iv) cooperate with the other Parties in
connection with any other Party’s filing. Each Party shall be responsible for the payment of its
respective fees and expenses, including legal fees and expenses, in complying with any request for
additional information or documentary material from any Governmental Entity; provided that all
filing fees required to be paid in connection with any filings hereunder shall be borne equally by
Sellers and Buyer. Except where prohibited by applicable Law or any Governmental Entity, and
subject to Section 6.4, each Party shall promptly inform the other Parties of any oral
communication with, and provide copies of written communications with, any Governmental
Entity regarding any such filing. No Party shall agree to participate in any formal meeting with
any Governmental Entity in respect of any such filings, investigation, or other inquiry without
giving the other Parties prior notice of the meeting and, to the extent permitted by such
Governmental Entity, the opportunity to attend and/or participate. Subject to applicable Laws and
any Governmental Entity, the Parties will coordinate, consult and cooperate with one another in
connection with any analyses, appearances, presentations, memoranda, briefs, arguments, opinions
and proposals made or submitted by or on behalf of any Party relating to proceedings under the
HSR Act or any other Antitrust Law, if any. Except where prohibited by applicable Law or any
Governmental Entity, and subject to Section 6.4, the Parties will provide each other with copies of
all correspondence, filings or communications, including any documents, information and data
contained therewith, between them or any of their representatives, on the one hand, and any


                                                 45
             Case 23-10718-CTG        Doc 250-1       Filed 07/28/23    Page 51 of 174




Governmental Entity or members of its staff, on the other hand, with respect to this Agreement and
the transactions contemplated hereby.

                (b)     Buyer and each Seller shall use their respective reasonable best efforts to
obtain any required approval from any Governmental Entity and to resolve such objections, if any,
as may be asserted by any Governmental Entity with respect to the transactions contemplated by
this Agreement under the HSR Act, the Sherman Act, as amended, the Clayton Act, as amended,
the Federal Trade Commission Act, as amended, and any other United States federal or state or
foreign Laws that are designed to prohibit, restrict or regulate actions having the purpose or effect
of monopolization or restraint of trade (collectively, the “Antitrust Laws”). Buyer and each Seller
shall use their respective reasonable best efforts to take such action as may be required to cause
the expiration of the notice periods under the HSR Act or other Antitrust Laws with respect to such
transactions as promptly as practicable after the execution of this Agreement.

                                      ARTICLE VII
                                 BANKRUPTCY PROVISIONS
        7.1     Expense Reimbursement. In consideration for Buyer having expended considerable
time and expense in connection with this Agreement and the negotiation thereof and the
identification and quantification of assets of the Sellers, if this Agreement is terminated for any
reason other than Section 9.1(b)(i) or Section 9.1(c)(i), the Sellers shall pay Buyer, in accordance
with the terms of this Agreement (including Section 9.2) and the Bidding Procedures Order an
aggregate amount equal to the Expense Reimbursement; provided, however, if the Agreement is
terminated pursuant to Section 9.1(b)(v), Section 9.1(b)(vii) or Section 9.1(c)(ii), any such
Expense Reimbursement shall only be due and payable upon consummation of an Alternate
Transaction from the proceeds of such Alternate Transaction. Each of the Parties acknowledges
and agrees that the agreements contained in this Section 7.1 are an integral part of the Transactions
and this Agreement and that the Expense Reimbursement is not a penalty, but rather is liquidated
damages in a reasonable amount that will reasonably compensate Buyer in the circumstances in
which such Expense Reimbursement is payable for the efforts and resources expended and
opportunities foregone by Buyer while negotiating and pursuing the Transactions and this
Agreement and in reasonable reliance on this Agreement and on the reasonable expectation of the
consummation of the Transactions, which amount would otherwise be impossible to calculate with
precision. In accordance with Section 7.3, Sellers shall file with and seek the entry by the
Bankruptcy Court of the Bidding Procedures Order approving the payment of the Expense
Reimbursement. The claim of Buyer in respect of the Expense Reimbursement shall become and
constitute an allowed administrative expense claim against each of the Sellers under sections
503(b) and 507(a)(2) of the Bankruptcy Code in the Cases (without the need to file a proof of
claim). The Expense Reimbursement shall be payable on a joint and several basis by the Sellers.

       7.2      Bankruptcy Court Orders and Related Matters.

                (a)    The Sellers and Buyer acknowledge that this Agreement and the
Transactions are subject to entry of, as applicable, the Bidding Procedures Order and the Sale
Order. In the event of any discrepancy between this Agreement and the Bidding Procedures Order
and the Sale Order, the Bidding Procedures Order and the Sale Order shall govern. In the event the
entry of the Sale Order or the Bidding Procedures Order is appealed, Sellers shall use commercially

                                                 46
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 52 of 174




reasonable efforts to defend such appeal, and Buyer shall cooperate in such efforts. Buyer and
Sellers acknowledge that Sellers must take reasonable steps to demonstrate that they have sought
to obtain the highest or otherwise best offer for the Purchased Assets, including giving notice
thereof to the creditors of Sellers and other interested parties, providing information about Sellers’
business to prospective bidders, entertaining higher or otherwise better offers from such
prospective bidders, and, in the event that additional qualified prospective bidders desire to bid for
the Purchased Assets, conducting the Auction. Buyer agrees and acknowledges that Sellers and
their Affiliates will be permitted, and will be permitted to cause their Representatives, to initiate
contact with, solicit or encourage submission of any inquiries, proposals or offers by, respond to
any unsolicited inquiries, proposals or offers submitted by, and enter into any discussions or
negotiations regarding any of the foregoing with, any Person (in addition to Buyer and its
Affiliates, agents and Representatives).

              (b)      The bidding procedures to be employed with respect to this Agreement and
the Auction will be those reflected in the Bidding Procedures Order.

                 (c)     Buyer will provide adequate evidence and assurance under the Bankruptcy
Code of the future performance by Buyer of each Assumed Contract. Buyer will, and will cause
its Affiliates to, reasonably promptly take all actions reasonably required or requested by Sellers
to assist in obtaining a Bankruptcy Court finding that there has been an adequate demonstration of
adequate assurance of future performance under the Assumed Contracts, such as furnishing
affidavits, non-confidential financial information and other documents or information for filing
with the Bankruptcy Court and making Buyer’s Representatives available to testify before the
Bankruptcy Court. Subject to the other terms and conditions of this Agreement, Buyer will, from
and after the Closing Date, (i) assume all Liabilities of Sellers under the Assumed Contracts and
(ii) satisfy and perform all of the Liabilities related to each of the Assumed Contracts when the
same are due thereunder.

               (d)    If this Agreement and the sale of the Purchased Assets to Buyer on the terms
and conditions hereof are determined to be the “highest or otherwise best offer” in accordance with
the Bidding Procedures Order, Buyer and Sellers agree to use commercially reasonable efforts to
cause the Bankruptcy Court to enter the Sale Order in a form mutually agreed between Buyer and
Sellers.

                (e)    The Sellers shall, consistent with their respective obligations as fiduciaries
under the Bankruptcy Code, cooperate with Buyer concerning the Bidding Procedures Order, the
Sale Order, and any other orders of the Bankruptcy Court relating to the Transactions. The Sellers
shall give notice under the Bankruptcy Code of the request for the relief specified in the Bidding
Procedures Motion to all creditors and parties in interest entitled to notice thereof pursuant to the
Bidding Procedures Order, the Bankruptcy Code, the Bankruptcy Rules, the local rules of the
Bankruptcy Court, and any other applicable orders of the Bankruptcy Court, including all Persons
that have asserted Encumbrances on any Seller’s assets, and all non-debtor parties to the Available
Contracts of the Sellers and other appropriate notice, including such additional notice as the
Bankruptcy Court shall direct or as Buyer may reasonably request, and provide appropriate
opportunity for hearing, to all parties entitled thereto, of all motions, orders, hearings, or other
Proceedings in the Bankruptcy Court relating to this Agreement, the Transactions and the Bidding
Procedures Motion.

                                                 47
           Case 23-10718-CTG          Doc 250-1        Filed 07/28/23    Page 53 of 174




               (f)     The Sellers shall provide draft copies of all orders, motions, pleading,
applications and other material documents they intend to file with the Bankruptcy Court in
connection with the sale of the Purchased Assets or the Transactions not less than three (3)
Business Days prior to the date when the Sellers plan to file such document (provided that if the
delivery of such drafts at least three (3) Business Days is not reasonably practicable, such drafts
shall be delivered to Buyer as soon as reasonable practicable prior to filing). The form and
substance of any such document hereunder shall be mutually acceptable to Buyer and Seller,
provided that no Party shall unreasonably withhold, condition or delay its consent.

                (g)     Sellers covenant and agree that if the Sale Order is entered, the terms of any
plan submitted by Sellers to the Bankruptcy Court for confirmation, or the terms of any other sale
of Sellers’ or their Affiliates’ assets (or any other Order) submitted by Sellers to the Bankruptcy
Court, for approval, will not conflict with, supersede, abrogate, nullify, modify or restrict the terms
of this Agreement and the rights of Buyer hereunder, or in any way prevent or interfere with the
consummation or performance of the Transactions including any transaction that is contemplated
by or approved pursuant to the Sale Order.

                 (h)    For the avoidance of doubt, nothing in this Agreement will restrict Sellers
or their Affiliates from selling, disposing of or otherwise transferring any Excluded Assets (other
than Available Contracts, which the Sellers may not terminate, amend, or otherwise dispose of, or
reject in the Cases, without Buyer’s consent) or from settling, delegating or otherwise transferring
any Excluded Liabilities, or from entering into discussions or agreements with respect to the
foregoing.

        7.3     Bankruptcy Milestones. The Parties shall achieve the following milestones by the
dates set forth below (or such later date as may be agreed between the Parties, such agreement not
to be unreasonably withheld, conditioned or delayed) (collectively, the “Bankruptcy Milestones”):

              (a)    On the Petition Date, the Debtors shall file a motion with the Bankruptcy
Court seeking approval of the DIP Facility.

                (b)    On or before the date that is two (2) days after the Petition Date, the Debtors
shall have filed the Bidding Procedures Motion in the Bankruptcy Court.

             (c)     On or before the date that is four (4) days after the Petition Date, the
Bankruptcy Court shall have entered the Interim DIP Order.

              (d)    On or before the date that is forty-seven (47) days after the Petition Date,
the Bankruptcy Court shall have entered the Final DIP Order.

              (e)    On or before the date that is forty-seven (47) days after the Petition Date,
the Bankruptcy Court shall have entered the Bidding Procedures Order.

               (f)    On or before the date that is no later than fifty-eight (58) days after the
Petition Date, each of the Debtors shall have filed schedules and statements of financial affairs
pursuant to rule 1007 of the Federal Rule of Bankruptcy Procedure.



                                                  48
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 54 of 174




               (g)    On or before the date that is sixty (60) days after the Petition Date, the Bid
Deadline (as defined in the Bidding Procedures Order) shall have occurred.

               (h)   On or before the date that is sixty-five (65) days after the Petition Date, the
Debtors shall have commenced the Auction, if necessary.

             (i)     On or before the date that is seventy (70) days after the Petition Date, the
Bankruptcy Court shall have entered the Sale Order.

                (j)    On or before the date that is one hundred and five (105) days after the
Petition Date, the Closing shall have occurred.

                                 ARTICLE VIII
                   CONDITIONS TO OBLIGATIONS OF THE PARTIES
        8.1    Conditions Precedent to Obligations of Buyer. The obligation of Buyer to
consummate the Transactions is subject to the satisfaction (or waiver by Buyer in Buyer’s sole
discretion) on or prior to the Closing Date of each of the following conditions:

                (a)     Accuracy of Representations and Warranties. The representations and
warranties of the Sellers contained in Section 4.1 (Organization and Good Standing), Section 4.2
(Power and Authority), Section 4.14 (Financial Advisors), and Section 4.18 (Related Party
Transactions) shall be true and correct on the date hereof and on and as of the Closing Date, with
the same force and effect as though such representations and warranties had been made on and as
of the Closing Date (except to the extent that any such representation or warranty is expressly
made as of a specified date). The representations and warranties of the Sellers contained in Section
4.6 (Title to Purchased Assets) shall be true and correct in all material respects on the date hereof
and on and as of the Closing Date, with the same force and effect as though such representations
and warranties had been made on and as of the Closing Date (except to the extent that any such
representation or warranty is expressly made as of a specified date). All other representations and
warranties of the Sellers contained in Article IV shall be true and correct on the date hereof and as
of the Closing Date (except to the extent that any such representation or warranty is expressly
made as of a specified date), except where the failure of any such representations or warranties to
be true and correct (without giving effect to any limitations to “material” or “Material Adverse
Effect”), either individually or in the aggregate, has resulted in or would reasonably be expected
to result in a Material Adverse Effect.

              (b)     Performance of Obligations. Each of the Sellers shall have performed in all
material respects all obligations and agreements contained in this Agreement required to be
performed by it on or prior to the Closing Date.

               (c)     Third Party Consents. The Sellers shall have obtained all consents and
approvals set forth in Schedule 8.1(c).

             (d)     DIP Financing. The DIP Documents shall have each been approved by the
Bankruptcy Court pursuant to the Final DIP Order, which shall be in form and substance acceptable
to Buyer.


                                                 49
           Case 23-10718-CTG         Doc 250-1       Filed 07/28/23    Page 55 of 174




               (e)   No Material Adverse Effect. There shall have been no Material Adverse
Effect from the Agreement Date through the Closing Date.

                 (f)   No Challenges to Credit Bid. There shall be no pending challenge or contest
to the validity, amount, perfection or priority of the DIP Documents, the Loan Documents or other
Claims of Buyer or Administrative Agent (as applicable) thereunder that would prevent or
otherwise limit Buyer’s ability to credit bid the Credit Bid Amount, unless any such challenge or
contest shall have been resolved to the reasonable satisfaction of Buyer in its sole discretion;

              (g)     Deliverables. The Sellers shall have delivered, or caused to be delivered, to
Buyer each deliverable required pursuant to Section 3.1(b).

              (h)   Bidding Procedures Order. The Bankruptcy Court shall have entered the
Bidding Procedures Order, which Order shall have become a Final Order.

               (i)   Sale Order. The Bankruptcy Court shall have entered the Sale Order, which
Order shall have become a Final Order.

               (j)     Lexington Law Sale Transaction. Lexington Law shall have entered into
definitive written agreements, in form and substance acceptable to Buyer, regarding a sale
transaction with respect to the Lexington Law assets pursuant to which the purchaser of Lexington
Law’s assets will provide certain services to Buyer.

        8.2    Conditions Precedent to the Obligations of the Sellers. The obligation of the Sellers
to consummate the Transactions is subject to the satisfaction (or waiver by the Sellers) at or prior
to the Closing Date of each of the following conditions:

                 (a)     Accuracy of Representations and Warranties. The representations of Buyer
contained in Section 5.1 (Organization and Good Standing), Section 5.2 (Power and Authority),
Section 5.3 (No Contravention) and Section 5.6 (Financial Advisors) shall be true and correct on
the date hereof and on and as of the Closing Date, with the same force and effect as though such
representations and warranties had been made on and as of the Closing Date (except to the extent
that any such representation or warranty is expressly made as of a specified date). All other
representations and warranties contained in Article V shall be true and correct on the date hereof
and as of the Closing Date (except to the extent that any such representation or warranty is
expressly made as of a specified date), except where the failure of any such representations or
warranties to be true and correct (without giving effect to any limitations to “material” or similar
qualifier), either individually or in the aggregate, has resulted in or would reasonably be expected
to have an adverse effect on Buyer’s ability to perform its obligations under this Agreement in any
material respect.

                 (b)    Performance of Obligations. Buyer shall have performed in all material
respects all obligations and agreements contained in this Agreement required to be performed by
it prior to or on the Closing Date.

              (c)     Deliverables. Buyer shall have delivered to the Sellers each deliverable
required pursuant to Section 3.1(c).


                                                50
           Case 23-10718-CTG          Doc 250-1      Filed 07/28/23    Page 56 of 174




              (d)   Bidding Procedures Order. The Bankruptcy Court shall have entered the
Bidding Procedures Order, which Order shall not be subject to a stay or otherwise been vacated.

               (e)     Sale Order. The Bankruptcy Court shall have entered the Sale Order, which
Order shall not be subject to a stay or otherwise been vacated.

               (f)    Restructuring Support Agreement. Concurrently with the execution of this
Agreement, Sellers and Lenders shall each have executed and delivered a binding restructuring
support agreement with respect to the wind down and liquidation of the Debtor entities and
businesses following the Closing, in form and substance satisfactory to Sellers (the “RSA”), and
such RSA shall remain in full force and effect, there being no material breach by the Lenders of
any provisions thereof.

        8.3     Conditions Precedent to Obligations of Buyer and the Sellers. The respective
obligations of Buyer and the Sellers to consummate the Transactions are subject to the fulfillment,
on or prior to the Closing Date, of the condition (which may be waived by the Parties in whole or
in part to the extent permitted by applicable Law) that (a) no provision of any applicable Law or
Order enacted, entered, promulgated, enforced or issued by any Governmental Entity shall be in
effect that prevents, renders illegal or otherwise prohibits the sale and purchase of the Purchased
Assets or any of the other Transactions, and (b) the waiting period applicable to the transactions
contemplated by this Agreement under the HSR Act and any other applicable Antitrust Laws, if
required, shall have expired or early termination shall have been granted.

        8.4    Frustration of Closing Conditions. Upon the occurrence of the Closing, any
condition set forth in this Article VIII that was not satisfied as of the Closing will be deemed to
have been waived for all purposes by the Party having the benefit of such condition as of and after
the Closing. Neither the Sellers nor Buyer may rely on the failure of any condition to their
respective obligations to consummate the Transactions set forth in Section 8.1, Section 8.2 or
Section 8.3, as the case may be, to be satisfied if such failure was caused by such Party’s failure
to comply with or breach of any provision of this Agreement.

                                         ARTICLE IX
                                        TERMINATION
       9.1    Termination of Agreement. This Agreement may be terminated and the
Transactions abandoned at any time prior to the Closing:

               (a)    by written agreement of the Sellers and Buyer.

               (b)    by Buyer, if:

               (i)    any Bankruptcy Milestone is not timely satisfied in accordance with Section
       7.3;

               (ii)    there shall have been a breach by the Sellers of any of their representations,
       warranties, covenants or agreements contained in this Agreement, which breach would
       result in the failure to satisfy one or more of the conditions set forth in Section 8.1, and
       such breach shall be incapable of being cured or, if capable of being cured, shall not have

                                                51
   Case 23-10718-CTG            Doc 250-1      Filed 07/28/23    Page 57 of 174




been cured by the earlier of (A) September 18, 2023 (or such later date as the Parties may
agree upon in writing, the “Outside Date”) or (B) five (5) Business Days after written notice
thereof shall have been received by the Sellers, provided that the right to terminate this
Agreement pursuant to this Section 9.1(b)(ii) will not be available to Buyer at any time that
Buyer is in material breach of, any covenant, representation or warranty hereunder;

        (iii) the Cases are (A) converted to cases under chapter 7 of the Bankruptcy Code
or (B) dismissed prior to the Closing;

          (iv)   a trustee or examiner is appointed under section 1104 of the Bankruptcy
Code;

          (v)    there is a breach or event of default under the DIP Documents;

          (vi)   Buyer is not the Successful Bidder at the Auction for any of the Purchased
Assets;

        (vii) Sellers enter into a definitive agreement with respect to an Alternate
Transaction or an Order of the Bankruptcy Court or other court of competent jurisdiction
is entered approving an Alternate Transaction, in each case, other than with the Successful
Bidder; or

       (viii) if the Closing shall not have occurred by the Outside Date; provided that
the right to terminate this Agreement pursuant to this Section 9.1(b)(viii) will not be
available to Buyer at any time that Buyer is in material breach of, any covenant,
representation or warranty hereunder.

          (c)    by the Sellers, if:

        (i)     there shall have been a breach by Buyer of any of its representations,
warranties, covenants or agreements contained in this Agreement, which breach would
result in the failure to satisfy one or more of the conditions set forth in Section 8.2, and
such breach shall be incapable of being cured or, if capable of being cured, shall not have
been cured within the earlier of (A) Outside Date or (B) ten (10) Business Days after written
notice thereof shall have been received by Buyer;
        (ii)   any Seller enters into a definitive agreement with respect to an Alternate
Transaction, or an Order of the Bankruptcy Court or other court of competent jurisdiction
is entered approving an Alternate Transaction;

        (iii) any Seller or the board of directors (or similar governing body) of any Seller
determines that proceeding with the transactions contemplated by this Agreement or failing
to terminate this Agreement would be inconsistent with its or such Person’s or body’s
fiduciary duties; or

          (iv)   if the Buyer is not the Successful Bidder at the Auction;



                                          52
             Case 23-10718-CTG        Doc 250-1       Filed 07/28/23    Page 58 of 174




               (d)    by either Buyer or the Sellers, if any Governmental Entity shall have
enacted or issued a Law or Order or taken other action permanently restraining, prohibiting or
enjoining any of the Parties from consummating the Transactions.

       9.2      Consequences of Termination.

                 (a)      If either Buyer, on the one hand, or Sellers, on the other hand, desire to
terminate this Agreement pursuant to Section 9.1, such Party (or Parties, as applicable) shall give
written notice of such termination to the other Parties. Upon delivery of such notice of termination,
this Agreement will become void and have no further force and effect and all further obligations
of the Parties to each other under this Agreement will terminate without further obligation or
liability of the Parties.

               (b)     Notwithstanding anything to the contrary in this Agreement, if the
Agreement is terminated pursuant to Section 9.1(b)(v), Section 9.1(b)(vii) or Section 9.1(c)(ii),
then Buyer shall be entitled to payment of the Expense Reimbursement, if approved by the
Bankruptcy Court, upon consummation of an Alternate Transaction from the proceeds of such
Alternate Transaction.

                (c)     Notwithstanding anything to the contrary in this Agreement, if this
Agreement is terminated for any reason other than pursuant to (i) Section 9.1(a), Section 9.1(b)(i),
or Section 9.1(c)(i), (in each of which cases no Expense Reimbursement is or shall be owed to
Buyer), or (ii) Section 9.1(b)(v), Section 9.1(b)(vii) or Section 9.1(c)(ii) (in each of which cases
the Expense Reimbursement shall be payable from the proceeds of the Alternate Transaction), then
Buyer shall be entitled to payment of the Expense Reimbursement no later than two (2) Business
Days following such termination.

               (d)     Notwithstanding the foregoing set forth in this Section 9.2, Section 1.1
(Defined Terms), Section 6.5 (Public Announcements), Section 7.1 (Expense Reimbursement), this
Section 9.2 (Consequences of Termination) and Article X (Miscellaneous) shall survive any
termination of this Agreement.

                (e)    Nothing in this Section 9.2 shall relieve Buyer or the Sellers of any liability
for a breach of this Agreement prior to the date of termination.

                                          ARTICLE X
                                       MISCELLANEOUS
       10.1 Expenses. Except as set forth in this Agreement, the Credit Documents or the Sale
Order, and whether or not the Transactions are consummated, each Party shall bear all costs and
expenses incurred or to be incurred by such Party in connection with this Agreement and the
consummation of the Transactions.

        10.2 Assignment. Neither this Agreement nor any of the rights or obligations hereunder
may be assigned by Sellers without the prior written consent of Buyer, or by Buyer without the
prior written consent of Sellers; provided, however, that Buyer may assign any or all of its rights
and/or liabilities hereunder (or any document delivered by Buyer pursuant hereto) to one or more
Affiliates of Buyer, or to any party which has received a contribution of the outstanding balance

                                                 53
           Case 23-10718-CTG           Doc 250-1        Filed 07/28/23     Page 59 of 174




under the Prepetition First Lien Financing Agreement equal to the Credit Bid Amount, in the
aggregate, which assignment shall not relieve Buyer of its obligations hereunder. Subject to the
foregoing, this Agreement shall be binding upon and inure to the benefit of the Parties and their
respective successors and permitted assigns.

        10.3 Parties in Interest. This Agreement shall be binding upon and inure solely to the
benefit of the Sellers and Buyer, and nothing in this Agreement, express or implied, is intended to
or shall confer upon any other Person any rights, benefits or remedies of any nature whatsoever
under or by reason of this Agreement except as expressly set forth herein. Without limiting the
foregoing, no direct or indirect holder of any equity interests or securities of either the Sellers or
Buyer (whether such holder is a limited or general partner, member, stockholder or otherwise), nor
any Affiliate of either the Sellers or Buyer, nor any Representative, or controlling Person of each
of the Parties and their respective Affiliates, shall have any liability or obligation arising under this
Agreement or the Transactions.

        10.4    Matters Related to the Administrative Agent.

                 (a)    Each of the Parties acknowledges and agrees that none of the Sellers’ title
to, control of or possession of any of the Purchased Assets, or any of the Sellers’ obligations in
respect of any of the Assumed Liabilities, shall be transferred to or assumed by the Administrative
Agent. Each Seller and Buyer, on behalf of itself and its respective Affiliates, acknowledges and
agrees that neither the Administrative Agent nor any of its Affiliates (other than Buyer) shall have
any Liability in the event of any breach by Buyer or any Seller of any of its representations,
warranties, covenants, obligations or other agreements under this Agreement, including its
obligations to consummate the Transactions in accordance with the terms of any document
contemplated by this Agreement, other than as a result of or arising out of the Administrative
Agent’s intentional fraud or willful misconduct. Each Seller and Buyer, on behalf of itself and its
respective Affiliates, further acknowledges and agrees that neither the Administrative Agent nor
any of its Affiliates (other than Buyer) shall in any way be deemed to be attributed or otherwise
responsible for any of the representations, warranties, covenants, obligations or other agreements
of Buyer or the Sellers under any document contemplated by this Agreement, including any
obligation of Buyer or the Sellers hereunder to make payments of any kind, provide written
approvals or make deliveries. Each Seller and Buyer, on behalf of itself and its respective
Affiliates, further acknowledges and agrees that neither the Administrative Agent nor any of its
Affiliates shall have any Liability or other obligation in respect of any action taken or not taken by
the Administrative Agent in connection with any document contemplated by this Agreement, other
than as a result of or arising out of the Administrative Agent’s intentional fraud or willful
misconduct. Each Seller and Buyer, on behalf of itself and its respective Affiliates, further
acknowledges and agrees that Buyer, and not the Administrative Agent, has negotiated the terms
of the purchase set forth herein, including the assets being purchased, the Liabilities being
assumed, the Purchase Price and all the terms of this Agreement relating to the purchase by Buyer,
and the Administrative Agent shall bear no responsibility and incur no Liability whatsoever to any
Person solely by virtue of being a Party.

        10.5 Risk of Loss. The Sellers will bear all risk of loss occurring to or upon any portion
of the Purchased Assets prior to the Closing Date. In the event that any material portion of any
Purchased Assets is damaged or destroyed prior to Closing Date, then, with respect to such

                                                   54
           Case 23-10718-CTG         Doc 250-1       Filed 07/28/23   Page 60 of 174




Purchased Assets, Buyer may, at Buyer’s option, either (i) proceed to close notwithstanding the
damage or destruction of such Purchased Assets or (ii) exclude such Purchased Assets, in which
event Buyer shall have no obligation to close if as a consequence of the exclusion of such
Purchased Assets any condition to Closing in Section 8.1 would not be satisfied. If Buyer closes
notwithstanding an unrepaired or unrestored loss to a Purchased Asset, the Sellers will deliver
and/or assign to Buyer any insurance proceeds with respect to such damage or destruction, and all
claims against third parties relating thereto, and the adjustment to the Purchase Price shall be
limited to the amount of any deductible or self-insured retention under the applicable policies of
insurance.

        10.6 Notices. All notices, demands, requests, waivers, consents, approvals or other
communications (collectively, “Notices”) required or permitted to be given hereunder or that are
given with respect to this Agreement shall be in writing and shall be personally served, delivered
by a nationally recognized overnight delivery service with charges prepaid, or transmitted by hand
delivery or electronic mail, addressed as set forth below, or to such other address as such Party
shall have specified most recently by written Notice. Notice shall be deemed given on the date of
service or transmission if personally served or transmitted by electronic mail with confirmation of
receipt (excluding “out of office” or similar automated replies); provided, however, that, if
delivered or transmitted on a day other than a Business Day (or if transmitted by email after 5:00
pm Eastern Time), notice shall be deemed given on the next Business Day. Notice otherwise sent
as provided herein shall be deemed given on the next Business Day following timely deposit of
such Notice with an overnight delivery service:

               If to the Sellers:            [PGX Holdings, Inc.]
                                             257 East 200 South, Suite 1200
                                             Salt Lake City, UT 84111
                                             Attention: [●]
                                             Email: [●]

               With a copy to:               Kirkland & Ellis LLP
                                             300 North LaSalle
                                             Chicago, IL 60654
                                             Attention: Steve Toth
                                                        Dan Daines
                                                        Spencer A. Winters
                                                        Whitney C. Fogelberg
                                             Email:     steve.toth@kirkland.com
                                                        daniel.daines@kirkland.com
                                                        spencer.winters@kirkland.com
                                                        whitney.fogelberg@kirkland.com


               If to Buyer or
               Administrative Agent:         Blue Torch Finance LLC
                                             c/o Blue Torch Capital LP
                                             150 East 58th Street, 18th Floor


                                                55
           Case 23-10718-CTG          Doc 250-1        Filed 07/28/23    Page 61 of 174




                                               New York, NY 10155
                                               Attention: [●]
                                               Email: [●]

               With a copy to:                 King & Spalding LLP
                                               1185 Avenue of the Americas, 34th Floor
                                               New York, NY 10036
                                               Attention: Roger Schwartz
                                                          Timothy M. Fesenmyer
                                               Email:     rschwartz@kslaw.com
                                                          tfesenmyer@kslaw.com

        Rejection of or refusal to accept any Notice, or the inability to deliver any Notice because
of changed address of which no Notice was given, shall be deemed to be receipt of the Notice as
of the date of such rejection, refusal or inability to deliver.

       10.7 Entire Agreement; Amendments and Waivers. This Agreement and all agreements
entered into pursuant hereto and thereto and all certificates and instruments delivered pursuant
hereto and thereto constitute the entire agreement between the Parties pertaining to the subject
matter hereof and supersede all prior agreements, understandings, negotiations, and discussions,
whether oral or written, of the Parties; provided that nothing herein shall modify or alter the terms,
rights or obligations of the Administrative Agent, the Lenders or Sellers under the Loan
Documents or the DIP Documents prior to Closing. This Agreement may be amended,
supplemented or modified, and any of the terms, covenants, representations, warranties or
conditions may be waived, only by a written instrument executed by Buyer and Sellers, or in the
case of a waiver, by the Party waiving compliance. No waiver of any of the provisions of this
Agreement shall be deemed or shall constitute a waiver of any other provision hereof (whether or
not similar), and no such waiver shall constitute a continuing waiver unless otherwise expressly
provided. No failure on the part of any Party to exercise, and no delay in exercising, any right,
power or remedy hereunder shall operate as a waiver thereof, nor shall any single or partial exercise
of such right, power or remedy by such Party preclude any other or further exercise thereof or the
exercise of any other right, power or remedy.

       10.8 Counterparts. This Agreement may be executed in one or more counterparts, each
of which shall be deemed an original, and all of which together shall constitute one and the same
instrument. Counterparts to this Agreement may be delivered via electronic delivery, “pdf” or
facsimile. In proving this Agreement, it shall not be necessary to produce or account for more than
one such counterpart signed by the Party against whom enforcement is sought.

        10.9 Invalidity. If any one or more of the provisions contained in this Agreement or in
any other instrument referred to herein, shall, for any reason, be held to be invalid, illegal or
unenforceable in any respect, the Parties shall negotiate in good faith to modify this Agreement,
to ensure that this Agreement shall reflect as closely as practicable the intent of the Parties on the
date hereof. If the final judgment of a court of competent jurisdiction or other Governmental Entity
declares that any term or provision hereof is invalid, illegal or unenforceable, the Parties agree that
the court making such determination will have the power to reduce the scope, duration, area or
applicability of the term or provision, to delete specific words or phrases, or to replace any invalid,

                                                  56
           Case 23-10718-CTG          Doc 250-1       Filed 07/28/23    Page 62 of 174




illegal or unenforceable term or provision with a term or provision that is valid, legal and
enforceable and that comes closest to expressing the intention of the invalid, illegal or
unenforceable term or provision.

        10.10 Governing Law. This Agreement, and any Proceeding that may be based upon, arise
out of or relate or be incidental to the Transactions, this Agreement, the negotiation, execution,
performance or consummation of the foregoing or the inducement of any Party to enter into the
foregoing, whether for breach of Contract, tortious conduct or otherwise, and whether now existing
or hereafter arising (each, a “Transaction Dispute”), will be exclusively governed by and construed
and enforced in accordance with the internal Laws of the State of Delaware, without giving effect
to any Law or rule that would cause the Laws of any jurisdiction other than the State of Delaware
to be applied, except to the extent that such Laws are superseded by the Bankruptcy Code.

       10.11 Dispute Resolution; Consent to Jurisdiction.

                (a)     Without limiting any Party’s right to appeal any order of the Bankruptcy
Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to enforce the terms of this
Agreement and to decide any Transaction Dispute, and (ii) any and all proceedings related to the
foregoing shall be filed and maintained only in the Bankruptcy Court, and the Parties hereby
consent to and submit to the jurisdiction and venue of the Bankruptcy Court and shall receive
notices at such locations as indicated in Section 10.6; provided, however, upon the closing of the
Cases (except for any matter(s) with respect to the Sellers and/or the Cases in which the
Bankruptcy Court retains jurisdiction with respect to such matter with respect to Sellers and/or the
Cases), or if the Bankruptcy Court is unwilling or unable to hear such Transaction Dispute, then,
the Parties agree to unconditionally and irrevocably submit to the exclusive jurisdiction of the U.S.
District Court for the District of Delaware sitting in New Castle County or the courts of the State
of Delaware sitting in New Castle County and any appellate court from any thereof, for the
resolution of any such Transaction Dispute. In that context, and without limiting the generality of
the foregoing, each Party irrevocably and unconditionally: (i) submits for itself and its property to
the exclusive jurisdiction of such courts with respect to any Transaction Dispute and for
recognition and enforcement of any judgment in respect thereof, and agrees that all claims in
respect of any Transaction Dispute shall be heard and determined in such courts; (ii) agrees that
venue would be proper in such courts, and waives any objection that it may now or hereafter have
that any such court is an improper or inconvenient forum for the resolution of any Transaction
Dispute; and (iii) agrees that Notice demand in accordance with Section 10.6, will be effective
service of process; provided, however, that nothing herein will be deemed to prevent a Party from
making service of process by any means authorized by the Laws of the State of Delaware.

                (b)     The foregoing consent to jurisdiction will not constitute submission to
jurisdiction or general consent to service of process in the State of Delaware for any purpose except
with respect to any Transaction Dispute.

     10.12 WAIVER OF RIGHT TO TRIAL BY JURY. EACH PARTY HEREBY WAIVES
TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW ANY RIGHT THEY
MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY PROCEEDING IN
CONNECTION WITH A TRANSACTION DISPUTE.


                                                 57
           Case 23-10718-CTG          Doc 250-1        Filed 07/28/23    Page 63 of 174




        10.13 Specific Performance. Each Party acknowledges and agrees that the other Party
would be damaged irreparably in the event that a Party does not perform its obligations under this
Agreement in accordance with its specific terms or otherwise breaches this Agreement, so that, in
addition to any other remedy that Buyer or the Sellers may have under law or equity, each Party
shall be entitled to injunctive relief to prevent any breaches of the provisions of this Agreement by
the other Parties and to enforce specifically this Agreement and the terms and provisions hereof.

        10.14 Third Party Beneficiaries. Nothing in this Agreement, express or implied, is
intended to confer upon any other Person any rights or remedies of any nature under or by reason
of this Agreement, except as expressly provided herein, including Section 10.17.

        10.15 Counting. If the due date for any action to be taken under this Agreement (including
the delivery of Notices) is not a Business Day, then such action shall be considered timely taken
if performed on or prior to the next Business Day following such due date.

         10.16 Survival. Except as expressly set forth in this Agreement to the contrary, all
representations and warranties and covenants of Buyer and the Sellers, respectively, contained in
this Agreement or in any document delivered pursuant hereto shall not survive the Closing Date
and thereafter shall be of no further force and effect. Notwithstanding the foregoing, all covenants
and agreements set forth in this Agreement, which by their terms would require performance after
the Closing Date, shall survive until fully performed or until such covenant or agreement expires
by its terms.

        10.17 Non-Recourse. All claims, Liabilities, Proceedings, or causes of action (whether in
contract or in tort, in law or in equity, or granted by statute) that may be based upon, in respect of,
arise under, out or by reason of, be connected with, or relate in any manner to a Transaction
Dispute, may be made only against (and are expressly limited to) the entities that are expressly
identified as parties hereto in the preamble to this Agreement or, if applicable, their permitted
assignees (collectively, the “Contracting Parties”). No Person who is not a Contracting Party,
including any past, present or future director, officer, employee, incorporator, member, partner,
manager, equityholder, Affiliate, agent, attorney, or representative of, and any financial advisor or
lender to, any Contracting Party (other than the Persons listed on Schedule 10.17), or any director,
officer, employee, incorporator, member, partner, manager, equityholder, Affiliate, agent,
attorney, or representative of, and any financial advisor or lender to, any of the foregoing
(collectively, the “Non-Recourse Persons”), shall have any Liability (whether in contract or in tort,
in law or in equity, or granted by statute) for any claims, Liabilities, or causes of action, arising
under, out of, in connection with, or related in any manner to a Transaction Dispute; and, to the
maximum extent permitted by Law, each Contracting Party hereby waives and releases all such
claims, Liabilities, and causes of action, against any such Non-Recourse Persons.

        10.18 Preparation of this Agreement. Buyer and the Sellers hereby acknowledge that (a)
Buyer and the Sellers jointly and equally participated in the drafting of this Agreement and all
other agreements contemplated hereby, (b) Buyer and the Sellers have been adequately represented
and advised by legal counsel with respect to this Agreement and the Transactions, and (c) no
presumption shall be made that any provision of this Agreement shall be construed against either
Party by reason of such role in the drafting of this Agreement and any other agreement
contemplated hereby.

                                                  58
           Case 23-10718-CTG          Doc 250-1        Filed 07/28/23    Page 64 of 174




        10.19 Schedules. The Sellers’ Disclosure Schedules have been arranged for purposes of
convenience in separately numbered sections corresponding to the sections of this Agreement;
provided that each section of the Sellers’ Disclosure Schedules will be deemed to incorporate by
reference all information disclosed in any other section of the Sellers’ Disclosure Schedules, and
any disclosure in the such Seller’s Disclosure Schedules will be deemed a disclosure against any
representation or warranty set forth in this Agreement. Capitalized terms used in the Sellers’
Disclosure Schedules and not otherwise defined therein have the meanings given to them in this
Agreement. The specification of any dollar amount or the inclusion of any item in the
representations and warranties contained in this Agreement, the Sellers’ Disclosure Schedules or
the attached exhibits is not intended to imply that the amounts, or higher or lower amounts, or the
items so included, or other items, are or are not required to be disclosed (including whether such
amounts or items are required to be disclosed as material or threatened) or are within or outside of
the Ordinary Course of Business, and no Party will use the fact of the setting of the amounts or the
fact of the inclusion of any item in this Agreement, the Sellers’ Disclosure Schedules or exhibits
in any dispute or controversy between the Parties as to whether any obligation, item or matter not
set forth or included in this Agreement, the Sellers’ Disclosure Schedules or exhibits is or is not
required to be disclosed (including whether the amount or items are required to be disclosed as
material or threatened) or are within or outside of the Ordinary Course of Business. In addition,
matters reflected in the Sellers’ Disclosure Schedules are not necessarily limited to matters
required by this Agreement to be reflected in the Sellers’ Disclosure Schedules. Such additional
matters are set forth for informational purposes only and do not necessarily include other matters
of a similar nature. No information set forth in the Sellers’ Disclosure Schedules will be deemed
to broaden in any way the scope of the Parties’ representations and warranties. Any description of
any agreement, document, instrument, plan, arrangement or other item set forth on any Sellers’
Disclosure Schedule is qualified in its entirety by the terms of such agreement, document,
instrument, plan, arrangement, or item which terms will be deemed disclosed for all purposes of
this Agreement. The information contained in this Agreement, in the Sellers’ Disclosure Schedules
and exhibits hereto is disclosed solely for purposes of this Agreement, and no information
contained herein or therein will be deemed to be an admission by any Party to any third party of
any matter whatsoever, including any violation of Law or breach of Contract.

        10.20 Fiduciary Obligation. Nothing in this Agreement, or any document related to the
transactions contemplated hereby, will require any Seller or any of their respective managers,
officers or members, in each case, in their capacity as such, to take any action, or to refrain from
taking any action, that the board of directors or managers (or other governing body) of such Seller
has determined, in good faith after consultation with legal counsel and independent financial
advisors, would be a violation of such Person’s fiduciary obligations or applicable Law. For the
avoidance of doubt, Sellers retain the right to pursue any transaction or restructuring strategy that,
in Sellers’ business judgment, will maximize the value of their estates.

        10.21 Sellers’ Representative. Each Seller hereby irrevocably constitutes and appoints
Parent (the “Sellers’ Representative”) as the true and lawful agent and attorney-in-fact of such
Seller with full powers of substitution to act in the name, place and stead of such Seller with respect
to the performance on behalf of such Seller under the terms and provisions of this Agreement and
to do or refrain from doing all such further acts and things, and to execute all such documents, as
the Sellers’ Representative will deem necessary or appropriate in connection with any transaction
contemplated hereunder, including the power to make all decisions, consents and determinations

                                                  59
           Case 23-10718-CTG         Doc 250-1       Filed 07/28/23    Page 65 of 174




and take all actions on behalf of such Seller, including to make any waiver of any Closing condition
or agree to any amendment to this Agreement. No Seller shall have any right to object, dissent,
protest or otherwise contest the same. The appointment of the Sellers’ Representative will be
deemed coupled with an interest and will be irrevocable, and any Person may conclusively and
absolutely rely, without inquiry, upon any action of the Sellers’ Representative as the act of any
Seller in all matters referred to herein.



                          [Remainder of Page Intentionally Left Blank]




                                                60
          Case 23-10718-CTG         Doc 250-1     Filed 07/28/23     Page 66 of 174




       IN WITNESS WHEREOF, this Agreement has been duly executed and delivered by the
duly authorized officers of the Sellers, Buyer and the Administrative Agent as of the date first
above written.

                                            SELLERS:

                                            PGX Holdings, Inc.

                                            By:
                                            Name:
                                            Title:


                                            Progrexion Holdings, Inc.

                                            By:
                                            Name:
                                            Title:


                                            Credit.com, Inc.

                                            By:
                                            Name:
                                            Title:


                                            eFolks Holdings, Inc.

                                            By:
                                            Name:
                                            Title:


                                            Creditrepair.com Holdings, Inc.

                                            By:
                                            Name:
                                            Title:


                                            Progrexion ASG, Inc.

                                            By:
                                            Name:
                                            Title:


                          [Signature Page to Asset Purchase Agreement]
Case 23-10718-CTG   Doc 250-1      Filed 07/28/23     Page 67 of 174




                             Progrexion IP, Inc.

                             By:
                             Name:
                             Title:


                             Progrexion Marketing, Inc.

                             By:
                             Name:
                             Title:


                             Progrexion Teleservices, Inc.

                             By:
                             Name:
                             Title:


                             eFolks, LLC

                             By:
                             Name:
                             Title:


                             Creditrepair.com, Inc.

                             By:
                             Name:
                             Title:


                             CreditRepair UK, Inc.

                             By:
                             Name:
                             Title:




           [Signature Page to Asset Purchase Agreement]
Case 23-10718-CTG   Doc 250-1      Filed 07/28/23     Page 68 of 174




                             BUYER:

                             [Lender AcquisitionCo, LLC]


                             By:
                             Name:
                             Title:




           [Signature Page to Asset Purchase Agreement]
Case 23-10718-CTG   Doc 250-1      Filed 07/28/23     Page 69 of 174




                             ADMINISTRATIVE AGENT:

                             Blue Torch Finance LLC, solely for purposes of
                             Section 3.2, Section 10.4, and Sections 10.7 to 10.21


                             By:
                             Name:
                             Title:




           [Signature Page to Asset Purchase Agreement]
Case 23-10718-CTG   Doc 250-1   Filed 07/28/23   Page 70 of 174
           Case 23-10718-CTG         Doc 250-1      Filed 07/28/23     Page 71 of 174




                               DISCLOSURE SCHEDULES
                  To Asset Purchase Agreement, dated as of [_______], 2023

These are the Seller Disclosure Schedules (the “Disclosure Schedules”) to that certain Asset
Purchase Agreement (the “Agreement”), entered into as of [●], 2023, among (i) [Lender
AcquisitionCo LLC], a [Delaware limited liability company] (“Buyer”), (ii) PGX Holdings, Inc.,
a Delaware corporation (“Parent”), Progrexion Holdings, Inc., a Delaware corporation
(“Progrexion”), Credit.com, Inc., a Delaware corporation (“Credit.com”), eFolks Holdings, Inc., a
Delaware corporation (“eFolks Holdco”), Creditrepair.com Holdings, Inc., a Delaware corporation
(“Creditrepair.com Holdco”), Progrexion ASG, Inc., a Delaware corporation (“Progrexion ASG”),
Progrexion IP, Inc., a Delaware corporation (“Progrexion IP”), Progrexion Marketing, Inc., a
Delaware corporation (“Progrexion Marketing”), Progrexion Teleservices, Inc., a Delaware
corporation (“Progrexion Teleservices”), eFolks, LLC, a Delaware limited liability company
(“eFolks” ), Creditrepair.com, Inc., a Florida corporation (“Creditrepair.com” ), Credit Repair UK,
Inc., a Delaware corporation (“Credit Repair UK”) (each a “Seller”, and collectively, the
“Sellers”), and (iii) Blue Torch Finance LLC, a Delaware limited liability company, solely in its
capacity as administrative agent for the lenders under the Prepetition First Lien Financing
Agreement and signing solely with respect to Section 3.2, Section 10.4, and Sections 10.7 to 10.21
of the Agreement (the “Administrative Agent”). The Administrative Agent, Buyer and Sellers are
referred to herein individually as a “Party” and collectively as the “Parties.” Capitalized terms
used in these Disclosure Schedules and not otherwise defined herein have the meanings given to
them in the Agreement.

These Disclosure Schedules have been arranged for purposes of convenience in separately
numbered sections corresponding to the sections of the Agreement; provided, however, each
section of these Disclosure Schedules will be deemed to incorporate by reference all information
disclosed in any other section of these Disclosure Schedules, and any disclosure in the Disclosure
Schedules will be deemed a disclosure against any representation or warranty set forth in the
Agreement, in each case to the extent the relevance of such information or disclosure to such
section or representation or warranty, as applicable, is reasonably apparent on the face of such
information or disclosure. The specification of any dollar amount or the inclusion of any item in
the representations and warranties contained in the Agreement, these Disclosure Schedules or the
attached exhibits is not intended to imply that the amounts, or higher or lower amounts, or the
items so included, or other items, are or are not required to be disclosed (including whether such
amounts or items are required to be disclosed as material or threatened) or are within or outside of
the Ordinary Course of Business, and no Party will use the fact of the setting of the amounts or the
fact of the inclusion of any item in the Agreement, these Disclosure Schedules or exhibits in any
dispute or controversy between the Parties as to whether any obligation, item or matter not set
forth or included in the Agreement, these Disclosure Schedules or exhibits is or is not required to
be disclosed (including whether the amount or items are required to be disclosed as material or
threatened) or are within or outside of the Ordinary Course of Business. In addition, matters
reflected in these Disclosure Schedules are not necessarily limited to matters required by the
Agreement to be reflected in these Disclosure Schedules. Such additional matters are set forth for
informational purposes only and do not necessarily include other matters of a similar nature. No
information set forth in these Disclosure Schedules will be deemed to broaden in any way the
scope of the parties’ representations and warranties. Any description of any agreement, document,
          Case 23-10718-CTG         Doc 250-1      Filed 07/28/23     Page 72 of 174




instrument, plan, arrangement or other item set forth on any Schedule is a summary only and is
qualified in its entirety by the terms of such agreement, document, instrument, plan, arrangement,
or item which terms will be deemed disclosed for all purposes of the Agreement. The information
contained in the Agreement, in these Disclosure Schedules and exhibits thereto is disclosed solely
for purposes of the Agreement, and no information contained herein or therein will be deemed to
be an admission by any Party to any third party of any matter whatsoever, including any violation
of Law or breach of Contract.
               Case 23-10718-CTG                    Doc 250-1           Filed 07/28/23            Page 73 of 174




                                                 TABLE OF CONTENTS

                                                                                                                                   Page

Schedule 2.1(j) - Permits................................................................................................................1
Schedule 2.2(i) - Excluded Assets .................................................................................................4
Schedule 2.3(d) - Administrative Expenses .................................................................................5
Schedule 2.3(g) - Key Employee Agreements ..............................................................................6
Schedule 2.3(i) - Assumed Benefit Plans ......................................................................................7
Schedule 2.3(k) – Tax Liabilities ..................................................................................................8
Schedule 2.5(a) - Available Contracts ..........................................................................................9
Schedule 3.3 - Allocation of Purchase Price ..............................................................................10
Schedule 4.3 - Litigation ..............................................................................................................11
Schedule 4.4 - No Contravention ................................................................................................14
Schedule 4.5 - Consents and Approvals .....................................................................................15
Schedule 4.8 – Intellectual Property...........................................................................................16
Schedule 4.9(a) - Benefit Plans....................................................................................................42
Schedule 4.10(a) - Business Employees ......................................................................................43
Schedule 4.11 - Conduct of Business ..........................................................................................44
Schedule 4.12(a) - Compliance with Laws .................................................................................45
Schedule 4.12(b) - Material Default ...........................................................................................46
Schedule 4.13 - Financial Statements .........................................................................................47
Schedule 4.14 - Financial Advisors .............................................................................................48
Schedule 4.15 – Undisclosed Liabilities......................................................................................49
Schedule 4.16(a) - Tax Matters ...................................................................................................50
Schedule 4.16(b) - Tax Matters ...................................................................................................51
Schedule 4.16(c) - Tax Matters ...................................................................................................52
Schedule 4.18(a) - Related Party Transactions .........................................................................53
Schedule 4.18(b) - Related Party Transactions .........................................................................54
Schedule 8.1(c) – Consents and Approvals ................................................................................55
Schedule 10.17 – Non-Recourse ..................................................................................................56
          Case 23-10718-CTG       Doc 250-1     Filed 07/28/23   Page 74 of 174




                                Schedule 2.1(j) - Permits

Credit Services Organization (or State Equivalent) Licenses

   1. Louisiana

   2. Nebraska

   3. Missouri

   4. Texas

   5. Idaho

   6. Nevada

   7. California

   8. Utah

   9. Oklahoma

   10. South Carolina

   11. Iowa

   12. Illinois

   13. Oregon

   14. Maine

   15. Minnesota

   16. Ohio

   17. Pennsylvania

   18. Tennessee

   19. Virginia

   20. Washington

   21. Wisconsin

   22. West Virginia


                                            1
         Case 23-10718-CTG         Doc 250-1      Filed 07/28/23     Page 75 of 174




   23. Washington DC


Business Licenses

   1. Utah

   2. West Valley City, Utah

   3. Salt Lake City, Utah

   4. Idaho

   5. Rexburg, Idaho


Telemarketing Licenses

   1. Missouri

   2. Texas – The licenses in the names of Progrexion Teleservices, Inc. and eFolks, LLC are
      active with termination requests submitted to licensing authority and awaiting
      confirmation of acceptance

   3. Nevada – The license in the name of eFolks, LLC is inactive.

   4. Idaho

   5. North Carolina – The licenses in the names of eFolks, LLC, CreditRepair.com, and
      Progrexion Teleservices, Inc. are inactive.

   6. Louisiana

   7. Nebraska

   8. Utah – The licenses in the names of eFolks, LLC, Progrexion ASG, Inc. and Progrexion
      Teleservices, Inc are inactive (telemarketing bonds have one-year tail)

   9. Delaware – The license in the name of Progrexion Teleservices, Inc is inactive
      (telemarketing bonds have a three-year tail)

   10. New Jersey – The licenses in the names of CreditRepair.com and Progrexion
       Teleservices, Inc. are inactive and closed.

   11. Oklahoma – The license in the name of eFolks, LLC is inactive; the licenses in the names
       of Progrexion Teleservices, Inc. are active with termination requests submitted to
       licensing authority and awaiting confirmation of acceptance

   12. Ohio – Telemarketing bonds have a two-year tail
                                              2
       Case 23-10718-CTG         Doc 250-1       Filed 07/28/23    Page 76 of 174




13. West Virginia – The license in the name of eFolks, LLC is inactive (three-year tail); the
    licenses in the names of Progrexion Teleservices, Inc. and CreditRepair.com are active
    with termination requests submitted to licensing authority and awaiting confirmation of
    acceptance




                                             3
        Case 23-10718-CTG   Doc 250-1    Filed 07/28/23   Page 77 of 174




                      Schedule 2.2(i) - Excluded Assets

None.




                                     4
        Case 23-10718-CTG   Doc 250-1     Filed 07/28/23   Page 78 of 174




                   Schedule 2.3(d) - Administrative Expenses

None.




                                      5
      Case 23-10718-CTG        Doc 250-1     Filed 07/28/23   Page 79 of 174




                    Schedule 2.3(g) - Key Employee Agreements

1. Employment Agreement, dated December 18, 2017, by and between Progrexion ASG, Inc.
   and John Itokazu.
      a. Separation and General Release Agreement, dated February 1, 2023, by and
          between Progrexion ASG, Inc. and John Itokazu, which is effective December 31,
          2023, unless modified to June 30, 2023 or September 30, 2023, upon mutual
          agreement by the parties.
2. Amended and Restated Employment Agreement, dated September 1, 2016, by and between
   Progrexion ASG, Inc. and Mike DeVico.
3. Employment Agreement, dated April 15, 2022, by and between Progrexion ASG, Inc. and
   Randy Padawer.
4. Employment Agreement, dated October 30, 2017, by and between Progrexion ASG, Inc.
   and Judy Morris.
5. Employment Agreement, dated July 30, 2020, by and between Progrexion ASG, Inc. and
   Chad Wallace.




                                         6
           Case 23-10718-CTG           Doc 250-1     Filed 07/28/23   Page 80 of 174




                            Schedule 2.3(i) - Assumed Benefit Plans

1. Group Application Medical Plan, dated 2022, with Selecthealth and Progrexion Holdings Inc.

2. Administrative Services Agreement, dated January 1, 2015, by and between OptumHealth
   Financial Services, Inc. and Progrexion, as amended.

  i.   FSA (Optum Bank, Inc.)

 ii.   HSA (Optum Bank, Inc.)

3. Vision Plan, dated September 7, 2022, with EyeMed Vision Care LLC.

4. Dental Plan (Delta Dental)

5. COBRA benefits (Administered by Optum Bank, Inc.)

6. Basic Life Insurance (Life Insurance Company of North America)

7. Accidental Death and Dismemberment Insurance Coverage (Life Insurance Company of North
   America)

8. Supplemental Life Insurance (Life Insurance Company of North America)

9. Disability Benefits (Life Insurance Company of North America)

10. Workers’ Compensation Program

11. 401(k) Plan (Fidelity Investment Company)

12. Roth 401(k) Plan (Fidelity Investment Company)

13. Employee Assistance Program (SelectHealth)

14. PTO Policy for Eligible Employees

15. Paid/Unpaid Leave

16. Health and wellness programs

17. Access to credit-repair services

18. Time off to volunteer with community partners

19. Paid sabbatical at 5, 10, 15, or 20 year anniversary

20. Retirement Plan Consulting (Morgan Stanley)

21. Benefit Advocate Center (Gallager)

                                                 7
         Case 23-10718-CTG   Doc 250-1     Filed 07/28/23   Page 81 of 174




                        Schedule 2.3(k) – Tax Liabilities

Sales & Use Tax          $92,259
Property Tax             $14,894
Income Tax               $62,971
Total                   $170,123




                                       8
          Case 23-10718-CTG                                                     Doc 250-1                            Filed 07/28/23                                Page 82 of 174

Progrexion
Tax Payment Estimates




                                             Bank Account for payments
Payment Type                                                                  Timing of Pmts                       GL Account #
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from                                       Avalara pulls funds btwn 11th-14th

CRDT Avalara sales tax- withdrawn from ba                                     Avalara pulls funds btwn 11th-14th

Progrexion Use tax filings:




                                                                                                                   68101-05-300-920-XXX-XX-XXXX Taxes and Licenses-SLC257--Accting---
Utah                                                                          Paid the 30th-31st



Idaho                                                                         Paid the 20th



Arizona                                                                       Paid the 20th
Ohio CAT Tax                                                                  Due 10th of month

Oklahoma                                                                      Paid the 20th
                                                                              Paid 11th-14th with CRDT Avalara
Washington B&O tax (included with sales t                                     sales tax funds
New Mexico

Property Tax
Arizona                                                                       Due end of month
California                                                                    Due end of month

Idaho                                                                         Due the 15th
Oklahoma                                                                      Due end of month
Nevada

Utah- SLC county                                                              Due end of month
Utah- Davis county                           N/A                              N/A

                                                                              Personal prop- Due the 15th
Utah- Utah County                                                             Real prop- Due the end of month

Income Taxes
Federal                                                                       Due 15th of month




States                                                                        Due 15th of month
                                                                              Qtrly pmts are due end of month
                                                                              and paid via PGX CRDT ELLC;
                                                                              annual filings paid by CT are
Delaware Franchise Tax                                                        invoiced to ASG                      68001-05-300-930-XXX-XX-XXXX Business License-SLC257--Legal---

San Francisco - Annual Business Tax Filing                                    Due end of month                     68001-05-300-920-XXX-XX-XXXX Business License-SLC257--Accting---

Business Legal Registrations (business licenses, telemarketer licenses, SOS fees, etc.)
Business Licenses- CT Renewed                                                                                      68001-05-300-930-XXX-XX-XXXX Business License-SLC257--Legal---
Business Licenses- Progrexion Renewed                                                                              68001-05-300-930-XXX-XX-XXXX Business License-SLC257--Legal---




Service Providers
CBIZ
Wallace Tax Services
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)
Site Selection Group (OK Incentive work)



Total Progrexion Estimated Cash Payments




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                          7/18/2023                                                                      Page 1
          Case 23-10718-CTG                                                                                                  Doc 250-1                                                                                             Filed 07/28/23                                                                                                 Page 83 of 174

Progrexion                                                                                                                                                                    =estimate                                                                                                                                                                                                  =estimate
Tax Payment Estimates                                                                                                                                                         =actual                                                                                                                                                                                                    =actual



                                             Actual                        Actual Actual Actual                                                   Actual                      Actual                     Actual Actual Actual                                                 Actual Actual                                Actual                       Actual                           Actual                       Actual Actual Actual
                                             2020                                                                                                                                                                                                                                                                                                                                        2020
                                             January                                                                                                                          February                                                                                        March                                                                                                      April




                                                       12/29/19 - 1/4/20




                                                                                                         1/12/20 - 1/18/20



                                                                                                                              1/19/20 - 1/25/20




                                                                                                                                                                                                                                   2/16/20 - 2/22/20




                                                                                                                                                                                                                                                          2/23/20 - 2/29/20




                                                                                                                                                                                                                                                                                                                                    3/15/20 - 3/21/20



                                                                                                                                                                                                                                                                                                                                                                     3/22/20 - 3/28/20




                                                                                                                                                                                                                                                                                                                                                                                                                                                 4/12/20 - 4/18/20




                                                                                                                                                                                                                                                                                                                                                                                                                                                                            4/19/20 - 4/25/20
                                                                                  1/5/20 - 1/11/20




                                                                                                                                                           1/26/20 - 2/1/20




                                                                                                                                                                                                                2/9/20 - 2/15/20




                                                                                                                                                                                                                                                                                                        3/8/20 - 3/14/20




                                                                                                                                                                                                                                                                                                                                                                                                   3/29/20 - 4/4/20


                                                                                                                                                                                                                                                                                                                                                                                                                          4/5/20 - 4/11/20
                                                                                                                                                                                       2/2/20 - 2/8/20




                                                                                                                                                                                                                                                                                  3/1/20 - 3/7/20
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:                  cash is collected for sales tax then paid out to taxing jurisdictions

CRCOM Avalara sales tax- withdrawn from b

CRDT Avalara sales tax- withdrawn from ba

Progrexion Use tax filings:                    cash is paid based on purchases made by the company that are subject to use taxes in the taxing jurisdictions




Utah                                                                                                                                                  3,179



Idaho                                                                                                                        98                                                                                                                                                                                                                                                                                                                                         -



Arizona                                                                                                                           3                                                                                                                                                                                                                                                                                                                                    343
Ohio CAT Tax                                                                                                                                                                    2,103

Oklahoma                                                                                                                          4                                                                                                    7                                                                                                2                                                                                                                                       3

Washington B&O tax (included with sales ta                                                                                   236                                                                                                                                                                                                                                                                                                                                       355
New Mexico

Property Tax
Arizona
California

Idaho
Oklahoma
Nevada

Utah- SLC county                                                                                                                                                                                                                                                                                                             137,815
Utah- Davis county



Utah- Utah County

Income Taxes
Federal




States




Delaware Franchise Tax

San Francisco - Annual Business Tax Filing                                                                                                                                                                                                             9,693

Business Legal Registrations (business licen
Business Licenses- CT Renewed                        411                                                                                                                          316                                                                                                               27,927                     1,173                                                              796                   397
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                                                                                                                                            1,470                                                                                           245                                                                                                                                                                                   9,900
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)                                                                                                                                        1,025
CCH Tax Research Engine                                                                                                                                                                                                                                                                                                                                                                                                                                               2,786
Avalara
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                                                                                             22,306



Total Progrexion Estimated Cash Payments             411                      -                      -                       341                     25,484                     4,914                       -                          7               9,693                    245                 27,927                   138,989                             -                                796                   397                  -                       13,388




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                                          7/18/2023                                                                                                                                                                                                                                                    Page 2
          Case 23-10718-CTG                                                                                          Doc 250-1                                                                                  Filed 07/28/23                                                                  Page 84 of 174

Progrexion                                                                                                                                                                   Income Tax PaymRefund- when IRS ope 6/15/2020                                       7/15/2020                       9/15/2020 12/15/2020 Total Est Taxes
Tax Payment Estimates                                                                                                                                                        Federal                 (3 765 000)        -                                               -                          3 176 000     3 295 000        6 471 000
                                                                                                                                                                             States                         325         -                                               -                            120 700       487 310          608 010
                                                                                                                                                                             Total                   (3 764 675)        -                                               -                          3 296 700     3 782 310        7 079 010
                                             Actual                              Actual                     Actual                          Actual                           Actual         Actual               Actual                                         Actual                          Actual       Actual        Actual
                                                                                                                                                                                                                                                                                                             2020
                                             May                                                                                                                                                               June                                                                                          July




                                                                                                                        5/10/20 - 5/16/20




                                                                                                                                                         5/17/20 - 5/23/20




                                                                                                                                                                                           5/24/20 - 5/30/20




                                                                                                                                                                                                                                                                            6/14/20 - 6/20/20




                                                                                                                                                                                                                                                                                                          6/21/20 - 6/27/20
                                                              4/26/20 - 5/2/20




                                                                                                                                                                                                                         5/31/20 - 6/6/20




                                                                                                                                                                                                                                             6/7/20 - 6/13/20




                                                                                                                                                                                                                                                                                                                                  6/28/20 - 7/4/20




                                                                                                                                                                                                                                                                                                                                                         7/5/20 - 7/11/20
                                                                                          5/3/20 - 5/9/20
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b

CRDT Avalara sales tax- withdrawn from ba

Progrexion Use tax filings:




Utah                                                    3,704



Idaho



Arizona
Ohio CAT Tax                                                                        2,100

Oklahoma

Washington B&O tax (included with sales ta
New Mexico

Property Tax
Arizona
California

Idaho
Oklahoma
Nevada

Utah- SLC county
Utah- Davis county                                                                                                   9,000



Utah- Utah County

Income Taxes                                                                                                                                                                                                                                                    Q2 est pmts
Federal                                                                                                                                                                                                                                                                 -




States                                                                                                                                                                                                                                                                  -




Delaware Franchise Tax                                                                                           50,400                                                                                                                                                                                                        6,400

San Francisco - Annual Business Tax Filing                -

Business Legal Registrations (business licen
Business Licenses- CT Renewed                            650                                                                                                                                                                                634                       3,432                            1,229                  20,243
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                                                1,838                                                                                                                             5,000
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara                                               130,000                                                                                                                                                                                                                                          7,500
Greenshades (1099's)
Site Selection Group (OK Incentive work)



Total Progrexion Estimated Cash Payments              134,354                       3,938                        59,400                              -                                 -                              5,000                 634                       3,432                            8,729                  26,643                 -




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                    7/18/2023                                                                                                                                                                            Page 3
          Case 23-10718-CTG                                                                                               Doc 250-1                                                                                       Filed 07/28/23                                                                                           Page 85 of 174

Progrexion                                                                      =estimate                                                                                                                                                                                                                                                                                                     =estimate
Tax Payment Estimates                                                           =actual                                                                                                                                                                                                                                                                                                       =actual



                                             Actual                             Actual                           Actual                      Actual                     Actual                      Actual                       Actual                               Actual                         Actual Actual                                           Actual                           Actual
                                                                                                                                                                                                                                                                                                                                                             2020
                                                                                                                                             August                                                                                                                   September                                                                                                               October




                                                            7/12/20 - 7/18/20



                                                                                             7/19/20 - 7/25/20




                                                                                                                                                                                                             8/16/20 - 8/22/20




                                                                                                                                                                                                                                                  8/23/20 - 8/29/20




                                                                                                                                                                                                                                                                                                                                         9/13/20 - 9/19/20




                                                                                                                                                                                                                                                                                                                                                                          9/20/20 - 9/26/20




                                                                                                                                                                                                                                                                                                                                                                                                        9/27/20 - 10/3/20
                                                                                                                          7/26/20 - 8/1/20




                                                                                                                                                                                 8/9/20 - 8/15/20




                                                                                                                                                                                                                                                                                  8/30/20 - 9/5/20


                                                                                                                                                                                                                                                                                                            9/6/20 - 9/12/20
                                                                                                                                                      8/2/20 - 8/8/20
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b

CRDT Avalara sales tax- withdrawn from ba

Progrexion Use tax filings:




Utah                                                                                                                  6,796



Idaho                                                                                    -



Arizona                                                                                  30
Ohio CAT Tax                                                                                                                                                                                            2,507

Oklahoma                                                                                         7

Washington B&O tax (included with sales ta                                               785
New Mexico

Property Tax
Arizona
California                                            4,500                              700

Idaho
Oklahoma
Nevada

Utah- SLC county
Utah- Davis county



Utah- Utah County                                                                   3,300

Income Taxes                                   Q1 est pmts                                                                                                                                                                       Refund request                                                                                Q3 est pmts
Federal                                                 -                                                                                                                                                                                 (3,765,000)                                                                             3,176,000




States                                                  -                                                                                                                                                                                                                                                                          120,700




Delaware Franchise Tax                                                                                                                                                                                                                       25,200

San Francisco - Annual Business Tax Filing                                                                          10,506

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                            372                                                    2,414                        2,377                                                              442                                                                                                                                                1,443
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                                                                                                                                                                                                                                           1,348
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                                                                                                                                                                                                                       6,104



Total Progrexion Estimated Cash Payments              4,500                         5,195                           17,302                      2,414                        2,377                      2,507                             (3,739,358)                          7,451                    -                         3,296,700                           -                            1,443




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                                 7/18/2023                                                                                                                                                                                                                   Page 4
          Case 23-10718-CTG                                                                                        Doc 250-1                                                                                      Filed 07/28/23                                                                                                  Page 86 of 174

Progrexion                                                                                                                                                                                                                                                                                                          =estimate
Tax Payment Estimates                                                                                                                                                                                                                                                                                               =actual



                                             Actual                              Actual                          Actual                        Actual                             Actual                        Actual                            Actual                             Actual                         Actual                            Actual

                                                                                                                                                                                  November                                                                                                                          December




                                                                                           10/11/20 - 10/17/20


                                                                                                                         10/18/20 - 10/24/20




                                                                                                                                                            10/25/20 - 10/31/20




                                                                                                                                                                                                                                                               11/15/20 - 11/21/20




                                                                                                                                                                                                                                                                                              11/22/20 - 11/28/20
                                                            10/4/20 - 10/10/20




                                                                                                                                                                                                                             11/8/20 - 11/14/20




                                                                                                                                                                                                                                                                                                                                 11/29/20 - 12/5/20




                                                                                                                                                                                                                                                                                                                                                               12/6/20 - 12/12/20
                                                                                                                                                                                            11/1/20 - 11/7/20
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b

CRDT Avalara sales tax- withdrawn from ba

Progrexion Use tax filings:




Utah                                                                                                                                                     5,055



Idaho                                                                                                                -



Arizona                                                                                                               59
Ohio CAT Tax                                                                                                                                                                           3,629

Oklahoma                                                                                                              88

Washington B&O tax (included with sales ta                                                970
New Mexico

Property Tax
Arizona                                                                                                                                                  3,960
California

Idaho                                                                                                                                                                                                                                                                                     5,694
Oklahoma                                                                                                                                                                                                                                                                                                                                                   14,648
Nevada                                                                                                                                                                                                                                                                                                                                                        -

Utah- SLC county
Utah- Davis county



Utah- Utah County                                                                                                                                                                                                                                                                       23,552

Income Taxes                                   Tax Return Filing Payments
Federal                                                                                                                                                                                4,082




States                                                    325




Delaware Franchise Tax                                                                                                                                                                25,200

San Francisco - Annual Business Tax Filing                                                                                                              10,506

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                                                                                              92                              257                                                                                                                                  780
Business Licenses- Progrexion Renewed




Service Providers
CBIZ                                                                                                                                                                                  73,000
Wallace Tax Services                                                                                                                                                                   1,470
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                                                                                                 5,093



Total Progrexion Estimated Cash Payments                  325                             970                        146                                24,706                       107,637                             -                                 -                            29,246                                  780                        14,648



                                                                                                                                                                                                                                                                                                                               2020
                                                                                                                                                                                                                                                                                                                    Estimates on property taxes -
                                                                                                                                                                                                                                                                                                                    AZ - Maricopa County
                                                                                                                                                                                                                                                                                                                    CA - San Francisco County
                                                                                                                                                                                                                                                                                                                    ID - Bonneville County
                                                                                                                                                                                                                                                                                                                    ID - Madison County
                                                                                                                                                                                                                                                                                                                    OK - Oklahoma County
                                                                                                                                                                                                                                                                                                                    NV - Clark County
                                                                                                                                                                                                                                                                                                                    UT - Davis County
                                                                                                                                                                                                                                                                                                                    UT - Salt Lake County
                                                                                                                                                                                                                                                                                                                    UT - Utah County
                                                                                                                                                                                                                                                                                                                    UT - Utah County
                                                                                                                                                                                                                                                                                                                    Total Accrual goal for 2020




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                       7/18/2023                                                                                                                                                                                     Page 5
          Case 23-10718-CTG                                                   Doc 250-1                                                 Filed 07/28/23                                                           Page 87 of 174

Progrexion                                                                                                                                                                                                         =estimate
Tax Payment Estimates                                                                                                                                                                                              =actual



                                             Actual                                                                         Actual                            Actual                                               Actual                          Actual Actual                                    Actual
                                                                                                                                                                                                                   2021
                                                                                                                                                                                                                   January




                                                                                                      12/13/20 - 12/19/20




                                                                                                                                        12/20/20 - 12/26/20




                                                                                                                                                                          12/27/20 - 1/2/21




                                                                                                                                                                                                                               12/27/20 - 1/2/21




                                                                                                                                                                                                                                                                                1/10/21 - 1/16/21



                                                                                                                                                                                                                                                                                                             1/17/21 - 1/23/21
                                                                                                                                                                                                                                                          1/3/21 - 1/9/21
                                                                                                                                                                                              2020 Total in
Payment Type                                                                                                                                                                                    category
Progrexion
Sales & Use Tax                                                                                                                                                                                     32 064
Progrexion Sales tax filings:                                                                                                                                                                                   cash is collected for sales tax then paid out to ta

CRCOM Avalara sales tax- withdrawn from b                                                                                                                                                              -                                                                    24,863

CRDT Avalara sales tax- withdrawn from ba                                                                                                                                                              -                                                                    20,645

Progrexion Use tax filings:                                                                                                                                                                                     cash is paid based on purchases made by the com




Utah                                                                                                                                                                                                18 734



Idaho                                                                                                                                                                                                      98                                                                                            313



Arizona                                                                                                                                                                                                436                                                                                               316
Ohio CAT Tax                                                                                                                                                                                        10 339

Oklahoma                                                                                                                                                                                               112                                                                                               365

Washington B&O tax (included with sales ta                                                                                                                                                           2 346                                                                    623
New Mexico                                                                                                                                                                                             -

Property Tax                                                                                                                                                                                       203 170
Arizona                                                                                                                                                                                              3 960
California                                                                                                                                                                                           5 200

Idaho                                                                                                                                                                                                5 694
Oklahoma                                                                                                                                                                                            14 648
Nevada                                                                                                                                                                                                 -        No prop tax payments in NV going forward

Utah- SLC county                                                                                                                                                                                   137 815
Utah- Davis county                                                                                                                                                                                   9 000



Utah- Utah County                                                                                                                                                                                   26 852

Income Taxes                                   Q4 est pmts                                                                                                                                       3 456 322
Federal                                                                                      3,295,000                                                                                           2 710 082




States                                                                                           487,310                                                                                           608 335




Delaware Franchise Tax                                                                                                                                                                             107 200

San Francisco - Annual Business Tax Filing                                                                                                                                                          30 705

Business Legal Registrations (business licen                                                                                                                                                        71 945
Business Licenses- CT Renewed                                                                                                         772                              5,787                        71 945                                                                                               549
Business Licenses- Progrexion Renewed                                                                                                                                                                  -
                                                                                                                                                                                                       -
                                                                                                                                                                                                       -
                                                                                                                                                                                                       -



Service Providers                                                                                                                                                                                  276 584
CBIZ                                                                                                                                                                                                73 000
Wallace Tax Services                                                                                                                                                                                21 270
Azets (UK Accounting Service Provider)                                                                                                                                                                 -
Tanner LLC (UK International Consulting)                                                                                                                                                             1 025
CCH Tax Research Engine                                                                                                                                                                              2 786
Avalara                                                                                                                              7,500                                                         145 000
Greenshades (1099's)                                                                                                                                                                                   -
Site Selection Group (OK Incentive work)



Total Progrexion Estimated Cash Payments                                                     3,782,310                               8,272                             5,787                     4 040 084                 -                          -                     46,130                     1,542




                                             Based on prior year bills and future expectations                              Progrexion
                                                                                                                                  3,960
                                                                                                                                    722
                                                                                                                                    762
                                                                                                                                  4,932
                                                                                                                                 14,648
                                                                                                                                  6,000
                                                                                                                                  3,000
                                                                                                                                120,000
                                                                                                                                 18,000 Real Property
                                                                                                                                  5,000
                                                                                                                                177 025




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                             7/18/2023                                                                                                                                                                                            Page 6
          Case 23-10718-CTG                                                                                         Doc 250-1                                                                           Filed 07/28/23                                                                                                               Page 88 of 174

Progrexion
Tax Payment Estimates



                                              Actual                        Actual                         Actual                      Actual                        Actual                        Actual                          Actual Actual                                               Actual                       Actual                         Actual                         Actual                            Actual
                                                                            2021                                                                                                                   2021                                                                                                                     2021
                                                                            February                                                                                                               March                                                                                                                    April




                                                        1/24/21 - 1/30/21




                                                                                                                                                 2/14/21 - 2/20/21




                                                                                                                                                                               2/21/21 - 2/27/21




                                                                                                                                                                                                                                                                           3/14/21 - 3/20/21



                                                                                                                                                                                                                                                                                                        3/21/21 - 3/27/21




                                                                                                                                                                                                                                                                                                                                                                                                        4/11/21 - 4/17/21




                                                                                                                                                                                                                                                                                                                                                                                                                                           4/18/21 - 4/24/21
                                                                                        1/31/21 - 2/6/21




                                                                                                                    2/7/21 - 2/13/21




                                                                                                                                                                                                                2/28/21 - 3/6/21


                                                                                                                                                                                                                                          3/7/21 - 3/13/21




                                                                                                                                                                                                                                                                                                                                        3/28/21 - 4/3/21




                                                                                                                                                                                                                                                                                                                                                                       4/4/21 - 4/10/21
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:                 xing jurisdictions

CRCOM Avalara sales tax- withdrawn from b                                                                     18,242                                                                                                                                               18,845                                                                                                                           25,489

CRDT Avalara sales tax- withdrawn from ba                                                                     13,345                                                                                                                                                 9,599                                                                                                                          23,600

Progrexion Use tax filings:                  mpany that are subject to use taxes in the taxing jurisdictions




Utah                                                7,475



Idaho                                                                                                                                                                                                                                                                                                                                                                                                                                  -



Arizona                                                                                                                                         52                                                                                                                     -                                                                                                                                                              164
Ohio CAT Tax                                                                      2,928

Oklahoma                                                                                                                                        115                                                                                                                   115                                                                                                                                                             142

Washington B&O tax (included with sales ta                                                                                                                                                                                                                                                                                                                                                            585
New Mexico

Property Tax
Arizona
California

Idaho
Oklahoma
Nevada

Utah- SLC county                                                                                                                                                                                                                                                                                                                127,240
Utah- Davis county



Utah- Utah County

Income Taxes                                                                                                                                                                                                                                                 Q1 est pmts (some states)                                                                     2020 Ext pm Q1 est pmts (most states)
Federal                                                                                                                                                                                                                                                                                                                                                                                            815,000




States                                                                                 519                                                                                                                                                                         27,900                                                                                           3,485                           32,100




Delaware Franchise Tax

San Francisco - Annual Business Tax Filing

Business Legal Registrations (business licen
Business Licenses- CT Renewed                          773                                                                                                                    975                                                                                                                   913                              8,417                                                                                           1,817
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                                                   724
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)                                                              2,145
Site Selection Group (OK Incentive work)                                                                        5,369



Total Progrexion Estimated Cash Payments            8,248                         6,315                       36,955                            167                           975                           -                         -                            56,460                           913                         135,657                             3,485                          896,775                           2,122




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                               7/18/2023                                                                                                                                                                                                                                                               Page 7
          Case 23-10718-CTG                                                                                       Doc 250-1                                                                              Filed 07/28/23                                                                Page 89 of 174

Progrexion                                                                                                                                                               Income Tax PaymPmts made w/ tax rtn 4/15/2021     6/15/2021    9/15/2021     12/15/2021 Total Est Taxes
Tax Payment Estimates                                                                                                                                                    Federal                       -         815 000     3 500 000    2 000 000      3 183 000         9 498 000
                                                                                                                                                                         States                        -           60 000      700 000      296 200        710 000         1 766 200
                                                                                                                                                                         Total                         -         875 000     4 200 000    2 296 200      3 893 000        11 264 200
                                             Actual                           Actual                     Actual                         Actual                           Actual         Actual              Actual        Actual       Actual       Actual         Actual
                                             2021                                                                                                                                       2021                                                        2021
                                             May                                                                                                                                        June                                                        July




                                                                                                                                                     5/16/21 - 5/22/21




                                                                                                                                                                                     5/23/21 - 5/29/21




                                                                                                                                                                                                                                                                   6/13/21 - 6/19/21




                                                                                                                                                                                                                                                                                            6/20/21 - 6/26/21
                                                           4/25/21 - 5/1/21




                                                                                                                     5/9/21 - 5/15/21




                                                                                                                                                                                                                5/30/21 - 6/5/21




                                                                                                                                                                                                                                       6/6/21 - 6/12/21




                                                                                                                                                                                                                                                                                                                   6/27/21 - 7/3/21




                                                                                                                                                                                                                                                                                                                                          7/4/21 - 7/10/21
                                                                                       5/2/21 - 5/8/21
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b                                                                     19,074                                                                                                                                           19,500

CRDT Avalara sales tax- withdrawn from ba                                                                     15,857                                                                                                                                           16,192

Progrexion Use tax filings:




Utah                                                    4,910



Idaho



Arizona                                                                                                                                          -
Ohio CAT Tax                                                                                                      3,343

Oklahoma                                                                                                                                         152

Washington B&O tax (included with sales ta
New Mexico

Property Tax
Arizona
California

Idaho
Oklahoma
Nevada

Utah- SLC county
Utah- Davis county                                                                                                1,602



Utah- Utah County

Income Taxes                                                                                                                                                                                                                                              Q2 est pmts
Federal                                                                                                                                                                                                                                                     3,500,000




States                                                                                                                                                                                                                                                        700,000




Delaware Franchise Tax                                                                                                                                                          45,329

San Francisco - Annual Business Tax Filing             20,346                   11,823

Business Legal Registrations (business licen
Business Licenses- CT Renewed                            981                                                       112                                                           7,648                                                                                                                          4,624
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                     510                                                                                                                                                                                                    5,895                                            255
Azets (UK Accounting Service Provider)                   832
Tanner LLC (UK International Consulting)
CCH Tax Research Engine                                 3,031
Avalara                                               170,000                                                                                                                                                                                                                            7,500
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                                                                                                                                                     5,125



Total Progrexion Estimated Cash Payments              200,610                   11,823                        39,989                             152                            52,976                       5,125                 -                        4,241,587                    7,500                  4,879                 -




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                7/18/2023                                                                                                                                                           Page 8
          Case 23-10718-CTG                                                                                             Doc 250-1                                                                           Filed 07/28/23                                                                                                Page 90 of 174

Progrexion
Tax Payment Estimates



                                             Actual                           Actual                           Actual                       Actual                     Actual                      Actual                       Actual                          Actual                         Actual Actual                                           Actual                          Actual
                                                                                                                                            2021                                                                                                                2021                                                                                                                   2021
                                                                                                                                            August                                                                                                              September                                                                                                              October




                                                          7/11/21 - 7/17/21



                                                                                           7/18/21 - 7/24/21




                                                                                                                        7/25/21 - 7/31/21




                                                                                                                                                                                                            8/15/21 - 8/21/21




                                                                                                                                                                                                                                            8/22/21 - 8/28/21




                                                                                                                                                                                                                                                                                                                                   9/12/21 - 9/18/21




                                                                                                                                                                                                                                                                                                                                                                   9/19/21 - 9/25/21




                                                                                                                                                                                                                                                                                                                                                                                                 9/26/21 - 10/2/21
                                                                                                                                                                                8/8/21 - 8/14/21




                                                                                                                                                                                                                                                                            8/29/21 - 9/4/21


                                                                                                                                                                                                                                                                                                      9/5/21 - 9/11/21
                                                                                                                                                     8/1/21 - 8/7/21
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b             24,019                                                                                                              18,912                                                                                                                                              19,044

CRDT Avalara sales tax- withdrawn from ba             23,596                                                                                                              14,518                                                                                                                                              15,736

Progrexion Use tax filings:




Utah                                                                                                                3,413



Idaho                                                                                  -



Arizona                                                                                126
Ohio CAT Tax                                                                                                                                   3,678

Oklahoma                                                                               182

Washington B&O tax (included with sales ta              497
New Mexico

Property Tax
Arizona                                                                                                                                                                                                                                                                                                                                                         5,544
California                                              602

Idaho
Oklahoma
Nevada

Utah- SLC county
Utah- Davis county



Utah- Utah County                                                                 4,630

Income Taxes                                                                                                                                                                                                                                                                                                             Q3 est pmts
Federal                                                                                                                                                                                                                                                                                                                     2,000,000




States                                                                                                                                                                                                                                                                                                                       296,200




Delaware Franchise Tax                                                                                                                                                                                  22,664

San Francisco - Annual Business Tax Filing                                                                        11,823

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                                                       7,325                      1,598                                                                                     4,883                                                                                                                                              1,216
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                                                                                                             408
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)
Site Selection Group (OK Incentive work)



Total Progrexion Estimated Cash Payments              48,714                      4,938                           22,561                       5,684                      33,430                        22,664                           4,883                          -                         -                         2,330,980                           5,544                       1,216




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                                7/18/2023                                                                                                                                                                                                             Page 9
          Case 23-10718-CTG                                                                                     Doc 250-1                                                                                        Filed 07/28/23                                                                                           Page 91 of 174

Progrexion
Tax Payment Estimates



                                             Actual                           Actual                          Actual                             Actual                             Actual                       Actual                        Actual                            Actual                         Actual                               Actual                                Actual
                                                                                                                                                                                    2021                                                                                                                        2021
                                                                                                                                                                                    November                                                                                                                    December




                                                                                        10/10/21 - 10/16/21




                                                                                                                           10/17/21 - 10/23/21




                                                                                                                                                              10/24/21 - 10/30/21




                                                                                                                                                                                                                                                           11/14/21 - 11/20/21




                                                                                                                                                                                                                                                                                          11/21/21 - 11/27/21




                                                                                                                                                                                                                                                                                                                                                                                                         12/12/21 - 12/18/21
                                                                                                                                                                                            10/31/21 - 11/6/21




                                                                                                                                                                                                                          11/7/21 - 11/13/21




                                                                                                                                                                                                                                                                                                                                11/28/21 - 12/4/21




                                                                                                                                                                                                                                                                                                                                                                      12/5/21 - 12/11/21
                                                          10/3/21 - 10/9/21
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b                                          24,060                                                                                                                             17,209                                                                                                                                                                         17,284

CRDT Avalara sales tax- withdrawn from ba                                          25,605                                                                                                                             13,735                                                                                                                                                                         14,592

Progrexion Use tax filings:




Utah                                                                                                                                                       3,804



Idaho                                                                                                                  -



Arizona                                                                                                                462
Ohio CAT Tax                                                                                                                                                                             3,453

Oklahoma                                                                                                               229

Washington B&O tax (included with sales ta                                             472
New Mexico

Property Tax
Arizona
California

Idaho                                                                                                                                                                                                                                                   5,580
Oklahoma                                                                                                                                                                                                                                                                                                                   1,602
Nevada

Utah- SLC county
Utah- Davis county



Utah- Utah County                                                                                                                                                                                                                                                                                                         18,000

Income Taxes                                                                  Tax Return Filing Payments                                                                                                                                                                                                                                                                                   Q4 est pmts
Federal                                                                                                                                                                                                                                                                                                                                                                                        3,183,000




States                                                                                                                                                                                                                                                                                                                                                                                              710,000




Delaware Franchise Tax                                                                                                                                                                                                22,664

San Francisco - Annual Business Tax Filing                                                                                                                11,823

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                                                                                                                                                                                                                                                              1,677
Business Licenses- Progrexion Renewed




Service Providers
CBIZ                                                                                                                                                                                   74,000
Wallace Tax Services                                                                                                                                                                      306
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                                                                                                                                                                                                                              5,775



Total Progrexion Estimated Cash Payments              -                            50,136                              691                                15,627                       77,759                         53,608                            5,580                         5,775                               21,279                                  -                            3,924,876



                                                                                                                                                                                                                                                                                                                           2021
                                                                                                                                                                                                                                                                                                                Estimates on property taxes - Based on prior ye
                                                                                                                                                                                                                                                                                                                AZ - Maricopa County
                                                                                                                                                                                                                                                                                                                CA - San Francisco County
                                                                                                                                                                                                                                                                                                                ID - Bonneville County
                                                                                                                                                                                                                                                                                                                ID - Madison County
                                                                                                                                                                                                                                                                                                                OK - Oklahoma County
                                                                                                                                                                                                                                                                                                                UT - Davis County
                                                                                                                                                                                                                                                                                                                UT - Salt Lake County
                                                                                                                                                                                                                                                                                                                UT - Utah County
                                                                                                                                                                                                                                                                                                                UT - Utah County
                                                                                                                                                                                                                                                                                                                Total Accrual goal for 2020




                                                                                                                                                                                                                                                                                                                NYC VDA payments
                                                                                                                                                                                                                                                                                                                                                                                              Interest
                                                                                                                                                                                                                                                                                                                        Year                          Tax Amount                              Amount
                                                                                                                                                                                                                                                                                                                               2016                            78,977                                37,987
All CT is paid through ASG entity                                                                                                                                                                                                                                                                                              2017                            31,261                                11,458
                                                                                                                                                                                                                                                                                                                               2018                            55,023                                13,550
                                                                                                                                                                                                                                                                                                                               2019                            35,190                                 4,815
                                                                                                                                                                                                                                                                                                                               2020                            46,028                                 2,366
                                                                                                                                                                                                                                                                                                                               2021                            69,900                                   -
                                                                                                                                                                                                                                                                                                                Total                                         316,379                                70,177




Kirkland Ellis LLP Confidential                                                                                                                                                      7/18/2023                                                                                                                                                                                                                                 Page 10
          Case 23-10718-CTG                                                                                      Doc 250-1                   Filed 07/28/23                                                                                                  Page 92 of 174

Progrexion                                                                                                                                   =estimate
Tax Payment Estimates                                                                                                                        =actual



                                             Actual                              Actual                                                      Actual                        Actual Actual                                   Actual                       Actual                       Actual                        Actual                          Actual
                                                                                                                                             2022                                                                                                                                    2022
                                                                                                                                             January                                                                                                                                 February




                                                           12/19/21 - 12/25/21




                                                                                             12/26/21 - 1/1/22




                                                                                                                                                       12/28/21 - 1/1/22




                                                                                                                                                                                                                                    1/16/22 - 1/22/22




                                                                                                                                                                                                                                                                 1/23/22 - 1/29/22




                                                                                                                                                                                                                                                                                                                                                            2/13/22 - 2/19/22
                                                                                                                                                                                                        1/9/22 - 1/15/22




                                                                                                                                                                                                                                                                                                1/30/22 - 2/5/22




                                                                                                                                                                                                                                                                                                                                2/6/22 - 2/12/22
                                                                                                                                                                                  1/2/22 - 1/8/22
                                                                                                                 2021 Total in
Payment Type                                                                                                       category
Progrexion
Sales & Use Tax                                                                                                        491 472
Progrexion Sales tax filings:                                                                                                    cash is collected for sales tax then paid out to taxing jurisdictions

CRCOM Avalara sales tax- withdrawn from b                                                                              246 540                                                                      21,162                                                                                                                                             15,533

CRDT Avalara sales tax- withdrawn from ba                                                                              207 020                                                                      20,905                                                                                                                                             16,678

Progrexion Use tax filings:                                                                                                      cash is paid based on purchases made by the company that are subject to use taxes in the taxing jurisdictions




Utah                                                                                                                    19 602                                                                                                                               6,673



Idaho                                                                                                                      313                                                                                                  512



Arizona                                                                                                                  1 120                                                                                                  429
Ohio CAT Tax                                                                                                            13 402                                                                                                                                                             2,935

Oklahoma                                                                                                                 1 299                                                                                                  357

Washington B&O tax (included with sales ta                                                                               2 176                                                                        356
New Mexico                                                                                                                 -

Property Tax                                                                                                           164 799
Arizona                                                                                                                  5 544
California                                                                                                                 602

Idaho                                                                                                                    5 580
Oklahoma                                                                                                                 1 602
Nevada                                                                                                                     -     No prop tax payments in NV going forward

Utah- SLC county                                                                                                       127 240
Utah- Davis county                                                                                                       1 602



Utah- Utah County                                                                                                       22 630

Income Taxes                                                                                                        11 801 231
Federal                                                                                                              9 498 000




States                                                316,379                         70,177                         2 156 759




Delaware Franchise Tax                                                                                                  90 657

San Francisco - Annual Business Tax Filing                                                                              55 815

Business Legal Registrations (business licen                                                                            46 638
Business Licenses- CT Renewed                                                             3,130                         46 638                                                                                                                                                             1,068
Business Licenses- Progrexion Renewed                                                                                      -
                                                                                                                           -
                                                                                                                           -
                                                                                                                           -



Service Providers                                                                                                      289 375
CBIZ                                                                                                                    74 000                                                                                                                                                            27,000
Wallace Tax Services                                                                                                     8 098                                                                                                                                                             1,080
Azets (UK Accounting Service Provider)                                                                                     832
Tanner LLC (UK International Consulting)                                                                                   -
CCH Tax Research Engine                                                                                                  3 031
Avalara                                                 7,500                                                          185 000
Greenshades (1099's)                                                                                                     2 145                                                                                                                                                             1,151
Site Selection Group (OK Incentive work)                                                                                16 269                                                                                                                               4,558
                                                                                                                           -

Total Progrexion Estimated Cash Payments              323,879                         73,307                        12 793 514                     -                          -                     42,423                    1,299                         11,231                        33,234                            -                          32,211




                                             ar bills and future expectations
                                              $       5,543.52
                                              $         602.15
                                              $       1,007.14
                                              $       5,579.82
                                              $       1,601.77
                                              $       1,601.77
                                              $ 127,239.92
                                              $     18,000.00 Real Property
                                              $       4,629.68
                                              $ 165,805.77




                                                   Total
                                                      116,964
All CT is paid through ASG entity                      42,719
                                                       68,573
                                                       40,005
                                                       48,394
                                                       69,900
                                                      386,556




Kirkland Ellis LLP Confidential                                                                                                  7/18/2023                                                                                                                                                                                                                         Page 11
          Case 23-10718-CTG                                                                                                          Doc 250-1                                                                              Filed 07/28/23                                                                                             Page 93 of 174

Progrexion
Tax Payment Estimates



                                             Actual                           Actual                       Actual Actual                                               Actual                           Actual                         Actual                     Actual                           Actual                           Actual                            Actual                         Actual                            Actual
                                                                              2022                                                                                                                      2022                                                                                                                        2022
                                                                              March                                                                                                                     April                                                                                                                       May




                                                          2/20/22 - 2/26/22




                                                                                                                                                   3/13/22 - 3/19/22



                                                                                                                                                                                    3/20/22 - 3/26/22




                                                                                                                                                                                                                                                                               4/10/22 - 4/16/22




                                                                                                                                                                                                                                                                                                                4/17/22 - 4/23/22




                                                                                                                                                                                                                                                                                                                                                  4/24/22 - 4/30/22




                                                                                                                                                                                                                                                                                                                                                                                                                                                    5/15/22 - 5/21/22
                                                                                        2/27/22 - 3/5/22


                                                                                                                  3/6/22 - 3/12/22




                                                                                                                                                                                                                    3/27/22 - 4/2/22




                                                                                                                                                                                                                                                                                                                                                                                                                    5/8/22 - 5/14/22
                                                                                                                                                                                                                                                4/3/22 - 4/9/22




                                                                                                                                                                                                                                                                                                                                                                                   5/1/22 - 5/7/22
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b                                                                                                  15,647                                                                                                                          20,890                                                                                                                         15,703

CRDT Avalara sales tax- withdrawn from ba                                                                                                  13,434                                                                                                                          24,505                                                                                                                         13,405

Progrexion Use tax filings:




Utah                                                                                                                                                                                                                                                                                                                                           5,580



Idaho                                                                                                                                                                                                                                                                                                       -



Arizona                                               -                                                                                        -                                                                                                                                                            676                                                                                                                                 -
Ohio CAT Tax                                                                                                                                                                                                                                                                                                                                                                                                  2,600

Oklahoma                                              63                                                                                      227                                                                                                                                                               72                                                                                                                              21

Washington B&O tax (included with sales ta                                                                                                                                                                                                                                   427
New Mexico

Property Tax
Arizona
California

Idaho
Oklahoma
Nevada

Utah- SLC county                                                                                                                                                                                            116,774
Utah- Davis county                                                                                                                                                                                                                                                                                                                                                                                              -



Utah- Utah County

Income Taxes                                                                                                                         Q1 est pmts (some states)                                                                         2021 Ext pm Q1 est pmts (most states)
Federal                                                                                                                                                                                                                                                               1,672,000




States                                                                                                                                     25,500                                                                                           58,787                           300




Delaware Franchise Tax

San Francisco - Annual Business Tax Filing                                                                                                                                                                                                                                  5,155                                                                                                                              603

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                          502                                                                                                                       7,127                                                                                                                          269
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services
Azets (UK Accounting Service Provider)                                                                                                                                                                            508
Tanner LLC (UK International Consulting)
CCH Tax Research Engine                                                                                                                                                                                                                                                                                                                        3,215
Avalara                                                                                                                                                                                                                                                                                                                                      170,000
Greenshades (1099's)                                                                                                                                                                                             3,900
Site Selection Group (OK Incentive work)



Total Progrexion Estimated Cash Payments              63                               502                    -                            54,808                               -                           128,309                         58,787                    1,723,277                             747                              179,064                           -                          32,311                                21




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                                         7/18/2023                                                                                                                                                                                                                                   Page 12
          Case 23-10718-CTG                                                      Doc 250-1                                                                 Filed 07/28/23                                                       Page 94 of 174

Progrexion                                   Income Tax PaymPmts made w/ tax rtn 4/15/2022      6/15/2022     9/15/2022     12/15/2022 Total Est Taxes
Tax Payment Estimates                        Federal                       -       1 672 000      2 137 000       565 000      1 512 000        5 886 000
                                             States                     4 166          25 800        70 900        49 100         88 200          234 000
                                             Total                      4 166      1 697 800      2 207 900       614 100      1 600 200        6 120 000
                                             Actual         Actual              Actual        Actual        Actual        Actual         Actual           Actual                                                                                         Actual                             Actual                       Actual
                                                            2022                                                          2022                                                                                                                                                                                           2022
                                                            June                                                          July                                                                                                                                                                                           August




                                                        5/22/22 - 5/28/22




                                                                                                                                       6/12/22 - 6/18/22




                                                                                                                                                               6/19/22 - 6/25/22




                                                                                                                                                                                                                                     7/10/22 - 7/16/22




                                                                                                                                                                                                                                                                        7/17/22 - 7/23/22




                                                                                                                                                                                                                                                                                                     7/24/22 - 7/30/22
                                                                                5/29/22 - 6/4/22




                                                                                                       6/5/22 - 6/11/22




                                                                                                                                                                                       6/26/22 - 7/2/22




                                                                                                                                                                                                                                                                                                                                  7/31/22 - 8/6/22
                                                                                                                                                                                                              7/3/22 - 7/9/22
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b                                                                                       15,116                                                                                           19,904

CRDT Avalara sales tax- withdrawn from ba                                                                                       11,542                                                                                           20,647

Progrexion Use tax filings:




Utah                                                                                                                                                                                                                                                                                             2,504



Idaho                                                                                                                                                                                                                                                               -



Arizona                                                                                                                            -                                                                                                                                        9
Ohio CAT Tax                                                                                                                                                                                                                                                                                                                2,287

Oklahoma                                                                                                                                   3                                                                                                                        19

Washington B&O tax (included with sales ta                                                                                                                                                                                         372
New Mexico

Property Tax
Arizona
California                                                                                                                                                                                                                         577

Idaho
Oklahoma
Nevada

Utah- SLC county
Utah- Davis county



Utah- Utah County                                                                                                                                                                                                                                                 3,764

Income Taxes                                                                                                              Q2 est pmts
Federal                                                                                                                      2,137,000                                                                                                                      (2,800,000)




States                                                                                                                          70,900




Delaware Franchise Tax                              44,640

San Francisco - Annual Business Tax Filing                                                                                                                                                                                                                                                       5,155

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                4,887                                                                                                 38,046
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                                         6,670                                                                                                   702                                                                                                                                      405
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara                                                                                                                                                     8,064
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                     5,312



Total Progrexion Estimated Cash Payments            44,640                  16,869                 -                         2,234,560                      8,064                  38,748                 -                      41,502                     (2,796,208)                          7,659                      2,692




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                  7/18/2023                                                                                                                                                                                    Page 13
          Case 23-10718-CTG                                                                                          Doc 250-1                                                                           Filed 07/28/23                                                                                       Page 95 of 174

Progrexion
Tax Payment Estimates



                                             Actual                      Actual                             Actual                           Actual                         Actual Actual                                           Actual                             Actual                        Actual                             Actual                           Actual                             Actual
                                                                                                                                             2022                                                                                                                      2022
                                                                                                                                             September                                                                                                                 October




                                                                                                                                                                                                                                                                                                                                                                                      10/16/22 - 10/22/22




                                                                                                                                                                                                                                                                                                                                                                                                                        10/23/22 - 10/29/22
                                                                                                                                                                                                                                                                                                                                                    10/9/22 - 10/15/22
                                                                                        8/14/22 - 8/20/22




                                                                                                                         8/21/22 - 8/27/22




                                                                                                                                                                                                                9/11/22 - 9/17/22




                                                                                                                                                                                                                                                   9/18/22 - 9/24/22




                                                                                                                                                                                                                                                                                 9/25/22 - 10/1/22




                                                                                                                                                                                                                                                                                                                    10/2/22 - 10/8/22
                                                      8/7/22 - 8/13/22




                                                                                                                                                         8/28/22 - 9/3/22


                                                                                                                                                                                   9/4/22 - 9/10/22
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b       14,175                                                                                                                                                     13,345                                                                                                                            17,682

CRDT Avalara sales tax- withdrawn from ba       10,408                                                                                                                                                     10,767                                                                                                                            15,993

Progrexion Use tax filings:




Utah                                                                                                                                                                                                                                                                                                                                                                                                                 2,676



Idaho                                                                                                                                                                                                                                                                                                                                                                             -



Arizona                                                                             -                                                                                                                                                          -                                                                                                                                      25
Ohio CAT Tax

Oklahoma                                                                            -                                                                                                                                                          -                                                                                                                                  -

Washington B&O tax (included with sales ta                                                                                                                                                                                                                                                                                                        407
New Mexico

Property Tax
Arizona                                                                                                                                                                                                                                      4,515
California

Idaho
Oklahoma
Nevada

Utah- SLC county
Utah- Davis county



Utah- Utah County

Income Taxes                                                                                                                                                                                          Q3 est pmts                                                                                                                       Tax Return Filing Payments
Federal                                                                                                                                                                                                   565,000




States                                                                                                                                                                                                     49,100                                                                                                                                4,166




Delaware Franchise Tax                                                                                               22,320

San Francisco - Annual Business Tax Filing                                                                                                                                                                                                                                                                                                                                                                           5,155

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                                                                                      2,187                                                                                                                    2,059
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services
Azets (UK Accounting Service Provider)                                                                                 263
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                          4,856



Total Progrexion Estimated Cash Payments        24,583                            4,856                              22,583                        2,187                       -                          638,211                            4,515                          2,059                               -                            38,248                                   25                             7,831




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                              7/18/2023                                                                                                                                                                                                                               Page 14
          Case 23-10718-CTG                                                                                            Doc 250-1                                                                                       Filed 07/28/23                                                                                            Page 96 of 174

Progrexion
Tax Payment Estimates



                                             Actual                      Actual                              Actual                            Actual                             Actual                             Actual                           Actual                              Actual                               Actual
                                             2022                                                                                                                                 2022
                                             November                                                                                                                             December




                                                                                                                         11/13/22 - 11/19/22




                                                                                                                                                            11/20/22 - 11/26/22




                                                                                                                                                                                                                                                                    12/11/22 - 12/17/22




                                                                                                                                                                                                                                                                                                         12/18/22 - 12/24/22




                                                                                                                                                                                                                                                                                                                                           12/25/22 - 12/31/22
                                                    10/30/22 - 11/5/22




                                                                                        11/6/22 - 11/12/22




                                                                                                                                                                                                11/27/22 - 12/3/22




                                                                                                                                                                                                                                 12/4/22 - 12/10/22
                                                                                                                                                                                                                                                                                                                                                                 2022 Total in
Payment Type                                                                                                                                                                                                                                                                                                                                                       category
Progrexion
Sales & Use Tax                                                                                                                                                                                                                                                                                                                                                        399 507
Progrexion Sales tax filings:                                                                                                                                                                                                                                                                                                                                                    cash is col

CRCOM Avalara sales tax- withdrawn from b                                     12,457                                                                                                                                                                           12,137                                                                                                  193 750

CRDT Avalara sales tax- withdrawn from ba                                         8,325                                                                                                                                                                         7,751                                                                                                  174 360

Progrexion Use tax filings:                                                                                                                                                                                                                                                                                                                                                      cash is pa




Utah                                                                                                                                                                                                                                                                                                                                                                    17 434



Idaho                                                                                                                                                                                                                                                                                                                                                                      512



Arizona                                                                                                                                                 -                                                                                                                                            -                                                                   1 138
Ohio CAT Tax                                     2,019                                                                                                                                                                                                                                                                                                                   9 841

Oklahoma                                                                                                                                                -                                                                                                                                           147                                                                    910

Washington B&O tax (included with sales ta                                                                                                                                                                                                                                                                                                                               1 562
New Mexico                                                                                                                                                                                                                                                                                                                                                                 -

Property Tax                                                                                                                                                                                                                                                                                                                                                           156 423
Arizona                                                                                                                                                                                                                                                                                                                                                                  4 515
California                                                                                                                                                                                                                                                                                                                                                                 577

Idaho                                                                                                                                                                                                                         2,860                                                                                                                                      2 860
Oklahoma                                                                                                                                                                                     3,177                                                                                                                                                                       3 177
Nevada                                                                                                                                                                                                                                                                                                                                                                     -     No prop ta

Utah- SLC county                                                                                                                                                                                                                                                                                                                                                       116 774
Utah- Davis county                                                                                                                                                                                                                                                                                                                                                         -



Utah- Utah County                                                                                                                                                                         24,755                                                                                                                                                                        28 519

Income Taxes                                                                                                                                                                                                                                          Q4 est pmts                                                                                                    3 465 980
Federal                                                                                                                                                                                                                                                   1,512,000                                                                                                  3 086 000




States                                                                                                                                                                                                                                                         88,200                                                                                                  296 953




Delaware Franchise Tax                                                              -                                                                                                                                                                                                                                                                                   66 960

San Francisco - Annual Business Tax Filing                                                                                                                                                                                                                                                                                                                              16 067

Business Legal Registrations (business licen                                                                                                                                                                                                                                                                                                                            65 047
Business Licenses- CT Renewed                                                                                                                                                                5,553                                                                                                                                      3,351                           65 047
Business Licenses- Progrexion Renewed                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                           -



Service Providers                                                                                                                                                                                                                                                                                                                                                      335 922
CBIZ                                            84,700                                                                                                                                                                                                                                                                                                                 111 700
Wallace Tax Services                               324                                                                                                                                                                                                                                                                                                                   9 181
Azets (UK Accounting Service Provider)                                                                                                                                                                                                                                                                                                                                     771
Tanner LLC (UK International Consulting)                                                                                                                                                                                                                                                                                                                                   -
CCH Tax Research Engine                                                                                                                                                                                                                                                                                                                                                  3 215
Avalara                                                                                                                                                                                                                                                                                            8,064                                                               186 128
Greenshades (1099's)                                                                                                                                                                                                                                                                                                                                                     5 051
Site Selection Group (OK Incentive work)                                                                              5,151                                                                                                                                                                                                                                             19 877
                                                                                                                                                                                                                                                                                                                                                                           -

Total Progrexion Estimated Cash Payments        87,043                        20,782                                  5,151                             -                                 33,485                              2,860                       1,620,088                                8,211                                3,351                        4 422 879



                                                                                                                                                                                  Progrexion - 2022 Prop taxes (Assessed on 2021 assets)
                                                                                                                                                                                  Estimates on property taxes - Based on prior year bills and future expectations
                                                                                                                                                                                  AZ - Maricopa County                          $     4,514.92
                                                                                                                                                                                  CA - San Francisco County                     $        577.46
                                                                                                                                                                                  ID - Bonneville County                       $             -
                                                                                                                                                                                  ID - Madison County                           $     2,860.32
                                                                                                                                                                                  OK - Oklahoma County                          $     3,177.10
                                                                                                                                                                                  UT - Davis County                             $            -
                                                                                                                                                                                  UT - Salt Lake County                         $ 116,774.39
                                                                                                                                                                                  UT - Utah County                              $    24,754.88 Real Property
                                                                                                                                                                                  UT - Utah County                              $     3,763.85
                                                                                                                                                                                  Total Accrual goal for 2022                   $ 156,422.92




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                           7/18/2023                                                                                                                                                                                    Page 15
          Case 23-10718-CTG                                                                                Doc 250-1                                                                               Filed 07/28/23                                                                                                       Page 97 of 174

Progrexion                                   =estimate
Tax Payment Estimates                        =actual



                                             Actual      Actual Actual                                    Actual                       Actual                       Actual                         Actual Actual                                        Actual                           Actual                       Actual Actual                                               Actual                           Actual
                                             2023                                                                                                                   2023                                                                                                                 2023                                                                                                                      2023
                                             January                                                                                                                February                                                                                                             March                                                                                                                     April




                                                                                                                   1/15/23 - 1/21/23




                                                                                                                                                1/23/23 - 1/28/23




                                                                                                                                                                                                                                    2/12/23 - 2/18/23




                                                                                                                                                                                                                                                                     2/19/23 - 2/25/23




                                                                                                                                                                                                                                                                                                                                                              3/12/23 - 3/18/23



                                                                                                                                                                                                                                                                                                                                                                                               3/19/23 - 3/25/23
                                                                                       1/8/23 - 1/14/23




                                                                                                                                                                                1/29/23 - 2/4/23


                                                                                                                                                                                                          2/5/23 - 2/11/23




                                                                                                                                                                                                                                                                                                   2/26/23 - 3/4/23


                                                                                                                                                                                                                                                                                                                             3/5/23 - 3/11/23




                                                                                                                                                                                                                                                                                                                                                                                                                               3/26/23 - 4/1/23
                                                                 1/1/23 - 1/7/23
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:                ected for sales tax then paid out to taxing jurisdictions

CRCOM Avalara sales tax- withdrawn from b                                          15,958                                                                                                                                    11,291                                                                                                                   11,345

CRDT Avalara sales tax- withdrawn from ba                                          13,331                                                                                                                                    11,102                                                                                                                   10,149

Progrexion Use tax filings:                  d based on purchases made by the company that are subject to use taxes in the taxing jurisdictions




Utah                                                                                                                                        3,352



Idaho                                                                                                          308



Arizona                                                                                                            22                                                                                                                                            -                                                                                        -
Ohio CAT Tax                                                                                                                                                              1,882

Oklahoma                                                                                                       -                                                                                                                                                 -                                                                                        -

Washington B&O tax (included with sales ta                                           164
New Mexico

Property Tax
Arizona
California

Idaho
Oklahoma
Nevada                                       x payments in NV going forward

Utah- SLC county                                                                                                                                                                                                                                                                                                                                                                                                        88,710
Utah- Davis county



Utah- Utah County

Income Taxes                                                                                                                                                                                                                                                                                                                                    Q1 est pmts (some states)
Federal




States                                                                                                                                                                                                                                                                                                                                                    -




Delaware Franchise Tax                                                                                                                                                                                                          -

San Francisco - Annual Business Tax Filing                                                                                                                                                                                                                   4,308

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                                                                                                                  747                                                                                                           1,487                                                                                                                          2,297
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                                                                                                                                                                                                                                                              485
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)                                                                                                                                                      1,486
Site Selection Group (OK Incentive work)                                                                                                    4,365



Total Progrexion Estimated Cash Payments            -        -                     29,453                      330                          7,717                         4,115                       -                      22,394                          4,308                           1,972                       -                            21,495                               -                            91,007




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                        7/18/2023                                                                                                                                                                                                                                                                  Page 16
          Case 23-10718-CTG                                                                                          Doc 250-1                                                                              Filed 07/28/23                                                                               Page 98 of 174

Progrexion                                                                                                                                   Sales tax % of PY                                                                                                              Income Tax PaPmts made w/ tax rtn 4/15/2023   6/15/2023     9/15/2023
Tax Payment Estimates                                                                                                                                 60.0%                                                                                                                 Federal                     -            -            -             -
                                                                                                                                                                                                                                                                            States                      -            600        1 000         9 900
                                                                                                                                                                                                                                                                            Total                       -            600        1 000         9 900
                                             Actual                         Actual                          Actual                           Actual                          Actual                      Actual                            Actual                           Actual       Actual              Actual      Actual       Estimate
                                                                                                                                                                             2023                                                                                                        2023
                                                                                                                                                                             May                                                                                                         June




                                                                                                                         4/16/23 - 4/23/23




                                                                                                                                                         4/23/23 - 4/29/23




                                                                                                                                                                                                                                                        5/14/23 - 5/20/23




                                                                                                                                                                                                                                                                                     5/21/23 - 5/27/23




                                                                                                                                                                                                                                                                                                                                                                  6/11/23 - 6/17/23




                                                                                                                                                                                                                                                                                                                                                                                          6/18/23 - 6/24/23
                                                                                         4/9/23 - 4/15/23




                                                                                                                                                                                      4/30/23 - 5/6/23




                                                                                                                                                                                                                        5/7/23 - 5/13/23




                                                                                                                                                                                                                                                                                                            5/28/23 - 6/3/23




                                                                                                                                                                                                                                                                                                                                   6/4/23 - 6/10/23
                                                          4/2/23 - 4/8/23
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b                                        15,188                                                                                                                           9,553                                                                                                                                    (1,061)

CRDT Avalara sales tax- withdrawn from ba                                        17,955                                                                                                                           1,990                                                                                                                                    1,082

Progrexion Use tax filings:




Utah                                                                                                                                                  3,017



Idaho                                                                                                                -



Arizona                                                                                                              16                                                                                                                             -                                                                                                         -
Ohio CAT Tax                                                                                                                                                                                                      2,100

Oklahoma                                                                                                             -                                                                                                                              -                                                                                                         -

Washington B&O tax (included with sales ta                                           179
New Mexico

Property Tax
Arizona
California

Idaho
Oklahoma
Nevada

Utah- SLC county
Utah- Davis county                                                                                                                                                                                                  -



Utah- Utah County

Income Taxes                                   2022 Ext pm Q1 est pmts (most states)                                                                                                                                                                                                                                                                  Q2 est pmts
Federal                                               -                              -                                                                                                                                                                                                                                                                        -




States                                             17,825                            600                                                                                                                                                                                                                                                                   1,000




Delaware Franchise Tax                                                                                                                                                                                                                                                           23,372

San Francisco - Annual Business Tax Filing                                                                                                            4,943                                                                                                                         632

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                                                                                                                     9,541                                                                                                                  1,628
Business Licenses- Progrexion Renewed




Service Providers
CBIZ                                                                                                                                                                             10,500
Wallace Tax Services
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine                                                                                                                                                                                                                                                           3,375
Avalara                                                                                                                                            137,042                       11,630                                                                                                                                                                                               10,483
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                                                                                                                                                                                                                          3,861



Total Progrexion Estimated Cash Payments           17,825                        33,921                              16                            145,002                       31,671                       13,642                                -                            31,240                  1,628                 -                           1,021                      10,483




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Kirkland Ellis LLP Confidential                                                                                                                                                  7/18/2023                                                                                                                                                                                            Page 17
          Case 23-10718-CTG                                                                       Doc 250-1                                                                        Filed 07/28/23                                                                               Page 99 of 174

Progrexion                                     12/15/2023 Total Est Taxes                                                                                     1.15 PGX         May-23    Jun-23       Jul-23      Aug-23       Sep-23        Oct-23      Nov-23
Tax Payment Estimates                                  -            -                                                                                              Sales tax- A       12            1          29           17            17          24          15
                                                     8 700      20 200                                                                                             Use tax                        -             3            3          -              5           3
                                                     8 700      20 200                                                                                             Total              12            1          32           21            17          29          18
                                             Estimate      Estimate     Estimate                                        Estimate                       Estimate    Estimate Estimate     Estimate     Estimate    Estimate     Estimate      Estimate    Estimate
                                             2023                                                                                                                  2023                                           2023
                                             July                                                                                                                  August                                         September




                                                                                                                                   7/16/23 - 7/23/23




                                                                                                                                                               7/23/23 - 7/29/23




                                                                                                                                                                                                                                    8/13/23 - 8/19/23




                                                                                                                                                                                                                                                            8/20/23 - 8/26/23




                                                                                                                                                                                                                                                                                                                                        9/10/23 - 9/16/23




                                                                                                                                                                                                                                                                                                                                                                  9/17/23 - 9/23/23
                                                        6/25/23 - 7/1/23




                                                                                                     7/9/23 - 7/15/23




                                                                                                                                                                                    7/30/23 - 8/5/23




                                                                                                                                                                                                          8/6/23 - 8/12/23




                                                                                                                                                                                                                                                                                    8/27/23 - 9/2/23
                                                                               7/2/23 - 7/8/23




                                                                                                                                                                                                                                                                                                           9/3/23 - 9/9/23
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b                                                        11 900                                                                                                                      8 500                                                                                                8 000

CRDT Avalara sales tax- withdrawn from ba                                                        12 400                                                                                                                      6 200                                                                                                6 500

Progrexion Use tax filings:




Utah                                                                                                                                                       2,504



Idaho                                                                                                                          -



Arizona                                                                                                                                9                                                                                        -                                                                                                                             -
Ohio CAT Tax                                                                                                                                                                                           2,287

Oklahoma                                                                                                                       -                                                                                                -                                                                                                                             -

Washington B&O tax (included with sales ta                                                         400
New Mexico

Property Tax
Arizona                                                                                                                                                                                                                                                                                                                                                     4,515
California                                                                                         577

Idaho
Oklahoma
Nevada

Utah- SLC county
Utah- Davis county



Utah- Utah County                                                                                                            3,764

Income Taxes                                                                                                                                                                                                                                                                                                                 Q3 est pmts
Federal                                                                                                                                                                                                                                                                                                                             -




States                                                                                                                                                                                                                                                                                                                            9,900




Delaware Franchise Tax                                                                                                                                                                                                                                  16,880

San Francisco - Annual Business Tax Filing                                                                                                                 4,943

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                              38,100                                                                                                                                                                                                2,200
Business Licenses- Progrexion Renewed




Service Providers
CBIZ
Wallace Tax Services                                8,000                                                                                                                          500
Azets (UK Accounting Service Provider)                                                                                                                                                                                                                    400
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)
Site Selection Group (OK Incentive work)                                    4,196



Total Progrexion Estimated Cash Payments            8,000                  42,296                25,277                      3,772                         7,447                   500                 2,287                 14,700                     17,280                   2,200                 -                         24,400                     4,515




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Kirkland Ellis LLP Confidential                                                                                                                              7/18/2023                                                                                                                                                                                       Page 18
         Case 23-10718-CTG                                                                                         Doc 250-1                                                                                           Filed 07/28/23                                                                                                          Page 100 of 174

Progrexion                                   Dec-23
Tax Payment Estimates                                     14
                                                      -
                                                          14
                                             Estimate                         Estimate                       Estimate                            Estimate                         Estimate                           Estimate                    Estimate                        Estimate                         Estimate                         Estimate                         Estimate                       Estimate
                                                                              2023                                                                                                                                   2023                                                                                                                          2023
                                                                              October                                                                                                                                Novebmer                                                                                                                      December




                                                                                                                                                            10/15/23 - 10/21/23




                                                                                                                                                                                               10/23/23 - 10/28/23




                                                                                                                                                                                                                                                                                            11/12/23 - 11/18/23




                                                                                                                                                                                                                                                                                                                             11/19/23 - 11/25/23




                                                                                                                                                                                                                                                                                                                                                                                                                              12/10/23 - 12/16/23
                                                                                                                            10/8/23 - 10/14/23




                                                                                                                                                                                                                            10/29/23 - 11/4/23




                                                                                                                                                                                                                                                            11/5/23 - 11/11/23




                                                                                                                                                                                                                                                                                                                                                               11/26/23 - 12/2/23
                                                          9/24/23 - 9/30/23




                                                                                         10/1/23 - 10/7/23




                                                                                                                                                                                                                                                                                                                                                                                               12/3/23 - 12/9/23
Payment Type
Progrexion
Sales & Use Tax
Progrexion Sales tax filings:

CRCOM Avalara sales tax- withdrawn from b                                                                         10 600                                                                                                                                                               7 500                                                                                                                            7 300

CRDT Avalara sales tax- withdrawn from ba                                                                          9 600                                                                                                                                                               5 000                                                                                                                            4 700

Progrexion Use tax filings:




Utah                                                                                                                                                                                     2,676



Idaho                                                                                                                                                  -



Arizona                                                                                                                                                 25                                                                                                                                                               -
Ohio CAT Tax                                                                                                                                                                                                                                           2,019

Oklahoma                                                                                                                                               -                                                                                                                                                                 -

Washington B&O tax (included with sales ta                                                                              500
New Mexico

Property Tax
Arizona
California

Idaho                                                                                                                                                                                                                                                                                                                                                                                     2,860
Oklahoma                                                                                                                                                                                                                                                                                                                                                 3,177
Nevada

Utah- SLC county
Utah- Davis county



Utah- Utah County                                                                                                                                                                                                                                                                                                                                          -

Income Taxes                                                                                                 Tax Return Filing Payments                                                                                                                                                                                                                                                                            Q4 est pmts
Federal                                                                                                                 -                                                                                                                                                                                                                                                                                                 -




States                                                                                                                  -                                                                                                                                                                                                                                                                                               8,700




Delaware Franchise Tax                                                                                                                                                                                                                               16,880

San Francisco - Annual Business Tax Filing                                                                                                                                               4,943

Business Legal Registrations (business licen
Business Licenses- CT Renewed                                                      2,100                                                                                                                                                                                                                                                                 5,600
Business Licenses- Progrexion Renewed




Service Providers
CBIZ                                                                                                                                                                                                                    88,550
Wallace Tax Services                                                                                                                                                                                                       400
Azets (UK Accounting Service Provider)
Tanner LLC (UK International Consulting)
CCH Tax Research Engine
Avalara
Greenshades (1099's)                              2,500
Site Selection Group (OK Incentive work)



Total Progrexion Estimated Cash Payments          2,500                            2,100                          20,700                                   25                            7,619                          88,950                       18,899                           12,500                             -                               8,777                            2,860                        20,700



                                                                                                                                                                                                                                                                                                                                                   Progrexion - 2023 Prop taxes (Asses
                                                                                                                                                                                                                                                                                                                                                   Estimates on property taxes - Based on
                                                                                                                                                                                                                                                                                                                                                   AZ - Maricopa County
                                                                                                                                                                                                                                                                                                                                                   CA - San Francisco County
                                                                                                                                                                                                                                                                                                                                                   ID - Bonneville County
                                                                                                                                                                                                                                                                                                                                                   ID - Madison County
                                                                                                                                                                                                                                                                                                                                                   OK - Oklahoma County
                                                                                                                                                                                                                                                                                                                                                   UT - Davis County
                                                                                                                                                                                                                                                                                                                                                   UT - Salt Lake County
                                                                                                                                                                                                                                                                                                                                                   UT - Utah County
                                                                                                                                                                                                                                                                                                                                                   UT - Utah County
                                                                                                                                                                                                                                                                                                                                                   Total Accrual goal for 2023




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                                                                              7/18/2023                                                                                                                                                                                                                                              Page 19
         Case 23-10718-CTG                                                                                            Doc 250-1                Filed 07/28/23                                       Page 101 of 174

Progrexion
Tax Payment Estimates



                                              Estimate                               Estimate




                                                               12/17/23 - 12/23/23




                                                                                                12/24/23 - 12/30/23
                                                                                                                      2023 Total in
Payment Type                                                                                                            category
Progrexion
Sales & Use Tax                                                                                                             237 542
Progrexion Sales tax filings:                                                                                                         cash is collected for sales tax then paid out to taxing jurisdictions

CRCOM Avalara sales tax- withdrawn from b                                                                                   116 074

CRDT Avalara sales tax- withdrawn from ba                                                                                   100 008

Progrexion Use tax filings:                                                                                                           cash is paid based on purchases made by the company that are subject to use taxes in the taxing jurisdictions




Utah                                                                                                                         11 549



Idaho                                                                                                                           308



Arizona                                                    -                                                                     72
Ohio CAT Tax                                                                                                                  8 288

Oklahoma                                                   -                                                                     -

Washington B&O tax (included with sales ta                                                                                    1 243
New Mexico                                                                                                                      -

Property Tax                                                                                                                103 604
Arizona                                                                                                                       4 515
California                                                                                                                      577

Idaho                                                                                                                         2 860
Oklahoma                                                                                                                      3 177
Nevada                                                                                                                          -     No prop tax payments in NV going forward

Utah- SLC county                                                                                                             88 710
Utah- Davis county                                                                                                              -



Utah- Utah County                                                                                                             3 764

Income Taxes                                                                                                                114 926
Federal                                                                                                                         -




States                                                                                                                       38 025




Delaware Franchise Tax                                                                                                       57 132

San Francisco - Annual Business Tax Filing                                                                                   19 769

Business Legal Registrations (business licen                                                                                 67 101
Business Licenses- CT Renewed                                                              3,400                             67 101
Business Licenses- Progrexion Renewed                                                                                           -
                                                                                                                                -
                                                                                                                                -
                                                                                                                                -



Service Providers                                                                                                           295 836
CBIZ                                                                                                                         99 050
Wallace Tax Services                                                                                                          9 385
Azets (UK Accounting Service Provider)                                                                                          400
Tanner LLC (UK International Consulting)                                                                                        -
CCH Tax Research Engine                                                                                                       3 375
Avalara                                                  8,064                                                              167 219
Greenshades (1099's)                                                                                                          3 986
Site Selection Group (OK Incentive work)                                                                                     12 422
                                                                                                                                -

Total Progrexion Estimated Cash Payments                 8,064                             3,400                            819 010



                                             sed on 2022 assets)
                                             n prior year bills and future expectations
                                               $     4,514.92
                                               $       577.46
                                               $            -
                                               $     2,860.32
                                               $     3,177.10
                                               $            -
                                               $ 88,710.10
                                               $            - Real Property
                                               $     3,763.85
                                               $ 103,603.75




All CT is paid through ASG entity




Kirkland Ellis LLP Confidential                                                                                                       7/18/2023                                                                                                   Page 20
            Case 23-10718-CTG   Doc 250-1       Filed 07/28/23   Page 102 of 174




                         Schedule 2.5(a) - Available Contracts

Attached.




                                            9
                             Case 23-10718-CTG                                 Doc 250-1       Filed 07/28/23                         Page 103 of 174


Row Number              Counterparty Name                                  Debtor                                  Contract Description                       Estimated Cure Amount
    1        10605328 Canada Ltd.                       Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                $0.00

    2        237Next Inc                                Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                $0.00

    3        257 East Salt Lake, LLC                    PGX Holdings, Inc.             1st Amendment to Lease Agreement at 257 E 200 South Dated 09/13/2017           $0.00

    4        257 East Salt Lake, LLC                    PGX Holdings, Inc.             Amendment Lease Memorandum Dated 01/10/2022                                    $0.00

    5        257 East Salt Lake, LLC                    PGX Holdings, Inc.             2nd Amendment to Lease Agreement at 257 E 200 South Dated 01/20/2022           $0.00

    6        257 East Salt Lake, LLC                    PGX Holdings, Inc.             3rd Amendment to Lease Agreement at 257 E 200 South Dated 12/22/2022         $13,113.36

    7        257 East Salt Lake, LLC                    PGX Holdings, Inc.             Lease Agreement                                                                $0.00

    8        257 East Salt Lake, LLC                    PGX Holdings, Inc.            Lease Agreement Dated 10/17/2014                                                $0.00

    9        257 East Salt Lake, LLC                    PGX Holdings, Inc.             Master Lease Agreement at 257 E 200 South Dated 10/17/2014                     $0.00

    10       A4D, Inc                                   Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

    11       AA Voice Talent LLC                        Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

    12       Accredited Debt Relief, LLC                Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                $0.00

    13       Accuvant/Optiv                             Progrexion ASG, Inc.           Corelight Security Services Agreement Dated 12/02/2021                         $0.00

    14       Accuvant/Optiv                             Progrexion ASG, Inc.           Force Point Security Services Agreement Dated 08/22/2022                       $0.00

    15       Accuvant/Optiv                             Progrexion ASG, Inc.           Proofpoint Security Services Agreement Dated 03/14/2023                        $0.00

    16       Accuvant/Optiv                             Progrexion ASG, Inc.           Proofpoint Security Services Agreement Dated 10/31/2022                        $0.00

    17       Accuvant/Optiv                             Progrexion ASG, Inc.           Rapid 7 Security Services Agreement Dated 10/28/2022                           $0.00

    18       Accuvant/Optiv                             Progrexion ASG, Inc.           Sentinel One Security Services Agreement Dated 03/16/2023                      $0.00

    19       Accuvant/Optiv                             Progrexion ASG, Inc.           Thales Security Services Agreement Dated 12/01/2022                            $0.00

    20       Ace Tech, Inc                              Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

    21       ACORNS GROWTH INC                          Progrexion ASG, Inc.           Insertion Order Dated 09/19/2022                                               $0.00

    22       Active Prospect                            Progrexion ASG, Inc.           Service Agreement Dated 08/01/2020                                             $0.00

    23       Active Sun Network, LLC.                   Credit.com, Inc.              Insertion Order Dated 02/10/2021                                                $0.00

    24       Active Sun Network, LLC.                   Credit.com, Inc.              Marketing Agreement Dated 04/10/2020                                            $0.00

    25       Active Sun Network, LLC.                   Credit.com, Inc.              Publisher Insertion Order Dated 02/24/2021                                      $0.00

    26       ActiveProspect, Inc.                       Progrexion ASG, Inc.          Marketing Agreement Dated 06/04/2020                                            $0.00

    27       ActiveProspect, Inc.                       Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 06/04/2020                             $0.00

    28       Ad Practitioners, LLC / Consumers Advocate Progrexion Marketing, Inc.     Marketing Agreement Dated 10/18/2022                                           $0.00

    29       Ad Practitioners, LLC / Consumers Advocate Progrexion Marketing, Inc.     Marketing Agreement Dated 11/01/2022                                           $0.00

    30       Ad Practitioners, LLC / Consumers Advocate Progrexion Marketing, Inc.     Publisher Insertion Order Dated 10/01/2022                                     $0.00

    31       Ad Practitioners, LLC / Consumers Advocate Progrexion Marketing, Inc.     Third Party Insertion Order Dated 11/03/2022                                   $0.00

    32       Adaptive Insights LLC                      Progrexion ASG, Inc.           Workday Order Form and Agreement dated 9/30/2020                               $0.00

    33       AddShoppers, Inc.                          Progrexion Marketing, Inc.    Master Services Agreement Dated 07/28/2022                                      $0.00

    34       AddShoppers, Inc.                          Progrexion Marketing, Inc.    Software License Agreement & Statement of Work Dated 07/28/2022                 $0.00

    35       Adhere, Inc.                               Progrexion Marketing, Inc.     Terms and Conditions Dated 02/21/2023                                          $0.00

    36       Adhere, Inc.                               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 02/21/2023                                   $0.00

    37       Admediary LLC                              Progrexion Marketing, Inc.     Publisher Insertion Order Dated 07/19/2018                                     $0.00

    38       Admediary LLC                              Progrexion Marketing, Inc.     Publisher Insertion Order Dated 12/08/2021                                     $0.00

    39       AdMediary, LLC                             eFolks, LLC                   Terms and Conditions Dated 07/19/2018                                           $0.00

    40       AdMediary, LLC                             Progrexion Marketing, Inc.     Insertion Order / Terms & Conditions Dated 10/05/2021                          $0.00

    41       AdMediary, LLC                             Progrexion Marketing, Inc.    Marketing Agreement                                                             $0.00

    42       Adobe                                      Progrexion Marketing, Inc.     Marketing Agreement Dated 09/01/2020                                           $0.00

    43       Adobe                                      Progrexion Marketing, Inc.     Statement of Work Dated 09/01/2021                                             $0.00
                             Case 23-10718-CTG                                 Doc 250-1       Filed 07/28/23                         Page 104 of 174


Row Number                  Counterparty Name                            Debtor                                     Contract Description                                Estimated Cure Amount
    44       Adobe                                    Progrexion Marketing, Inc.      Experience Manager - On-Premise Software Terms and Conditions                             $0.00

    45       Adobe                                    Progrexion Marketing, Inc.       Terms and Conditions                                                                     $0.00

    46       Adobe                                    Progrexion Marketing, Inc.       Experience Manager - Managed Services Product Specific Licensing Terms                   $0.00

    47       Adobe                                    Progrexion Marketing, Inc.      Target Product Specific Licensing Terms                                                   $0.00

    48       Adobe                                    Progrexion Marketing, Inc.       Creative Cloud and Document Cloud Product Specific Licensing Terms                       $0.00

    49       Adobe                                    Progrexion Marketing, Inc.       Experience Manager - Cloud Service Product Specific Licensing Terms                      $0.00

    50       Adobe                                    Progrexion Marketing, Inc.       Creative Cloud, Document Cloud & Substance 3D Product Specific Licensing Terms           $0.00

    51       Adobe                                    Progrexion Marketing, Inc.       Creative Cloud & Document Cloud Product Specific Licensing Terms                         $0.00

    52       Adobe Creative Cloud Renewal - Insight   Progrexion Marketing, Inc.      Marketing Agreement Dated 07/29/2022                                                      $0.00

    53       Adobe Systems - AEM                      Progrexion Marketing, Inc.      Marketing Agreement Dated 03/01/2023                                                      $0.00

    54       Adobe Systems - Target                   Progrexion Marketing, Inc.       Marketing Agreement Dated 03/01/2023                                                     $0.00

    55       ADSMOVIL CORPORATION                     Creditrepair.com, Inc.           Advertising Agreement                                                                    $0.00

    56       ADSMOVIL CORPORATION                     Progrexion Marketing, Inc.      Terms and Conditions & Insertion Order Dated 08/04/2022                                   $0.00

    57       AFTHA, LLC                               Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                           $0.00

    58       Agility Digital, Inc.                    Progrexion Marketing, Inc.      Marketing Agreement Dated 10/15/2021                                                      $0.00

    59       Agility Digital, Inc.                    Progrexion Marketing, Inc.       Third Party Insertion Order Dated 10/25/2021                                             $0.00

    60       Aktify Inc                               Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                           $0.00

    61       Alexander, Borovicka and O'Shea          Progrexion ASG, Inc.            Lobbying Agreement Dated 10/01/2021                                                       $0.00

    62       All Phone Leads, Inc.                    Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                           $0.00

    63       Alvarez & Marsal North America, LLC      PGX Holdings, Inc.               Engagement Letter Dated 05/11/2023                                                       $0.00

    64       America One Funding, Inc                 Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                          $0.00

    65       American Express National Bank           Credit.com, Inc.                 Professional Services Agreement Dated 11/15/2021                                         $0.00

    66       Amobee Inc.                              Credit.com, Inc.                 Marketing Agreement Dated 12/03/2020                                                     $0.00

    67       Amobee Inc.                              Progrexion Marketing, Inc.       Publisher Insertion Order Dated 02/05/2021                                               $0.00

    68       Apisero Inc.                             Progrexion ASG, Inc.             Master Services Agreement Dated 06/20/2022                                             $3,382.50

    69       Apisero Inc.                             Progrexion ASG, Inc.             Master Services Agreement Dated 07/14/2022                                               $0.00

    70       Apisero Inc.                             Progrexion ASG, Inc.             Master Services Agreement Dated 07/14/2022                                               $0.00

    71       AppDynamics LLC                          Progrexion ASG, Inc.             Operations & Maintenance Agreement (SAAS) Dated 03/18/2022                               $0.00

    72       Applied Mind Inc                         Progrexion Marketing, Inc.      Publisher Insertion Order Dated 08/24/2021                                                $0.00

    73       Applied Mind Inc                         Progrexion Marketing, Inc.      Terms and Conditions Dated 08/24/2021                                                     $0.00

    74       Approved Apartment Locators Inc.         Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                          $0.00

    75       Apptio Inc                               Progrexion ASG, Inc.            Target Process User Agreement Dated 01/11/2023                                            $0.00

    76       Apptio, Inc.                             Progrexion ASG, Inc.            Release Agreement Dated 07/06/2022                                                        $0.00

    77       Aragon Advertising, LLC                  Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                           $0.00

    78       Argano, LLC                              Progrexion ASG, Inc.             Master Services Agreement                                                                $0.00

    79       Argano, LLC                              Progrexion ASG, Inc.             Statement of Work Dated 04/01/2023                                                    $912,639.00

    80       Aria Systems, Inc.                       Progrexion ASG, Inc.             Master Services Agreement Dated 05/27/2016                                               $0.00

    81       Aria Systems, Inc.                       Progrexion ASG, Inc.             Renewal Agreement Dated 12/30/2022                                                       $0.00

    82       Aria Systems, Inc.                       Progrexion ASG, Inc.             Services Agreement Dated 12/30/2022                                                      $0.00

    83       Aria Systems, Inc.                       Progrexion ASG, Inc.             Statement of Work Dated 01/01/2022                                                       $0.00

    84       Arrest Your Debt LLC                     Credit.com, Inc.                 Network Publisher Addendum Dated 06/28/2021                                              $0.00

    85       Arrest Your Debt LLC                     Credit.com, Inc.                Publisher Insertion Order Dated 06/16/2021                                                $0.00

    86       Arrest Your Debt LLC                     Credit.com, Inc.                Terms and Conditions Dated 06/16/2021                                                     $0.00
                             Case 23-10718-CTG                               Doc 250-1       Filed 07/28/23                       Page 105 of 174


Row Number                 Counterparty Name                             Debtor                                   Contract Description                 Estimated Cure Amount
    87       Ascentium Analytics AKA DDM Group, LLC   Progrexion Marketing, Inc.     Marketing Agreement Dated 12/26/2022                                      $0.00

    88       ASN Agency Inc., dba Adshot Network      Credit.com, Inc.               Network Publisher Addendum Dated 05/19/2022                               $0.00

    89       ASN Agency Inc., dba Adshot Network      Credit.com, Inc.               Publisher Insertion Order Dated 04/29/2022                                $0.00

    90       ASN Agency Inc., dba Adshot Network      Credit.com, Inc.               Standard Terms and Conditions Agreement Dated 05/16/2022                  $0.00

    91       Association Management Contracts         Progrexion ASG, Inc.          Consulting Services Agreement                                              $0.00

    92       Astoria Company, Inc                     Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

    93       Atlassian                                Progrexion ASG, Inc.           Terms and Conditions Dated 11/01/2022                                     $0.00

    94       Atwave, LLC                              Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

    95       AudioEye, Inc.                           Progrexion ASG, Inc.          Software License Agreement                                                 $0.00

    96       AudioEye, Inc.                           Progrexion ASG, Inc.           Software License Agreement Dated 12/30/2022                               $0.00

    97       Auto Credit Express                      Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

    98       Avalara, Inc.                            Progrexion ASG, Inc.           Work Order Dated 03/31/2021                                               $0.00

    99       Avalara, Inc.                            Progrexion ASG, Inc.           Work Order Dated 05/03/2022                                               $0.00

   100       Avaya Inc.                               Progrexion ASG, Inc.           Services Agreement Dated 09/30/2022                                       $0.00

   101       AVIO CONSULTING, LLC                     Progrexion ASG, Inc.           Master Service Agreement Dated 08/02/2021                                 $0.00

   102       AXAD LLC                                 Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   103       B Two Direct LLC                         Credit.com, Inc.               Publisher Insertion Order Dated 08/01/2021                                $0.00

   104       B Two Direct LLC                         Progrexion Marketing, Inc.    Marketing Agreement Dated 06/08/2020                                       $0.00

   105       B Two Direct LLC                         Progrexion Marketing, Inc.     Standard Terms and Conditions Agreement Dated 06/08/2020                  $0.00

   106       Banzai Inc.                              Progrexion Marketing, Inc.    Marketing Agreement Dated 08/16/2021                                       $0.00

   107       Best Company.cm                          Progrexion Marketing, Inc.     Publisher Insertion Order Dated 03/29/2019                                $0.00

   108       Best Company.cm                          Progrexion Marketing, Inc.     Terms and Conditions Dated 03/28/2023                                     $0.00

   109       BestCompany.com, LLC                     Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   110       Biscom, Inc                              Progrexion ASG, Inc.           (FAXCOM) Fax Service - M2M                                               $292.92

   111       Blackoptek CE, Inc.                      Progrexion Marketing, Inc.     Standard Affiliate Terms and Conditions                                   $0.00

   112       Bliss Media LLC                          Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   113       Blueberry Solutions, LLC                 Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   114       Bluedream Associates                     Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   115       BMC Software                             Progrexion ASG, Inc.           Software Agreement Dated 02/20/2023                                       $0.00

   116       Boom Pay, Inc.                           Progrexion ASG, Inc.           Services Agreement                                                        $0.00

   117       Boomtown ROI, LLC                        Credit.com, Inc.              Insertion Order Dated 02/24/2022                                           $0.00

   118       Boomtown ROI, LLC                        Credit.com, Inc.               Master Services Agreement Dated 02/24/2022                                $0.00

   119       Boomtown ROI, LLC                        Credit.com, Inc.               Network Publisher Addendum Dated 03/16/2022                               $0.00

   120       Bradley Lead Group                       Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   121       Brand Star                               Progrexion Marketing, Inc.    Advertising Agreement Dated 01/01/2022                                     $0.00

   122       Brandon Patch                            Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   123       BrandVerity, Inc.                        Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   124       Bright Horizons Media, Inc.              Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   125       Bright Market/FastSpring - GearSet       Progrexion ASG, Inc.           Services Agreement                                                        $0.00

   126       Bright Reach Media Inc                   Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   127       BriteBox LLC                             Credit.com, Inc.               Marketing Agreement Dated 03/24/2021                                      $0.00

   128       BriteBox LLC                             Credit.com, Inc.               Publisher Insertion Order Dated 08/27/2021                                $0.00

   129       BrokerCalls LLC                          Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00
                             Case 23-10718-CTG                              Doc 250-1       Filed 07/28/23                         Page 106 of 174


Row Number               Counterparty Name                              Debtor                                  Contract Description                               Estimated Cure Amount
   130       Bryan Enterprises LLC                   Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   131       Bulldog Media Group                     Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                         $0.00

   132       Buzzery LLC                             Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   133       Buzzfeed, Inc                           Progrexion Marketing, Inc.    Custom Post Package Agreement Dated 06/14/2021                                          $0.00

   134       BW Ventures, LLC                        Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   135       Cadence                                 Progrexion ASG, Inc.           Master Services Agreement Dated 12/19/2013                                             $0.00

   136       Cadence                                 Progrexion ASG, Inc.           Statement of Work Dated 07/13/2021                                                     $0.00

   137       Cadence                                 Progrexion ASG, Inc.           Statement of Work Dated 07/13/2021                                                     $0.00

   138       CALCULATED RESEARCH AND TECHNOLOGY, Progrexion ASG, Inc.               Software License Agreement Dated 01/01/2022                                            $0.00
             Inc.
   139       CALCULATED RESEARCH AND TECHNOLOGY, Progrexion ASG, Inc.               Statement of Work Dated 02/28/2022                                                   $9,900.00
             Inc.
   140       Call Trader, LLC                    Progrexion Marketing, Inc.         Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   141       Canonical                               Progrexion ASG, Inc.           Software Agreement Dated 06/23/2022                                                    $0.00

   142       Canonical Group                         Progrexion ASG, Inc.           Security Support Agreement Dated 04/01/2021                                            $0.00

   143       Capital Bank, N.A.                      Progrexion Marketing, Inc.     Marketing Agreement Amendment Dated 05/18/2022                                         $0.00

   144       CapSpecialty, Inc.                      Progrexion ASG, Inc.          Consulting Services Agreement                                                           $0.00

   145       CapSpecialty, Inc.                      Progrexion ASG, Inc.           Surety Bond Indemnification Agreement Dated 04/05/2021                                 $0.00

   146       Car Loan Market, LLC                    Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   147       Car Loan Pal Holdings, LLC              Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                         $0.00

   148       Casual Precision LLC                    Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   149       CBIZ MHM, LLC                           Progrexion ASG, Inc.           Engagement Letter Dated 02/28/2022                                                     $0.00

   150       Centro, Inc.                            Progrexion Marketing, Inc.     Historical Contract Amendment Dated 12/01/2020                                         $0.00

   151       Centro, Inc.                            Progrexion Marketing, Inc.     Master Agreement Dated 06/15/2020                                                      $0.00

   152       Centro, Inc.                            Progrexion Marketing, Inc.     Master Contract Renewal Dated 06/01/2021                                               $0.00

   153       Centro, Inc.                            Progrexion Marketing, Inc.     Software License Agreement Dated 12/20/2021                                            $0.00

   154       Centro, Inc.                            Progrexion Marketing, Inc.     Third Party Insertion Order Dated 07/19/2021                                           $0.00

   155       Centro, Inc.                            Progrexion Marketing, Inc.     Third Party Insertion Order Dated 08/09/2021                                           $0.00

   156       Centro, Inc.                            Progrexion Marketing, Inc.     Third Party Insertion Order Dated 09/27/2021                                           $0.00

   157       Centro, Inc.                            Progrexion Marketing, Inc.     Third Party Insertion Order Dated 10/04/2021                                           $0.00

   158       Century Link                            Progrexion                     Level 3 Communications, LLC (CenturyLink) - M2M                                        $0.00

   159       Century Link                            Progrexion ASG, Inc.           (324M Account) POTS Line - M2M                                                       $17,939.82

   160       CenturyLink Communications, LLC d/b/a   Progrexion ASG, Inc.           10th Amendment to Total Advantage Agreement Dated 05/03/2016                           $0.00
             Lumen Technologies Group
   161       CenturyLink Communications, LLC d/b/a   Progrexion ASG, Inc.           86445575 Renewal Order Form Dated 12/20/2021                                           $0.00
             Lumen Technologies Group
   162       CenturyLink Communications, LLC d/b/a   Progrexion ASG, Inc.           Operations & Maintenance Agreement Dated 05/09/2022                                    $0.00
             Lumen Technologies Group
   163       CenturyLink Communications, LLC d/b/a   Progrexion ASG, Inc.           Software License Agreement Dated 05/14/2012                                            $0.00
             Lumen Technologies Group
   164       CenturyLink Communications, LLC d/b/a   Progrexion ASG, Inc.           Software License Agreement Dated 12/20/2021                                            $0.00
             Lumen Technologies Group
   165       Cervont, LLC                            Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   166       Chane Steiner                           Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   167       Chatmantics, Inc.                       Progrexion Marketing, Inc.     Publisher Insertion Order Dated 02/25/2022                                             $0.00

   168       Chatmantics, Inc.                       Progrexion Marketing, Inc.     Terms and Conditions                                                                   $0.00

   169       Chime Financial, Inc.                   Credit.com, Inc.               Insertion Order Dated 11/19/2021                                                       $0.00

   170       Chime Financial, Inc.                   Progrexion Marketing, Inc.     Special Terms and Conditions Supplemental to the Publisher Service Agreement           $0.00

   171       Chime Financial, Inc.                   Progrexion Marketing, Inc.     Statement of Work Dated 09/21/2021                                                     $0.00

   172       Chime Financial, Inc.                   Progrexion Marketing, Inc.     Terms and Conditions Dated 10/21/2021                                                  $0.00
                            Case 23-10718-CTG                                 Doc 250-1       Filed 07/28/23                         Page 107 of 174


Row Number               Counterparty Name                                Debtor                                  Contract Description                  Estimated Cure Amount
   173       Cicola Investments, LLC                   Credit.com, Inc.               Insertion Order Dated 05/01/2021                                          $0.00

   174       Cicola Investments, LLC                   Credit.com, Inc.               Marketing Agreement Dated 08/01/2020                                      $0.00

   175       Cicola Investments, LLC                   Credit.com, Inc.               Publisher Insertion Order Dated 02/11/2021                                $0.00

   176       Circle Internet Services, Inc.            Progrexion ASG, Inc.           Operations & Maintenance Agreement (SAAS) Dated 08/02/2022                $0.00

   177       Circle Internet Services, Inc.            Progrexion ASG, Inc.           Renewal Order Form Dated 08/02/2022                                       $0.00

   178       Circle Internet Services, Inc.            Progrexion ASG, Inc.           Terms and Conditions Dated 08/02/2021                                     $0.00

   179       Circle Internet Services, Inc.            Progrexion Marketing, Inc.     Terms and Conditions                                                      $0.00

   180       Cisco Systems Inc                         Progrexion ASG, Inc.           Support Services Renewal Agreement Dated 04/01/2021                       $0.00

   181       Citrix                                    Progrexion ASG, Inc.           Operations & Maintenance Agreement Dated 04/26/2021                       $0.00

   182       Clear Link Technologies (DBA The Penny    Credit.com, Inc.               Marketing Agreement Dated 10/01/2021                                      $0.00
             Hoarder)
   183       Clear Link Technologies (DBA The Penny    Credit.com, Inc.               Network Publisher Addendum Dated 10/20/2021                               $0.00
             Hoarder)
   184       Clear Link Technologies (DBA The Penny    Credit.com, Inc.               Publisher Insertion Order Dated 10/01/2021                                $0.00
             Hoarder)
   185       Clickbooth.com, LLC - DBA Perform[cb]     Credit.com, Inc.               Insertion Order Dated 06/01/2022                                          $0.00

   186       Clickbooth.com, LLC - DBA Perform[cb]     Credit.com, Inc.               Marketing Agreement Dated 11/02/2020                                      $0.00

   187       Clickbooth.com, LLC - DBA Perform[cb]     Credit.com, Inc.               Publisher Insertion Order Dated 02/11/2021                                $0.00

   188       Clickbooth.com, LLC - DBA Perform[cb]     Credit.com, Inc.               Third Party Insertion Order Dated 11/30/2022                              $0.00

   189       Clickbooth.com, LLC - DBA Perform[cb]     Progrexion Marketing, Inc.     Marketing Agreement Dated 04/12/2022                                      $0.00

   190       Clickbooth.com, LLC - DBA Perform[cb]     Progrexion Marketing, Inc.     Publisher Insertion Order Dated 04/12/2022                                $0.00

   191       Clickbooth.com, LLC - DBA Perform[cb]     Progrexion Marketing, Inc.     Publisher Insertion Order Dated 10/20/2022                                $0.00

   192       Clickbooth.com, LLC - DBA Perform[cb]     Progrexion Marketing, Inc.     Third Party Insertion Order Dated 10/20/2022                              $0.00

   193       Commission Junction                       Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   194       CompuAssists LLC (After School Finance)   Credit.com, Inc.               Network Publisher Addendum Dated 09/23/2021                               $0.00

   195       CompuAssists LLC (After School Finance)   Credit.com, Inc.               Publisher Insertion Order Dated 09/23/2021                                $0.00

   196       CompuAssists LLC (After School Finance)   Credit.com, Inc.              Terms and Conditions Dated 07/09/2021                                      $0.00

   197       CompuNet                                  Progrexion ASG, Inc.           Citrix Support Agreement Dated 04/25/2022                                 $0.00

   198       CompuNet                                  Progrexion ASG, Inc.           Pure Storage Phase 1 Dated 09/06/2022                                     $0.00

   199       CompuNet                                  Progrexion ASG, Inc.           Pure Storage Phase 2 Dated 10/19/2022                                     $0.00

   200       CompuNet                                  Progrexion ASG, Inc.           Pure Storage Phase 3 Dated 12/01/2022                                     $0.00

   201       CompuNet                                  Progrexion ASG, Inc.           Software Agreement Dated 01/01/2023                                       $0.00

   202       CompuNet                                  Progrexion ASG, Inc.           Software Agreement Dated 01/04/2023                                       $0.00

   203       CompuNet                                  Progrexion ASG, Inc.           Warranty and Support Agreement Dated 02/01/2023                           $0.00

   204       CompuNet                                  Progrexion ASG, Inc.           Software Agreement Dated 06/16/2022                                       $0.00

   205       CompuNet, Inc.                            Progrexion ASG, Inc.           Operations & Maintenance Agreement (SAAS)                                 $0.00

   206       Concussion Media Inc                      Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   207       Conga                                     Progrexion ASG, Inc.           Software License Agreement Dated 03/30/2023                               $0.00

   208       Conga                                     Progrexion ASG, Inc.           Technology Services Agreement Dated 10/31/2020                            $0.00

   209       Connor Group                              PGX Holdings, Inc.             Statement of Work                                                         $0.00

   210       Connor Group                              Progrexion ASG, Inc.           Accounting and Advisory Services Agreement                                $0.00

   211       CONSUMER REVIEWS, LLC                     Progrexion Marketing, Inc.     Marketing Agreement Dated 04/26/2021                                      $0.00

   212       ConsumerAffairs                           Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   213       ConsumerDirect, Inc.                      Progrexion ASG, Inc.           Integration Services Agreement Dated 05/11/2023                           $0.00

   214       Consumers Advocate Group                  Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   215       Consumers Unified, LLC                    Progrexion ASG, Inc.          Marketing Agreement Dated 12/01/2021                                       $0.00
                           Case 23-10718-CTG                          Doc 250-1       Filed 07/28/23                       Page 108 of 174


Row Number               Counterparty Name                      Debtor                                    Contract Description                  Estimated Cure Amount
   216       Consumers Unified, LLC          Progrexion Marketing, Inc.       Master Services Agreement                                                 $0.00

   217       Consumers Unified, LLC          Progrexion Marketing, Inc.      Referral Insertion Order                                                   $0.00

   218       Consumers Unified, LLC          Progrexion Marketing, Inc.       Terms and Conditions                                                      $0.00

   219       Consumers Unified, LLC          Progrexion Marketing, Inc.       Terms and Conditions dated 02/23/2021                                     $0.00

   220       ConsumerTrack Inc               Credit.com, Inc.                 Insertion Order Dated 01/26/2022                                          $0.00

   221       ConsumerTrack Inc               Credit.com, Inc.                 ConsumerTrack Q1 2022 Insertion Order                                     $0.00

   222       ConsumerTrack Inc               Credit.com, Inc.                 Insertion Order Dated 01/11/2022                                          $0.00

   223       ConsumerTrack Inc               Credit.com, Inc.                 Insertion Order                                                           $0.00

   224       ConsumerTrack Inc               Credit.com, Inc.                 Insertion Order Dated 01/19/2021                                          $0.00

   225       ConsumerTrack Inc               Credit.com, Inc.                 Insertion Order Dated 02/01/2022                                          $0.00

   226       ConsumerTrack Inc               Credit.com, Inc.                 Insertion Order Dated 04/01/2022                                          $0.00

   227       ConsumerTrack Inc               Credit.com, Inc.                 Insertion Order Dated 04/29/2022                                          $0.00

   228       ConsumerTrack Inc               Credit.com, Inc.                 Insertion Order Dated 05/01/2021                                          $0.00

   229       ConsumerTrack Inc               Credit.com, Inc.                 Marketing Agreement Dated 08/21/2020                                      $0.00

   230       ConsumerTrack Inc               Credit.com, Inc.                 Publisher Insertion Order Dated 02/01/2023                                $0.00

   231       ConsumerTrack Inc               Credit.com, Inc.                 Publisher Insertion Order Dated 02/02/2022                                $0.00

   232       ConsumerTrack Inc               Credit.com, Inc.                 Publisher Insertion Order Dated 02/04/2021                                $0.00

   233       ConsumerTrack Inc               Credit.com, Inc.                 Publisher Insertion Order Dated 04/01/2023                                $0.00

   234       ConsumerTrack Inc               Progrexion Marketing, Inc.       Publisher Insertion Order Dated 01/29/2021                                $0.00

   235       ConsumerTrack Inc               Progrexion Marketing, Inc.       Statement of Work Dated 09/16/2022                                        $0.00

   236       Content Square, Inc.            Progrexion Marketing, Inc.       Master Services Agreement Dated 01/04/2022                                $0.00

   237       Convergence One, Inc.           Progrexion ASG, Inc.             Software Agreement Dated 03/23/2023                                       $0.00

   238       ConvergeOne                     Progrexion ASG, Inc.             Annual Maintenance Agreement Dated 03/22/2021                             $0.00

   239       ConvergeOne                     Progrexion ASG, Inc.             Operations & Maintenance Agreement Dated 02/16/2015                       $0.00

   240       ConvergeOne                     Progrexion ASG, Inc.             Software License Agreement Dated 02/24/2021                               $0.00

   241       ConvergeOne                     Progrexion ASG, Inc.             Statement of Work Dated 02/22/2022                                        $0.00

   242       ConvergeOne                     Progrexion ASG, Inc.             Statement of Work Dated 07/22/2021                                        $0.00

   243       ConvergeOne                     Progrexion ASG, Inc.             Statement of Work Dated 08/06/2021                                        $0.00

   244       Conversion Kings LLC            Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   245       Credit Sesame, Inc.             Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   246       Creditrepair.com, Inc.          Credit.com, Inc.                 Network Publisher Addendum Dated 05/03/2022                               $0.00

   247       Creditrepair.com, Inc.          Credit.com, Inc.                 Network Publisher Addendum Dated 05/03/2022                               $0.00

   248       Creditrepair.com, Inc.          Credit.com, Inc.                 Terms and Conditions Dated 03/31/2022                                     $0.00

   249       Creditrepair.com, Inc.          Creditrepair.com, Inc.           Publisher Insertion Order Dated 04/01/2022                                $0.00

   250       Creek View Digital LLC          Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   251       CrossFuze                       Progrexion ASG, Inc.            Change Order Agreement for Additional Hours Dated 07/24/2021               $0.00

   252       CrossFuze                       Progrexion ASG, Inc.            Master Services Agreement Dated 06/12/2020                                 $0.00

   253       CrossFuze                       Progrexion ASG, Inc.            Statement of Work                                                          $0.00

   254       CrossFuze                       Progrexion ASG, Inc.             Statement of Work Dated 05/18/2021                                        $0.00

   255       CrossFuze                       Progrexion ASG, Inc.             Statement of Work Dated 06/20/2020                                        $0.00

   256       CrossFuze                       Progrexion ASG, Inc.             Statement of Work Dated 07/01/2020                                        $0.00

   257       Crowd Content Media, Inc.       Progrexion Marketing, Inc.       Content Services Agreement Dated 05/09/2019                               $0.00

   258       Crowd Content Media, Inc.       Progrexion Marketing, Inc.       Master Services Agreement Dated 04/10/2023                                $0.00
                              Case 23-10718-CTG                               Doc 250-1       Filed 07/28/23                       Page 109 of 174


Row Number               Counterparty Name                                Debtor                                  Contract Description                  Estimated Cure Amount
   259       Crowd Content Media, Inc.                 Progrexion Marketing, Inc.     Master Services Agreement Dated 04/17/2023                                $0.00

   260       Crowd Content Media, Inc.                 Progrexion Marketing, Inc.     Statement of Work Dated 01/03/2022                                        $0.00

   261       Crowd Content Media, Inc.                 Progrexion Marketing, Inc.     Statement of Work Dated 02/01/2023                                        $0.00

   262       Crowd Content Media, Inc.                 Progrexion Marketing, Inc.     Statement of Work Dated 02/16/2022                                        $0.00

   263       Crowd Content Media, Inc.                 Progrexion Marketing, Inc.     Terms and Conditions                                                      $0.00

   264       CT corp                                   PGX Holdings, Inc.             License Agreement                                                       $1,628.04

   265       CT Corporation System                     Progrexion ASG, Inc.           Business License Service Order Form Dated 09/05/2019                      $0.00

   266       CT Corporation System                     Progrexion ASG, Inc.           Powers of Attorney Dated 09/12/2019                                       $0.00

   267       CVE Technologies Group                    Progrexion ASG, Inc.           Software Agreement Dated 02/01/2023                                       $0.00

   268       CVE Technologies Group                    Progrexion ASG, Inc.           Software Agreement Dated 01/27/2023                                       $0.00

   269       CVE Technologies Group                    Progrexion ASG, Inc.           Software Agreement Dated 04/01/2023                                       $0.00

   270       CVE Technologies Group                    Progrexion ASG, Inc.           Software Agreement Dated 04/26/2023                                       $0.00

   271       Cx3 Ads                                   Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   272       D2 Interactive                            Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   273       Data Axle, Inc                            Progrexion Marketing, Inc.     Direct Mail Agreement Dated 12/14/2020                                    $0.00

   274       Data Axle, Inc                            Progrexion Marketing, Inc.     Statement of Work Dated 01/12/2021                                        $0.00

   275       Data Axle, Inc                            Progrexion Marketing, Inc.     Statement of Work Dated 02/18/2022                                        $0.00

   276       Data Axle, Inc                            Progrexion Marketing, Inc.     Statement of Work Dated 04/05/2021                                        $0.00

   277       Data Axle, Inc                            Progrexion Marketing, Inc.     Statement of Work Dated 08/09/2021                                        $0.00

   278       Data Axle, Inc                            Progrexion Marketing, Inc.     Statement of Work Dated 10/28/2020                                        $0.00

   279       Data Central LLC                          Progrexion Marketing, Inc.     Terms and Conditions & Insertion Order Dated 03/16/2022                   $0.00

   280       Data Dome                                 Progrexion ASG, Inc.           Operations & Maintenance Agreement (SAAS) Dated 04/26/2021                $0.00

   281       Data Dome                                 Progrexion ASG, Inc.           Software Agreement Dated 04/26/2022                                       $0.00

   282       Data Dome                                 Progrexion ASG, Inc.           Statement of Work Dated 04/05/2022                                        $0.00

   283       Data Dome                                 Progrexion ASG, Inc.           Statement of Work Dated 12/08/2022                                        $0.00

   284       DDR Media, LLC.                           Credit.com, Inc.               Marketing Agreement Dated 04/24/2020                                      $0.00

   285       DDR Media, LLC.                           Credit.com, Inc.               Network Publisher Addendum Dated 09/04/2020                               $0.00

   286       DDR Media, LLC.                           Credit.com, Inc.               Publisher Insertion Order Dated 03/15/2021                                $0.00

   287       DDR Media, LLC.                           Credit.com, Inc.               Publisher Insertion Order Dated 06/09/2022                                $0.00

   288       DDR Media, LLC.                           Progrexion Marketing, Inc.     Publisher Insertion Order Dated 02/08/2021                                $0.00

   289       Debt Settlement Group, Inc.               Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   290       Debt Watch Dogs LLC                       Credit.com, Inc.               Marketing Agreement Dated 05/14/2020                                      $0.00

   291       Debt Watch Dogs LLC                       Credit.com, Inc.               Network Publisher Addendum Dated 09/21/2020                               $0.00

   292       Debt Watch Dogs LLC                       Credit.com, Inc.               Publisher Insertion Order Dated 02/09/2021                                $0.00

   293       Debt Watch Dogs LLC                       Progrexion Marketing, Inc.     Terms and Conditions Dated 01/29/2021                                     $0.00

   294       Deepak Verma dba Try My Solutions         Progrexion Marketing, Inc.    Marketing Agreement Dated 10/27/2020                                       $0.00

   295       Deepak Verma dba Try My Solutions         Progrexion Marketing, Inc.     Publisher Insertion Order Dated 02/16/2021                                $0.00

   296       Delta Dental Insurance Company            Progrexion Holdings, Inc.      Benefits Agreement Dated 01/01/2023                                       $0.00

   297       Derivative Path Hedging Solutions, Inc.   PGX Holdings, Inc.            Engagement Letter Dated 03/10/2022                                         $0.00

   298       Derivative Path Hedging Solutions, Inc.   Progrexion ASG, Inc.          Master Agreement Dated 05/01/2022                                          $0.00

   299       Diablo Media, LLC                         Credit.com, Inc.               Standard Terms and Conditions Dated 07/29/2020                            $0.00

   300       Diablo Media, LLC                         Progrexion Marketing, Inc.     Marketing Agreement Dated 07/29/2022                                      $0.00

   301       DIANOMI, INC.                             Progrexion Marketing, Inc.     Advertising Agreement Dated 03/01/2021                                    $0.00
                             Case 23-10718-CTG                                    Doc 250-1       Filed 07/28/23                        Page 110 of 174


Row Number                  Counterparty Name                               Debtor                                    Contract Description                  Estimated Cure Amount
   302       DIANOMI, INC.                               Progrexion Marketing, Inc.       Publisher Insertion Order Dated 04/19/2021                                $0.00

   303       DIANOMI, INC.                               Progrexion Marketing, Inc.       Renewal of Master Contract Dated 06/01/2021                               $0.00

   304       Digital Brands, Inc.                        Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   305       Digital Media Solutions                     Progrexion Marketing, Inc.      Master Services Agreement Dated 02/08/2023                                 $0.00

   306       Digital Media Solutions                     Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   307       Dima Marketing, LLC                         Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   308       Direct Market LLC                           Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   309       Direct Results Radio, Inc.                  Progrexion Marketing, Inc.       Marketing Agreement Dated 07/21/2022                                      $0.00

   310       Direct Results Radio, Inc.                  Progrexion Marketing, Inc.       Master Services Agreement Dated 07/14/2022                                $0.00

   311       Direct2Market Digital Media Solutions LLC   Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   312       Divvy Media                                 Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   313       DoHardMoney.com, Inc                        Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   314       DSI Distributing Inc                        Progrexion Marketing, Inc.      Amendment to Master Services Agreement Dated 04/07/2022                    $0.00

   315       DSI Distributing Inc                        Progrexion Marketing, Inc.       Marketing Agreement Dated 05/24/2021                                      $0.00

   316       Dteckt, Inc.                                Credit.com, Inc.                 Marketing Agreement Dated 05/10/2022                                      $0.00

   317       Dteckt, Inc.                                Progrexion ASG, Inc.             Master Agreement Dated 01/01/2022                                         $0.00

   318       Dteckt, Inc.                                Progrexion ASG, Inc.             Services Agreement Dated 01/01/2022                                       $0.00

   319       Dteckt, Inc.                                Progrexion ASG, Inc.             Statement of Work Dated 08/05/2021                                        $0.00

   320       Dteckt, Inc.                                Progrexion ASG, Inc.             Statement of Work Dated 08/05/2021                                        $0.00

   321       Dteckt, Inc.                                Progrexion ASG, Inc.             Master Services Agreement Dated 08/05/2021                                $0.00

   322       Dynamic Data Strategies, LLC                Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   323       Early Warning Services                      Progrexion ASG, Inc.             Service Alert Reseller Agreement Dated 02/26/2019                         $0.00

   324       Elite Fulfillment Group, LLC                Credit.com, Inc.                Master Services Agreement Dated 06/01/2019                                $115.50

   325       Elite Fulfillment Group, LLC                Progrexion ASG, Inc.            Master Services Agreement Dated 12/23/2019                                 $0.00

   326       EliteFin Tech                               Progrexion Marketing, Inc.       Marketing Agreement                                                       $0.00

   327       EliteFin Tech LLC                           Progrexion Marketing, Inc.       Terms and Conditions & Insertion Order Dated 03/04/2022                   $0.00

   328       Emergent DC LLC                             Progrexion ASG, Inc.             Lobbying Agreement                                                        $0.00

   329       EngineFish LLC                              Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   330       Equifax Enterprise Services LLC             Credit.com, Inc.                 Consumer Agent Agreement Dated 04/01/2023                               $17,196.00

   331       Equifax Enterprise Services LLC             Credit.com, Inc.                 Consumer Agent Agreement Dated 05/19/2020                                 $0.00

   332       Equifax Enterprise Services LLC             Creditrepair.com, Inc.           1st Amendment to the Consumer Agent Agreement Dated 02/15/2018            $0.00

   333       Equifax Enterprise Services LLC             Creditrepair.com, Inc.           Addendum to Security Policy Dated 04/01/2023                              $0.00

   334       Equifax Enterprise Services LLC             Creditrepair.com, Inc.           Amendment to the Consumer Agent Agreement Dated 10/28/2019                $0.00

   335       Equifax Enterprise Services LLC             Creditrepair.com, Inc.           Consumer Agent Agreement Dated 06/25/2012                                 $0.00

   336       Equifax Enterprise Services LLC             Creditrepair.com, Inc.           Consumer Agent Agreement Rate Change Dated 04/01/2017                     $0.00

   337       Equifax Enterprise Services LLC             Progrexion ASG, Inc.            IXI Services Dated 08/11/2022                                              $0.00

   338       Equifax Enterprise Services LLC             Progrexion IP, Inc.              Identity Fraud Services Test Agreement Dated 06/19/2013                   $0.00

   339       Equifax Enterprise Services LLC             Progrexion Marketing, Inc.       Amendment to Join Dev Agmt Rates Dated 04/01/2017                         $0.00

   340       Equifax Enterprise Services LLC             Progrexion Marketing, Inc.       Amendment to Join Dev Agmt Rates Dated 10/31/2011                         $0.00

   341       Equifax Enterprise Services LLC             Progrexion Marketing, Inc.       International Access and Use Addendum Dated 02/16/2018                    $0.00

   342       Equifax Enterprise Services LLC             Progrexion Marketing, Inc.       Joint Development Agreement Dated 01/31/2011                              $0.00

   343       Equifax Enterprise Services LLC             Progrexion Marketing, Inc.       Joint Development Agreement Dated 08/10/2022                              $0.00

   344       Equifax Enterprise Services LLC             Progrexion Marketing, Inc.       Master Agreement Dated 07/15/2019                                         $0.00
                             Case 23-10718-CTG                            Doc 250-1       Filed 07/28/23                         Page 111 of 174


Row Number                  Counterparty Name                         Debtor                                  Contract Description                             Estimated Cure Amount
   345       Equifax Enterprise Services LLC       Progrexion Marketing, Inc.     Master Services Agreement Dated 10/23/2018                                           $0.00

   346       Equifax Enterprise Services LLC       Progrexion Marketing, Inc.     Order Form Amendment #1 Dated 08/01/2022                                             $0.00

   347       Equifax Enterprise Services LLC       Progrexion Marketing, Inc.     Services Agreement Dated 02/01/2023                                                  $0.00

   348       Equifax Enterprise Services LLC       Progrexion Marketing, Inc.     Statement of Work Dated 07/07/2020                                                   $0.00

   349       Equifax Enterprise Services LLC       Progrexion Marketing, Inc.     Statement of Work Dated 10/23/2018                                                   $0.00

   350       Eric M. Kamerath & Associates, PLLC   Progrexion ASG, Inc.           Engagement Agreement Dated 01/01/2011                                                $0.00

   351       Even Financial Inc                    Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                       $0.00

   352       Even Financial, Inc.                  Progrexion Marketing, Inc.     Publisher Insertion Order Dated 02/03/2023                                           $0.00

   353       Everfi, Inc                           Progrexion ASG, Inc.           Services Agreement Dated 12/17/2021                                                  $0.00

   354       Everfi, Inc.                          Progrexion ASG, Inc.           Services Agreement Dated 02/11/2022                                                  $0.00

   355       Everfi, Inc.                          Progrexion ASG, Inc.           Services Agreement Dated 12/17/2021                                                  $0.00

   356       Everflow Technologies, Inc.           Progrexion Marketing, Inc.     Everflow Tracking Platform Agreement Dated 06/11/2021                               $580.66

   357       E-Verified/Tracker                    Progrexion ASG, Inc.           Service Agreement                                                                    $0.00

   358       Experian Marketing Solutions LLC      Credit.com, Inc.               4th Amendment to Premium Prequalification Supplement of Standard Terms and           $0.00
                                                                                  Conditions Dated 09/16/2013
   359       Experian Marketing Solutions LLC      Credit.com, Inc.               Acknowledgement of Remote Working Dated 03/17/2022                                   $0.00

   360       Experian Marketing Solutions LLC      Credit.com, Inc.               Addendum to Multi-Factor Authentication Services Dated 02/07/2022                    $0.00

   361       Experian Marketing Solutions LLC      Credit.com, Inc.               Amendment to Pricing Addendum Dated 01/01/2021                                       $0.00

   362       Experian Marketing Solutions LLC      Credit.com, Inc.               Amendment to Pricing Addendum Dated 04/01/2018                                       $0.00

   363       Experian Marketing Solutions LLC      Credit.com, Inc.               Amendment to Pricing Addendum Dated 04/22/2022                                       $0.00

   364       Experian Marketing Solutions LLC      Credit.com, Inc.               Amendment to Pricing Addendum Dated 05/23/2017                                       $0.00

   365       Experian Marketing Solutions LLC      Credit.com, Inc.               Amendment to Standard Terms and Conditions Precise ID Supplement Dated               $0.00
                                                                                  06/18/2014
   366       Experian Marketing Solutions LLC      Credit.com, Inc.               Analytical Services Schedule Dated 09/16/2021                                        $0.00

   367       Experian Marketing Solutions LLC      Credit.com, Inc.              Certification of FCRA Permissible Purpose Dated 01/18/2023                            $0.00

   368       Experian Marketing Solutions LLC      Credit.com, Inc.               CrossCore Contract Dated 09/01/2021                                                  $0.00

   369       Experian Marketing Solutions LLC      Credit.com, Inc.              Data Quality Terms and Conditions Dated 09/23/2015                                    $0.00

   370       Experian Marketing Solutions LLC      Credit.com, Inc.              Data Services Agreement Dated 05/28/2014                                              $0.00

   371       Experian Marketing Solutions LLC      Credit.com, Inc.              Data Services Agreement Dated 11/16/2018                                              $0.00

   372       Experian Marketing Solutions LLC      Credit.com, Inc.               Publisher Insertion Order Dated 09/01/2021                                           $0.00

   373       Experian Marketing Solutions LLC      Credit.com, Inc.              Standard Terms and Conditions Dated 03/26/2015                                        $0.00

   374       Experian Marketing Solutions LLC      Credit.com, Inc.              Standard Terms and Conditions Dated 03/26/2015                                        $0.00

   375       Experian Marketing Solutions LLC      Credit.com, Inc.              Standard Terms and Conditions Dated 04/07/2016                                        $0.00

   376       Experian Marketing Solutions LLC      Credit.com, Inc.              Standard Terms and Conditions Dated 04/11/2016                                        $0.00

   377       Experian Marketing Solutions LLC      Credit.com, Inc.              Standard Terms and Conditions Dated 04/17/2013                                        $0.00

   378       Experian Marketing Solutions LLC      Credit.com, Inc.              Statement of Work Dated 02/01/2021                                                    $0.00

   379       Experian Marketing Solutions LLC      Credit.com, Inc.              Statement of Work Dated 03/01/2023                                                    $0.00

   380       Experian Marketing Solutions LLC      Credit.com, Inc.              Statement of Work Dated 04/01/2015                                                    $0.00

   381       Experian Marketing Solutions LLC      Credit.com, Inc.              Statement of Work Dated 06/11/2020                                                    $0.00

   382       Experian Marketing Solutions LLC      Credit.com, Inc.              Statement of Work Dated 11/01/2021                                                    $0.00

   383       Experian Marketing Solutions LLC      Credit.com, Inc.              Terms and Conditions Dated 01/26/2012                                                 $0.00

   384       Experian Marketing Solutions LLC      Credit.com, Inc.              Terms and Conditions Dated 02/25/2013                                                 $0.00

   385       Experian Marketing Solutions LLC      Credit.com, Inc.               Third Party Insertion Order Dated 01/22/2014                                         $0.00

   386       Experian Marketing Solutions LLC      Credit.com, Inc.               Third Party Insertion Order Dated 01/22/2014                                         $0.00

   387       Experian Marketing Solutions LLC      Credit.com, Inc.               Third Party Insertion Order Dated 03/26/2015                                         $0.00
                             Case 23-10718-CTG                           Doc 250-1       Filed 07/28/23                         Page 112 of 174


Row Number                  Counterparty Name                      Debtor                                    Contract Description                             Estimated Cure Amount
   388       Experian Marketing Solutions LLC   Credit.com, Inc.                 Third Party Insertion Order Dated 04/11/2016                                         $0.00

   389       Experian Marketing Solutions LLC   Credit.com, Inc.                 Third Party Insertion Order Dated 04/29/2013                                         $0.00

   390       Experian Marketing Solutions LLC   Credit.com, Inc.                 Third Party Insertion Order Dated 05/16/2017                                         $0.00

   391       Experian Marketing Solutions LLC   Credit.com, Inc.                 Third Party Insertion Order Dated 07/19/2016                                         $0.00

   392       Experian Marketing Solutions LLC   Credit.com, Inc.                 Third Party Insertion Order Dated 08/17/2017                                      $284,584.96

   393       Experian Marketing Solutions LLC   Credit.com, Inc.                 Third Party Insertion Order Dated 11/13/2013                                         $0.00

   394       Experian Marketing Solutions LLC   Creditrepair.com, Inc.          Access Addendum Dated 03/03/2022                                                      $0.00

   395       Experian Marketing Solutions LLC   Creditrepair.com, Inc.          Acknowledgement of Remote Working Agreement Dated 03/17/2022                          $0.00

   396       Experian Marketing Solutions LLC   Creditrepair.com, Inc.           Addendum to FPCES Reseller Services Agreement and Standard Terms and                 $0.00
                                                                                 Conditions Dated 02/18/2022
   397       Experian Marketing Solutions LLC   Creditrepair.com, Inc.           Addendum to FPCES Reseller Services Agreement and Standard Terms and                 $0.00
                                                                                 Conditions Dated 02/24/2022
   398       Experian Marketing Solutions LLC   Creditrepair.com, Inc.           Analytical Services Schedule                                                         $0.00

   399       Experian Marketing Solutions LLC   Creditrepair.com, Inc.           Elements Suppression Waiver Packet Dated 12/09/2015                                  $0.00

   400       Experian Marketing Solutions LLC   Creditrepair.com, Inc.           Publisher Insertion Order Dated 09/01/2021                                           $0.00

   401       Experian Marketing Solutions LLC   Creditrepair.com, Inc.           Standard Terms and Conditions Dated 12/14/2015                                       $0.00

   402       Experian Marketing Solutions LLC   Creditrepair.com, Inc.           Standard Terms and Conditions Dated 12/14/2015                                       $0.00

   403       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Data Services Agreement Dated 04/30/2018                                              $0.00

   404       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Data Services Agreement Dated 04/30/2018                                              $0.00

   405       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Data Services Agreement Dated 05/15/2018                                              $0.00

   406       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Data Services Agreement Dated 06/11/2018                                              $0.00

   407       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Data Services Agreement Dated 06/11/2018                                              $0.00

   408       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Standard Terms and Conditions Dated 08/06/2015                                        $0.00

   409       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Standard Terms and Conditions Dated 11/02/2021                                        $0.00

   410       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Statement of Work Dated 01/12/2022                                                    $0.00

   411       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Statement of Work Dated 01/31/2022                                                    $0.00

   412       Experian Marketing Solutions LLC   Progrexion ASG, Inc.            Statement of Work Dated 10/16/2018                                                    $0.00

   413       Experian Marketing Solutions LLC   Progrexion ASG, Inc.             Sub-Agent Use Agreement Amendment Dated 01/05/2023                                   $0.00

   414       Experian Marketing Solutions LLC   Progrexion Marketing, Inc.       Change Order 1 to Statement of Work #1 to PGNM Standard Terms & Conditions           $0.00
                                                                                 Dated 09/11/2014
   415       Experian Marketing Solutions LLC   Progrexion Marketing, Inc.       Statement of Work Dated 04/25/2014                                                   $0.00

   416       Experian Marketing Solutions LLC   Progrexion Marketing, Inc.       Statement of Work Dated 04/25/2015                                                   $0.00

   417       Experian Marketing Solutions LLC   Progrexion Marketing, Inc.       Terms and Conditions Dated 04/25/2014                                                $0.00

   418       EyeMed                             Progrexion ASG, Inc.             Benefits Agreement                                                                   $0.00

   419       EZ Rent to Own                     Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                       $0.00

   420       Facebook Inc.                      Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                      $0.00

   421       Fair Isaac Corporation             Credit.com, Inc.                Pricing Agreement Dated 01/01/2023                                                    $0.00

   422       Fair Isaac Corporation             Creditrepair.com, Inc.          Pricing Agreement Dated 01/01/2023                                                    $0.00

   423       Fair Isaac Corporation             Creditrepair.com, Inc.           Reseller Services Agreement Dated 03/15/2016                                         $0.00

   424       Fair Isaac Corporation             Progrexion ASG, Inc.            Pricing Agreement Dated 01/01/2023                                                 $162,661.57

   425       Fair Isaac Corporation             Progrexion ASG, Inc.             Reseller Services Agreement Dated 03/14/2019                                         $0.00

   426       Fair Isaac Corporation             Progrexion ASG, Inc.             Reseller Services Agreement Dated 12/20/2016                                         $0.00

   427       Fair Isaac Corporation             Progrexion Marketing, Inc.       Standard Terms and Conditions Dated 01/15/2018                                       $0.00

   428       Fair Isaac Corporation             Progrexion Marketing, Inc.       Standard Terms and Conditions Dated 01/25/2018                                       $0.00

   429       Fastly, Inc.                       Progrexion ASG, Inc.             Master Subscription Agreement Dated 02/23/2018                                     $1,375.97

   430       Fastly, Inc.                       Progrexion ASG, Inc.             Statement of Work Dated 03/01/2023                                                   $0.00
                             Case 23-10718-CTG                                 Doc 250-1       Filed 07/28/23                        Page 113 of 174


Row Number                 Counterparty Name                               Debtor                                   Contract Description                      Estimated Cure Amount
   431       FFE SOLUTIONS GROUP, LLC                   Progrexion ASG, Inc.           Statement of Work Dated 06/06/2022                                            $289.03

   432       Figg, Inc.                                 Progrexion Marketing, Inc.     Marketing Agreement Dated 01/01/2023                                           $0.00

   433       Figg, Inc.                                 Progrexion Marketing, Inc.     Marketing Agreement Dated 01/01/2023                                           $0.00

   434       Finance Matrix, LLC                        Progrexion Marketing, Inc.    Terms and Conditions & Insertion Order Dated 03/01/2022                         $0.00

   435       Five Star Media LLC                        Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

   436       Fleet Financial                            Progrexion Marketing, Inc.    Marketing Agreement Dated 12/06/2022                                            $0.00

   437       Flex Marketing Group LLC                   Credit.com, Inc.              Insertion Order Dated 02/08/2022                                                $0.00

   438       Flex Marketing Group LLC                   Credit.com, Inc.              Marketing Agreement Dated 03/04/2021                                            $0.00

   439       Flex Marketing Group LLC                   Progrexion Marketing, Inc.     Publisher Insertion Order Dated 07/15/2021                                     $0.00

   440       Flexential                                 Progrexion ASG, Inc.           Bandwidth Increase Agreement Dated 01/22/2021                                  $0.00

   441       Flexential                                 Progrexion ASG, Inc.          Master Services Agreement Dated 12/07/2005                                    $2,830.85

   442       Flexential                                 Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 01/11/2022                             $0.00

   443       Flexential                                 Progrexion ASG, Inc.           Statement of Work Dated 12/01/2022                                             $0.00

   444       FlexOffers.com, LLC                        Progrexion Marketing, Inc.     Agreement and Insertion Order Dated 07/08/2022                                 $0.00

   445       Flexpay                                    Progrexion ASG, Inc.          Master Services Agreement Dated 06/08/2022                                      $0.00

   446       FlexPay                                    Progrexion Marketing, Inc.     Operations & Maintenance Agreement Dated 06/14/2022                            $0.00

   447       Fluent LLC                                 Progrexion Marketing, Inc.    Terms and Conditions Dated 06/01/2021                                           $0.00

   448       Fluent, LLC                                Progrexion Marketing, Inc.     Standard Terms and Conditions Dated 02/21/2017                                 $0.00

   449       Fluent, LLC                                Progrexion Marketing, Inc.    Third Party Insertion Order Dated 10/06/2021                                    $0.00

   450       Foley & Lardner LLP                        Progrexion ASG, Inc.          Professional Services Agreement Dated 07/26/2022                                $0.00

   451       Forbes Marketplace Holdings Ltd            Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

   452       Fortunly                                   Progrexion Marketing, Inc.    Terms and Conditions Dated 08/30/2022                                           $0.00

   453       Funnel, Inc.,                              Progrexion Marketing, Inc.     Annual Subscription Agreement Dated 06/23/2023                                 $0.00

   454       Gallagher Group                            Progrexion ASG, Inc.           Benefits Broker Agreement                                                      $0.00

   455       Gartner                                    Progrexion ASG, Inc.           Service Agreement                                                              $0.00

   456       Gartner                                    Progrexion ASG, Inc.           Service Agreement                                                              $0.00

   457       Gartner Inc- Executive Programs Leadership Progrexion ASG, Inc.           Services Agreement Dated 01/01/2023                                            $0.00

   458       Gartner, Inc.                              Progrexion ASG, Inc.           Statement of Work Dated 09/01/2022                                             $0.00

   459       Gartner, Inc.                              Progrexion Holdings, Inc.     Operations & Maintenance Agreement Dated 11/01/2021                             $0.00

   460       Gearset                                    Progrexion ASG, Inc.           Operations & Maintenance Agreement Dated 07/01/2021                            $0.00

   461       Gearset                                    Progrexion ASG, Inc.           Software License Agreement                                                     $0.00

   462       Gearset                                    Progrexion ASG, Inc.           Software License Agreement Dated 07/22/2021                                    $0.00

   463       Gearset                                    Progrexion ASG, Inc.           Software License Agreement Dated 09/01/2022                                    $0.00

   464       Gearset                                    Progrexion ASG, Inc.           Software License Agreement Dated 09/20/2021                                    $0.00

   465       Geist Media                                Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

   466       GeistM                                     Progrexion Marketing, Inc.     Marketing Agreement Dated 03/10/2022                                           $0.00

   467       General LLC                                Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                $0.00

   468       Genesis Bankcard Services, Inc.            Credit.com, Inc.              Marketing Agreement Dated 06/09/2016                                            $0.00

   469       Genesis Bankcard Services, Inc.            Progrexion Marketing, Inc.     1st Amendment to Legacy Network Marketing Agreement Dated 03/22/2022           $0.00

   470       GET ABOVE THE FOLD INC                     Progrexion Marketing, Inc.     Direct Mail Campaign Amendment Dated 07/01/2021                                $0.00

   471       GET ABOVE THE FOLD INC                     Progrexion Marketing, Inc.     Marketing Agreement Dated 04/12/2021                                           $0.00

   472       GitLab Inc.                                Progrexion ASG, Inc.          Operations & Maintenance Agreement (SAAS) Dated 10/20/2020                      $0.00

   473       GitLab Inc.                                Progrexion ASG, Inc.           Software Agreement Dated 10/20/2022                                            $0.00
                            Case 23-10718-CTG                         Doc 250-1       Filed 07/28/23                        Page 114 of 174


Row Number                 Counterparty Name                     Debtor                                    Contract Description                                Estimated Cure Amount
   474       GitLab Inc.                       Progrexion ASG, Inc.            Statement of Work Dated 10/20/2021                                                      $0.00

   475       Glassbox US Inc.                  Progrexion Marketing, Inc.      Marketing Agreement Dated 02/07/2023                                                    $0.00

   476       Glassbox US Inc.                  Progrexion Marketing, Inc.      Statement of Work Dated 03/18/2023                                                      $0.00

   477       Glassbox US Inc.                  Progrexion Marketing, Inc.      Statement of Work Dated 09/06/2022                                                      $0.00

   478       Google inc.                       Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                         $0.00

   479       Hawthorne Direct, LLC             Progrexion Marketing, Inc.      Master Services Agreement Dated 11/13/2018                                          $1,233,519.21

   480       Hexaware                          PGX Holdings, Inc.              Statement of Work Dated 01/13/2021                                                      $0.00

   481       Hexaware                          Progrexion ASG, Inc.            Additional Security Agreement Dated 12/02/2021                                          $0.00

   482       Hexaware                          Progrexion ASG, Inc.            Change notice to extend TSS Hexaware resource use for 1 year Dated 07/31/2021           $0.00

   483       Hexaware                          Progrexion ASG, Inc.            Change Request for Parent Statement of Work Dated 01/13/2021                            $0.00

   484       Hexaware                          Progrexion ASG, Inc.            Date Extension Agreement Dated 05/14/2021                                               $0.00

   485       Hexaware                          Progrexion ASG, Inc.            Master Services Agreement Dated 12/01/2021                                              $0.00

   486       Hexaware                          Progrexion ASG, Inc.            Operations & Maintenance Agreement Dated 01/27/2021                                     $0.00

   487       Hexaware                          Progrexion ASG, Inc.            Professional Services Agreement Dated 07/13/2020                                        $0.00

   488       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 01/25/2021                                                      $0.00

   489       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 01/28/2022                                                      $0.00

   490       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 02/08/2021                                                      $0.00

   491       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 03/01/2021                                                   $121,734.50

   492       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 03/02/2022                                                      $0.00

   493       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 03/04/2021                                                      $0.00

   494       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 03/13/2021                                                      $0.00

   495       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 03/15/2021                                                      $0.00

   496       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 03/21/2021                                                      $0.00

   497       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 04/16/2021                                                      $0.00

   498       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 05/13/2021                                                      $0.00

   499       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 06/01/2021                                                      $0.00

   500       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 08/01/2020                                                      $0.00

   501       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 08/01/2021                                                      $0.00

   502       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 08/04/2021                                                      $0.00

   503       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 08/20/2021                                                      $0.00

   504       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 09/03/2021                                                      $0.00

   505       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 10/02/2021                                                      $0.00

   506       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 10/15/2020                                                      $0.00

   507       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 11/02/2020                                                      $0.00

   508       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 11/11/2021                                                      $0.00

   509       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 11/22/2021                                                      $0.00

   510       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 12/13/2022                                                      $0.00

   511       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 12/13/2022                                                      $0.00

   512       Hexaware                          Progrexion ASG, Inc.            Statement of Work Dated 12/14/2020                                                      $0.00

   513       Hexaware                          Progrexion Marketing, Inc.      Statement of Work                                                                       $0.00

   514       Hexaware                          Progrexion Teleservices, Inc.   Statement of Work Dated 12/01/2021                                                      $0.00

   515       Hexaware Technologies, Ltd.       Progrexion ASG, Inc.            Amendment to Professional Service Agreement Dated 09/13/2022                            $0.00

   516       Hexaware Technologies, Ltd.       Progrexion ASG, Inc.            Master Service Agreement Dated 03/08/2021                                               $0.00
                              Case 23-10718-CTG                             Doc 250-1       Filed 07/28/23                         Page 115 of 174


Row Number               Counterparty Name                            Debtor                                    Contract Description                         Estimated Cure Amount
   517       Hexaware Technologies, Ltd.           Progrexion ASG, Inc.             Master Services Agreement Dated 12/01/2021                                       $0.00

   518       Hexaware Technologies, Ltd.           Progrexion ASG, Inc.             Statement of Work Amendment Dated 07/22/2022                                     $0.00

   519       Hexaware Technologies, Ltd.           Progrexion ASG, Inc.             Statement of Work Dated 01/25/2022                                               $0.00

   520       Hexaware Technologies, Ltd.           Progrexion ASG, Inc.             Statement of Work Dated 12/01/2021                                               $0.00

   521       Hexaware Technologies, Ltd.           Progrexion Teleservices, Inc.    Statement of Work Amendment                                                      $0.00

   522       Hexaware Technologies, Ltd.           Progrexion Teleservices, Inc.    Statement of Work Dated 03/11/2022                                               $0.00

   523       Higher Power Marketing                Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   524       Holland & Hart                        Progrexion ASG, Inc.            Engagement Agreement Dated 02/24/2014                                             $0.00

   525       Holland & Hart                        Progrexion ASG, Inc.            Engagement Letter Dated 09/27/2018                                                $0.00

   526       HooDoo Digital, LLC                   Creditrepair.com, Inc.           Change Order for CreditRepair.com Client Site AEM Implementation Dated        $184,905.25
                                                                                    03/08/2021
   527       HooDoo Digital, LLC                   Progrexion ASG, Inc.             IT Technical Support Agreement Dated 04/19/2021                                  $0.00

   528       HooDoo Digital, LLC                   Progrexion ASG, Inc.             Statement of Work Dated 01/03/2022                                               $0.00

   529       HooDoo Digital, LLC                   Progrexion ASG, Inc.             Statement of Work Dated 08/01/2020                                               $0.00

   530       HooDoo Digital, LLC                   Progrexion ASG, Inc.             Statement of Work Dated 11/15/2021                                               $0.00

   531       HooDoo Digital, LLC                   Progrexion ASG, Inc.             Statement of Work Dated 12/17/2021                                               $0.00

   532       HooDoo Digital, LLC                   Progrexion ASG, Inc.             Master Services Agreement Dated 07/05/2017                                       $0.00

   533       HooDoo Digital, LLC                   Progrexion ASG, Inc.             Statement of Work Dated 02/16/2023                                               $0.00

   534       Hulu LLC                              Progrexion Marketing, Inc.       Standard Terms and Conditions                                                    $0.00

   535       Hulu, LLC                             Progrexion Marketing, Inc.       Amended Insertion Order Agreement Dated 03/18/2022                               $0.00

   536       Hulu, LLC                             Progrexion Marketing, Inc.       Publisher Insertion Order Dated 03/29/2021                                       $0.00

   537       Hulu, LLC                             Progrexion Marketing, Inc.       Publisher Insertion Order Dated 06/01/2021                                       $0.00

   538       Hulu, LLC                             Progrexion Marketing, Inc.       Publisher Insertion Order Dated 07/06/2021                                       $0.00

   539       Hulu, LLC                             Progrexion Marketing, Inc.       Publisher Insertion Order Dated 08/23/2021                                       $0.00

   540       Hulu, LLC                             Progrexion Marketing, Inc.       Publisher Insertion Order Dated 08/30/2021                                       $0.00

   541       Hulu, LLC                             Progrexion Marketing, Inc.       Publisher Insertion Order Dated 09/27/2021                                       $0.00

   542       Hulu, LLC                             Progrexion Marketing, Inc.       Publisher Insertion Order Dated 09/27/2021                                       $0.00

   543       Hulu, LLC                             Progrexion Marketing, Inc.      Terms and Conditions & Insertion Order Dated 11/09/2021                           $0.00

   544       Hulu, LLC                             Progrexion Marketing, Inc.       Third Party Insertion Order Dated 01/03/2022                                     $0.00

   545       Hulu, LLC                             Progrexion Marketing, Inc.       Third Party Insertion Order Dated 02/07/2022                                     $0.00

   546       Hulu, LLC                             Progrexion Marketing, Inc.       Third Party Insertion Order Dated 09/27/2021                                     $0.00

   547       Hulu, LLC                             Progrexion Marketing, Inc.       Third Party Insertion Order Dated 09/27/2021                                     $0.00

   548       Hybrid Media Services, LLC            Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                   $0.00

   549       HyperQuake, LLC                       Progrexion Marketing, Inc.       Marketing Agreement Dated 04/17/2023                                             $0.00

   550       HyperQuake, LLC                       Progrexion Marketing, Inc.       Marketing Agreement Dated 12/08/2022                                           $30,000.00

   551       Ice Water Media Group                 Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   552       Iconic Results LLC                    Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                   $0.00

   553       iii-interactive LLC, dba Division-D   Progrexion Marketing, Inc.       Master Services Agreement & Insertion Order Dated 03/14/2023                     $0.00

   554       Imperial Calls                        Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   555       Implementation Specialists, Inc.      Progrexion Holdings, Inc.       Implementation Specialists Services Agreement Dated 03/10/2022                    $0.00

   556       IntelePeer Cloud Communications LLC   Credit.com, Inc.                Letter of Authorization Dated 05/04/2022                                          $0.00

   557       IntelePeer Cloud Communications LLC   Progrexion ASG, Inc.             Amendment #2 to Master Service Agreement Dated 03/17/2022                        $0.00

   558       IntelePeer Cloud Communications LLC   Progrexion ASG, Inc.             Annual Renewal Agreement Dated 02/17/2022                                     $26,916.93

   559       IntelePeer Cloud Communications LLC   Progrexion ASG, Inc.             Letter of Authorization Dated 03/25/2022                                         $0.00
                              Case 23-10718-CTG                                    Doc 250-1       Filed 07/28/23                         Page 116 of 174


Row Number               Counterparty Name                                   Debtor                                     Contract Description                           Estimated Cure Amount
   560       IntelePeer Cloud Communications LLC          Progrexion ASG, Inc.             Letter of Authorization Dated 05/04/2022                                            $0.00

   561       IntelePeer Cloud Communications LLC          Progrexion ASG, Inc.             Letter of Authorization Dated 05/06/2022                                            $0.00

   562       IntelePeer Cloud Communications LLC          Progrexion ASG, Inc.             Master Service Agreement Dated 03/08/2019                                           $0.00

   563       IntelePeer Cloud Communications LLC          Progrexion ASG, Inc.             Master Services Agreement Dated 09/22/2021                                          $0.00

   564       IntelePeer Cloud Communications LLC          Progrexion ASG, Inc.            Statement of Work Dated 09/22/2021                                                   $0.00

   565       Intercom, Inc.                               Progrexion ASG, Inc.             Software License Agreement Dated 10/06/2022                                         $0.00

   566       Intercom, Inc.                               Progrexion ASG, Inc.             Software License Agreement Dated 10/10/2022                                         $0.00

   567       Iponweb Gmbh                                 Creditrepair.com, Inc.          Marketing Agreement Dated 02/25/2022                                                 $0.00

   568       Iponweb Gmbh                                 Progrexion Marketing, Inc.       Marketing Agreement                                                                 $0.00

   569       Iponweb Gmbh                                 Progrexion Marketing, Inc.      Marketing Agreement Dated 02/25/2022                                                 $0.00

   570       Iponweb Gmbh                                 Progrexion Marketing, Inc.      Terms and Conditions Dated 03/22/2022                                                $0.00

   571       Iponweb Gmbh                                 Progrexion Marketing, Inc.      Terms and Conditions Dated 03/31/2022                                                $0.00

   572       iSpot.tv, Inc.                               Progrexion ASG, Inc.            License Agreement Dated 05/30/2019                                                   $0.00

   573       iSpot.tv, Inc.                               Progrexion ASG, Inc.            Marketing Agreement Dated 05/30/2021                                                 $0.00

   574       iSpot.tv, Inc.                               Progrexion ASG, Inc.            Marketing Agreement Dated 08/30/2021                                                 $0.00

   575       iSpot.tv, Inc.                               Progrexion ASG, Inc.             Statement of Work Dated 03/30/2023                                                  $0.00

   576       iSpot.tv, Inc.                               Progrexion ASG, Inc.             Statement of Work Dated 05/26/2022                                                  $0.00

   577       J&C Holdings LLC                             Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                     $0.00

   578       Jakob Group Marketing LLC                    Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                     $0.00

   579       Javelin Strategy(Escalent)                   Progrexion Marketing, Inc.       Marketing Agreement Dated 04/30/2021                                                $0.00

   580       Jellyfish Online Marketing US Ltd            Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                      $0.00

   581       Jenya                                        Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                     $0.00

   582       Jiyuu Marketing LLC                          Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                     $0.00

   583       JMB Marketing, LLC                           Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                     $0.00

   584       John C. Heath, Attorney At Law, Professional Progrexion ASG, Inc.             Amended and Restated Administrative Services Agreement Dated 09/01/2021             $0.00
             Corporation
   585       John C. Heath, Attorney At Law, Professional Progrexion ASG, Inc.             Cross Default Agreement Dated 07/01/2012                                            $0.00
             Corporation
   586       John C. Heath, Attorney At Law, Professional Progrexion ASG, Inc.             Cross Default Agreement Dated 07/01/2012                                            $0.00
             Corporation
   587       John C. Heath, Attorney At Law, Professional Progrexion IP, Inc.              Amended and Restated Intellectual Property Licensing and                            $0.00
             Corporation                                                                   Custom Software Hosting Services Agreement Dated 09/01/2021
   588       John C. Heath, Attorney At Law, Professional Progrexion IP, Inc.              Cross Default Agreement Dated 07/01/2012                                            $0.00
             Corporation
   589       John C. Heath, Attorney At Law, Professional Progrexion Marketing, Inc.       Cross Default Agreement Dated 07/01/2012                                            $0.00
             Corporation
   590       John C. Heath, Attorney At Law, Professional Progrexion Marketing, Inc.       Amended and Restated Advertising and Marketing Agreement Dated 09/01/2021           $0.00
             Corporation
   591       John C. Heath, Attorney At Law, Professional Progrexion Teleservices, Inc.    Amended and Restated Teleservices Outsourcing Agreement Dated 09/01/2021            $0.00
             Corporation
   592       John C. Heath, Attorney At Law, Professional Progrexion Teleservices, Inc.    Cross Default Agreement Dated 07/01/2012                                            $0.00
             Corporation
   593       Kegler, Brown, Hill & Ritter                 Progrexion ASG, Inc.             Engagement Letter for Governmental and Legislative Affairs Services Dated           $0.00
                                                                                           03/20/2014
   594       Kegler, Brown, Hill & Ritter                 Progrexion ASG, Inc.             Legal Services Agreement Dated 06/07/2016                                           $0.00

   595       KLDiscovery Ontrack LLC                      PGX Holdings, Inc.               eDiscovery & Document Review Services: Pricing & Terms Agreement Dated              $0.00
                                                                                           08/17/2021
   596       KPMG LLP                                     PGX Holdings, Inc.               Professional Services Agreement Dated 11/01/2022                                    $0.00

   597       Launch Potato                                Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                      $0.00

   598       Laura Orts, Over the World Sales             Progrexion Marketing, Inc.       Master Services Agreement Dated 03/15/2022                                          $0.00

   599       Lead Network LLC                             Credit.com, Inc.                 Publisher Insertion Order Dated 10/24/2022                                          $0.00

   600       Lead Network LLC                             Credit.com, Inc.                 Third Party Insertion Order Dated 10/24/2022                                        $0.00

   601       Lead Network LLC                             Progrexion Marketing, Inc.       Marketing Agreement Dated 06/01/2021                                                $0.00

   602       Lead Network LLC                             Progrexion Marketing, Inc.       Publisher Insertion Order Dated 06/18/2021                                          $0.00
                             Case 23-10718-CTG                          Doc 250-1       Filed 07/28/23                         Page 117 of 174


Row Number                  Counterparty Name                       Debtor                                  Contract Description                        Estimated Cure Amount
   603       Lead Performance Marketing LLC      Progrexion Marketing, Inc.     Lead Performance Direct Mail Campaign Agreement Dated 08/01/2021                $0.00

   604       Lead Performance Marketing LLC      Progrexion Marketing, Inc.     Marketing Agreement Dated 06/01/2021                                            $0.00

   605       Lead Performance Marketing LLC      Progrexion Marketing, Inc.     Publisher Insertion Order Dated 12/28/2022                                      $0.00

   606       Lead Performance Marketing LLC      Progrexion Marketing, Inc.     Third Party Insertion Order Dated 07/25/2022                                    $0.00

   607       Lead Performance Marketing LLC      Progrexion Marketing, Inc.     Third Party Insertion Order Dated 11/30/2021                                    $0.00

   608       LeadPoint, Inc                      Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   609       LeadQual, LLC                       Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

   610       Leadqual, LLC DBA LQ Digital        eFolks, LLC                    Publisher Insertion Order Dated 09/30/2021                                      $0.00

   611       Leadqual, LLC DBA LQ Digital        Progrexion Marketing, Inc.     Publisher Insertion Order Dated 12/08/2021                                      $0.00

   612       Legal Brand Marketing               Progrexion Marketing, Inc.    Marketing Agreement Dated 03/29/2023                                             $0.00

   613       Legalzoom.com Inc                   Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   614       Lending Tree, LLC                   Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

   615       Lendio Inc                          Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   616       Lenticular                          Progrexion ASG, Inc.          Marketing Agreement Dated 11/16/2021                                             $0.00

   617       Lenticular                          Progrexion ASG, Inc.           Software License Agreement Dated 07/01/2021                                     $0.00

   618       Lincoln Concepts Management, Inc.   Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

   619       LinkedIn                            Progrexion ASG, Inc.           Service Agreement                                                               $0.00

   620       Linqia, Inc.                        Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   621       Littlefield & Peterson              Progrexion ASG, Inc.           Professional Services Agreement                                                 $0.00

   622       LiveIntent, Inc.                    Progrexion Marketing, Inc.     Marketing Agreement Dated 03/01/2021                                            $0.00

   623       LiveRamp, Inc.                      Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

   624       Long Island Web Page Design, Inc    Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                 $0.00

   625       LOQBOX Savings LLC                  Credit.com, Inc.               Master Services Agreement and Statement of Work Dated 12/08/2021                $0.00

   626       LOQBOX Savings LLC                  Credit.com, Inc.               Statement of Work Dated 12/13/2021                                              $0.00

   627       LQ Digital                          Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   628       Lucid Software                      Progrexion ASG, Inc.          Software Agreement Dated 12/13/2022                                              $0.00

   629       Mach Networks, Inc.                 Progrexion ASG, Inc.           SIM Wireless Access for Out of Band network management - M2M                   $10.20

   630       MacMurray & Schuster                Progrexion ASG, Inc.           Professional Services Agreement                                                 $0.00

   631       MacMurray & Shuster, LLP            Progrexion ASG, Inc.           Retainer Agreement for Legal Services Dated 05/15/2017                          $0.00

   632       Madera Digital LLC                  Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   633       Madrivo Media                       Credit.com, Inc.              Marketing Agreement Dated 01/27/2021                                             $0.00

   634       Madrivo Media                       Credit.com, Inc.               Publisher Insertion Order Dated 10/24/2022                                      $0.00

   635       Madrivo Media                       Credit.com, Inc.               Third Party Insertion Order Dated 10/24/2022                                    $0.00

   636       Madrivo Media                       Credit.com, Inc.               Third Party Insertion Order Dated 10/24/2022                                    $0.00

   637       Madrivo Media                       Progrexion Marketing, Inc.    Marketing Agreement Dated 11/18/2022                                             $0.00

   638       Marketcall                          Progrexion Marketing, Inc.     Publisher Insertion Order Dated 03/16/2022                                      $0.00

   639       Martin Development Group, Inc       Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   640       Match Group, LLC                    Progrexion ASG, Inc.          Marketing Agreement Dated 03/01/2021                                             $0.00

   641       Match Group, LLC                    Progrexion ASG, Inc.          Marketing agreement Dated 05/20/2021                                             $0.00

   642       Match Group, LLC                    Progrexion ASG, Inc.           Master Services Agreement Dated 03/01/2021                                      $0.00

   643       Maximillion Media Group, LLC        Progrexion Marketing, Inc.    Affiliate Master Services Agreement & Insertion Order Dated 01/07/2022           $0.00

   644       Media Nova LLC                      Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   645       Media Pro Services                  Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00
                             Case 23-10718-CTG                              Doc 250-1       Filed 07/28/23                         Page 118 of 174


Row Number                 Counterparty Name                            Debtor                                  Contract Description                  Estimated Cure Amount
   646       Meta Platforms, Inc.                    Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   647       Microsoft Corporation                   Progrexion ASG, Inc.          Enterprise Agreement                                                       $0.00

   648       Microsoft Corporation                   Progrexion ASG, Inc.           Enterprise Agreement Change Dated 02/26/2021                              $0.00

   649       Microsoft Corporation                   Progrexion ASG, Inc.           Software Agreement Dated 05/01/2022                                       $0.00

   650       Microsoft Corporation                   Progrexion ASG, Inc.           Software Agreement Dated 06/01/2022                                       $0.00

   651       Microsoft Corporation                   Progrexion ASG, Inc.          Software License Agreement                                                 $0.00

   652       Microsoft Corporation                   Progrexion ASG, Inc.           Software License Agreement Dated 06/01/2021                               $0.00

   653       Miller Friel, PLLC                      Progrexion Holdings, Inc.      Retention and Joint Prosecution Agreement Dated 03/23/2018                $0.00

   654       MNTN                                    Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   655       Mobile Focused Media Inc DBA Intelsio   Progrexion Marketing, Inc.     Master Services Agreement Dated 02/15/2022                                $0.00

   656       Mobile Technologies LLC                 Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   657       Money Group LLC                         Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   658       Money Group, LLC                        Progrexion Marketing, Inc.     Publisher Insertion Order Dated 10/26/2022                                $0.00

   659       MoneyDNA, LLC                           Credit.com, Inc.               Marketing Agreement Dated 02/16/2022                                      $0.00

   660       MoneyDNA, LLC                           Credit.com, Inc.               Terms and Conditions & Insertion Order Dated 02/16/2022                   $0.00

   661       Moss Adams                              Progrexion ASG, Inc.           Master Services Agreement Dated 08/19/2021                                $0.00

   662       Moss Adams                              Progrexion ASG, Inc.           Statement of Work Dated 06/07/2022                                        $0.00

   663       Moss Adams                              Progrexion ASG, Inc.           Statement of Work Dated 09/14/2021                                        $0.00

   664       Move Sales, Inc. dba Realtor.com        Progrexion Marketing, Inc.     Insertion Order Dated 07/11/2022                                          $0.00

   665       Move Sales, Inc. dba Realtor.com        Progrexion Marketing, Inc.     Publisher Insertion Order Dated 09/19/2022                                $0.00

   666       Mpire Network Inc                       Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   667       Mulesoft, LLC                           Progrexion ASG, Inc.           Professional Services Agreement Dated 07/31/2019                          $0.00

   668       Mulesoft, LLC                           Progrexion ASG, Inc.           Software License Agreement Dated 08/18/2021                               $0.00

   669       Mulesoft, LLC                           Progrexion ASG, Inc.           Statement of Work Dated 01/07/2021                                        $0.00

   670       Mulesoft, LLC                           Progrexion ASG, Inc.           Statement of Work Dated 01/28/2023                                        $0.00

   671       Mulesoft, LLC                           Progrexion ASG, Inc.           Statement of Work Dated 03/15/2021                                        $0.00

   672       Mulesoft, LLC                           Progrexion ASG, Inc.           Statement of Work Dated 06/14/2021                                        $0.00

   673       Mulesoft, LLC                           Progrexion ASG, Inc.           Statement of Work Dated 10/16/2019                                        $0.00

   674       Mulesoft, LLC                           Progrexion ASG, Inc.           Statement of Work Dated 12/20/2021                                        $0.00

   675       Mulesoft, LLC                           Progrexion ASG, Inc.           Temporary vCore Addition Agreement Dated 08/16/2021                       $0.00

   676       Mulesoft, LLC                           Progrexion ASG, Inc.           Third Party Insertion Order Dated 03/24/2021                              $0.00

   677       MX Technologies, Inc.                   Progrexion ASG, Inc.           Services Agreement Dated 08/27/2015                                       $0.00

   678       New Imagitas, Inc [Red Ventures]        Progrexion Marketing, Inc.     Master Services Agreement Dated 09/14/2019                                $0.00

   679       New Imagitas, Inc [Red Ventures]        Progrexion Marketing, Inc.     Third Party Insertion Order Dated 12/02/2022                              $0.00

   680       New York Life                           Progrexion ASG, Inc.           Benefits Agreement                                                        $0.00

   681       NexLevel Direct, LLC                    Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   682       Ninjio, LLC                             Progrexion ASG, Inc.           Master Services Agreement Dated 01/26/2022                                $0.00

   683       Ninjio, LLC                             Progrexion ASG, Inc.           Statement of Work Dated 02/17/2022                                        $0.00

   684       Ninjio, LLC                             Progrexion ASG, Inc.          Statement of Work Dated 03/09/2022                                       $3,773.00

   685       Noble Connections                       Progrexion Marketing, Inc.     Master Services Agreement Dated 03/26/2021                                $0.00

   686       Noble Connections                       Progrexion Marketing, Inc.     Publisher Insertion Order Dated 03/25/2023                                $0.00

   687       Noble Connections                       Progrexion Marketing, Inc.     Publisher Insertion Order Dated 11/01/2022                                $0.00

   688       Nocturnal Enterprises DBA Lido Labs     Progrexion Marketing, Inc.    Marketing Agreement Dated 02/08/2023                                       $0.00
                             Case 23-10718-CTG                            Doc 250-1       Filed 07/28/23                         Page 119 of 174


Row Number               Counterparty Name                            Debtor                                   Contract Description                 Estimated Cure Amount
   689       Nocturnal Enterprises DBA Lido Labs   Progrexion Marketing, Inc.     Third Party Insertion Order Dated 02/09/2023                              $0.00

   690       Norcal Marketing LLC                  Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   691       Offerweb, LLC.                        Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   692       Okta                                  Progrexion ASG, Inc.           Services Agreement Dated 05/30/2022                                     $7,910.00

   693       Okta                                  Progrexion ASG, Inc.           Software Agreement Dated 05/29/2022                                       $0.00

   694       Okta                                  Progrexion ASG, Inc.           Software Agreement Dated 05/30/2022                                       $0.00

   695       Okta                                  Progrexion ASG, Inc.           Software Agreement Dated 11/01/2022                                       $0.00

   696       One Technologies LP                   Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   697       OneTrust                              Progrexion ASG, Inc.           Software License Agreement                                                $0.00

   698       OneTrust                              Progrexion ASG, Inc.           Software License Agreement Dated 11/22/2019                               $0.00

   699       OneTrust                              Progrexion ASG, Inc.           Statement of Work                                                         $0.00

   700       OneTrust                              Progrexion ASG, Inc.           Statement of Work                                                         $0.00

   701       OneTrust                              Progrexion ASG, Inc.           Statement of Work Dated 01/21/2022                                        $0.00

   702       Opengear, Inc                         Progrexion ASG, Inc.           Operations & Maintenance Agreement                                        $0.00

   703       Opengear, Inc                         Progrexion ASG, Inc.           Operations & Maintenance Agreement Dated 03/22/2022                       $0.00

   704       Opportunity Financial, LLC            Credit.com, Inc.               Master Services Agreement Dated 04/02/2018                                $0.00

   705       Opportunity Financial, LLC            Progrexion Marketing, Inc.    Master Lead Referral and Publishing Agreement                              $0.00

   706       Ops Genie, Inc.                       Progrexion ASG, Inc.           Software Agreement Dated 06/04/2022                                       $0.00

   707       Optiv Security Inc.                   Progrexion ASG, Inc.           License Agreement                                                         $0.00

   708       Optiv Security Inc.                   Progrexion ASG, Inc.           License Agreement                                                         $0.00

   709       Optiv Security Inc.                   Progrexion ASG, Inc.           Master Services Agreement Dated 08/09/2021                                $0.00

   710       Optiv Security Inc.                   Progrexion ASG, Inc.           Operations & Maintenance Agreement Dated 03/16/2023                       $0.00

   711       Optiv Security Inc.                   Progrexion ASG, Inc.           Statement of Work Dated 08/03/2021                                        $0.00

   712       Optiv Security Inc.                   Progrexion ASG, Inc.           Statement of Work Dated 10/28/2021                                        $0.00

   713       Optiv Security Inc.                   Progrexion ASG, Inc.           Statement of Work Dated 10/28/2021                                        $0.00

   714       Optiv Security Inc.                   Progrexion ASG, Inc.           Terms of Purchase Agreement Dated 08/18/2021                              $0.00

   715       Optum                                 Progrexion ASG, Inc.           Benefits Agreement                                                        $0.00

   716       Outmarketing Inc.                     Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   717       Outside The Box Designs LLC           Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   718       PandaDoc, Inc.                        Progrexion ASG, Inc.           Notary Services Agreement Dated 07/01/2023                                $0.00

   719       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Marketing Agreement Dated 07/01/2021                                      $0.00

   720       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Publisher Insertion Order Dated 02/13/2023                                $0.00

   721       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Publisher Insertion Order Dated 04/01/2023                                $0.00

   722       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Publisher Insertion Order Dated 04/05/2021                                $0.00

   723       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Publisher Insertion Order Dated 04/16/2023                                $0.00

   724       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Publisher Insertion Order Dated 07/16/2022                                $0.00

   725       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Publisher Insertion Order Dated 07/19/2021                                $0.00

   726       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Statement of Work Dated 12/15/2021                                        $0.00

   727       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Third Party Insertion Order Dated 01/01/2023                              $0.00

   728       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Third Party Insertion Order Dated 03/21/2022                              $0.00

   729       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Third Party Insertion Order Dated 04/30/2022                              $0.00

   730       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Third Party Insertion Order Dated 07/06/2021                              $0.00

   731       Pandora Media, Inc.                   Progrexion Marketing, Inc.     Third Party Insertion Order Dated 07/16/2022                              $0.00
                             Case 23-10718-CTG                        Doc 250-1       Filed 07/28/23                         Page 120 of 174


Row Number                 Counterparty Name                      Debtor                                  Contract Description                         Estimated Cure Amount
   732       Pandora Media, Inc.               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 08/01/2021                                     $0.00

   733       Pandora Media, Inc.               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 08/23/2021                                     $0.00

   734       Pandora Media, Inc.               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 09/07/2021                                     $0.00

   735       Pandora Media, Inc.               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 09/16/2022                                     $0.00

   736       Pandora Media, Inc.               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 09/27/2021                                     $0.00

   737       Pandora Media, Inc.               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 10/04/2021                                     $0.00

   738       Pandora Media, Inc.               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 11/01/2021                                     $0.00

   739       P-COM LLC                         Progrexion Marketing, Inc.     Affiliate Master Services Agreement & Insertion Order Dated 07/20/2022           $0.00

   740       Peak ROI, LLC                     Progrexion Marketing, Inc.     Marketing Agreement Dated 01/24/2022                                             $0.00

   741       Performline, Inc.                 Progrexion ASG, Inc.           Master Services Agreement Dated 05/17/2016                                       $0.00

   742       Performline, Inc.                 Progrexion ASG, Inc.           Software License Agreement Dated 05/01/2021                                      $0.00

   743       Performline, Inc.                 Progrexion ASG, Inc.           Software License Agreement Dated 05/17/2016                                      $0.00

   744       Performline, Inc.                 Progrexion ASG, Inc.           Statement of Work Dated 05/01/2021                                               $0.00

   745       Pipes.AI LLC                      Credit.com, Inc.               Service Agreement Dated 01/18/2021                                               $0.00

   746       Plateau Data Services, LLC        Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   747       Pluralsight                       Progrexion ASG, Inc.           Software Agreement Dated 10/10/2022                                              $0.00

   748       PowerInbox DBA Jeeng              Progrexion Marketing, Inc.     Publisher Insertion Order Dated 10/24/2022                                       $0.00

   749       PowerInbox, Inc.                  Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders                  $0.00

   750       PREMIER Bankcard, LLC             Progrexion Marketing, Inc.     Marketing Agreement Dated 08/31/2021                                             $0.00

   751       Presidio                          Progrexion ASG, Inc.           Master Services Agreement Dated 03/29/2018                                       $0.00

   752       Presidio                          Progrexion ASG, Inc.          Operations & Maintenance Agreement (SAAS) Dated 08/02/2021                        $0.00

   753       Presidio                          Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 02/23/2021                               $0.00

   754       Presidio                          Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 03/17/2021                               $0.00

   755       Presidio                          Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 06/22/2021                               $0.00

   756       Presidio                          Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 10/01/2021                               $0.00

   757       Presidio                          Progrexion ASG, Inc.           Statement of Work Dated 02/01/2022                                               $0.00

   758       Presidio                          Progrexion ASG, Inc.           Statement of Work Dated 02/17/2022                                               $0.00

   759       Presidio                          Progrexion ASG, Inc.           Statement of Work Dated 03/22/2022                                               $0.00

   760       Presidio                          Progrexion ASG, Inc.           Statement of Work Dated 03/28/2022                                               $0.00

   761       Presidio                          Progrexion ASG, Inc.           Statement of Work Dated 03/31/2022                                               $0.00

   762       Presidio                          Progrexion ASG, Inc.           Statement of Work Dated 04/14/2022                                               $0.00

   763       Presidio                          Progrexion ASG, Inc.           Statement of Work Dated 06/15/2021                                               $0.00

   764       Presidio Networked Solutions      Progrexion ASG, Inc.          Software Agreement Dated 03/01/2022                                               $0.00

   765       Presidio Networked Solutions      Progrexion ASG, Inc.          Software Agreement Dated 03/30/2023                                               $0.00

   766       Presidio Networked Solutions      Progrexion ASG, Inc.          Software Agreement Dated 03/31/2022                                               $0.00

   767       Presidio Networked Solutions      Progrexion ASG, Inc.          Software Agreement Dated 10/01/2022                                               $0.00

   768       Presidio Networked Solutions      Progrexion ASG, Inc.          Software Agreement Dated 10/23/2022                                               $0.00

   769       ProofPoint                        Progrexion ASG, Inc.          Operations & Maintenance Agreement (SAAS) Dated 03/13/2023                        $0.00

   770       ProofPoint                        Progrexion ASG, Inc.          Terms and Conditions Dated 09/24/2020                                             $0.00

   771       ProofPoint                        Progrexion ASG, Inc.           Third Party Insertion Order Dated 07/21/2021                                     $0.00

   772       Pure Storage                      Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 04/26/2021                               $0.00

   773       Pushnami LLC                      Progrexion Marketing, Inc.    Marketing Agreement Dated 06/02/2021                                              $0.00

   774       Pushnami LLC                      Progrexion Marketing, Inc.     Publisher Insertion Order Dated 03/01/2023                                       $0.00
                             Case 23-10718-CTG                         Doc 250-1       Filed 07/28/23                         Page 121 of 174


Row Number                  Counterparty Name                      Debtor                                   Contract Description                 Estimated Cure Amount
   775       Qlik Tech                          Progrexion ASG, Inc.           Agreement                                                                 $0.00

   776       QuinStreet Inc.                    Credit.com, Inc.               Publisher agreement and Insertion Order Dated 07/18/2022                  $0.00

   777       QuinStreet Inc.                    Credit.com, Inc.               Referral Agreement Dated 09/16/2022                                       $0.00

   778       QuinStreet Inc.                    Credit.com, Inc.               Standard Terms and Conditions Dated 02/10/2022                            $0.00

   779       QuinStreet Inc.                    Credit.com, Inc.               Third Party Insertion Order Dated 02/16/2023                              $0.00

   780       QuinStreet Inc.                    Credit.com, Inc.               Third Party Insertion Order Dated 10/28/2022                              $0.00

   781       QuinStreet, Inc.                   Credit.com, Inc.               Affiliate Insertion Order Dated 07/01/2022                                $0.00

   782       Rakuten                            Progrexion Marketing, Inc.     Marketing Agreement Dated 05/01/2021                                      $0.00

   783       RateSpecial Interactive LLC        Credit.com, Inc.               Master Agreement Dated 10/29/2020                                         $0.00

   784       RateSpecial Interactive LLC        Credit.com, Inc.               Publisher Insertion Order Dated 01/29/2021                                $0.00

   785       RateSpecial Interactive LLC        Credit.com, Inc.               Third Party Insertion Order Dated 10/24/2022                              $0.00

   786       RateSpecial Interactive LLC        Credit.com, Inc.               Third Party Insertion Order Dated 10/24/2022                              $0.00

   787       RatherChat Inc.                    Progrexion Marketing, Inc.     Subscription Agreement Dated 05/18/2023                                   $0.00

   788       Reddit, Inc.                       Progrexion Marketing, Inc.     Marketing Agreement Dated 04/01/2021                                      $0.00

   789       Reliant Holdings Inc.              Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   790       ReliaQuest                         Progrexion ASG, Inc.          Operations & Maintenance Agreement Amendment Dated 10/11/2021              $0.00

   791       ReliaQuest                         Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 10/11/2021                        $0.00

   792       ReliaQuest                         Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 10/15/2022                        $0.00

   793       Renown Holdings, Inc.              Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   794       RentTrack, Inc                     Progrexion ASG, Inc.           Services Agreement Dated 02/01/2019                                       $0.00

   795       RentTrack, Inc                     Progrexion ASG, Inc.           Statement of Work Dated 09/01/2021                                        $0.00

   796       Reserve Tech, Inc.                 Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   797       Rightful Connect                   Progrexion Marketing, Inc.     Publisher Insertion Order Dated 01/21/2022                                $0.00

   798       Rightful Connect LLP               Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   799       Ring Partner, Inc.                 Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   800       Rob Graham Enterprises LLC         Progrexion Marketing, Inc.    Marketing Agreement Dated 06/29/2021                                       $0.00

   801       Rocket Daddy                       Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   802       Rocket Mortgage, LLC               Progrexion Marketing, Inc.     Marketing Agreement Dated 08/31/2021                                      $0.00

   803       Rogue Wave                         Progrexion ASG, Inc.           Services Agreement Dated 09/30/2022                                       $0.00

   804       ROI Digital Marketing              Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   805       Rokt Corp.                         Progrexion Marketing, Inc.     Master Services Agreement & Insertion Order Dated 08/01/2022              $0.00

   806       Roku                               Credit.com, Inc.               Third Party Insertion Order Dated 07/06/2021                              $0.00

   807       Roku                               Credit.com, Inc.               Third Party Insertion Order Dated 09/27/2021                              $0.00

   808       Roku                               Progrexion Marketing, Inc.     Marketing Agreement Dated 03/15/2021                                      $0.00

   809       Roku                               Progrexion Marketing, Inc.     Revised Third Party Insertion Order Dated 04/05/2021                      $0.00

   810       Roku                               Progrexion Marketing, Inc.     Revised Third Party Insertion Order Dated 08/23/2021                      $0.00

   811       Roku                               Progrexion Marketing, Inc.     Revised Third Party Insertion Order Dated 10/04/2021                      $0.00

   812       Roku                               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 04/05/2021                              $0.00

   813       Roku                               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 05/24/2021                              $0.00

   814       Roku                               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 07/06/2021                              $0.00

   815       Roku                               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 08/23/2021                              $0.00

   816       Roku                               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 10/04/2021                              $0.00

   817       Roku                               Progrexion Marketing, Inc.     Third Party Insertion Order Dated 11/01/2021                              $0.00
                             Case 23-10718-CTG                       Doc 250-1       Filed 07/28/23                         Page 122 of 174


Row Number                Counterparty Name                    Debtor                                    Contract Description                  Estimated Cure Amount
   818       Ryan Bales                       Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   819       Salesforce                       Progrexion ASG, Inc.           Software Agreement Dated 01/28/2023                                       $0.00

   820       Salesforce                       Progrexion ASG, Inc.           Software Agreement Dated 01/30/2023                                       $0.00

   821       Salesforce                       Progrexion ASG, Inc.           Software Agreement Dated 02/16/2023                                       $0.00

   822       Salesforce.com, Inc.             Progrexion ASG, Inc.           Master Service Agreement Dated 06/21/2016                                 $0.00

   823       Salesforce.com, Inc.             Progrexion ASG, Inc.           Professional Services Agreement Dated 07/31/2019                          $0.00

   824       Salesforce.com, Inc.             Progrexion ASG, Inc.           Publisher Insertion Order Dated 09/24/2021                                $0.00

   825       Salesforce.com, Inc.             Progrexion ASG, Inc.           Software License Agreement Dated 01/24/2023                               $0.00

   826       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work - Heroku Add ons Dated 01/29/2021                       $0.00

   827       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 01/15/2022                                        $0.00

   828       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 01/15/2023                                        $0.00

   829       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 01/27/2021                                        $0.00

   830       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 01/28/2022                                        $0.00

   831       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 01/29/2021                                        $0.00

   832       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 02/04/2021                                        $0.00

   833       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 02/28/2022                                        $0.00

   834       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 03/02/2021                                        $0.00

   835       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 03/05/2021                                        $0.00

   836       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 03/26/2022                                        $0.00

   837       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 06/15/2021                                        $0.00

   838       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 06/24/2022                                        $0.00

   839       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 07/31/2019                                        $0.00

   840       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 10/28/2021                                        $0.00

   841       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 11/03/2021                                        $0.00

   842       Salesforce.com, Inc.             Progrexion ASG, Inc.           Statement of Work Dated 12/17/2021                                        $0.00

   843       Salesforce.com, Inc.             Progrexion ASG, Inc.           Third Party Insertion Order Dated 01/15/2000                              $0.00

   844       Salesforce.com, Inc.             Progrexion ASG, Inc.           Third Party Insertion Order Dated 03/16/2021                              $0.00

   845       Salesforce.com, Inc.             Progrexion ASG, Inc.           Third Party Insertion Order Dated 03/25/2021                              $0.00

   846       Salesforce.com, Inc.             Progrexion ASG, Inc.           Third Party Insertion Order Dated 05/27/2021                              $0.00

   847       Salesforce.com, Inc.             Progrexion ASG, Inc.           Third Party Insertion Order Dated 06/28/2021                              $0.00

   848       Salesforce.com, Inc.             Progrexion ASG, Inc.           Third Party Insertion Order Dated 07/12/2021                              $0.00

   849       Salesforce.com, Inc.             Progrexion ASG, Inc.           Third Party Insertion Order Dated 07/26/2021                              $0.00

   850       Sauce Labs                       Progrexion ASG, Inc.           Services Agreement Dated 07/12/2022                                       $0.00

   851       Sauce Labs                       Progrexion ASG, Inc.           Statement of Work Dated 08/12/2022                                        $0.00

   852       Sauce Labs                       Progrexion ASG, Inc.          Terms and Conditions Dated 11/16/2017                                      $0.00

   853       Search ROI LLC                   Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   854       Seek Capital, LLC                Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   855       Select Health                    Progrexion ASG, Inc.           Benefits Agreement                                                        $0.00

   856       Service Now                      Progrexion ASG, Inc.           Software Agreement Dated 01/30/2023                                       $0.00

   857       ServiceNow, Inc.                 Progrexion ASG, Inc.           Operations & Maintenance Agreement Dated 06/08/2020                       $0.00

   858       ServiceNow, Inc.                 Progrexion ASG, Inc.           Operations & Maintenance Agreement Dated 07/01/2021                       $0.00

   859       ServiceNow, Inc.                 Progrexion ASG, Inc.           Software License Agreement Dated 05/28/2021                               $0.00

   860       ServiceNow, Inc.                 Progrexion ASG, Inc.          Third Party Insertion Order Dated 03/31/2021                               $0.00
                           Case 23-10718-CTG                                  Doc 250-1       Filed 07/28/23                        Page 123 of 174


Row Number                Counterparty Name                           Debtor                                      Contract Description                  Estimated Cure Amount
   861       ServiceNow, Inc.                        Progrexion ASG, Inc.            Third Party Insertion Order Dated 12/16/2020                               $0.00

   862       Seyfarth Shaw                           Progrexion ASG, Inc.            Professional Services Agreement Dated 10/31/2016                           $0.00

   863       SFMC                                    Progrexion ASG, Inc.            Software Agreement Dated 01/15/2023                                        $0.00

   864       SHI International Corp                  Progrexion ASG, Inc.             JAMF Renewal Agreement Dated 12/15/2022                                   $0.00

   865       SHI International Corp                  Progrexion ASG, Inc.             Statement of Work Dated 02/16/2022                                        $0.00

   866       SHI International Corp                  Progrexion ASG, Inc.             Statement of Work Dated 02/22/2022                                        $0.00

   867       Shields                                 Progrexion ASG, Inc.             Service Agreement                                                         $0.00

   868       Siege Media                             Progrexion Marketing, Inc.      Marketing Agreement Dated 06/01/2021                                       $0.00

   869       Siege Media                             Progrexion Marketing, Inc.      Marketing Agreement Dated 11/01/2022                                       $0.00

   870       Siege Media                             Progrexion Marketing, Inc.       Master Services Agreement and Order Dated 06/17/2022                      $0.00

   871       Siege Media Holdings, LLC               Progrexion Marketing, Inc.      Marketing Agreement Dated 07/01/2023                                       $0.00

   872       Simple Tiger, LLC                       Progrexion Marketing, Inc.       Marketing Agreement Dated 10/06/2021                                      $0.00

   873       Simple Tiger, LLC                       Progrexion Marketing, Inc.       Statement of Work Dated 10/06/2021                                        $0.00

   874       Site Selection Group, LLC               Progrexion ASG, Inc.            Master Services Agreement Dated 02/01/2015                              $207,269.83

   875       Skate Marketing Group                   Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   876       Ski Utah                                Progrexion ASG, Inc.             2023/24 Ski Utah Gold Pass Purchase Agreement                             $0.00

   877       Sky Rocket, Inc.                        Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   878       Skybox Performance Marketing, LLC dba   Progrexion Marketing, Inc.       Publisher Insertion Order Dated 02/22/2022                                $0.00
             Leads-iq
   879       Skymail International Inc.              Creditrepair.com, Inc.           Sales Agreement Dated 01/01/2021                                          $0.00

   880       Skymail International Inc.              Progrexion Marketing, Inc.       Mailroom Services Provider Agreement Dated 09/01/2020                     $0.00

   881       SlackAdapt Inc.                         Progrexion Marketing, Inc.       Master Services Agreement Dated 09/01/2022                                $0.00

   882       SlackAdapt Inc.                         Progrexion Marketing, Inc.       Statement of Work Dated 09/01/2022                                        $0.00

   883       SlackAdapt Inc.                         Progrexion Marketing, Inc.       Statement of Work Dated 09/08/2022                                        $0.00

   884       Smart Bear                              Progrexion ASG, Inc.             Software Agreement Dated 03/30/2023                                       $0.00

   885       Smart Sheet                             Progrexion ASG, Inc.             Software Agreement Dated 10/30/2022                                       $0.00

   886       Smartbear Software Inc                  Progrexion ASG, Inc.            Software License Agreement Dated 03/20/2021                                $0.00

   887       Smartbear Software Inc                  Progrexion ASG, Inc.            Software License Agreement Dated 03/29/2022                                $0.00

   888       Smartbear Software Inc                  Progrexion ASG, Inc.            Software License Agreement Dated 03/30/2023                                $0.00

   889       Smarty Streets                          Progrexion ASG, Inc.             Address Verification Agreement Dated 11/06/2022                           $0.00

   890       Smooth Sales LLC                        Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   891       SMS/800 Services                        Progrexion ASG, Inc.            Provides RespOrg Service - M2M                                           $2,261.07

   892       Snowflake Inc.                          Progrexion ASG, Inc.            Operations & Maintenance Agreement Dated 11/01/2020                        $0.00

   893       Snowflake Inc.                          Progrexion ASG, Inc.            Operations & Maintenance Agreement Dated 11/01/2021                        $0.00

   894       Snowflake Inc.                          Progrexion ASG, Inc.            Software Agreement Dated 11/01/2022                                        $0.00

   895       Snyk, Inc.                              Progrexion ASG, Inc.            Operations & Maintenance Agreement Dated 02/17/2023                        $0.00

   896       Social Hustle, LLC                      Progrexion Marketing, Inc.      Marketing Agreement Dated 02/01/2023                                       $0.00

   897       Social Hustle, LLC                      Progrexion Marketing, Inc.       Publisher Insertion Order Dated 02/01/2023                                $0.00

   898       SociallyIN, LLC                         Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   899       Sonder Data Group, LLC                  Progrexion Marketing, Inc.      Affiliate Insertion Order Dated 12/16/2022                                 $0.00

   900       Sonder Data Group, LLC                  Progrexion Marketing, Inc.      Marketing Agreement Dated 12/19/2022                                       $0.00

   901       SpaceIQ                                 Progrexion ASG, Inc.            Software License Agreement Dated 05/17/2021                                $0.00

   902       SpaceIQ                                 Progrexion ASG, Inc.            Software License Agreement Dated 05/19/2022                                $0.00

   903       Spark Revenue LLC                       Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders           $0.00
                             Case 23-10718-CTG                                  Doc 250-1       Filed 07/28/23                         Page 124 of 174


Row Number                 Counterparty Name                                Debtor                                  Contract Description                  Estimated Cure Amount
   904       Sphere Digital, LLC                         Progrexion Marketing, Inc.     Master Services Agreement Dated 01/11/2022                                $0.00

   905       Sphere Digital, LLC                         Progrexion Marketing, Inc.     Publisher Insertion Order Dated 01/12/2022                                $0.00

   906       Sprout Social                               Progrexion Marketing, Inc.    Publisher Insertion Order Dated 02/12/2023                                 $0.00

   907       Sprout Social                               Progrexion Marketing, Inc.    Social Media Monitoring Agreement Dated 02/12/2021                         $0.00

   908       Sprout Social                               Progrexion Marketing, Inc.     Statement of Work Dated 02/12/2022                                        $0.00

   909       Stringo Media, LLC                          Credit.com, Inc.              Marketing Agreement Dated 03/01/2021                                       $0.00

   910       Stringo Media, LLC                          Credit.com, Inc.              Master Advertising Agency Agreement Dated 02/10/2021                       $0.00

   911       Supermoney LLC                              Progrexion Marketing, Inc.    Marketing Agreement Dated 12/06/2022                                       $0.00

   912       Supermoney LLC                              Progrexion Marketing, Inc.     Master Services Agreement Dated 02/06/2023                                $0.00

   913       Supermoney LLC                              Progrexion Marketing, Inc.     Third Party Insertion Order Dated 10/05/2022                              $0.00

   914       Supermoney LLC                              Progrexion Marketing, Inc.     Third Party Insertion Order Dated 12/05/2022                              $0.00

   915       Survey Gizmo/Alchemer                       Progrexion ASG, Inc.           Software Agreement Dated 08/01/2022                                       $0.00

   916       Synergy Interactive LLC                     Credit.com, Inc.              Marketing Agreement Dated 07/29/2020                                       $0.00

   917       Synergy Interactive LLC                     Credit.com, Inc.               Publisher Insertion Order Dated 06/07/2021                                $0.00

   918       Syringa Networks, LLC.                      Progrexion ASG, Inc.           EPL to AWS - M2M                                                         $96.75

   919       Tagboard                                    Progrexion ASG, Inc.           Software Agreement                                                        $0.00

   920       Talend Inc.                                 Progrexion ASG, Inc.           Software Agreement Dated 10/31/2022                                       $0.00

   921       Talend Inc.                                 Progrexion ASG, Inc.           Statement of Work Dated 10/31/2021                                        $0.00

   922       Talend Inc.                                 Progrexion ASG, Inc.           Talend Contract Agreement Dated 10/30/2020                                $0.00

   923       Taptext LLC                                 Credit.com, Inc.              Marketing Agreement Dated 08/26/2021                                       $0.00

   924       Taptext LLC                                 Progrexion Marketing, Inc.     Master Services Agreement Dated 05/13/2022                                $0.00

   925       TEAMDEV MANAGEMENT OU                       Progrexion ASG, Inc.           Software License Agreement Dated 03/24/2022                               $0.00

   926       Thales                                      Progrexion ASG, Inc.           Statement of Work Dated 09/10/2021                                        $0.00

   927       The Balancing Act TV, LLC                   Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   928       The Local Search Agency Inc. (ROI Ad Group) Progrexion Marketing, Inc.    Terms and Conditions & Insertion Order Dated 01/24/2022                    $0.00

   929       The Local Search Agency Inc. (ROI Ad Group) Progrexion Marketing, Inc.     Terms and Conditions and Insertion Order Dated 01/24/2022                 $0.00

   930       The Ultimate Software Group (Core &         Progrexion ASG, Inc.           Software Agreement Dated 01/01/2023                                       $0.00
             Learning)
   931       The Ultimate Software Group (Talent         Progrexion ASG, Inc.           Software Agreement Dated 12/01/2022                                       $0.00
             Management)
   932       The Ultimate Software Group (Tier)          Progrexion ASG, Inc.          Software Agreement Dated 02/01/2023                                        $0.00

   933       The Ultimate Software Group(Tier/Talent     Progrexion ASG, Inc.           Software Agreement Dated 03/01/2023                                       $0.00
             Management)
   934       The Ultimate Software Group, Inc.           Progrexion ASG, Inc.           Amendment to SaaS Model Agreement Dated 03/17/2020                        $0.00

   935       The Ultimate Software Group, Inc.           Progrexion ASG, Inc.           Amendment to SaaS Model Agreement Dated 08/28/2020                      $23,682.77

   936       The Ultimate Software Group, Inc.           Progrexion ASG, Inc.           Benefits Agreement                                                        $0.00

   937       The Ultimate Software Group, Inc.           Progrexion ASG, Inc.           SaaS Model Agreement Dated 07/31/2015                                     $0.00

   938       The Wisdom Companies, LLC                   Progrexion Marketing, Inc.    Master Terms & Conditions Agreement and Active Insertion Orders            $0.00

   939       Thingy Thing, Inc. d./b./a. Extra           Credit.com, Inc.               Marketing Agreement Dated 09/29/2021                                      $0.00

   940       Thingy Thing, Inc. d./b./a. Extra           Credit.com, Inc.               Publisher Insertion Order Dated 02/13/2023                                $0.00

   941       Thingy Thing, Inc. d./b./a. Extra           Credit.com, Inc.               Third Party Insertion Order Dated 10/01/2021                              $0.00

   942       Thomson Reuters dba Clear                   Progrexion ASG, Inc.           Technology Purchase Agreement                                             $0.00

   943       TikTok Inc.                                 Progrexion Marketing, Inc.     Advertising Purchase Agreement Dated 04/01/2021                           $0.00

   944       TikTok Inc.                                 Progrexion Marketing, Inc.     Marketing Agreement Dated 04/16/2021                                      $0.00

   945       TikTok Inc.                                 Progrexion Marketing, Inc.     Marketing Agreement Dated 10/10/2022                                      $0.00

   946       TikTok Inc.                                 Progrexion Marketing, Inc.     Publisher Insertion Order Dated 04/05/2021                                $0.00
                              Case 23-10718-CTG                            Doc 250-1       Filed 07/28/23                       Page 125 of 174


Row Number                Counterparty Name                          Debtor                                    Contract Description                               Estimated Cure Amount
   947       TradeMarc Global LLC                 Progrexion Marketing, Inc.      Master Terms & Conditions Agreement and Active Insertion Orders                         $0.00

   948       TransUnion                           Creditrepair.com, Inc.           Subscriber Validation Form Agreement Dated 08/17/2014                                  $0.00

   949       TransUnion                           Progrexion ASG, Inc.             1st Amendment to Access Agreement for Live Trial of TLOxp Dated 07/01/2015             $0.00

   950       TransUnion                           Progrexion ASG, Inc.             1st Amendment to Strategic Services and Licensing Agreement Dated 06/11/2020           $0.00

   951       TransUnion                           Progrexion ASG, Inc.             1st Amendment to the Consumer Reseller Services Agreement Dated 12/26/2015             $0.00

   952       TransUnion                           Progrexion ASG, Inc.             2nd Amendment to the Consumer Reseller Services Agreement Dated 09/22/2016             $0.00

   953       TransUnion                           Progrexion ASG, Inc.             Access Agreement for Live Trial of TLOxp Dated 02/19/2015                              $0.00

   954       TransUnion                           Progrexion ASG, Inc.             Additional Jurisdictional Amendment Agreement Dated 01/09/2023                      $151,473.09

   955       TransUnion                           Progrexion ASG, Inc.             Amended and Restated Consumer Reseller Services Agreement Dated 06/10/2014             $0.00

   956       TransUnion                           Progrexion ASG, Inc.             Consumer Reseller Services Agreement Addendum Dated 06/12/2012                         $0.00

   957       TransUnion                           Progrexion ASG, Inc.             Historic 2010 Consumer Reseller Services Agreement Dated 04/15/2010                    $0.00

   958       TransUnion                           Progrexion ASG, Inc.             Interactive Services Master Agreement Dated 06/03/2014                                 $0.00

   959       TransUnion                           Progrexion ASG, Inc.             Joint Development Agreement and Assignment Dated 06/30/2010                            $0.00

   960       TransUnion                           Progrexion ASG, Inc.             Limited Test Production Agreement Dated 04/23/2019                                     $0.00

   961       TransUnion                           Progrexion ASG, Inc.             Strategic Services and Licensing Agreement Dated 09/03/2019                            $0.00

   962       TransUnion                           Progrexion ASG, Inc.             Subscriber Validation Form Agreement Dated 05/08/2012                                  $0.00

   963       TransUnion                           Progrexion ASG, Inc.             Subscriber Validation Form Agreement Dated 08/07/2014                                  $0.00

   964       TransUnion                           Progrexion ASG, Inc.             Subscriber Validation Form Agreement Dated 08/07/2014                                  $0.00

   965       TransUnion                           Progrexion ASG, Inc.             Subscriber Validation Form Agreement Dated 08/07/2014                                  $0.00

   966       TransUnion                           Progrexion ASG, Inc.             Subscriber Validation Form Agreement Dated 08/07/2014                                  $0.00

   967       TransUnion                           Progrexion ASG, Inc.             Subscriber Validation Form Agreement Dated 08/07/2014                                  $0.00

   968       TransUnion                           Progrexion ASG, Inc.             Subscriber Validation Form Agreement Dated 08/17/2014                                  $0.00

   969       TransUnion                           Progrexion ASG, Inc.             Consumer Reseller Service Agreement Dated 07/24/2007                                   $0.00

   970       TransUnion                           Progrexion Marketing, Inc.       Consumer Reseller Service Agreement Dated 09/18/2007                                   $0.00

   971       TransUnion                           Progrexion Marketing, Inc.       Pricing Addendum to Consumer Reseller Service Agreement Dated 12/17/2013               $0.00

   972       TransUnion                           Progrexion Marketing, Inc.       Terms and Conditions Dated 09/21/2016                                                  $0.00

   973       Traveller & Company LLC              Progrexion Holdings, Inc.        Engagement Letter for 401(k) Plan Audit Dated 06/06/2023                               $0.00

   974       Traverse Films LLC                   Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   975       Troutman Pepper                      PGX Holdings, Inc.               Professional Services Agreement Dated 09/19/2017                                       $0.00

   976       Tumblr, Inc.                         Progrexion Marketing, Inc.       Publisher Insertion Order Dated 04/01/2023                                             $0.00

   977       Txtwire                              Progrexion ASG, Inc.             Amendment to Monthly Licenses Agreement Dated 04/24/2015                               $0.00

   978       Txtwire                              Progrexion ASG, Inc.             Amendment to Monthly Licenses Agreement Dated 07/31/2015                               $0.00

   979       Txtwire                              Progrexion ASG, Inc.             Service Agreement Dated 01/01/2013                                                    $106.74

   980       Udany Technology PVT LTD             Progrexion Marketing, Inc.       Insertion Order Dated 03/07/2022                                                       $0.00

   981       Universal Marketing Partners, LLC    Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00

   982       Unlimited Net Resources LLC dba RX   Credit.com, Inc.                 Marketing Agreement Dated 02/17/2022                                                   $0.00
             Marketing Group
   983       Unlimited Net Resources LLC dba RX   Credit.com, Inc.                 Master Terms and Conditions Dated 04/04/2022                                           $0.00
             Marketing Group
   984       Unlimited Net Resources LLC dba RX   Credit.com, Inc.                 Network Publisher Addendum Dated 04/04/2022                                            $0.00
             Marketing Group
   985       Upside Ads LLC                       Progrexion Marketing, Inc.       Terms and Conditions & Insertion Order Dated 04/07/2022                                $0.00

   986       Validity, Inc.                       Progrexion Marketing, Inc.       Master Services Agreement Dated 02/19/2016                                             $0.00

   987       Validity, Inc.                       Progrexion Marketing, Inc.       Statement of Work Dated 09/01/2021                                                     $0.00

   988       Veeam Software                       Progrexion ASG, Inc.             Software Support Renewal Agreement Dated 04/26/2021                                    $0.00

   989       Velocity Web Enterprises LLC         Progrexion Marketing, Inc.       Master Terms & Conditions Agreement and Active Insertion Orders                        $0.00
                             Case 23-10718-CTG                                 Doc 250-1       Filed 07/28/23                       Page 126 of 174


Row Number                  Counterparty Name                              Debtor                                    Contract Description                Estimated Cure Amount
   990       Ventura Growth                             Progrexion Marketing, Inc.    Trade Desk Platform Resale Services Agreement Dated 05/13/2023             $0.00

   991       Verifi, Inc.                               Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 03/12/2015                      $2,249.01

   992       Verifi, Inc.                               Progrexion ASG, Inc.           Pricing Addendum Dated 11/01/2021                                         $0.00

   993       Verint                                     Progrexion ASG, Inc.          Master License Agreement Dated 03/28/2011                                  $0.00

   994       Verint                                     Progrexion ASG, Inc.           Master Service Agreement and Statement of Work                          $4,795.78

   995       Verint                                     Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 03/31/2023                        $0.00

   996       Verint                                     Progrexion ASG, Inc.          Operations & Maintenance Agreement Dated 07/26/2019                        $0.00

   997       Verint                                     Progrexion ASG, Inc.           Statement of Work Dated 02/24/2021                                        $0.00

   998       Verizon Communications, Inc                Progrexion Holdings, Inc.     Telco Circuit for Intelepeer - M2M                                        $153.05

   999       Walker Shiftlet (Morgan Stanley)           Progrexion ASG, Inc.          Benefits Broker Agreement                                                  $0.00

   1000      Wallace Tax Services, LLC                  Progrexion ASG, Inc.           Professional Services Agreement                                           $0.00

   1001      Waze Capital                               Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   1002      Web Widget Media, LLC                      Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   1003      Web2Carz Inc.                              Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   1004      Webclients.net                             Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   1005      Weil, Gotshal & Manges LLP                 PGX Holdings, Inc.            Engagement Letter Dated 09/03/2021                                         $0.00

   1006      What If Holdings, LLC                      Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   1007      What If Media Group LLC                    Credit.com, Inc.              Marketing Agreement Dated 09/08/2020                                       $0.00

   1008      What If Media Group LLC                    Credit.com, Inc.               Publisher Insertion Order Dated 02/19/2021                                $0.00

   1009      Willams & Connolly                         Progrexion ASG, Inc.           Professional Services Agreement                                           $0.00

   1010      Williams & Connolly LLC                    Progrexion Holdings, Inc.      Engagement Letter Dated 12/16/2019                                        $0.00
                                                        PGX Holdings, Inc.
   1011      Williams & Connolly LLC                    Progrexion Marketing, Inc.     Engagement Letter Dated 01/24/2022                                        $0.00

   1012      Wireless Services Center, Inc., DBA MACH   Progrexion ASG, Inc.           Operations & Maintenance Agreement Dated 04/01/2021                      $10.20
             Networks
   1013      Workman Nydegger                           Progrexion IP, Inc.            Engagement Letter Dated 05/23/2011                                        $0.00

   1014      World to World Marketing Inc               Progrexion Marketing, Inc.     Master Terms & Conditions Agreement and Active Insertion Orders           $0.00

   1015      WorldPay                                   Progrexion ASG, Inc.           Payment Processing Agreement Dated 03/04/2011                             $0.00

   1016      XeoMatrix                                  Progrexion ASG, Inc.           Consulting Services Agreement Dated 04/01/2023                            $0.00

   1017      XO Communications                          Progrexion ASG, Inc.           Verizon - DIA Circuit - M2M                                              $186.20

   1018      Zehner Trial Consulting LLC                Progrexion ASG, Inc.           Professional Services Agreement Dated 12/20/2021                          $0.00
            Case 23-10718-CTG                    Doc 250-1          Filed 07/28/23        Page 127 of 174




                                    Schedule 3.3 - Allocation of Purchase Price
Sellers and Buyer agree that the Purchase Price as adjusted pursuant to Section 3.3 shall be allocated for income tax
purposes among the assets of the Sellers in accordance with the methodology set forth below:

 Asset            Class Assets                                         Allocation Methodology
 Class      (Including but not limited to)
 Class I    Cash, general deposit            Actual amount of Class I Purchased Assets.
            accounts
 Class II   Certificates of deposits,        The fair market value of such Class II Purchased Assets as of the Closing Date
            U.S. government                  as determined by the Parties.
            securities, readily
            marketable stock and
            securities, and foreign
            currency
  Class     Accounts receivable,             The fair market value of such Class III Purchased Assets as of the Closing
   III      mortgages, and credit            Date as determined by the Parties.
            card receivables
  Class     Inventory                        The fair market value of such Class IV Purchased Assets as of the Closing
   IV                                        Date as determined by the Parties.
 Class V    Land, buildings,                 The fair market value of such Class V Purchased Assets as of the Closing Date
            personal property, and           as determined by the Parties.
            all assets other than
            Class I, II, III, IV, VI,
            VII assets

  Class     Section 197 intangible           The fair market value of such Class VI Purchased Assets as of the Closing
   VI       assets, except goodwill          Date as determined by the Parties.
            and going concern
            value
  Class     Goodwill; going                  The remainder.
   VII      concern value




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           Case 23-10718-CTG                    Doc 250-1            Filed 07/28/23       Page 128 of 174




                                                Schedule 4.3 - Litigation
Current
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Claim
Type
(e.g.,
TCPA,
CROA,                                                                     Case
EEOC)/                               Plaintiff/Claiman   Stat             Numb     Defense    Statu
date       Defending Entity          t                   e      Forum     er       Counsel    s         Notes


           Progrexion Marketing,
           Inc., PGX Holdings,
           Inc., Progrexion                                                        William
           Teleservices, Inc.,                                                     s and
           Efolks LLC,                                                             Connoll
TSR/UD     Creditrepair.com, Inc.,                                                 y (also
AAP        John C. Heath Attorney                               UT        2:19-    Goodwi     In        Pre-trial hearings not yet
(May       at Law PC dba                                        Federal   cv-      n          litigat   wrapped up, no current
2019)      Lexington Law Firm        CFPB                UT     Court     00298    Proctor)   ion       trial date




CROA                                                                      01-22-   MacMur     Filed
(January                                                                  0005-    ray &      Janua
2023)      Creditrepair.com          Davida Lennon       NC     AAA       2894     Shuster    ry 12     Early stages
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y 2023)    Lexington Law             Benjamin            FL     AAA       1647     Shuster    2023      Early Stages
CROA                                                                      01-22-   MacMur     Filed
(January                                                                  0005-    ray &      Janua     Hearing scheduled in the
2023)      Creditrepair.com          Davida Lennon       NC     AAA       2894     Shuster    ry 12     fall of 2023
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y 2023)    Creditrepair.com          Samuel Bowens       NC     AAA       6723     Shuster    2023      Early stages
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y 2023)    Creditrepair.com          Tamica Brewster     CA     AAA                Shuster    2023      Early stages
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2023)      Creditrepair.com          Denise Harvey       IL     AAA       3513     Shuster    2023      Early stages
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CROA                                                                      01-23-   MacMur     ary
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y 2023)    Creditrepair.com          Timonth Saenz       TX     AAA       2309     Shuster    2023      Early stages
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CROA                                                                      01-23-   MacMur     April
(March                               Alicia Takens-                       0000-    ray &      6,
2023)      Creditrepair.com          Riesenbeck          MI     AAA       1735     Shuster    2023      Early stages
CROA                                                                      01-23-   MacMur     Filed
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y 2023)    Creditrepair.com          Rachel Taylor       CA     AAA       2310     Shuster    ary       Early stages

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            Case 23-10718-CTG                  Doc 250-1         Filed 07/28/23           Page 129 of 174



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2023)       Creditrepair.com       Alice Williams      TX   AAA                Shuster      2023     Early stages
CROA                                                                           MacMur       Filed
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2023)       Creditrepair.com       Algia Moore         AZ   AAA                Shuster      2023     Early stages


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(August     Progrexion                                      Federal    cv-     Seyfarth     Litiga
2022)       Teleservices, Inc.     Larry Poe           AZ   Court      01434   Shaw         tion     In discovery




Records                                                                        Weil         Recor    Awaiting answer or
Request                                                                        Gotshal      ds       additional feedback from
(April      PGX Holdings, Inc. ,   Minority                                    &            dema     minority shareholder
2022)       HIG                    Shareholders        DE                      Manges       nd       counsel
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                                                                                            filed,
TCPA                                                                                        disco    MSJ fully briefed and
(Class;                                                     Central    2:21-                very     before the court, hearing
January     eFolks, Lexington,     Jennifer Moore et        District   cv-     Troutma      compl    scheduled for February 16,
2021)       Marketing              al                  UT   of UT      00027   n            ete      2023

TCPA
(Class;                                                     Middle     3:22-                Class
August      eFolks, Lexington,                              District   cv-     Foley &      action
of 2022)    Marketing              Whitney Tanner      FL   of FL      00861   Lardner      filed    In discovery
                                                                                            Dema
                                                                                            nd
                                                                                            from
                                                                                            a
UCC                                                                                         Cervo
filing      Progrexion             Itria Ventures      AZ                                   nt       Early stages


                                                            12
           Case 23-10718-CTG                  Doc 250-1          Filed 07/28/23       Page 130 of 174



                                                                                          vendo
                                                                                          r



WARN       PGX Holdings,           Kirsten Hansen et   UT   Central    2:23-   Holland    Class   Early Stages
Class      Progrexion              al                       District   cv-     and Hart   Actio
Action     Teleservices,                                    of UT      00337              n
           Progrexion Marketing,                                                          Filed
           Progrexion ASG,
           eFolks,
           Creditrepair.com,
           Credit.com and
           Lexington Law
WARN       PGX Holdings,           Rhodes et al        UT   Central            Holland    Class   Early Stages
Class      Progrexion                                       District           and Hart   Actio
Action     Teleservices,                                    of UT                         n
           Progrexion Marketing,                                                          Filed
           Progrexion ASG,
           eFolks,
           Creditrepair.com,
           Credit.com and
           Lexington Law
           PGX Holdings,
           Progrexion
           Teleservices,
           Progrexion Marketing,                                               Holland
           Progrexion ASG,                                                     and        Adver
           eFolks,                                                             Hart,      sary
WARN       Creditrepair.com,                                Bankrup            K&E,       Actio
Adversar   Credit.com and                                   tcy                and        n
y Action   Lexington Law           Hansen et al        DE   Court              Klehr      filed   Answer filed 7/5/2023




                                                            13
        Case 23-10718-CTG   Doc 250-1     Filed 07/28/23   Page 131 of 174




                       Schedule 4.4 - No Contravention

None.




                                     14
      Case 23-10718-CTG       Doc 250-1       Filed 07/28/23   Page 132 of 174




                      Schedule 4.5 - Consents and Approvals

1. Employment Agreement, dated December 18, 2017, by and between Progrexion ASG, Inc.
   and John Itokazu.
      a. The Separation and General Release Agreement, dated February 1, 2023, by and
          between Progrexion ASG, Inc. and John Itokazu, which is effective December 31,
          2023, unless modified to June 30, 2023 or September 30, 2023, upon mutual
          agreement by the parties.
2. Amended and Restated Employment Agreement, dated September 1, 2016, by and between
   Progrexion ASG, Inc. and Mike DeVico.
3. Employment Agreement, dated April 15, 2022, by and between Progrexion ASG, Inc. and
   Randy Padawer.
4. Employment Agreement, dated October 30, 2017, by and between Progrexion ASG, Inc.
   and Judy Morris.
5. Employment Agreement, dated July 30, 2020, by and between Progrexion ASG, Inc. and
   Chad Wallace.




                                         15
Case 23-10718-CTG   Doc 250-1   Filed 07/28/23   Page 133 of 174
Case 23-10718-CTG   Doc 250-1   Filed 07/28/23   Page 134 of 174
Case 23-10718-CTG   Doc 250-1   Filed 07/28/23   Page 135 of 174
Case 23-10718-CTG   Doc 250-1   Filed 07/28/23   Page 136 of 174
Case 23-10718-CTG   Doc 250-1   Filed 07/28/23   Page 137 of 174
Case 23-10718-CTG        Doc 250-1           Filed 07/28/23     Page 138 of 174




         consumercreditupdates.com                 11/14/2023     GoDaddy
          consumercreditupdates net                11/14/2023     GoDaddy
         consumercreditupdates.org                 11/14/2023     GoDaddy
        consumerfinancialoptions.com               10/20/2024     GoDaddy
            consumerupdate.com                     5/17/2024      GoDaddy
            consumerupdates.com                    9/29/2023      GoDaddy
          correctmycreditreport.net                4/16/2024      GoDaddy
          correctmycreditreport.org                4/17/2024      GoDaddy
         correctmycreditreports.com                4/16/2024      GoDaddy
          correctmycreditreports.net               4/16/2024      GoDaddy
          correctmycreditreports.org               4/17/2024      GoDaddy
         correctyourcreditreport.com               4/16/2024      GoDaddy
          correctyourcreditreport.net              4/16/2024      GoDaddy
         correctyourcreditreport.org               4/17/2024      GoDaddy
         correctyourcreditreports.com              4/16/2024      GoDaddy
         correctyourcreditreports.net              4/16/2024      GoDaddy
         correctyourcreditreports.org              4/17/2024      GoDaddy
                cr-agent.com                        5/6/2024      GoDaddy
                cr-agents.com                      12/8/2023      GoDaddy
                cr-vendor.com                       8/5/2023      GoDaddy
                 cr1234.com                        7/27/2023      GoDaddy
                  cr456.com                        6/25/2023      GoDaddy
              credi5repair.com                     10/31/2023     GoDaddy
          credit-repair-law-firm.com               11/7/2023      GoDaddy
          credit-repair-law-firm net               11/7/2023      GoDaddy
          credit-repair-law-firm.org               11/7/2023      GoDaddy
    CREDIT-REPORT-CREDIT-SCORE.COM                  2/1/2024      GoDaddy
                  credit.com                       5/11/2024      GoDaddy
                creditabc.com                      10/27/2023     GoDaddy
             creditadvantage.com                    1/2/2024      GoDaddy
             creditadvantage.net                    4/1/2024      GoDaddy
             creditadvantage.org                   5/15/2024      GoDaddy
           creditadvantages.co.uk                  4/18/2024      GoDaddy
            creditadvantages.com                   5/19/2024      GoDaddy
             creditadvantages.net                  2/21/2024      GoDaddy
             creditadvantages.org                  2/22/2024      GoDaddy
             creditadvocate.com                    1/15/2024      GoDaddy
                creditass.com                      7/13/2023      GoDaddy
              creditattorney.biz                   9/25/2023      GoDaddy


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Case 23-10718-CTG      Doc 250-1         Filed 07/28/23     Page 139 of 174




             creditattorney.bz                 9/26/2023      GoDaddy
             creditattorney.cc                 9/26/2023      GoDaddy
            creditattorney.co.uk               9/26/2023      GoDaddy
            creditattorney.com                 7/17/2023      GoDaddy
            creditattorney.info                 4/8/2024      GoDaddy
             creditattorney net                2/21/2024      GoDaddy
             creditattorney.org                2/22/2024      GoDaddy
             creditattorney.tv                 9/26/2023      GoDaddy
             creditattorney.ws                 9/26/2023      GoDaddy
            creditattorneys.biz                5/18/2024      GoDaddy
           creditattorneys.co.uk               12/6/2023      GoDaddy
            creditattorneys.com                 6/7/2023      GoDaddy
            creditattorneys.info               5/19/2024      GoDaddy
           creditattorneys.mobi                5/19/2024      GoDaddy
            creditattorneys net                2/21/2024      GoDaddy
            creditattorneys.org                2/22/2024      GoDaddy
             creditattorneys.tv                5/19/2024      GoDaddy
         CREDITATTORNEYS.US                    5/18/2024      GoDaddy
          creditattorneyscam.com               1/23/2024      GoDaddy
          creditattorneysucks.com              1/23/2024      GoDaddy
         CREDITBLOGGERS.COM                     2/1/2024      GoDaddy
           creditcalifornia.com                 5/7/2024      GoDaddy
             creditcenter.com                  12/14/2023     GoDaddy
                creditco.uk                     2/5/2024      GoDaddy
              creditcom.com                     6/8/2023      GoDaddy
             creditcomm.com                     6/2/2023      GoDaddy
          creditcontrolconsul.com              12/29/2023     GoDaddy
           creditcorrection.co.uk              12/6/2023      GoDaddy
          creditcorrections.co.uk              12/6/2023      GoDaddy
             creditdefend.com                   5/7/2024      GoDaddy
             creditdefend net                   5/7/2024      GoDaddy
             creditdefend.org                   5/7/2024      GoDaddy
             creditdetect.com                  11/7/2023      GoDaddy
        CREDITDIAGNOSTIC.COM                    2/1/2024      GoDaddy
            creditdispute.co.uk                1/29/2024      GoDaddy
            creditdisputer.co.uk               4/18/2024      GoDaddy
            creditdisputer.com                 2/23/2024      GoDaddy
             creditdisputer.net                11/16/2023     GoDaddy
             creditdisputer.org                11/16/2023     GoDaddy


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Case 23-10718-CTG       Doc 250-1          Filed 07/28/23     Page 140 of 174




            creditdisputers.co.uk                4/18/2024      GoDaddy
            creditdisputers.com                  8/17/2023      GoDaddy
             creditdisputers.net                 2/27/2024      GoDaddy
             creditdisputers.org                 2/27/2024      GoDaddy
              creditexcel.com                    3/12/2024      GoDaddy
               creditexcel net                   7/23/2023      GoDaddy
               creditexcel.org                   7/23/2023      GoDaddy
              creditexcell.com                   3/12/2024      GoDaddy
       CREDITEXPERTACCESS.COM                     2/1/2024      GoDaddy
          CREDITEXPERTS.CO                       7/20/2023      GoDaddy
             creditfilehelp.com                  2/18/2024      GoDaddy
              creditflorida.com                   5/7/2024      GoDaddy
             credithandler.co.uk                 4/18/2024      GoDaddy
             credithandler.com                   6/12/2023      GoDaddy
              credithandler.net                   4/4/2024      GoDaddy
              credithandler.org                   4/5/2024      GoDaddy
            credithandlers.co.uk                 4/18/2024      GoDaddy
             credithandlers.com                  5/12/2024      GoDaddy
             credithandlers.net                  4/18/2024      GoDaddy
             credithandlers.org                  4/19/2024      GoDaddy
             credithealthkit.com                  4/8/2024      GoDaddy
             credithealthkit net                  4/8/2024      GoDaddy
       CREDITIMPROVEMENT.COM                     5/15/2024      GoDaddy
         creditimprovementkit.com                 3/8/2024      GoDaddy
          creditimprovementkit.net                4/8/2024      GoDaddy
             creditimprovers.co                  7/21/2023      GoDaddy
            creditimprovers.org                  7/22/2023      GoDaddy
              creditinsider net                  10/31/2024     GoDaddy
              creditinsider.org                  10/31/2024     GoDaddy
            creditinstructor.com                 11/20/2023     GoDaddy
         creditispersonalpower.com               7/11/2023      GoDaddy
         creditispersonalpower.info              7/11/2023      GoDaddy
          creditispersonalpower net              7/11/2023      GoDaddy
         creditispersonalpower.org               7/11/2023      GoDaddy
         creditmarketinggroup.com                10/13/2023     GoDaddy
              creditmentor.org                   3/18/2024      GoDaddy
            creditmysteries.com                  12/1/2023      GoDaddy
             creditmystery.com                   12/1/2023      GoDaddy
              creditmyths.com                    11/13/2023     GoDaddy


                                      23
Case 23-10718-CTG        Doc 250-1            Filed 07/28/23     Page 141 of 174




              creditnevada.com                       5/7/2024      GoDaddy
                creditopt.com                       6/13/2023      GoDaddy
                 creditopt net                      6/13/2023      GoDaddy
                 creditopt.org                      6/13/2023      GoDaddy
              creditoptions.com                     8/11/2023      GoDaddy
               creditoptions net                    3/22/2024      GoDaddy
              creditordirect.com                    11/12/2023     GoDaddy
              creditordirect net                    11/12/2023     GoDaddy
              creditordirect.org                    11/12/2023     GoDaddy
         creditrepair-thinkcredit.com               6/26/2023      GoDaddy
          CREDITREPAIR.CO.UK                        2/23/2024      GoDaddy
               creditrepair.com                     8/19/2023      GoDaddy
         CREDITREPAIR.COM.BR                        9/29/2023      GoDaddy
               creditrepair net                     12/1/2023      GoDaddy
          creditrepairadvocates.com                 2/11/2024      GoDaddy
        creditrepairattorneyonline.com              8/28/2023      GoDaddy
             creditrepairblog.com                   5/13/2024      GoDaddy
         creditrepairconsultation.com               9/30/2023      GoDaddy
         creditrepaircounseling.com                 12/5/2023      GoDaddy
          creditrepaircounseling net                11/14/2024     GoDaddy
            creditrepairdirect.com                  8/18/2023      GoDaddy
            creditrepairideas.com                   12/13/2023     GoDaddy
          creditrepairlexington.com                 7/23/2023      GoDaddy
           creditrepairlexington net                7/23/2023      GoDaddy
           creditrepairlexington.org                7/23/2023      GoDaddy
           creditrepairmarket.com                   2/24/2024      GoDaddy
           creditrepairoptions.com                  2/23/2024      GoDaddy
  CREDITREPAIRORGANIZATIONSACT.COM                  12/12/2023     GoDaddy
            creditrepairrights.com                  2/11/2024      GoDaddy
            creditrepairstories.com                 9/11/2023      GoDaddy
             creditrepairtv.co.uk                   4/18/2024      GoDaddy
              creditrepairtv.com                    11/12/2023     GoDaddy
              creditrepairtv net                    1/24/2024      GoDaddy
              creditrepairtv.org                    1/25/2024      GoDaddy
            creditreportdispute net                 10/21/2023     GoDaddy
        creditreportdisputesonline.com              9/18/2023      GoDaddy
           creditreportrepair.co.uk                 12/6/2023      GoDaddy
            creditreportrepair.org                  10/21/2023     GoDaddy
         creditreportrepaircentral.com              8/31/2023      GoDaddy


                                         24
Case 23-10718-CTG       Doc 250-1           Filed 07/28/23     Page 142 of 174




          creditreportwarning.co.uk               4/18/2024      GoDaddy
          creditreportwarning.com                 8/14/2023      GoDaddy
           creditreportwarning net                9/13/2023      GoDaddy
           creditreportwarning.org                9/13/2023      GoDaddy
         creditreportwarnings.co.uk               4/18/2024      GoDaddy
          creditreportwarnings.com                12/29/2023     GoDaddy
           creditreportwarnings.net               9/13/2023      GoDaddy
          creditreportwarnings.org                9/13/2023      GoDaddy
             creditresolve.co.uk                   2/6/2024      GoDaddy
             creditresolver.co.uk                  2/6/2024      GoDaddy
             creditrestore.co.uk                   2/6/2024      GoDaddy
             creditrestorer.co.uk                  2/6/2024      GoDaddy
                creditrev.com                      2/3/2024      GoDaddy
                creditrev net                      2/3/2024      GoDaddy
                creditrev.org                      2/3/2024      GoDaddy
            creditrevolution.com                  7/16/2023      GoDaddy
             creditrevolution net                  1/4/2024      GoDaddy
             creditrevolution.org                  1/4/2024      GoDaddy
          creditrevolutionbook.com                7/10/2023      GoDaddy
           creditrevolutionbook net               7/10/2023      GoDaddy
          creditrevolutionbook.org                7/10/2023      GoDaddy
         creditrevolutionnetwork.com              1/18/2024      GoDaddy
            creditrevolutions.com                  8/6/2023      GoDaddy
            creditrevolutions net                  1/4/2024      GoDaddy
            creditrevolutions.org                  1/4/2024      GoDaddy
               creditrights.com                   8/26/2023      GoDaddy
           CREDITRIGHTS.NET                        1/3/2024      GoDaddy
           CREDITRIGHTS.ORG                        1/4/2024      GoDaddy
                 creditrpr.co                     8/12/2023      GoDaddy
                creditrpr.com                     9/17/2023      GoDaddy
          creditscorecoaching.com                  7/3/2023      GoDaddy
           creditscorecoaching net                 7/3/2023      GoDaddy
           creditscorecoaching.org                 7/3/2023      GoDaddy
          creditscoregrooming.com                  7/3/2023      GoDaddy
           creditscoregrooming.net                 7/3/2023      GoDaddy
           creditscoregrooming.org                 7/3/2023      GoDaddy
          creditscorespecialists.com              2/12/2024      GoDaddy
            creditscoretruth.com                   2/2/2024      GoDaddy
             creditsimplifier.com                 12/29/2023     GoDaddy


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Case 23-10718-CTG      Doc 250-1       Filed 07/28/23     Page 143 of 174




         CREDITSOAPBOX.COM                    2/1/2024      GoDaddy
         CREDITSTUDENT.COM                    2/1/2024      GoDaddy
         CREDITSTUDENTS.COM                   2/1/2024      GoDaddy
             credittexas.com                  5/7/2024      GoDaddy
              creditutah.com                 10/16/2023     GoDaddy
               creditxl.com                  3/12/2024      GoDaddy
             creducation.com                  1/8/2024      GoDaddy
            croasettlement.com               4/15/2024      GoDaddy
                crsms.com                    6/25/2023      GoDaddy
             crteditrepair.com               10/31/2023     GoDaddy
             debtfreeforlife.co              7/21/2023      GoDaddy
            debthandler.co.uk                4/18/2024      GoDaddy
             debthandler.com                 8/20/2023      GoDaddy
              debthandler.net                 4/4/2024      GoDaddy
             debthandler.org                  4/5/2024      GoDaddy
            debthandlers.co.uk               4/18/2024      GoDaddy
             debthandlers.net                4/18/2024      GoDaddy
             debthandlers.org                4/19/2024      GoDaddy
         DEBTUNIVERSITY.COM                   2/1/2024      GoDaddy
           defendyourcredit.com              1/18/2024      GoDaddy
           defendyourcredit.net              1/18/2024      GoDaddy
           defendyourcredit.org              1/19/2024      GoDaddy
           desktop-connect.com               8/20/2023      GoDaddy
            directdispute.co.uk              4/18/2024      GoDaddy
            directdispute.com                11/20/2023     GoDaddy
             directdispute net               1/24/2024      GoDaddy
             directdispute.org               1/25/2024      GoDaddy
            directdisputer.com               4/18/2024      GoDaddy
            directdisputers.com              4/18/2024      GoDaddy
           directdisputes.co.uk              4/18/2024      GoDaddy
            directdisputes.com               11/12/2023     GoDaddy
             directdisputes net              4/14/2024      GoDaddy
            directdisputes.org               4/16/2024      GoDaddy
             disputeagent.com                 3/6/2024      GoDaddy
             disputeagent.net                 3/6/2024      GoDaddy
             disputeagent.org                 3/6/2024      GoDaddy
           disputeanything.com               10/3/2023      GoDaddy
           disputebadcredit.com               8/1/2023      GoDaddy
           disputebadcredit net              6/27/2023      GoDaddy


                                  26
Case 23-10718-CTG       Doc 250-1          Filed 07/28/23     Page 144 of 174




            disputedirectly.com                  11/12/2023     GoDaddy
           disputeeverything.com                 10/3/2023      GoDaddy
            disputemanager net                   5/17/2024      GoDaddy
               disputer.co.uk                    4/13/2024      GoDaddy
                disputer net                     11/16/2023     GoDaddy
                disputer.org                     11/16/2023     GoDaddy
              disputers.co.uk                    4/20/2024      GoDaddy
                disputers net                    4/20/2024      GoDaddy
               disputers.org                     4/20/2024      GoDaddy
               disputr.co.uk                     4/18/2024      GoDaddy
                disputr.com                      12/12/2023     GoDaddy
                 disputr net                     11/16/2023     GoDaddy
                disputr.org                      11/16/2023     GoDaddy
        DIVORCEANDCREDIT.COM                      2/1/2024      GoDaddy
           divorcelawyerinc.com                  7/12/2023      GoDaddy
         docreditrepairyourself.com               9/4/2023      GoDaddy
          ducharmesettlement.com                 2/23/2024      GoDaddy
        E-Z-PAYDAY-LOANS.COM                      2/1/2024      GoDaddy
    EASY-APPROVAL-AUTO-LOANS.COM                  2/1/2024      GoDaddy
   EASY-APPROVAL-CREDIT-CARDS.COM                 2/1/2024      GoDaddy
     EASY-APPROVAL-MORTGAGE.COM                   2/1/2024      GoDaddy
       EASY-APPROVAL-PERSONAL-
                                                  2/1/2024      GoDaddy
              LOANS.COM
              eclientcase.com                    5/26/2024      GoDaddy
          ecreditconsultation.com                11/16/2023     GoDaddy
           ecreditconsultation net               11/16/2023     GoDaddy
              ecredithope.com                    11/16/2023     GoDaddy
              ecredithope.net                    11/16/2023     GoDaddy
            ecreditresource.com                  11/16/2023     GoDaddy
            ecreditresource.net                  11/16/2023     GoDaddy
            ecreditresource.org                  11/17/2023     GoDaddy
           ecreditresources.com                  11/16/2023     GoDaddy
            ecreditresources.net                 11/16/2023     GoDaddy
            ecreditresources.org                 11/17/2023     GoDaddy
              edealsbest.com                     11/19/2023     GoDaddy
                 efolks.biz                      5/18/2024      GoDaddy
                 efolks.co                       7/21/2023      GoDaddy
                efolks.co.uk                     12/6/2023      GoDaddy
                efolks.com                        7/3/2023      GoDaddy
                 efolks.info                     5/19/2024      GoDaddy

                                      27
Case 23-10718-CTG       Doc 250-1         Filed 07/28/23     Page 145 of 174




                efolks mobi                     5/19/2024      GoDaddy
                 efolks.net                     8/31/2023      GoDaddy
                 efolks.org                     8/31/2023      GoDaddy
                 efolks.tv                      5/19/2024      GoDaddy
                 efolks.us                      5/18/2024      GoDaddy
             efolksagents.com                    2/1/2024      GoDaddy
            efolksnetwork.com                   11/14/2023     GoDaddy
             efolksnetwork.net                  11/14/2023     GoDaddy
             efolksnetwork.org                  11/14/2023     GoDaddy
            efolksnetworks.com                  11/14/2023     GoDaddy
             efolksnetworks.net                 11/14/2023     GoDaddy
            efolksnetworks.org                  11/14/2023     GoDaddy
                etvutah.com                     2/24/2024      GoDaddy
           evaluatebankruptcy.co                7/21/2023      GoDaddy
          evaluatebankruptcy.com                5/28/2024      GoDaddy
           evaluatebankruptcy net               7/22/2023      GoDaddy
            everythingapp.com                   9/21/2023      GoDaddy
             everythingapp.net                  9/21/2023      GoDaddy
             everythingapp.org                  9/22/2023      GoDaddy
            everythingform.com                  11/7/2023      GoDaddy
            everythingform net                  11/7/2023      GoDaddy
            everythingform.org                  11/7/2023      GoDaddy
               exadebt.com                       2/2/2024      GoDaddy
                exadebt.net                      2/2/2024      GoDaddy
                exadebt.org                      2/2/2024      GoDaddy
              extracredit.com                    9/5/2023      GoDaddy
           ezwarrantysource.com                 6/22/2023      GoDaddy
             facemeyerlaw.com                    2/1/2024      GoDaddy
             facemeyerlaw net                    2/1/2024      GoDaddy
             facemeyerlaw.org                    2/1/2024      GoDaddy
         facemyerandassociates.com              1/31/2024      GoDaddy
         facemyerandassociates net              1/31/2024      GoDaddy
         facemyerandassociates.org              1/31/2024      GoDaddy
             facemyerlaw.com                     2/1/2024      GoDaddy
              facemyerlaw net                    2/1/2024      GoDaddy
              facemyerlaw.org                    2/1/2024      GoDaddy
           facemyerlawfirm.com                   6/4/2023      GoDaddy
                faircredit.uk                    2/5/2024      GoDaddy
            fairdealsdirect.com                 11/19/2023     GoDaddy


                                     28
Case 23-10718-CTG       Doc 250-1           Filed 07/28/23     Page 146 of 174




              fastcashpay.com                      2/3/2024      GoDaddy
          FATTENMYFILE.COM                         2/1/2025      GoDaddy
            fightformyhouse.com                   2/28/2024      GoDaddy
         fixingmybadcreditscore.com               7/16/2023      GoDaddy
         fixyourcreditrepairnow.com               7/29/2023      GoDaddy
     FREE-DEBT-CONSULTATION.COM                    2/1/2024      GoDaddy
            freeoffersdirect.com                  11/19/2023     GoDaddy
           freescoreestimator.com                 11/19/2023     GoDaddy
               fsprogram.com                      6/16/2023      GoDaddy
          GETCREDITWISE.COM                        2/1/2024      GoDaddy
            getfastcashtoday.com                  3/12/2024      GoDaddy
         GETMONEYSMART.COM                        7/20/2023      GoDaddy
        GETMONEYSMART.MOBI                         2/6/2024      GoDaddy
         GETMONEYSMART.ORG                         2/8/2024      GoDaddy
          GETMONEYSMART.US                         2/7/2024      GoDaddy
        hardestworkingamericans.com                5/1/2024      GoDaddy
           healthycreditrepair.com                11/14/2023     GoDaddy
         helpmefixmybadcredit.com                  9/9/2023      GoDaddy
           homegiftsolutions.com                  5/28/2024      GoDaddy
             homegiftusall.com                    7/28/2023      GoDaddy
        how-credit-repair-works.com               9/27/2023      GoDaddy
         howcreditrepairworks.com                 9/27/2023      GoDaddy
         howtofixacreditreport.com                10/16/2023     GoDaddy
        howtofixyourcredittoday.com               7/20/2023      GoDaddy
         howtorepaircreditreport.com              10/16/2023     GoDaddy
        howtorepaircreditreports.com              12/11/2023     GoDaddy
            hraccessbenefits.com                  8/28/2023      GoDaddy
             hraccessmyhr.com                      2/5/2024      GoDaddy
              icheapdeals.com                     11/19/2023     GoDaddy
           icleancreditrepair.com                 11/14/2023     GoDaddy
             ILOVELEX.COM                         7/27/2023      GoDaddy
         improvecreditscoreasap.com               7/27/2023      GoDaddy
         JOHNHEATHLAW.COM                         4/26/2024      GoDaddy
            joincreditrepair.com                  8/26/2024      GoDaddy
            keepmyinfosafe.com                    12/14/2023     GoDaddy
             keepmyinfosafe net                   12/14/2023     GoDaddy
             keepmyinfosafe.org                   12/15/2023     GoDaddy
       LEGALCREDITEXPERT.COM                       2/1/2024      GoDaddy
               lex-agent.com                       2/5/2024      GoDaddy


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Case 23-10718-CTG      Doc 250-1         Filed 07/28/23     Page 147 of 174




             lex-law-firm.com                  12/17/2023     GoDaddy
              lex-law-firm.net                 12/17/2023     GoDaddy
             lex-law-firm.org                  12/18/2023     GoDaddy
               lex-score.com                   11/28/2023     GoDaddy
               lex-score.net                   11/28/2023     GoDaddy
               lex-score.org                   11/28/2023     GoDaddy
              lex-vendor.com                    8/5/2023      GoDaddy
                lex123.com                     2/11/2024      GoDaddy
                lex99.com                      11/16/2023     GoDaddy
                lexabc.com                      5/9/2024      GoDaddy
                 lexabc net                     5/9/2024      GoDaddy
                lexabc.org                      5/9/2024      GoDaddy
                lexamp.com                     10/18/2023     GoDaddy
           lexautoadvantage.com                 1/4/2024      GoDaddy
           lexautoadvantage net                 1/4/2024      GoDaddy
           lexautoadvantage.org                 1/4/2024      GoDaddy
              lexcorrect.com                    4/1/2024      GoDaddy
              lexcoupon.com                    7/23/2023      GoDaddy
              lexcoupons.com                    8/2/2023      GoDaddy
                lexcredit.co                   7/21/2023      GoDaddy
               lexcredit.com                   10/3/2023      GoDaddy
               lexcredit.net                    5/2/2024      GoDaddy
               lexcredit.org                    5/3/2024      GoDaddy
            lexcreditrepair.com                7/23/2023      GoDaddy
                lexdebt.com                    9/26/2023      GoDaddy
                lexdebt net                    9/26/2023      GoDaddy
                lexdebt.org                    9/26/2023      GoDaddy
           LEXDISPUTE.COM                      4/23/2024      GoDaddy
               lexdispute.net                  4/23/2024      GoDaddy
               lexdispute.org                  4/23/2024      GoDaddy
              lexeclient.com                   5/26/2024      GoDaddy
               lexhop1.com                     5/30/2024      GoDaddy
             lexingtanlaw.com                   1/5/2024      GoDaddy
             lexingtanlaw net                   1/5/2024      GoDaddy
             lexingtenlaw.com                  11/16/2023     GoDaddy
          lexington-law-firm.com               11/4/2023      GoDaddy
           lexington-law-firm net              12/19/2023     GoDaddy
          lexington-law-firm.org               12/19/2023     GoDaddy
         LEXINGTON-LAW.COM                     7/30/2023      GoDaddy


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Case 23-10718-CTG       Doc 250-1            Filed 07/28/23     Page 148 of 174




              lexington123.com                     2/11/2024      GoDaddy
              lexington99.com                      1/16/2024      GoDaddy
           lexingtonadvantage.com                  12/12/2023     GoDaddy
           lexingtonadvantage.net                  12/12/2023     GoDaddy
           lexingtonadvantage.org                  12/12/2023     GoDaddy
          lexingtonadvantages.com                  12/12/2023     GoDaddy
           lexingtonadvantages net                 12/12/2023     GoDaddy
           lexingtonadvantages.org                 12/12/2023     GoDaddy
             lexingtoncredit.com                   11/6/2023      GoDaddy
         lexingtoncreditadvisor.com                12/12/2023     GoDaddy
          lexingtoncreditadvisor net               12/12/2023     GoDaddy
          lexingtoncreditadvisor.org               12/12/2023     GoDaddy
         lexingtoncreditadvisors.com               12/12/2023     GoDaddy
         lexingtoncreditadvisors net               12/12/2023     GoDaddy
         lexingtoncreditadvisors.org               12/12/2023     GoDaddy
           lexingtoncreditcoach net                12/12/2023     GoDaddy
          lexingtoncreditcoach.org                 12/12/2023     GoDaddy
         lexingtoncreditcoaches.com                12/12/2023     GoDaddy
          lexingtoncreditcoaches net               12/12/2023     GoDaddy
         lexingtoncreditcoaches.org                12/12/2023     GoDaddy
        lexingtoncreditcommunity.com               12/12/2023     GoDaddy
        lexingtoncreditcommunity net               12/12/2023     GoDaddy
        lexingtoncreditcommunity.org               12/12/2023     GoDaddy
        lexingtoncreditcounselor.com               12/12/2023     GoDaddy
         lexingtoncreditcounselor net              12/12/2023     GoDaddy
         lexingtoncreditcounselor.org              12/12/2023     GoDaddy
        lexingtoncreditcounselors.com              12/12/2023     GoDaddy
        lexingtoncreditcounselors.net              12/12/2023     GoDaddy
        lexingtoncreditcounselors.org              12/12/2023     GoDaddy
          lexingtoncreditedge.com                  12/12/2023     GoDaddy
           lexingtoncreditedge net                 12/12/2023     GoDaddy
           lexingtoncreditedge.org                 12/12/2023     GoDaddy
         lexingtoncreditexperts.com                12/12/2023     GoDaddy
          lexingtoncreditexperts net               12/12/2023     GoDaddy
          lexingtoncreditexperts.org               12/12/2023     GoDaddy
           lexingtoncreditfix.com                  7/23/2023      GoDaddy
          lexingtoncreditgroup.com                 12/12/2023     GoDaddy
           lexingtoncreditgroup net                12/12/2023     GoDaddy
          lexingtoncreditgroup.org                 12/12/2023     GoDaddy


                                        31
Case 23-10718-CTG         Doc 250-1            Filed 07/28/23     Page 149 of 174




          lexingtoncreditgroups.com                  12/12/2023     GoDaddy
           lexingtoncreditgroups net                 12/12/2023     GoDaddy
           lexingtoncreditgroups.org                 12/12/2023     GoDaddy
        lexingtoncreditrepairexpert.com              12/12/2023     GoDaddy
        lexingtoncreditrepairexpert.net              12/12/2023     GoDaddy
        lexingtoncreditrepairexpert.org              12/12/2023     GoDaddy
       lexingtoncreditrepairexperts.com              12/12/2023     GoDaddy
        lexingtoncreditrepairexperts.net             12/12/2023     GoDaddy
        lexingtoncreditrepairexperts.org             12/12/2023     GoDaddy
         lexingtoncreditrepairkit.com                3/31/2024      GoDaddy
        lexingtoncreditreportrepair.com              3/31/2024      GoDaddy
   LEXINGTONCREDITREVOLUTION.COM                     3/31/2024      GoDaddy
         lexingtoncreditrevolution net               3/31/2024      GoDaddy
         lexingtoncreditrevolution.org                4/1/2024      GoDaddy
        lexingtoncreditrevolutions.com               3/31/2024      GoDaddy
           lexingtoncreditrights.com                 3/31/2024      GoDaddy
          lexingtoncreditservice.com                 3/19/2024      GoDaddy
           lexingtoncreditservice.net                3/31/2024      GoDaddy
           lexingtoncreditservice.org                 4/1/2024      GoDaddy
          lexingtoncreditservices.com                3/19/2024      GoDaddy
          lexingtoncreditservices.net                3/31/2024      GoDaddy
          lexingtoncreditservices.org                 4/1/2024      GoDaddy
          lexingtoncreditsolution.com                12/12/2023     GoDaddy
          lexingtoncreditsolution.net                12/12/2023     GoDaddy
          lexingtoncreditsolution.org                12/12/2023     GoDaddy
          lexingtoncreditsolutions.net               12/12/2023     GoDaddy
          lexingtoncreditsolutions.org               12/12/2023     GoDaddy
         lexingtoncreditspecialist.com               12/12/2023     GoDaddy
          lexingtoncreditspecialist net              12/12/2023     GoDaddy
         lexingtoncreditspecialist.org               12/12/2023     GoDaddy
        lexingtoncreditspecialists.com               6/18/2023      GoDaddy
         lexingtoncreditspecialists net              12/12/2023     GoDaddy
         lexingtoncreditspecialists.org              12/12/2023     GoDaddy
              lexingtonedge.com                      12/12/2023     GoDaddy
               lexingtonedge.net                     12/12/2023     GoDaddy
               lexingtonedge.org                     12/12/2023     GoDaddy
               lexingtonelife.biz                    11/17/2023     GoDaddy
              lexingtonelife.co.uk                   11/18/2023     GoDaddy
              lexingtonelife.com                     11/18/2023     GoDaddy


                                          32
Case 23-10718-CTG        Doc 250-1            Filed 07/28/23     Page 150 of 174




              lexingtonelife.info                   11/18/2023     GoDaddy
              lexingtonelife.mobi                   11/18/2023     GoDaddy
               lexingtonelife net                   11/18/2023     GoDaddy
               lexingtonelife.org                   11/18/2023     GoDaddy
               lexingtonelife.tv                    11/18/2023     GoDaddy
               lexingtonelife.us                    11/17/2023     GoDaddy
         lexingtonelifecommunity.biz                11/17/2023     GoDaddy
        lexingtonelifecommunity.co.uk               11/18/2023     GoDaddy
        lexingtonelifecommunity.com                 11/18/2023     GoDaddy
         lexingtonelifecommunity.info               11/18/2023     GoDaddy
        lexingtonelifecommunity.mobi                11/18/2023     GoDaddy
         lexingtonelifecommunity.net                11/18/2023     GoDaddy
         lexingtonelifecommunity.org                11/18/2023     GoDaddy
          lexingtonelifecommunity.tv                11/18/2023     GoDaddy
         lexingtonelifecommunity.us                 11/17/2023     GoDaddy
           lexingtonelifenetwork.biz                11/17/2023     GoDaddy
         lexingtonelifenetwork.co.uk                11/18/2023     GoDaddy
          lexingtonelifenetwork.com                 11/18/2023     GoDaddy
          lexingtonelifenetwork.info                11/18/2023     GoDaddy
          lexingtonelifenetwork mobi                11/18/2023     GoDaddy
           lexingtonelifenetwork.net                11/18/2023     GoDaddy
          lexingtonelifenetwork.org                 11/18/2023     GoDaddy
           lexingtonelifenetwork.tv                 11/18/2023     GoDaddy
           lexingtonelifenetwork.us                 11/17/2023     GoDaddy
        lexingtonfinancialservice.com               10/28/2023     GoDaddy
          lexingtonfinancialservice.tv              10/28/2023     GoDaddy
        lexingtonfinancialservices.com              3/31/2024      GoDaddy
         lexingtonfinancialservices.tv              10/28/2023     GoDaddy
       lexingtonfinancialservicestv.com             10/28/2023     GoDaddy
        lexingtonfinancialservicetv.com             10/28/2023     GoDaddy
           lexingtonfraudlines.com                  7/13/2023      GoDaddy
               lexingtonfs.com                      3/31/2024      GoDaddy
          lexingtonidentitytheft.com                7/13/2023      GoDaddy
             lexingtonlaunch.com                    11/30/2024     GoDaddy
               lexingtonlaw.biz                     10/20/2023     GoDaddy
               lexingtonlaw.bz                      9/26/2023      GoDaddy
                lexingtonlaw.cc                     9/26/2023      GoDaddy
              lexingtonlaw.com                       3/5/2024      GoDaddy
               lexingtonlaw net                     8/15/2023      GoDaddy


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Case 23-10718-CTG       Doc 250-1          Filed 07/28/23     Page 151 of 174




              lexingtonlaw.org                   8/15/2023      GoDaddy
              lexingtonlaw.tv                    9/26/2023      GoDaddy
              lexingtonlaw.us                    10/20/2023     GoDaddy
              lexingtonlaw.ws                    9/26/2023      GoDaddy
            lexingtonlawfirm.bz                  9/26/2023      GoDaddy
            lexingtonlawfirm.cc                  9/26/2023      GoDaddy
           lexingtonlawfirm.com                   5/1/2024      GoDaddy
            lexingtonlawfirm net                 8/15/2023      GoDaddy
           lexingtonlawfirm.org                  8/15/2023      GoDaddy
            lexingtonlawfirm.tv                  9/26/2023      GoDaddy
            lexingtonlawfirm.ws                  9/26/2023      GoDaddy
          lexingtonlawfirms.co.uk                12/6/2023      GoDaddy
           lexingtonlawfirms net                 12/6/2023      GoDaddy
          lexingtonlawgroup.com                  12/17/2023     GoDaddy
           lexingtonlawjobs.com                   4/8/2024      GoDaddy
          lexingtonlawontrack.com                6/26/2023      GoDaddy
          lexingtonlawreviews.com                12/9/2023      GoDaddy
           lexingtonlawscam.com                  1/16/2024      GoDaddy
          lexingtonlawsucks.com                  1/16/2024      GoDaddy
            lexingtonlawtv.com                   10/28/2023     GoDaddy
         lexingtonlegalservice.com               4/16/2024      GoDaddy
         lexingtonlegalservices.com              4/16/2024      GoDaddy
            lexingtonrepair.com                  7/23/2023      GoDaddy
           lexingtonsolution.com                 12/12/2023     GoDaddy
            lexingtonsolution net                12/12/2023     GoDaddy
           lexingtonsolution.org                 12/12/2023     GoDaddy
           lexingtonsolutions.org                12/12/2023     GoDaddy
             lexingtunlaw.com                    1/23/2024      GoDaddy
                lexlaw mobi                      5/19/2024      GoDaddy
                 lexlaw.tv                       5/19/2024      GoDaddy
            LEXLAWAZ.COM                         2/16/2024      GoDaddy
            LEXLAWCA.COM                         9/26/2023      GoDaddy
            LEXLAWCT.COM                         2/16/2024      GoDaddy
            LEXLAWDE.COM                         5/17/2025      GoDaddy
               lexlawfirm.co                     8/19/2023      GoDaddy
            LEXLAWFL.COM                         2/16/2024      GoDaddy
            LEXLAWGA.COM                         2/16/2024      GoDaddy
            LEXLAWIL.COM                         2/16/2024      GoDaddy
            LEXLAWIN.COM                         2/17/2027      GoDaddy


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Case 23-10718-CTG        Doc 250-1            Filed 07/28/23     Page 152 of 174




             LEXLAWLA.COM                           2/16/2024      GoDaddy
            LEXLAWMD.COM                            6/19/2024      GoDaddy
            LEXLAWME.COM                            5/17/2025      GoDaddy
             LEXLAWMI.COM                            6/8/2023      GoDaddy
            LEXLAWMN.COM                            2/16/2024      GoDaddy
            LEXLAWMO.COM                            2/16/2024      GoDaddy
             LEXLAWMS.COM                            6/8/2023      GoDaddy
             LEXLAWNC.COM                           2/16/2024      GoDaddy
             LEXLAWNE.COM                           2/16/2024      GoDaddy
            LEXLAWNM.COM                            10/3/2023      GoDaddy
             LEXLAWNV.COM                           2/16/2024      GoDaddy
             LEXLAWNY.COM                           2/16/2024      GoDaddy
             LEXLAWOH.COM                           5/15/2025      GoDaddy
             LEXLAWPA.COM                           2/16/2024      GoDaddy
             LEXLAWSC.COM                            5/2/2024      GoDaddy
             LEXLAWTN.COM                           2/16/2024      GoDaddy
             LEXLAWTX.COM                           2/16/2024      GoDaddy
             LEXLAWVA.COM                           2/16/2024      GoDaddy
            LEXLAWWA.COM                            2/16/2024      GoDaddy
             LEXLAWWI.COM                           2/16/2024      GoDaddy
                 lexmap.com                         11/28/2023     GoDaddy
                 lexmap net                         11/28/2023     GoDaddy
                 lexmap.org                         11/28/2023     GoDaddy
         LEXMONEYSMART.COM                           2/5/2024      GoDaddy
         LEXMONEYSMART.INFO                          2/5/2024      GoDaddy
                lexngtnlaw.co                       10/14/2023     GoDaddy
               lexngtnlaw.com                       10/15/2023     GoDaddy
         lexongtoncreditexpert.com                  12/12/2023     GoDaddy
          lexongtoncreditexpert net                 12/12/2023     GoDaddy
          lexongtoncreditexpert.org                 12/12/2023     GoDaddy
               lexontrack.com                       6/26/2023      GoDaddy
                lexscore.com                        11/28/2023     GoDaddy
                 lexscore.net                       11/28/2023     GoDaddy
                 lexscore.org                       11/28/2023     GoDaddy
             libertytreelaw.com                     7/17/2023      GoDaddy
           libertytreelawfirm.com                   7/17/2023      GoDaddy
        lifeisbetterwithgoodcredit.com              3/28/2024      GoDaddy
               littleshirley net                     3/5/2024      GoDaddy
               littleshirley.org                     3/5/2024      GoDaddy


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Case 23-10718-CTG       Doc 250-1          Filed 07/28/23     Page 153 of 174




          LIXINGTONLAW.COM                       5/30/2024      GoDaddy
             lovemycredit.com                    10/28/2023     GoDaddy
        LOW-INTEREST-REFI.COM                     2/1/2024      GoDaddy
         LUXINGTONLAW.COM                        5/30/2024      GoDaddy
         manageyourcreditscore.com               4/29/2024      GoDaddy
          militarycreditcenter.com                1/8/2024      GoDaddy
           militarycreditcenter.net               1/8/2024      GoDaddy
          mybestcreditreport.com                 10/9/2023      GoDaddy
           mycreditcardceo.com                   12/29/2023     GoDaddy
              mycreditceo.com                    12/29/2023     GoDaddy
            mycreditdispute.net                  4/20/2024      GoDaddy
           mycreditdisputes.co.uk                4/20/2024      GoDaddy
           mycreditdisputes.com                  11/12/2023     GoDaddy
            mycreditdisputes net                 4/20/2024      GoDaddy
            mycreditdisputes.org                 4/20/2024      GoDaddy
             mycreditpull.com                     3/7/2024      GoDaddy
              mycreditpull.net                    3/7/2024      GoDaddy
              mycreditpull.org                    3/7/2024      GoDaddy
           mycreditrepairkit.com                  4/1/2024      GoDaddy
          mycreditreporthelp.com                 3/16/2024      GoDaddy
           mycreditreporthelp.net                3/16/2024      GoDaddy
           mycreditreporthelp.org                3/16/2024      GoDaddy
          mycreditscoresucks.com                  9/2/2023      GoDaddy
           mycreditscoresucks.net                8/26/2023      GoDaddy
           mycreditscoresucks.org                8/26/2023      GoDaddy
           mycreditsimplifier.com                12/29/2023     GoDaddy
           mycredittherapist.com                 12/29/2023     GoDaddy
              mydebtceo.com                      12/29/2023     GoDaddy
             myidentityceo.com                   12/29/2023     GoDaddy
                myidhq.com                        1/4/2024      GoDaddy
                 myidhq.net                       1/4/2024      GoDaddy
              myitaccess.com                     7/13/2024      GoDaddy
         mylexingtonlawstory.com                 3/22/2024      GoDaddy
              myloanceo.com                      12/29/2023     GoDaddy
             mypurecredit.com                     8/5/2023      GoDaddy
            myreporttoday.com                     1/4/2024      GoDaddy
             myreporttoday.net                    1/4/2024      GoDaddy
             myreporttoday.org                    1/4/2024      GoDaddy
             myscoresucks.com                     7/3/2023      GoDaddy


                                      36
Case 23-10718-CTG        Doc 250-1          Filed 07/28/23     Page 154 of 174




              myscoresucks net                     7/3/2023      GoDaddy
              myscoresucks.org                     7/3/2023      GoDaddy
                 nbdebt.com                        2/2/2024      GoDaddy
                  nbdebt.net                       2/2/2024      GoDaddy
                  nbdebt.org                       2/2/2024      GoDaddy
              needcashsoon.com                    3/12/2024      GoDaddy
              nettechmedia.com                    7/30/2023      GoDaddy
               nettechmedia.net                   7/30/2023      GoDaddy
               nettechmedia.org                   7/30/2023      GoDaddy
             northbridgedebt.com                   2/2/2024      GoDaddy
              northbridgedebt net                  2/2/2024      GoDaddy
             northbridgedebt.org                   2/2/2024      GoDaddy
           operationcreditrepair.com               1/9/2024      GoDaddy
             pay-per-dispute.com                  12/15/2023     GoDaddy
              payperdispute.com                   12/15/2023     GoDaddy
           peoplepoweredcredit.com                3/24/2024      GoDaddy
           peoplepoweredcredit.info               3/24/2024      GoDaddy
           peoplepoweredcredit net                3/24/2024      GoDaddy
           peoplepoweredcredit.org                3/24/2024      GoDaddy
        personalizedcreditsolutions.com           3/28/2024      GoDaddy
                pgx-agent.com                      5/6/2024      GoDaddy
               pgx-agents.com                     12/8/2023      GoDaddy
               pgx-vendor.com                      8/5/2023      GoDaddy
             PGXADMINS.COM                         2/1/2025      GoDaddy
                pgxagent.com                      9/21/2027      GoDaddy
                   pgxn.co                        8/12/2023      GoDaddy
              privacyassural.com                  1/19/2024      GoDaddy
              privacyassural net                  1/19/2024      GoDaddy
              privacyassural.org                  1/20/2024      GoDaddy
               progrexion.co.uk                   12/6/2023      GoDaddy
               progrexion.com                      4/4/2024      GoDaddy
                progrexion net                    4/26/2024      GoDaddy
                progrexion.org                    4/26/2024      GoDaddy
           progrexionmarketing.com                4/26/2024      GoDaddy
            progrexionmedia.com                   4/26/2024      GoDaddy
         PROGREXIONTECH.COM                       5/16/2025      GoDaddy
                  progrxn.co                      10/14/2023     GoDaddy
                 progrxn.com                      10/15/2023     GoDaddy
            provencreditrepair.com                2/28/2024      GoDaddy


                                       37
Case 23-10718-CTG       Doc 250-1            Filed 07/28/23     Page 155 of 174




        quickandlegalcreditrepair.com               4/4/2024      GoDaddy
        quickcreditimprovement.com                  4/4/2024      GoDaddy
          raisecreditscoreasap.com                 7/30/2023      GoDaddy
         removenegativeitems.com                   7/23/2023      GoDaddy
          repairnegativecredit.com                 12/17/2023     GoDaddy
               repairsafe.com                      2/25/2024      GoDaddy
               repairsafe.org                      1/12/2025      GoDaddy
              reportwatch.com                       3/6/2024      GoDaddy
              reportwatch.org                       4/5/2024      GoDaddy
            reportwatcher.co.uk                    4/18/2024      GoDaddy
             reportwatcher.com                     4/24/2024      GoDaddy
              reportwatcher net                    3/29/2024      GoDaddy
              reportwatcher.org                    3/30/2024      GoDaddy
            reportwatchers.co.uk                   4/18/2024      GoDaddy
             reportwatchers.com                    3/29/2024      GoDaddy
             reportwatchers net                    3/29/2024      GoDaddy
             reportwatchers.org                    3/29/2024      GoDaddy
           repossessionrights.com                  2/10/2024      GoDaddy
              rescoremore.com                      10/18/2023     GoDaddy
       RESETRESCUECENTER.COM                        2/1/2024      GoDaddy
        RESETRESCUECENTER.NET                       2/1/2024      GoDaddy
       RESETRESCUECENTER.ORG                       2/27/2024      GoDaddy
          restoremybadcredit.com                   9/19/2023      GoDaddy
          restoremycreditscore.com                  3/5/2024      GoDaddy
            restoremyreport.com                    11/15/2023     GoDaddy
            restoremyscore.co.uk                   4/18/2024      GoDaddy
             restoremyscore.net                     7/7/2023      GoDaddy
              ruimcredito.com                      12/8/2023      GoDaddy
          samedaycreditreport.com                  8/16/2024      GoDaddy
         samedaycreditreports.com                  8/16/2024      GoDaddy
                 savaroo.net                       3/27/2024      GoDaddy
               save-a-roo.com                      3/27/2024      GoDaddy
               save-a-roo net                      3/27/2024      GoDaddy
                savearoo net                       3/27/2024      GoDaddy
             scorecoaching.com                     2/23/2024      GoDaddy
             scorecoaching.net                      7/3/2023      GoDaddy
             scorecoaching.org                      7/3/2023      GoDaddy
                scorecr.com                        12/4/2023      GoDaddy
             scoregrooming.com                      7/3/2023      GoDaddy


                                        38
Case 23-10718-CTG        Doc 250-1          Filed 07/28/23     Page 156 of 174




             scoregrooming net                     7/3/2023      GoDaddy
             scoregrooming.org                     7/3/2023      GoDaddy
            SCORELORD.COM                          2/1/2024      GoDaddy
            SCORELORD.NET                          2/1/2024      GoDaddy
            SCORELORD.ORG                         3/14/2024      GoDaddy
               sendclients.com                     1/6/2024      GoDaddy
         SHAREPOINTMAIL.COM                       12/10/2023     GoDaddy
         SHREDDEDCREDIT.COM                        2/3/2027      GoDaddy
                solidcredit net                    1/9/2024      GoDaddy
               solidcredit.org                     1/9/2024      GoDaddy
               solidcredit.wiki                   11/2/2023      GoDaddy
             solidcreditinfo.com                   1/9/2024      GoDaddy
             solidcreditinfo net                   1/9/2024      GoDaddy
             solidcreditinfo.org                   1/9/2024      GoDaddy
            solidcreditrepair.com                 1/26/2024      GoDaddy
             solidcreditrepair net                 1/9/2024      GoDaddy
            solidcreditrepair.org                  1/9/2024      GoDaddy
            solidcreditreport.com                 12/5/2023      GoDaddy
           solidcreditreports.com                 12/5/2023      GoDaddy
                 solidid.com                      1/12/2024      GoDaddy
                  solidid.net                      1/4/2024      GoDaddy
                 solidid.org                      1/14/2024      GoDaddy
              solididentity.com                   12/14/2023     GoDaddy
               solididentity net                  12/14/2023     GoDaddy
              solididentity.org                   12/15/2023     GoDaddy
               solidscore.com                      1/4/2024      GoDaddy
                solidscore.net                     1/4/2024      GoDaddy
                solidscore.org                     1/4/2024      GoDaddy
               solidscores.com                     1/4/2024      GoDaddy
               solidscores.net                     1/4/2024      GoDaddy
               solidscores.org                     1/4/2024      GoDaddy
                spherous.com                      5/28/2024      GoDaddy
                spherous net                      5/28/2024      GoDaddy
                spherous.org                      11/28/2023     GoDaddy
           spherousmarketing.com                  5/28/2024      GoDaddy
             spherousmedia.com                    5/28/2024      GoDaddy
         studentcreditcounseling.com              1/14/2024      GoDaddy
            SU-CREDITO.COM                         2/1/2024      GoDaddy
         taxnegotiationnetwork.com                2/15/2024      GoDaddy


                                       39
Case 23-10718-CTG        Doc 250-1          Filed 07/28/23     Page 157 of 174




           TECHIEGROUP.COM                        4/14/2024      GoDaddy
                tellclients.com                    1/6/2024      GoDaddy
              theartofcredit.com                  11/4/2023      GoDaddy
            thecreditchannel.com                  12/14/2023     GoDaddy
             thecreditchannel.info                 4/3/2024      GoDaddy
             thecreditchannel net                 12/14/2023     GoDaddy
        thecreditrevolutionnetwork.com            1/18/2024      GoDaddy
            thecreditsnapshot.com                 6/12/2025      GoDaddy
       thehardestworkingamericans.com              5/1/2024      GoDaddy
             thescoreestimator.co                 7/21/2023      GoDaddy
            thescoreestimator.com                 11/19/2023     GoDaddy
             thescoreestimator.net                7/22/2023      GoDaddy
            thescoreestimator.org                 7/22/2023      GoDaddy
            totalcreditcontrol.com                 8/9/2023      GoDaddy
            totalmarketgroup.com                  9/21/2023      GoDaddy
             totalmarketgroup.net                 9/21/2023      GoDaddy
             totalmarketgroup.org                 9/21/2023      GoDaddy
             trustedcreditfix.com                  4/4/2024      GoDaddy
               turbo-credit.com                   4/27/2024      GoDaddy
               turbo-credit.net                   4/27/2024      GoDaddy
              turbocreditkit.com                  4/27/2024      GoDaddy
               turbocreditkit.net                 4/27/2024      GoDaddy
           turbocreditrepairkit.com               4/27/2024      GoDaddy
            turbocreditrepairkit net              4/27/2024      GoDaddy
                 udispute.com                      8/1/2023      GoDaddy
           unitedcreditservices.com               3/21/2024      GoDaddy
                wedispute.com                      8/1/2023      GoDaddy
           wedisputebadcredit.com                  4/2/2024      GoDaddy
             whatismyscore.com                     7/3/2023      GoDaddy
              whatismyscore net                    7/3/2023      GoDaddy
              whatismyscore.org                    7/3/2023      GoDaddy
      WICKEDTALENTEDPEOPLE.COM                     7/1/2024      GoDaddy
           womenscreditcenter.com                  1/9/2024      GoDaddy
          worryfreecreditrepair.com               3/27/2024      GoDaddy
           youcreditreportscore.com                9/3/2023      GoDaddy
          youcreditreportscores.com                9/3/2023      GoDaddy
               youdispute.com                      8/1/2023      GoDaddy
            yourautoloannow.com                   2/28/2024      GoDaddy
             yourcashquick.com                     2/4/2024      GoDaddy


                                       40
Case 23-10718-CTG   Doc 250-1   Filed 07/28/23   Page 158 of 174
           Case 23-10718-CTG           Doc 250-1     Filed 07/28/23   Page 159 of 174




                                 Schedule 4.9(a) - Benefit Plans

1. Group Application Medical Plan, dated 2022, with Selecthealth and Progrexion Holdings Inc.

2. Administrative Services Agreement, dated January 1, 2015, by and between OptumHealth
   Financial Services, Inc. and Progrexion, as amended.

       •   FSA (Optum Bank, Inc.)

       •   HSA (Optum Bank, Inc.)

3. Vision Plan, dated September 7, 2022, with EyeMed Vision Care LLC.

4. Dental Plan (Delta Dental)

5. COBRA benefits (Administered by Optum Bank, Inc.)

6. Basic Life Insurance (Life Insurance Company of North America)

7. Accidental Death and Dismemberment Insurance Coverage (Life Insurance Company of North
   America)

8. Supplemental Life Insurance (Life Insurance Company of North America)

9. Disability Benefits (Life Insurance Company of North America)

10. Workers’ Compensation Program

11. 401(k) Plan (Fidelity Investment Company)

12. Roth 401(k) Plan (Fidelity Investment Company)

13. Employee Assistance Program (SelectHealth)

14. PTO Policy for Eligible Employees

15. Paid/Unpaid Leave

16. Health and wellness programs

17. Access to credit-repair services

18. Time off to volunteer with community partners

19. Paid sabbatical at 5, 10, 15, or 20 year anniversary

20. Retirement Plan Consulting (Morgan Stanley)

21. Benefit Advocate Center (Gallager)

                                                42
            Case 23-10718-CTG   Doc 250-1      Filed 07/28/23   Page 160 of 174




                         Schedule 4.10(a) - Business Employees

Attached.




                                          43
                                              Case 23-10718-CTG                                                                                                                 Doc 250-1                                                           Filed 07/28/23   Page 161 of 174


Employee Name        Emp oyment Status      Fu l/Part T me       Sa ary/Hourly       Exempt on Status           Job Tit e         Or g nal Hire Date        Last H re Da e      Accrued PTO (7/18)        Annual Salary       Hourly Pay Rate
                Ac i e                   u l Time            Sala ed             Exempt                  xecu ve Chai man                       9/29/2 14            9/29/201                 39 898 4           $518 700 0              249 3654
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Vice      es dent                10 30 2 17            0 30 201                        00          $337 428 0              162 2188
                Ac i e                   u l Time            Sala ed             Exempt                 C O                                     2/18/2 14            2/18/201                 24 999 0           $325 000 0              156 2440
                Ac i e                   u l Time            Sala ed             Exempt                 S nio Vice      es dent                 4/20/2 15            2/16/202                        00          $250 000 0              120 1877
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Vice      es dent                 1 30 2 17             1 1 201                        00          $250 000 0              120 1877
                Ac i e                   u l Time            Sala ed             Exempt                 C O                                     5/29/2 15            5/29/201                        00          $235 000 0              112 9764
                Ac i e                   u l Time            Sa a ed             Exempt                 A v so                                  9 15 2 03            9 15 200                 17 691 6           $230 000 0              110 5727
                Ac i e                   u l Time            Sa a ed             Exempt                 V ce      es dent                        4 8 2 13             4 8 201                        00          $225 000 0              108 1689
                Ac i e                   u l Time            Sala ed             Exempt                 S nio Vice      es dent                 3/19/2 07            3/19/200                        00          $220 000 0              105 7652
                Ac i e                   u l Time            Sa a ed             Exempt                 V ce      es dent                        6 6 2 11            2 16 202                        00          $215 000 0              103 3614
                Ac i e                   u l Time            Sa a ed             Exempt                 V ce      es dent                       7 19 2 06            7 19 200                        00          $215 000 0              103 3614
                Ac i e                   u l Time            Sala ed             Exempt                 V ce      es dent                       3/12/2 18            3/12/201                        00          $209 768 0              100 8461
                Ac i e                   u l Time            Sa a ed             Exempt                 V ce      es dent                        9 1 2 15             9 1 201                        00          $201 000 0               96 6309
                Ac i e                   u l Time            Sa a ed             Exempt                 V ce      es dent                       6 19 2 06             4 6 202                        00          $200 850 0               96 5588
                Ac i e                   u l Time            Sala ed             Exempt                 S nio Di ec o                           4/24/2 17            4/24/201                        00          $200 850 0               96 5588
                Ac i e                   u l Time            Sa a ed             Exempt                 V ce      es dent                       2 14 2 22            2 14 202                        00          $199 079 9               95 7078
                Ac i e                   u l Time            Sala ed             Exempt                 V ce      es dent                        1/4/2 21             1/4/202                        00          $192 000 0               92 3041
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Di ec o                           12 8 2 14            12 8 201                        00          $185 915 0               89 3788
                Ac i e                   u l Time            Sa a ed             Exempt                 V ce      es dent                        7 7 2 03             7 7 200                        00          $185 658 0               89 2552
                Ac i e                   u l Time            Sala ed             Exempt                 D ecto                                  6/27/2 22            6/27/202                        00          $185 400 0               89 1312
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Di ec o                           6 25 2 18             1 1 202                        00          $185 400 0               89 1312
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Di ec o                            9 6 2 16             1 1 202                        00          $175 100 0               84 1795
                Ac i e                   u l Time            Sala ed             Exempt                 D ecto                                  9/30/2 19            9/30/201                        00          $174 744 0               84 0083
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Di ec o                            9 5 2 02             9 5 200                        00          $172 731 0               83 0406
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Di ec o                           6 20 2 16            11 1 201                        00          $171 865 8               82 6246
                Ac i e                   u l Time            Sala ed             Exempt                 S nio Di ec o                           5/12/2 14            5/12/201                        00          $166 608 0               80 0969
                Ac i e                   u l Time            Sa a ed             Exempt                 D ecto                                  9 30 2 16            9 30 201                        00          $165 850 0               79 7325
                Ac i e                   u l Time            Sala ed             Exempt                 D ecto                                 10/19/2 15            0/19/201                        00          $165 000 0               79 3239
                Ac i e                   u l Time            Sala ed             Exempt                 T am e d                                8/15/2 22            8/15/202                        00          $164 800 0               79 2277
                Ac i e                   u l Time            Sa a ed             Exempt                 D ec o                                  5 27 2 14             5 8 201                        00          $164 800 0               79 2277
                Ac i e                   u l Time            Sala ed             Exempt                 S nio Di ec o                           8/18/2 16            8/18/201                        00          $164 720 0               79 1893
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Di ec o                           5 23 2 16            5 23 201                        00          $164 262 3               78 9692
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                  4 2 2 18             4 2 201                        00          $161 000 0               77 4009
                Ac i e                   u l Time            Sala ed             Exempt                  evelope                                3/13/2 23            3/13/202                        00          $160 000 0               76 9201
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 12 5 2 22            12 5 202                        00          $160 000 0               76 9201
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 3 30 2 20            3 30 202                        00          $160 000 0               76 9201
                Ac i e                   u l Time            Sala ed             Exempt                 S nio Di ec o                            3/5/2 07             1/1/202                        00          $159 999 7               76 9200
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                  1 4 2 22             1 4 202                        00          $159 650 0               76 7519
                Ac i e                   u l Time            Sa a ed             Exempt                 A m n st a o                            3 21 2 22            3 21 202                        00          $159 650 0               76 7519
                Ac i e                   u l Time            Sala ed             Exempt                 S nio Di ec o                           8/19/2 02            8/19/200                        00          $155 798 0               74 9000
                Ac i e                   u l Time            Sa a ed             Exempt                 S nio Di ec o                           3 16 2 16            3 16 201                        00          $155 108 1               74 5684
                Ac i e                   u l Time            Sala ed             Exempt                 D ecto                                  4/26/2 21            4/26/202                        00          $152 350 0               73 2424
                Ac i e                   u l Time            Sa a ed             Exempt                 A s st nt Di ec o                       4 15 2 09            4 15 200                        00          $150 400 0               72 3049
                Ac i e                   u l Time            Sa a ed             Exempt                 T am e d                                6 18 2 18            6 18 201                        00          $150 380 0               72 2953
                Ac i e                   u l Time            Sala ed             Exempt                  i ec o                                 7/15/2 20            7/15/202                        00          $149 500 0               71 8722
                Ac i e                   u l Time            Sa a ed             Exempt                  enio Di ec o                           2 28 2 14            2 28 201                        00          $148 584 1               71 4319
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                  1 6 2 20             1 6 202                        00          $148 103 9               71 2011
                Ac i e                   u l Time            Sala ed             Exempt                  i ec o                                 8/15/2 16            8/15/201                        00          $147 861 0               71 0843
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Di ec o                        1 9 2 17             1 9 201                  56 05             $147 700 0               71 0069
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                 2 27 2 17             2 4 201                        00          $145 000 0               69 7089
                Ac i e                   u l Time            Sala ed             Exempt                  ss s ant Di ec o                      10/17/2 16            0/17/201                        00          $143 273 0               68 8786
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                10 17 2 11            0 17 201                        00          $140 198 4               67 4005
                Ac i e                   u l Time            Sala ed             Exempt                  i ec o                                  4/8/2 13             4/8/201                        00          $140 000 0               67 3051
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                  2 4 2 19             2 4 201                        00          $139 700 0               67 1609
                Ac i e                   u l Time            Sa a ed             Exempt                 Ma age                                   3 3 2 14             3 3 201                        00          $138 700 0               66 6801
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                  8/9/2 21             8/9/202                        00          $138 123 0               66 4027
                Ac i e                   u l Time            Sa a ed             Exempt                  dm n st a o                            5 21 2 18            5 21 201                        00          $135 530 0               65 1561
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                  2 4 2 08             2 4 200                        00          $135 450 0               65 1177
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                12/14/2 22            2/14/202                        00          $135 000 0               64 9014
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                 9 27 2 21            9 27 202                        00          $134 000 0               64 4206
                Ac i e                   u l Time            Sa a ed             Exempt                  enio Di ec o                           10 4 2 04            10 4 200                        00          $133 363 0               64 1144
                Ac i e                   u l Time            Sala ed             Exempt                 Ma age                                  2/21/2 23            2/21/202                        00          $133 000 0               63 9398
                Ac i e                   u l Time            Sa a ed             Exempt                  eam e d                                3 14 2 16            3 14 201                   9 98             $131 325 0               63 1346
                Ac i e                   u l Time            Sala ed             Exempt                  ys ems Adm n st ato                     4/7/2 14             4/7/201                        00          $131 200 0               63 0745
                Ac i e                   u l Time            Sala ed             Exempt                  i ec o                                 5/29/2 07             1/1/202                        00          $130 810 0               62 8870
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Di ec o                        5 5 2 15            6 17 201                        00          $130 000 0               62 4976
                Ac i e                   u l Time            Sala ed             Exempt                  oo d na o                              3/11/2 19            3/11/201                        00          $129 861 2               62 4309
                Ac i e                   u l Time            Sa a ed             Exempt                  ec n c an                               1 3 2 17             1 3 201                        00          $126 746 9               60 9337
                Ac i e                   u l Time            Sa a ed             Exempt                  dm n st a o                           12 17 2 18            2 17 201                        00          $126 742 0               60 9313
                Ac i e                   u l Time            Sala ed             Exempt                  evelope                                 2/6/2 23             2/6/202                        00          $126 000 0               60 5746
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                  1 6 2 20             1 6 202                  96 50             $125 000 0               60 0938
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 2 24 2 14            2 24 201                        00          $124 500 0               59 8535
                Ac i e                   u l Time            Sala ed             Exempt                  ss s ant Di ec o                       3/14/2 16            3/14/201                        00          $124 500 0               59 8535
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 1 20 2 14            1 20 201                        00          $124 218 0               59 7179
                Ac i e                   u l Time            Sa a ed             Exempt                  eve ope                                6 23 2 22            6 23 202                        00          $123 600 0               59 4208
                Ac i e                   u l Time            Sala ed             Exempt                  ss s ant Di ec o                      11/23/2 20            1/23/202                        00          $123 600 0               59 4208
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Di ec o                       9 28 2 15            9 28 201                        00          $123 300 0               59 2766
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                  9/6/2 22             9/6/202                        00          $120 510 0               57 9353
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 10 3 2 22            10 3 202                        00          $120 000 0               57 6901
                Ac i e                   u l Time            Sa a ed             Exempt                 Ma age                                   9 3 2 18            10 1 201                        00          $120 000 0               57 6901
                Ac i e                   u l Time            Sala ed             Exempt                 Ma age                                  3/30/2 23            3/30/202                        00          $120 000 0               57 6901
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Di ec o                       12 2 2 19            12 2 201                        00          $120 000 0               57 6901
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Di ec o                       2 22 2 21            2 22 202                        00          $120 000 0               57 6901
                Ac i e                   u l Time            Sala ed             Exempt                  dm n st a o                            8/24/2 20            8/24/202                        00          $118 975 0               57 1973
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                 6 27 2 16            6 27 201                        00          $118 450 0               56 9449
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                 8 26 2 13            8 26 201                        00          $117 300 0               56 3921
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                11/30/2 20            1/30/202                        00          $115 360 0               55 4594
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                 10 1 2 13            10 3 202                        00          $115 000 0               55 2863
                Ac i e                   u l Time            Sa a ed             Exempt                 Ma age                                   8 2 2 21            1 23 202                        00          $115 000 0               55 2863
                Ac i e                   u l Time            Sala ed             Exempt                  nal st                                  8/9/2 21             8/9/202                        00          $114 500 0               55 0460
                Ac i e                   u l Time            Sa a ed             Exempt                  enio M nage                            6 19 2 18            7 16 202                        00          $114 000 0               54 8056
                Ac i e                   u l Time            Sala ed             Exempt                  nal st                                  2/1/2 21             1/1/202                        00          $113 400 0               54 5171
                Ac i e                   u l Time            Sa a ed             Exempt                  nal st                                  2 1 2 21            3 16 202                        00          $113 300 0               54 4691
                Ac i e                   u l Time            Sa a ed             Exempt                  i ec o                                12 11 2 17            8 16 202                        00          $111 680 0               53 6902
                Ac i e                   u l Time            Sala ed             Exempt                  nal st                                  5/3/2 04             5/3/200                        00          $109 271 0               52 5321
                Ac i e                   u l Time            Sa a ed             Exempt                  nal st                                  1 4 2 22             1 4 202                        00          $109 000 0               52 4018
                Ac i e                   u l Time            Sa a ed             Exempt                 Ma age                                  11 3 2 08            1 27 202                        00          $108 710 0               52 2624
                Ac i e                   u l Time            Sala ed             Exempt                  pec alist                             11/28/2 22            1/28/202                        00          $108 000 0               51 9211
                Ac i e                   u l Time            Sa a ed             Exempt                  nal st                                  6 7 2 21             1 1 202                        00          $108 000 0               51 9211
                Ac i e                   u l Time            Sa a ed             Exempt                 Ma age                                  3 30 2 15            3 30 201                        00          $106 750 0               51 3201
                Ac i e                   u l Time            Sala ed             Exempt                  dm n st a o                             6/1/2 21             1/1/202                        00          $106 090 0               51 0028
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                11 13 2 19             1 8 202                        00          $105 825 0               50 8754
                Ac i e                   u l Time            Sala ed             Exempt                  xec t ve Ass s ant                     7/11/2 16            8/15/201                        00          $105 277 3               50 6122
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 1 23 2 23            1 23 202                        00          $105 000 0               50 4788
                Ac i e                   u l Time            Sa a ed             Exempt                  dm n st a o                            1 23 2 23            1 23 202                        00          $105 000 0               50 4788
                Ac i e                   u l Time            Sala ed             Exempt                 Ma age                                  2/19/2 18            2/19/201                        00          $103 000 0               49 5173
                Ac i e                   u l Time            Sa a ed             Exempt                  nal st                                10 19 2 07            0 19 200                        00          $103 000 0               49 5173
                Ac i e                   u l Time            Sa a ed             Exempt                  eve ope                                10 1 2 13             1 1 201                        00          $103 000 0               49 5173
                Ac i e                   u l Time            Sala ed             Exempt                  ss s ant Di ec o                       7/31/ 014            7/31/201                        00          $102 700 0               49 3731
                Ac i e                   u l Time            Sa a ed             Exempt                  ys ems Adm n st ato                     8 8 2 12             8 8 201                        00          $101 300 0               48 7001
                Ac i e                   u l Time            Sa a ed             Exempt                  eve ope                                9 20 2 21            9 20 202                        00          $100 888 5               48 5022
                Ac i e                   u l Time            Sala ed             Exempt                  evelope                               10/15/2 18            0/15/201                        00          $100 101 0               48 1236
                Ac i e                   u l Time            Sa a ed             Exempt                  dm n st a o                            2 13 2 23            2 13 202                        00          $100 000 0               48 0751
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 1 30 2 23            1 30 202                        00          $100 000 0               48 0751
                Ac i e                   u l Time            Sala ed             Exempt                  evelope                                 3/4/ 019             3/4/201                        00          $100 000 0               48 0751
                Ac i e                   u l Time            Sa a ed             Exempt                  dv so                                 12 18 017            12 18 201                        00          $100 000 0               48 0751
                Ac i e                   u l Time            Sala ed             Exempt                  evelope                                2/13/ 023            2/13/202                        00          $100 000 0               48 0751
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                  7 12 011              6 1 202                        00          $100 000 0               48 0751
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 2 13 023             2 13 202                        00           $99 000 0               47 5943
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                 3/11/ 019            3/11/201                        00           $98 500 0               47 3539
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Team ead                      6 29 015            11 12 201                        00           $98 300 0               47 2578
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                  7 21 011             7 21 201                        00           $97 200 0               46 7290
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                 1/30/ 023            1/30/202                        00           $96 000 0               46 1521
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 1 25 010             1 25 201                        00           $95 798 3               46 0551
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 12 7 020             12 7 202                        00           $95 650 0               45 9838
                Ac i e                   u l Time            Sala ed             Exempt                  nalyst                                 2/24/ 020            2/24/202                        00           $95 000 0               45 6713
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Di ec o                      11 12 009            11 12 200                        00           $95 000 0               45 6713
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                12/31/ 014           12/31/201                        00           $93 670 7               45 0323
                Ac i e                   u l Time            Sa a ed             Exempt                  es gne                                 7 18 022             7 18 202                        00           $92 700 0               44 5656
                Ac i e                   u l Time            Sa a ed             Exempt                  eve ope                                3 11 019             3 11 201                        00           $92 700 0               44 5656
                Ac i e                   u l Time            Sala ed             Exempt                  a age                                  1/19/ 021            1/19/202                        00           $92 500 0               44 4694
                Ac i e                   u l Time            Sa a ed             Exempt                  eve ope                                1 23 023             1 23 202                        00           $90 000 0               43 2676
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Di ec o                        7 9 018              7 9 201                        00           $88 557 3               42 5740
                Ac i e                   u l Time            Sala ed             Exempt                  a age                                  9/19/2 11            7/29/202                        00           $88 000 0               42 3061
                Ac i e                   u l Time            Sa a ed             Exempt                 Ma age                                   8 6 2 12             8 6 201                        00           $87 853 0               42 2354
                Ac i e                   u l Time            Sa a ed             Exempt                  ss s ant Di ec o                       6 22 015             6 22 201                        00           $87 550 0               42 0897
                Ac i e                   u l Time            Sala ed             Exempt                  enio M nage                            6/26/2 17            6/26/201                        00           $87 550 0               42 0897
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 3 28 2 12            3 28 201                        00           $86 446 8               41 5594
                Ac i e                   u l Time            Sa a ed             Exempt                  eve ope                                9 27 2 21            9 27 202                        00           $85 000 0               40 8638
                Ac i e                   u l Time            Sa a ed             Exempt                  nal st                                 1 11 2 16            12 2 201                  66 05              $83 000 0               39 9023
                Ac i e                   u l Time            Sa a ed             Exempt                  pec a ist                              2 18 2 20            2 18 202                        00           $82 915 0               39 8614
                Ac i e                   u l Time            Sala ed             Exempt                  evelope                                2/17/2 20            2/17/202                        00           $82 915 0               39 8614
                Ac i e                   u l Time            Sa a ed             Exempt                  ccou tant                              5 27 2 15            5 27 201                        00           $82 400 0               39 6139
                Ac i e                   u l Time            Sa a ed             Exempt                  eve ope                                5 28 2 19            5 28 201                        00           $82 400 0               39 6139
                Ac i e                   u l Time            Sala ed             Exempt                  dm n st a o                           11/29/2 21            1/29/202                        00           $82 360 0               39 5946
                Ac i e                   u l Time            Sa a ed             Exempt                 Ma age                                 11 28 2 16            1 28 201                  34 66              $82 000 0               39 4216
                Ac i e                   u l Time            Sa a ed             Exempt                 Ma age                                   6 4 2 18             6 4 201                        00           $82 000 0               39 4216
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                 1/29/2 20            1/29/202                 -3 4 5 4            $81 731 0               39 2922
                Ac i e                   u l Time            Sa a ed             Exempt                  enio M nage                           11 27 2 19            1 27 201                        00           $80 000 1               38 4601
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 9 30 013              9 1 201                        00           $80 000 0               38 4601
                Ac i e                   u l Time            Sala ed             Exempt                  evelope                               10/31/ 022           10/31/202                        00           $80 000 0               38 4601
                Ac i e                   u l Time            Sa a ed             Exempt                  nal st                                11 29 017              8 1 202                        00           $77 495 0               37 2558
                Ac i e                   u l Time            Sala ed             Exempt                  a age                                  4/21/2 14             6/1/202                        00           $77 470 4               37 2440
                Ac i e                   u l Time            Sa a ed             Exempt                  pec a ist                              10 4 021             10 4 202                        00           $77 250 0               37 1380
                Ac i e                   a t T me            Hou ly              Non Exempt              na yst                                  2 8 016             1 16 202                  37 62              $74 578 5               71 7100
                Ac i e                   u l Time            Sala ed             Exempt                  a age                                   2/1/ 021             2/1/202                        00           $74 539 0               35 8347
                Ac i e                   u l Time            Sa a ed             Exempt                  xec t ve Ass s ant                     8 16 021             6 26 202                        00           $74 000 0               35 5756
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                  3 4 013             3 16 202                        00           $73 500 0               35 3352
                Ac i e                   u l Time            Sala ed             Exempt                  a age                                  4/27/ 005            4/27/200                        00           $73 491 0               35 3309
                Ac i e                   u l Time            Sa a ed             Exempt                  eam       ad                           10 1 002             10 1 200                        00           $72 904 4               35 0489
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                   1 4 021              1 4 202                        00           $72 262 5               34 7403
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                  3/2/ 020            1/14/202                        00           $72 100 0               34 6621
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                  5 28 019             5 28 201                        00           $72 100 0               34 6621
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                  6 28 2 10            2 16 202                  29 33              $70 400 0               33 8449
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                  6 19 2 17            3 17 202                   2 93              $70 040 0               33 6718
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                   5 4 015              4 6 202                        00           $70 000 0               33 6526
                Ac i e                   u l Time            Sala ed             Exempt                  a age                                  12/3/2 12             1/1/202                        00           $70 000 0               33 6526
                Ac i e                   u l Time            Sa a ed             Exempt                  en o M nage                             3 8 021              3 8 202                        00           $70 000 0               33 6526
                Ac i e                   u l Time            Sa a ed             Exempt                  eve ope                                8 16 021             8 16 202                        00           $69 293 2               33 3128
                Ac i e                   u l Time            Sala ed             Exempt                  nalyst                                 5/27/ 014             3/2/202                        00           $69 129 5               33 2341
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                10 22 018            10 22 201                        00           $66 950 0               32 1863
                Ac i e                   u l Time            Sa a ed             Exempt                  pec a i t                               8 1 016             8 16 202                        00           $66 950 0               32 1863
                Ac i e                   u l Time            Sala ed             Exempt                  nalyst                                  1/4/ 016             1/4/201                        00           $66 728 9               32 0800
                Ac i e                   u l Time            Sa a ed             Exempt                  pec a i t                              10 5 021             10 5 202                        60           $66 625 0               32 0300
                Ac i e                   u l Time            Sa a ed             Exempt                  na yst                                 3 31 014             9 10 201                        00           $65 710 6               31 5905
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                11/23/ 015           11/23/201                        00           $65 405 0               31 4435
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                12 28 017            12 28 201                        00           $65 405 0               31 4435
                Ac i e                   u l Time            Hou ly              Non-Exempt              nalyst                                  4/9/ 012             4/6/202                   8 59              $64 648 8               31 0800
                Ac i e                   u l Time            Sa a ed             Exempt                  xec t ve Ass s ant                    10 28 013            10 28 201                  26 13              $63 631 7               30 5910
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                  11 1 021             11 1 202                        00           $63 484 0               30 5200
                Ac i e                   u l Time            Sala ed             Exempt                  evelope                                2/21/ 023            2/21/202                        00           $63 000 0               30 2873
                Ac i e                   u l Time            Sa a ed             Exempt                  a age                                  3 30 020             3 30 202                        00           $62 134 0               29 8710
                Ac i e                   u l Time            Sa a ed             Exempt                  na yst                                 7 11 022             7 11 202                        00           $61 500 0               29 5662
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                 5/17/ 021            5/17/202                        00           $61 000 0               29 3258
                Ac i e                   u l Time            Sa a ed             Exempt                  eam       ad                           5 29 018             10 1 202                        00           $60 286 0               28 9825
                Ac i e                   u l Time            Sa a ed             Exempt                  na yst                                  5 8 017             7 31 201                        00           $60 100 5               28 8934
                Ac i e                   u l Time            Hou ly              Non-Exempt              nalyst                                  4/1/ 019            5/16/202                  22 15              $58 550 0               28 1480
                Ac i e                   u l Time            Hou ly              Non Exempt              na yst                                10 29 015            10 29 201                  22 36              $58 075 8               27 9200
                Ac i e                   u l Time            Sa a ed             Exempt                  pec a ist                              5 17 2 21            5 17 202                        00           $58 000 0               27 8835
                Ac i e                   u l Time            Hou ly              Non Exempt              dm n st a o                            11 8 010              3 1 201                  49 72              $57 722 2               27 7500
                Ac i e                   u l Time            Hou ly              Non Exempt              ec n c an                             10 27 014            10 27 201                  42 22              $57 119 0               27 4600
                Ac i e                   u l Time            Hou ly              Non-Exempt              eam       ad                           9/10/ 012            8/22/201                  43 03              $56 931 7               27 3700
                Ac i e                   u l Time            Hou ly              Non Exempt              en o M nage                            1 11 016             4 23 201                  33 86              $56 494 9               27 1600
                Ac i e                   u l Time            Sa a ed             Exempt                  eam       ad                          10 10 013             9 16 202                        00           $55 961 0               26 9033
                Ac i e                   u l Time            Sala ed             Exempt                  nalyst                                 9/14/ 020            1/16/202                        00           $55 105 0               26 4918
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                 3 10 014             3 10 201                   4 30              $55 000 0               26 4413
                Ac i e                   u l Time            Sa a ed             Exempt                  ng nee                                  1 4 022              1 4 202                        00           $55 000 0               26 4413
                Ac i e                   u l Time            Sala ed             Exempt                  pec alist                              7/18/2 13            8/12/201                        00           $53 433 5               25 6882
                Ac i e                   u l Time            Hou ly              Non Exempt              na yst                                  5 1 014             9 16 202                        74           $53 356 0               25 6509
                Ac i e                   u l Time            Hou ly              Non Exempt              a age                                   8 6 018              1 1 202                  19 58              $52 459 6               25 2200
                 e ve of abse ce         u l Time            Sala ed             Exempt                  a age                                  12/1/ 014             1/1/202                 -3 0 5 1            $52 374 0               25 1788
                Ac i e                   u l Time            Sa a ed             Exempt                  eam       ad                           3 12 012             1 16 202                        00           $52 155 7               25 0739
                Ac i e                   u l Time            Hou ly              Non-Exempt              nalyst                                  3/5/ 012            10/1/202                  40 45              $51 745 7               24 8768
                Ac i e                   u l Time            Sa a ed             Exempt                  na yst                                  1 6 020              4 1 202                        00           $51 500 0               24 7587
                Ac i e                   u l Time            Sa a ed             Exempt                  ccou tant                              2 28 022             2 28 202                        00           $51 500 0               24 7587
                Ac i e                   u l Time            Sala ed             Exempt                  ng nee                                 7/29/ 019            3/21/202                        00           $51 500 0               24 7587
                Ac i e                   u l Time            Hou ly              Non Exempt              na yst                                 5 29 018              1 1 202                   9 84              $51 086 7               24 5600
                Ac i e                   u l Time            Sa a ed             Exempt                  na yst                                 2 16 015              7 1 202                        00           $50 923 2               24 4814
                Ac i e                   u l Time            Hou ly              Non-Exempt              nalyst                                  8/5/ 020            9/16/202                  20 51              $50 545 9               24 3000
                Ac i e                   u l Time            Sa a ed             Exempt                  na yst                                 11 4 013              3 1 202                        00           $50 145 0               24 1072
                Ac i e                   u l Time            Sa a ed             Exempt                  pec a i t                             11 30 015             8 16 202                        00           $49 672 1               23 8799
                Ac i e                   u l Time            Hou ly              Non-Exempt              pec ali t                              1/24/ 013             2/1/202                  47 07              $49 277 1               23 6900
                Ac i e                   u l Time            Sa a ed             Exempt                  oo d na o                              1 18 022             1 18 202                        00           $47 840 0               22 9991
                Ac i e                   u l Time            Hou ly              Non Exempt              na yst                                  1 5 015             1 16 202                  22 91              $47 332 6               22 7552
                Ac i e                   u l Time            Sa a ed             Exempt                  pec a i t                             12 12 013             6 16 202                   9 38              $47 000 0               22 5953
                Ac i e                   u l Time            Sa a ed             Exempt                  es gne                                 1 11 016              6 1 202                        00           $47 000 0               22 5953
                Ac i e                   u l Time            Hou ly              Non-Exempt              echn c an                              2/24/ 014             4/2/201                        09           $46 801 8               22 5000
                Ac i e                   u l Time            Hou ly              Non Exempt              ec n c an                               8 6 018              8 6 201                   9 34              $46 801 8               22 5000
                Ac i e                   u l Time            Hou ly              Non Exempt              pec a i t                             12 14 015             4 10 201                  55 88              $46 801 8               22 5000
                Ac i e                   u l Time            Hou ly              Non-Exempt              le k                                    9/5/ 017             9/5/201                  17 07              $45 782 5               22 0100
                Ac i e                   u l Time            Sa a ed             Exempt                  oo d na o                              5 22 017              2 3 202                        00           $45 761 7               22 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              na yst                                  9 6 011             9 16 202                   6 18              $45 039 5               21 6528
                 e ve of abse ce         u l Time            Hou ly              Non-Exempt              nalyst                                  6/3/ 019            5/16/202                   2 30              $44 139 0               21 2199
                Ac i e                   u l Time            Hou ly              Non Exempt              na yst                                  8 8 013              5 1 202                  18 19              $43 473 6               20 9000
                Ac i e                   u l Time            Hou ly              Non Exempt              sso ia e T a ne                        3 30 015            10 16 202                   4 81              $42 849 6               20 6000
                Ac i e                   u l Time            Hou ly              Non Exempt              le k                                   7 30 012             2 16 202                  24 35              $42 225 6               20 3000
                Ac i e                   u l Time            Hou ly              Non Exempt              le k                                   3 28 016             10 1 202                   2 54              $42 163 2               20 2700
                Ac i e                   u l Time            Sala ed             Exempt                  al s C ach                              6/3/ 013             4/6/202                  39 40              $41 200 0               19 8069
                Ac i e                   u l Time            Hou ly              Non Exempt              na yst                                11 30 015              1 1 202                   2 51              $40 280 3               19 3648
                Ac i e                   u l Time            Hou ly              Non Exempt              na yst                                 5 13 019             7 16 202                   1 99              $39 895 9               19 1800
                Ac i e                   u l Time            Hou ly              Non-Exempt              gent-Se vi e                           1/27/ 020             4/1/202                  11 62              $38 627 0               18 5700
                Ac i e                   u l Time            Hou ly              Non Exempt              sso ia e T a ne                        5 22 017            10 16 202                   5 08              $38 221 4               18 3750
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Se vi e                           4 17 017              5 1 202                  25 29              $36 297 4               17 4500
                Ac i e                   u l Time            Hou ly              Non-Exempt              le k                                   2/16/ 015            2/16/201                  14 19              $33 842 9               16 2700
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                             8 12 019              4 6 202                        11           $27 041 0               13 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                            10 23 017              4 6 202                        83           $27 041 0               13 0000
                Ac i e                   u l Time            Hou ly              Non-Exempt              gent-Sales                              5/9/ 022             4/6/202                        12           $27 041 0               13 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                             8 30 021              4 6 202                   1 92              $27 041 0               13 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                              8 2 021              4 6 202                   1 01              $27 041 0               13 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                            12 14 020              4 6 202                   4 90              $27 041 0               13 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                             8 24 015              4 6 202                   5 86              $27 041 0               13 0000
                Ac i e                   u l Time            Hou ly              Non-Exempt              gent-Sales                             6/15/ 020             4/6/202                   9 61              $27 041 0               13 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                             4 12 021              4 6 202                        89           $24 960 9               12 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                              8 2 021              4 6 202                   1 13              $24 960 9               12 0000
                Ac i e                   u l Time            Hou ly              Non-Exempt              gent-Sales                              4/3/ 017             4/6/202                   2 83              $24 960 9               12 0000
                Ac i e                   u l Time            Hou ly              Non Exempt              gent Sa es                             1 27 020              4 6 202                   5 03              $24 960 9               12 0000
                Ac i e                   a t T me            Hou ly              Non Exempt              le k                                  11 12 012              3 5 201                   4 28              $16 640 0               16 0000
          Case 23-10718-CTG          Doc 250-1       Filed 07/28/23   Page 162 of 174




                              Schedule 4.11 - Conduct of Business

Bureau of Consumer Financial Protection v. Progrexion Marketing, Inc., et al., Case No. 2:19-
CV-00298-BSJ (D. Utah 2019). The Consumer Financial Protection Bureau (the “CFPB”) filed a
five-count complaint in the United States District Court for the District of Utah against Progrexion
Marketing, Inc., PGX Holdings, Inc., Progrexion Teleservices, Inc., eFolks, LLC,
CreditRepair.com, Inc., and John C. Heath, Attorney at Law PC for alleged claims and violations
of federal law related to certain alleged telemarketing operations and billing practices. On March
10, 2023, the CFPB’s motion for summary judgment was granted solely as to Count I. As a
remedy, the CFPB is seeking prospective injunctive relief and over $2.7 billion in monetary relief
from the defendants solely on account of Count I. Litigation on Counts II˗V is still pending.




                                                44
        Case 23-10718-CTG   Doc 250-1      Filed 07/28/23   Page 163 of 174




                    Schedule 4.12(a) - Compliance with Laws

None.




                                      45
        Case 23-10718-CTG   Doc 250-1      Filed 07/28/23   Page 164 of 174




                      Schedule 4.12(b) - Material Default

None.




                                      46
        Case 23-10718-CTG   Doc 250-1     Filed 07/28/23    Page 165 of 174




                     Schedule 4.13 - Financial Statements

None.




                                     47
       Case 23-10718-CTG   Doc 250-1     Filed 07/28/23    Page 166 of 174




                     Schedule 4.14 - Financial Advisors


Alvarez & Marsal                    Debtor Restructuring
                                    Advisor
Greenhill & Co Inc                  Debtor Investment Banker




                                    48
        Case 23-10718-CTG   Doc 250-1       Filed 07/28/23   Page 167 of 174




                     Schedule 4.15 – Undisclosed Liabilities

None.




                                       49
          Case 23-10718-CTG        Doc 250-1        Filed 07/28/23   Page 168 of 174




                                Schedule 4.16(a) - Tax Matters

Sellers have received various information document requests (IDRs) from the State of California’s
auditor which has communicated their desire to source additional revenue to California which
would result in additional tax of $250,000 for 2017 & 2018. No official tax claims or tax
adjustment proposals have been sent to the Sellers. Sellers pushed back on the auditor’s
communication stating that California revenues are sourced appropriately as shown on the
originally filed tax returns. The audit is ongoing.




                                               50
        Case 23-10718-CTG   Doc 250-1     Filed 07/28/23   Page 169 of 174




                        Schedule 4.16(b) - Tax Matters

None.




                                     51
        Case 23-10718-CTG   Doc 250-1     Filed 07/28/23   Page 170 of 174




                        Schedule 4.16(c) - Tax Matters

None.




                                     52
         Case 23-10718-CTG       Doc 250-1      Filed 07/28/23   Page 171 of 174




                      Schedule 4.18(a) - Related Party Transactions

1. Master Services Agreement, dated August 5, 2021, and those Statements of Work, dated
   August 5, 2021 and May 10, 2022, each by and between Progrexion ASG, Inc. and Dteckt,
   Inc.

2. Engagement Agreement, dated January 1, 2011, by and among Progrexion ASG, Inc., Eric M.
   Kamerath & Associates, PLLC and Eric Kamerath.




                                           53
        Case 23-10718-CTG   Doc 250-1       Filed 07/28/23   Page 172 of 174




                  Schedule 4.18(b) - Related Party Transactions

None.




                                       54
        Case 23-10718-CTG   Doc 250-1     Filed 07/28/23   Page 173 of 174




                   Schedule 8.1(c) – Consents and Approvals

None.




                                     55
        Case 23-10718-CTG   Doc 250-1     Filed 07/28/23   Page 174 of 174




                        Schedule 10.17 – Non-Recourse

None.




                                     56
